Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 1 of 360




                    Defendant No.: 1

                         Store Name:
                          360Scope

                             Platform:
                              Amazon




   23-cv-24366
       Case
12/27/23, 12:39 1:23-cv-24366-BB
                PM                                             Document 10-1 Entered  onSeller
                                                                              Amazon.com FLSD       Docket
                                                                                               Profile:       12/28/2023 Page 2 of 360
                                                                                                        360Scope


    360Scope
    Visit the 360Scope storefront

                       86% positive in the last 12 months (14 ratings)




    About Seller                                                                                                                                     Have a question for 360Scope?

    360Scope is committed to providing each customer with the highest standard of customer service.                                                             Ask a question




    Feedback

                   4.3 out of 5                12 months                             FILTER BY
    14 ratings
                                                                                       All stars

    5 star                                               64%
                                                                                     14 total ratings, 14 with feedback 12 months
    4 star                                               21%
                                                                                                        “ The seller refused to proceed the order and cancelled it. ”
    3 star                                               0%
                                                                                                        By Conor on November 24, 2023.
    2 star                                               7%
                                                                                                        “ Great seller! ”
    1 star                                               7%
                                                                                                        By Dwight Aaron on November 19, 2023.

      Learn more about how seller feedback works on
      Amazon                                                                                            “ Came on time have use it yet still trying to set it up ”

                                                                                                        By Georgette on November 18, 2023.
    Share your thoughts with other customers

      Leave seller feedback                                                                             “ The package was damaged. The Black case has a hole on it and the straps to the Pole that was
                                                                                                          located under the machine, and the Ring Light is Broken can I get t... ”
                                                                                                        Read more

                                                                                                        By Desiree Turner on November 13, 2023.

                                                                                                        “ Helloͫ We will send all damaged items for you. We sent you an email and look forward to your
                                                                                                          reply. Dulce ”
                                                                                                        By 360Scope on November 15, 2023.


                                                                                                        “ Excellent customer service! ”

                                                                                                        By Lisa S. on November 12, 2023.



                                                                                                                                                       Previous Next




    Return & Refund Policies
    To get information about the Return and Refund policies that may apply, please refer to Amazon’s Return and Refund policy.

    To initiate a return, visit Amazon's Online Return Center to request a return authorization from the seller.

    For any issues with your return, if the product was shipped by the seller, you can get help here.




    Amazon's A-to-z Guarantee
    The Amazon A-to-z Guarantee protects you when you purchase items sold and fulžlled by a third party seller. Our guarantee covers both the timely delivery and the condition of your items. If either
    are unsatisfactory, you can report the problem to us and our team will determine if you are eligible for a refund.

    See full details




    Detailed Seller Information
    Business Name: shenzhenshiliangxinjunkejiyouxiangongsi
    Business Address:
      ੼Я੪ଳ௺࣯॑Ԛ‫ࢋٺ‬૨੼Я࠼323՚602
      ‫؍ؗ‬Ԛ
      ࢋⴽ١
      ‫ٺ‬Б
      518102
      CN




    Shipping Policies

    Other Policies

    Help



https://www.amazon.com/sp?ie=UTF8&seller=A3KNYT2L8UUT8N                                                                                                                                                    3/5
       Case
12/7/23,        1:23-cv-24366-BB
         10:44 PM                     Document
                       Amazon.com : HOGSITY 360 Photo10-1    Entered
                                                      Booth Machine      on FLSD
                                                                    for Parties,39.4" forDocket    12/28/2023
                                                                                         4-5 PPL,LED                 Page 3 of 360
                                                                                                     Lights No Need Install&Power,Customizab…

  Skip to main content
                             Deliver to ENCARGA
                                                    All       Search Amazon
                                                                                                                                 Hello, Roberto                Returns               1     Subtotal
                             Doral 33166                                                                                   EN    Account & Lists               & Orders                  $1,799.00


    All      Holiday Deals       Medical Care     Buy Again      Prime Video     Customer Service        Coupons       Household, Health & Baby Care             Handmade


                                            360 Photo Booth with APP Control                                                                    36      $
                                                                                                                                                            796 00
                                                                                                                                                                           Sponsored     Only 3 left in
                                                                                                                                                                                         stock - order
 Customers who viewed this item also viewed                                                                                                                                                  soon.

                             HOGSITY 360 Photo Booth                                  360 Photo Booth 360                                               MWE 360 Photo Booth
                             Machine for Parties,31.5"                                Video Booth 360                                                   Machine for Parties with
                             for 2-4 PPL,LED Lights No                                Platform Remote Control                                           Extra Battery,Logo
                             Need                                                     Automatic Slow Motion                                             Customization,Software
                                            22                                                           44                                                               261
                             $
                                 94900                                                $
                                                                                          1,39900                                                       $
                                                                                                                                                            1,09900
  Electronics › Camera & Photo › Lighting & Studio › Lighting › Booms & Stands


                                                                                 HOGSITY 360 Photo
                                                                                 Booth Machine for
                                                                                                                                      $
                                                                                                                                          1,39900
                                                                                                                                      FREE delivery Friday, December
                                                                                 Parties,39.4" for 4-5                                15. Details
                                                                                 PPL,LED Lights No                                    Or fastest delivery December
                                                                                 Need                                                 11 - 13. Details

                                                                                 Install&Power,Customi                                Arrives before Christmas

                                                                                 zable Logo&Parts                                          Deliver to ENCARGA -dDoral
                                                                                                                                           33166
                                                                                 Replace,360 Camera
                                                                                                                                      Only 1 left in stock - order
                                                                                 Booth Auto Spin                                      soon.

                                                                                 w/Ring Light&Flight                                                 Add to Cart
                                                                                 Case for Slow Motion
  4 VIDEOS                                                                                                                                              Buy Now
                                                                                 Etc
                                                                                 Brand: Hogsity                                       Ships from 360Scope
                                                                                 4.6                          22 ratings              Sold by        360Scope
                                                                                                                                      Returns        Returnable until Jan 31,

                                                                                 -18% 1,399  $                00
                                                                                                                                      Payment
                                                                                                                                                     2024
                                                                                                                                                     Secure transaction
                                                                                 List Price: $1,699.00
                                                                                                                                      Add a Protection Plan:
                                                                                 Or $64.06 /mo (36 mo). Select from
                                                                                                                                           Tech Unlimited – Protect
                                                                                 1 plan
                                                                                                                                           Eligible Past and Future
                                                                                 Save up to 1% with business pricing.                      Purchases with 1 Plan
                                 Roll over image to zoom in
                                                                                 Sign up for a free Amazon Business                        (Renews Monthly Until
                                                                                 account                                                   Cancelled) for
                                                                                   Pay $1,399.00 $1,199.00 for this                        $16.99/month
                                                                                   order. Get a $200 Amazon Gift
                                                                                   Card upon approval for the                             Add to List
                                                                                   Amazon Business Prime Card.
                                                                                   OŽer ends 12/12/23. Terms
                                                                                   apply. Learn more.

                                                                                 Delivery & Support                                                           HOGSITY 360
                                                                                                                                                              Photo Booth
                                                                                 Select to learn more
                                                                                                                                                              Wireless Light
                                                                                                                                                              Strips


                                                                                  Ships Returnabl Customer
                                                                                   from   e until  Support                        31.5" 360 Photo Booth Machine for
                                                                                 360Scop Jan 31,                                  Parties, by Hogsity…
                                                                                     e    2024
                                                                                                                                                     22
                                                                                                                                  $   949 00
                                                                                                                                                                         Sponsored

                                                                                 Size: 39.4"for 4-5ppl+Flight case




https://www.amazon.com/Machine-Hogsity-39-4-4-5-Flight/dp/B0CDP284YP/ref=sr_1_1?m=A3KNYT2L8UUT8N&marketplaceID=ATVPDKIKX0DER…                                                                         1/11
       Case
12/7/23,        1:23-cv-24366-BB
         10:47 PM                                     Document 10-1 Entered on FLSD
                                                                          Amazon.com    Docket 12/28/2023 Page 4 of 360
                                                                                     Checkout



                                                                         Checkout (1 item)
     1     Shipping                     John Doe                                                                   Change
           address                      3503 DAY AVE                                                                                        Place your order
                                        MIAMI, FL 33133-4904
                                                                                                                              By placing your order, you agree to Amazon's
                                        Add delivery instructions                                                                 privacy notice and conditions of use.


     2     Payment                      Paying with Mastercard 1953                                                Change     Order Summary
           method                       Billing address: Same as shipping address.
                                                                                                                              Subtotal (1 item):                   $1,399.00
                                              Add a gift card or promotion code or voucher                                    Shipping & handling:                       $0.00

                                              Enter code                        Apply                                         Total before tax:                    $1,399.00
                                                                                                                              Estimated tax to be
                                                                                                                              collected:*                            $97.93
     3     Review items and shipping
                                                                                                                              Order total:                   $1,496.93
                     Want to save time on your next order and go directly to this
                     step when checking out?                                                                                  How are shipping costs calculated?
                    Default to this delivery address and payment method.                                                      Why didn't I qualify for Prime Shipping?




              Arriving Dec. 15, 2023
              Items shipped from 360Scope

                                HOGSITY 360 Photo Booth                 Choose a delivery option:
                                Machine for Parties,39.4"                 Monday, Dec. 11 - Wednesday, Dec. 13
                                for 4-5 PPL,LED Lights No                 $182.66 - Expedited Shipping
                                Need                                      Friday, Dec. 15
                                Install&Power,Customizable                FREE Standard Shipping
                                Logo&Parts Replace,360
                                Camera Booth Auto Spin
                                w/Ring Light&Flight Case
                                for Slow Motion Etc
                                $  ,399.00
                                   ,399.00
                                        00
                                $1,399.00
                                  Qty: 1
                                Sold
                                S ld b
                                  ld by: 3
                                         360S
                                         360Scope
                                           60
                                Not eligible for Amazon Prime
                                (Learn more)

                                Gift options not available




                                           Order total: $1,496.93
                 Place your order          By placing your order, you agree to Amazon's privacy notice and conditions of
                                           use.




     *Why has sales tax been applied? See tax and seller information.

     Need help? Check our Help pages or contact us
     For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message
     acknowledging receipt of your order. Your contract to purchase an item will not be complete until we send you an
     email notifying you that the item has been shipped.

     Important information about sales tax you may owe in your state
     You may return new, unopened merchandise in original condition within 30 days of delivery. Exceptions and restrictions
     apply. See Amazon.com's Returns Policy.

     Need to add more items to your order? Continue shopping on the Amazon.com homepage.




https://www.amazon.com/gp/buy/spc/handlers/display.html?hasWorkingJavascript=1                                                                                                   1/1
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 5 of 360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 6 of 360




                    Defendant No.: 2

                        Store Name:
                       360SPB Direct

                             Platform:
                              Amazon




   23-cv-24366
       Case
12/8/23,        1:23-cv-24366-BB
         10:42 AM                            Document 10-1 Amazon.com
                                                           Entered on     FLSD
                                                                      Seller Profile: Docket   12/28/2023 Page 7 of 360
                                                                                      360SPB Direct




     360SPB Direct
     Visit the 360SPB Direct storefront

     Just launched      No feedback yet




     About Seller                                                                                             Have a question for 360SPB Direct?

     360SPB Direct is committed to providing each customer with the highest standard of customer                    Ask a question
     service.




     Return & Refund Policies
     To get information about the Return and Refund policies that may apply, please refer to Amazon’s Return and Refund policy.

     To initiate a return, visit Amazon's Online Return Center to request a return authorization from the seller.

     For any issues with your return, if the product was shipped by the seller, you can get help here.




     Amazon's A-to-z Guarantee
     The Amazon A-to-z Guarantee protects you when you purchase items sold and fulžlled by a third party seller. Our guarantee covers both the
     timely delivery and the condition of your items. If either are unsatisfactory, you can report the problem to us and our team will determine if you
     are eligible for a refund.

     See full details




     Detailed Seller Information
     Business Name: Shenzhen Ying Zhi Xing Ke Ji You Xian Gong Si
     Business Address:
       ௛ँ੪ଳՠࡊՍ॑Ԛআ֚ٗЏԚ
       A3՚17㯈609
       ࢋⴽ١
       Ұ‫ޢ‬Ԛ
       ‫ٺ‬Б
       518106
       CN




     Shipping Policies

     Other Policies

     Help



     Products
     See all products currently oŽered by the seller.



                                                                     Leave seller feedback




https://www.amazon.com/sp?ie=UTF8&seller=A3LB888UF9DQ7R                                                                                                   2/4
       Case
12/28/23, 10:45 1:23-cv-24366-BB
                AM                     Document
                        Amazon.com: 360SPB 360 Photo 10-1    Entered
                                                     Booth Automatic Spin on
                                                                          35.4"FLSD      Docket
                                                                                for 1-4 PPL Camera12/28/2023       Page
                                                                                                  360 Photo Booth CM4      8 ofCustom
                                                                                                                      with Free 360 Lo…
 Skip to main content Deliver to Felipe    All       Search Amazon
                                                                                                                                                                                                 Hello, Felipe              Returns               2    Subtotal
                      Miami 33156                                                                                                                                                        EN      Account & Lists            & Orders                  $1,948.00


    All    Medical Care    Amazon Basics         Buy Again   Today's Deals      Music     Groceries       Customer Service       Prime Video     Livestreams       Coupons                                               08 : 14 : 17

                                                       Customizable Inſatable Dock, Multiple Sizes & Styles, by BOTE…                                                        $594 14
                                                                                                                                                          15% oŽ    Deal               $699.00

                                                                                                                                                                                                                                        Sponsored
 ‹ Back to results


                                                                                    360SPB 360 Photo Booth Automatic Spin 35.4" for 1-
                                                                                    4 PPL Camera 360 Photo Booth CM4 with Free
                                                                                                                                                                                                      $
                                                                                                                                                                                                          1,04900
                                                                                                                                                                                                      FREE delivery January 11 - 18.
                                                                                    Custom Logo,Warehouse Spot,Ring Light for                                                                         Details
                                                                                    Parties,Camping,Business,Events(90cm Silver Flight                                                                     Deliver to Felipe -dMiami 33156

                                                                                    Case)                                                                                                             In stock
                                                                                    Visit the 360SPB Store
                                                                                                                                                                                                      Usually ships within 4 to 5 days.
                                                                                    5.0                   3 ratings
                                                                                                                                                                                                                   Add to Cart
                                                                                    $
                                                                                        1,04900
                                                                                                                                                                                                                        Buy Now
                                                                                        Or $48.03 /mo (36 mo). Select from 1 plan
                                                                                                                                                                                                      Ships from           360SPB Direct
                                                                                             Best price
                                                                                                                                                                                                      Sold by              360SPB Direct
                                                                                                                                                                                                      Returns              Non-returnable
                                                                                         Did you know? There's no annual fee for Prime Visa. Get a $150 Amazon Gift Card                                                   due to hazmat
                                                                                         instantly upon approval. Learn more                                                                                               safety reasons
                                                                                                                                                                                                      Payment              Secure transaction
                          Roll over image to zoom in                                Delivery & Support                                                                                                Customer Service 360SPB Direct
                                                                                                                                                                                                        See more
                                                                                    Select to learn more

                                                                                                                                                                                                          Add to List


                                                                        VIDEO             Ships from     Eligible for       Customer                                                                      Add to Baby Registry
                                                                                        360SPB Direct    Refund or           Support
                                                                                                        Replacement                                                                                       Add to Registry & Gifting


                                                                                    Size: 35.4" Silver Flight Case

                                                                                         23.6" Silver Flight Case         31.5"/80cm Flight Case          35.4" Silver Flight Case
                                                                                         $699.00                          $999.00                         $1,049.00


                                                                                         39.4" Flight Case
                                                                                         $1,299.00


                                                                                          澬360SPB is protected by Transparency by Amazon澭When you receive your product,
                                                                                          please look for the Transparency logo and code. You can scan it to verify its authenticity              16" Disney Action Figure with Fabric
                                                                                                                                                                                                  Clothing, by Super7…
                                                                                          with the Transparency app. To download the Transparency app, get it on the App Store
                                                                                                                                                                                                                   21
                                                                                          or Google Play.
                                                                                          澬Logo Customization澭Each 360 photo booth comes with a neutral logo. If you need a
                                                                                                                                                                                                  $   295 00
                                                                                          customized logo, please žnd your order, go to "Contact Seller" and leave your logo                                                          Sponsored
                                                                                          message. Otherwise we will send you a neutral logo.
                                                                                          澬Lots of Accessories澭We'll oŽer you lots of photo booth accessories for you, such as a
                                                                                          ring light, LED strip light, red carpet, money spray gun, two packs of atmosphere props,
                                                                                          tool kits,mask, etc.,
                                                                                          澬Multi-size options澭Choose from three diŽerent sizes of the 360 video photo booth.
                                                                                          Opt for the 23.6" suits 1 ppl.The 26.8" suits 1-2 ppl with a maximum load capacity of 660
                                                                                          LB. The 31.5" suits 1-3 ppl with a maximum load capacity of 770 LB. The 35.4" suits 1-4
                                                                                          ppl while the 39.4" suits 1-5 ppl with a maximum load capacity of 880 LB.
                                                                                          澬Real Feedback From Massive Users澭 Since its establishment, 360SPB has always
                                                                                          provided customers with satisfactory 360 booth camera machines. We have thousands of
                                                                                          real users and the trustscore 4.8 on trustpilot͠
                                                                                          澬3 Years Warranty澭During the warranty, whether the 360 camera booth machine is
                                                                                          missing parts or has any other non-human damage problems, please contact 360SPB in
                                                                                          time (you will get the professional service, and we will solve it for you ASAP ).

                                                                                          d Report an issue with this product or seller

                                                                                                                        360 Photo Booth Automatic Machine for Parties Wedding Events
                                                                                                                        Rental Business, 360 Video Booth Slow Motion Spinner with Remote
                                                                                                                        Control...

                                                                                                                                       24   |   $899.00

                                                                                                                        Shop now ›

                                                                                        Sponsored




  4 stars and above
  Sponsored




https://www.amazon.com/360SPB-Automatic-Warehouse-Parties-Business/dp/B0CFT9BD7T/ref=sr_1_1?m=A3LB888UF9DQ7R&marketplaceID=AT…                                                                                                                                    1/6
       Case
12/8/23,        1:23-cv-24366-BB
         10:43 AM                                     Document 10-1 Entered on FLSD
                                                                          Amazon.com    Docket 12/28/2023 Page 9 of 360
                                                                                     Checkout



                                                                         Checkout (1 item)
     1     Shipping                     John Doe                                                                   Change
           address                      3503 DAY AVE                                                                                        Place your order
                                        MIAMI, FL 33133-4904
                                                                                                                              By placing your order, you agree to Amazon's
                                        Add delivery instructions                                                                 privacy notice and conditions of use.


     2     Payment                      Paying with Mastercard 1953                                                Change     Order Summary
           method                       Billing address: Same as shipping address.
                                                                                                                              Subtotal (1 item):                    $999.00
                                              Add a gift card or promotion code or voucher                                    Shipping & handling:                       $0.00

                                              Enter code                        Apply                                         Total before tax:                     $999.00
                                                                                                                              Estimated tax to be
                                                                                                                              collected:*                            $69.93
     3     Review items and shipping
                                                                                                                              Order total:                   $1,068.93
                     Want to save time on your next order and go directly to this
                     step when checking out?                                                                                  How are shipping costs calculated?
                    Default to this delivery address and payment method.                                                      Why didn't I qualify for Prime Shipping?




              Arriving Dec. 21, 2023 - Dec. 28, 2023
              Items shipped from 360SPB Direct

                                360SPB 360 Photo Booth                  Choose a delivery option:
                                Machine 31.5" for 1-3                     Thursday, Dec. 21 - Thursday, Dec. 28
                                People CM3 Automatic                      FREE Standard Shipping
                                Manual Spin 360 Video
                                Booth 80cm for Parties
                                Weddings, Events with
                                Flight Case | Find us on GG,
                                Ytube, Trustpilot, FB, INS
                                $999.00
                                $
                                  Qty: 1

                                Sold
                                S ld b
                                  ld by: 36
                                         360S
                                         360
                                         360SPB Direct
                                Not eligible for Amazon Prime
                                (Learn more)

                                Gift options not available




                                           Order total: $1,068.93
                 Place your order          By placing your order, you agree to Amazon's privacy notice and conditions of
                                           use.




     *Why has sales tax been applied? See tax and seller information.
     Need help? Check our Help pages or contact us

     For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message
     acknowledging receipt of your order. Your contract to purchase an item will not be complete until we send you an
     email notifying you that the item has been shipped.

     Important information about sales tax you may owe in your state

     You may return new, unopened merchandise in original condition within 30 days of delivery. Exceptions and restrictions
     apply. See Amazon.com's Returns Policy.

     Need to add more items to your order? Continue shopping on the Amazon.com homepage.




https://www.amazon.com/gp/buy/spc/handlers/display.html?hasWorkingJavascript=1                                                                                                   1/1
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 10 of 360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 11 of 360




                    Defendant No.: 3

                          Store Name:
                           BO HENG

                             Platform:
                              Amazon




    23-cv-24366
      Case
12/28/23, 10:491:23-cv-24366-BB
                AM                                                Document 10-1 Entered   on Seller
                                                                                  Amazon.com FLSD      Docket
                                                                                                    Profile:      12/28/2023 Page 12 of 360
                                                                                                             BO HENG


    BO HENG
    Visit the BO HENG storefront

                       100% positive in the last 12 months (11 ratings)




    About Seller                                                                                                                                                  Have a question for BO HENG?

    BO HENG is committed to providing each customer with the highest standard of customer service.                                                                               Ask a question




    Feedback

                   4.7 out of 5                12 months                             FILTER BY
    11 ratings
                                                                                       All stars

    5 star                                               73%                         11 total ratings, 11 with feedback 12 months
    4 star                                               27%
                                                                                                        “ iPhone Case is really nice but arrived missing two rhinestones???? ”
    3 star                                               0%
                                                                                                        By Elyse Sessa on September 12, 2023.
    2 star                                               0%
                                                                                                        “ Love this case ”
    1 star                                               0%
                                                                                                        By Patricia J. on July 25, 2023.

      Learn more about how seller feedback works on
      Amazon                                                                                            “ I RECEIVED THE 360 PHOTO BOOTH YESTERDAY (4/19/23) THE CASE IT CAME IN WAS WORN & USED WITH A BROKEN
                                                                                                          STRAP! SOME OF THE SCREWS WERE BROKEN! THE LED STRIP WAS AL... ”
    Share your thoughts with other customers                                                            Read more

                                                                                                        By Felecia Taylor on April 20, 2023.
      Leave seller feedback
                                                                                                        Message from Amazon: This item was fulžlled by Amazon, and we take responsibility for this fulžllment experience.


                                                                                                        “ It does not hold 5 people. It takes about 3 people ”

                                                                                                        By Amazon Customer on March 24, 2023.


                                                                                                        “ Excelente ”

                                                                                                        By Excelente entrega on March 13, 2023.



                                                                                                                                                                 Previous Next




    Return & Refund Policies
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    For any issues with your return, if the product was shipped by the seller, you can get help here.




    Amazon's A-to-z Guarantee
    The Amazon A-to-z Guarantee protects you when you purchase items sold and fulžlled by a third party seller. Our guarantee covers both the timely delivery and the condition of your items. If either are unsatisfactory, you
    can report the problem to us and our team will determine if you are eligible for a refund.

    See full details




    Detailed Seller Information
    Business Name: Shenzhen Boheng Culture Media Co Ltd
    Business Address:
      ԧ৻॑Ԛ
      ⴽ‫־‬૨2՚B㯈302
      ࢋⴽ
      ௺ㇾԚ
      ‫ٺ‬Б
      518000
      CN




    Shipping Policies

    Other Policies

    Help



    Products
    See all products currently oŽered by the seller.



                                                                                                           Leave seller feedback




https://www.amazon.com/sp?ie=UTF8&seller=A2R96XBIFPF2LQ                                                                                                                                                                            2/3
      Case
12/28/23, 11:171:23-cv-24366-BB
                AM                    Document
                        Amazon.com: 360               10-1
                                        Photo Booth, 360 PhotoEntered   onforFLSD
                                                              Booth Machine   Parties Docket    12/28/2023
                                                                                      with RGB Ring                Page
                                                                                                    Light, Customizable    13Remote
                                                                                                                        Logo,  of 360
                                                                                                                                    Contro…

  Skip to main content Deliver to Felipe        All       Search Amazon
                                                                                                                                                                                                               Hello, Felipe                 Returns               0
                       Miami 33156                                                                                                                                                                     EN      Account & Lists               & Orders


     All    Medical Care    Amazon Basics             Buy Again   Today's Deals   Music   Groceries      Customer Service        Prime Video   Livestreams    Coupons        Pet Supplies                                                  07 : 42 : 12

                                                                   Lean Cuisine Frozen Meal Alfredo Pasta with Chicken Broccoli, Comfort Cravings Microwave…                                $   3 39
                                                                                                                                                                                                                                                         Sponsored
  ‹ Back to results


                                                                                                                   360 Photo Booth, 360 Photo Booth Machine
                                                                                                                   for Parties with RGB Ring Light, Customizable
                                                                                                                                                                                                                    $
                                                                                                                                                                                                                        99900
                                                                                                                                                                                                                    FREE delivery January 3 - 5.
                                                                                                                   Logo, Remote Control Automatic Slow Motion                                                       Details
                                                                                                                   360 Spin Camera Booth for 2-3 People                                                                   Deliver to Felipe - Miami 33156

                                                                                                                   (31.5"/80cm with Flight Case)                                                                    In Stock
                                                                                                                   Visit the oleevee Store
                                                                                                                                                                                                                        Quantity: 1


                                                                                                                   $
                                                                                                                       99900                                                                                                          Add to Cart


                                                                                                                   Or $58.97 /mo (24 mo). Select from 1 plan                                                                           Buy Now

                                                                                                                           Best price                                                                               Ships from              BO HENG
                                                                                                                                                                                                                    Sold by                 BO HENG
                                                                                                                   Or $46.11/month for 24 months on your eligible Citi credit card, with 9.99%
                                                                                                                                                                                                                    Returns                 Returnable until
                                                                                                                   promo APR
                                                                                                                                                                                                                                            Jan 31, 2024
                                                                                                                                                                                                                    Payment                 Secure transaction
                                                                                                                   Size: 80cm/31.5''+ Flight Case                                                                   Customer Service BO HENG
                                                                                                                                                                                                                      See more

                                                                                                                       68cm/26.8''+ Flight Case        80cm/31.5''+ Flight Case
                                                                                                                       $899.00                         $999.00                                                          Add to List

                                                                                                                       100cm/39.4''+ Flight Case       115cm/45.3''+ Flight Case                                        Add to Baby Registry
                                                                                                                       $1,099.00                       $1,699.00

                                                                                                                                                                                                                        Add to Registry & Gifting
                                                                                                                          [Make Your Life More Exciting] Our 360 photo booth for parties renders
                                                                                                                       an unparalleled 360 video experience for you, your clients, and their party
                                                                                                                       guests. The 360 camera booth comes with ring light and a rotation arm
                                                                                                                       which can support iPad, camera and smartphone. You can easily record your
                                                 Roll over image to zoom in                                            wonderful moments in all directions, share them on social platforms and
                                                                                                                       create amazing images, videos, and live streaming videos. The ring light
                                                                                                                       requires a power bank (not included).
                                                                                                                          [ 360 Photo Booth for Parties ] People stand on a 360 spin photo booth
                                                                                                                       machine carnival,the 360 camera booth can record your wonderful
                                                                                                                       moments in all directions. (Perfect for making your DIY videos).You can
                                                                                                                       share to your friends or social platforms.                                               Super7 Supersize Disney Pinocchio
                                                                                                                                                                                                                Action Figure with Fabric Clothing…
                                                                                                                          [Handheld Remote Control ] Through the Button, you can wirelessly
                                                                                                                                                                                                                                      21
                                                                                                                       control the speed of the 360 camera booth machine rotation, spin clockwise
                                                                                                                       or counterclockwise. The length and angle of the selfie stick can be adjusted
                                                                                                                                                                                                                $
                                                                                                                                                                                                                    295 00
                                                                                                                       as your needed. The selfie 360 rotating photo booth are also equipped with
                                                                                                                                                                                                                                                       Sponsored
                                                                                                                       multicolor led strip light , sticker and other props to increase the sense of
                                                                                                                       atmosphere.
                                                                                                                          [ What Size Should You Choose ] The diameter 26.8"/31.5"/39.4" 360
                                                                                                                       photo booth machine load-bearing is about 220lb/440lb/660lb for 1-5
                                                                                                                       people to stand on. We oﬀer Flight Case for each 360 photo booth machine,
                                                                                                                       the flight case will make you look more professional.
                                                                                                                          [ How To Get Your Logo ] Oleevee 360 photo booth with FREE LOGO. If
                                                                                                                       you have any questions, please contact us anytime and we will reply within
                                                                                                                       12 hours. YOUR FIRST CUSTOMIZED LOGO is FREE to every 360 photo
                                                                                                                       booth order after payment, please contact us by Email and provid the clear
                                                                                                                       logo file (support AI PSD CDR PNG JPG ).

                                                                                                                         Report an issue with this product or seller




                            Flash TTL Flash with QPRO-C Trigger, by Neewer…
                                           50
                            $249 99

                             Save $15 with coupon



   Sponsored



  Based on your recent views                                                                                                                                                                                                                        Page 1 of 58
  Sponsored




                Sabeeney 360 Photo               ZANOGI 360 Photo                 ZANOGI 360 Photo              KRICIKR 360 Photo                 360 Photo Booth                   HOGSITY 360 Photo                   MWE 360 Photo Booth
                Booth Machine 23.6in,            Booth Machine with               Booth Machine with            Booth Machine for                 Machine for Parties,39.4          Booth Machine for                   Machine for Parties with
                360 Camera Video Booth           Battery Pack&APP for             Battery Pack&APP for          Parties,360 Camera                360 Spin Video Photo              Parties 31.6" for 2-4               Extra Battery,Logo
                with Flight Case, 1...           Parties,115cm Slow…              Parties,100cm Slow…           Booth with Battery…               Booth APP/2in1…                   PPL,with APP,Wireless…              Customization,Softw...
                $599.00                                      6                                75                             36                   $2,199.00                                       28                                 269
                                                 $1,499.00                        $1,699.00                     $1,699.00                         Save $500.00 with coupon          $1,199.00                           $1,099.00
                                                  Save $100.00 with coupon                                                                                                          Save $200.00 with coupon



  Smart Home deals for you                                                                                                                                                                                                                     Page 1 of 3

https://www.amazon.com/Machine-Parties-Customizable-Control-Automatic/dp/B0CQ822B5Y/ref=sr_1_17?m=A2R96XBIFPF2LQ&marketplaceID=AT…                                                                                                                                     1/3
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                AM                                              Document 10-1 EnteredAmazon.com
                                                                                      on FLSDCheckout
                                                                                                Docket 12/28/2023 Page 14 of 360

                                                                                                      Checkout (1 item)
                  1     Shipping address                      Jhon Doe                                                                                Change
                                                              3503 DAY AVE                                                                                                       Place your order
                                                              MIAMI, FL 33133-4904
                                                                                                                                                                   By placing your order, you agree to Amazon's
                                                              Add delivery instructions                                                                                privacy notice and conditions of use.


                  2     Special delivery                      360 Photo Booth, 360 Photo Booth Machine for Parties with RGB                           Change       Order Summary
                        options                               Ring Light, Customizable Logo, Remote Control Automatic Slow
                                                              Motion 360 Spin Camera Booth for 3-5 People (39.4"/100cm with                                        Items:                                $899.00
                                                              Flight Case)                                                                                         Shipping & handling:                       $0.00

                                                                                                                                                                   Total before tax:                     $899.00

                  3     Payment method                        Paying with Mastercard 1926                                                             Change       Estimated tax to be collected:*        $62.93

                                                              Billing address: Same as shipping address.
                                                                                                                                                                   Order total:                      $961.93
                                                                 Add a gift card or promotion code or voucher

                                                                  Enter code                        Apply
                                                                                                                                                                   How are shipping costs calculated?
                                                                 Apply Capital One Rewards $17.82 (17.82 points) available                                         Why didn't I qualify for Prime Shipping?


                  4     Review items and shipping

                                  Want to save time on your next order and go directly to this step when checking
                                  out?
                                 Default to this delivery address and payment method.




                           Arriving Jan. 3, 2024 - Jan. 5, 2024
                           Items shipped from BO HENG

                                             360 Photo Booth, 360 Photo Booth                     Choose a delivery option:
                                             Machine for Parties with RGB Ring                      Wednesday, Jan. 3 - Friday, Jan. 5
                                             Light, Customizable Logo, Remote                       FREE Standard Shipping
                                             Control Automatic Slow Motion 360
                                             Spin Camera Booth for 3-5 People                     Get text updates
                                                                                                     You consent to receive texts from us for this
                                             (39.4"/100cm with Flight Case)
                                             $                                                       delivery at 3056700323. Change
                                             $899.00
                                               Qty: 1

                                             Sold
                                             S ld b
                                                  by: BO HENG
                                             Not eligible for Amazon Prime (Learn more)

                                             Gift options not available




                              Place your order
                                                        Order total: $961.93
                                                        By placing your order, you agree to Amazon's privacy notice and conditions of use.




                  *Why has sales tax been applied? See tax and seller information.

                  Need help? Check our Help pages or contact us

                  For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message acknowledging receipt of your
                  order. Your contract to purchase an item will not be complete until we send you an email notifying you that the item has been shipped.

                  Important information about sales tax you may owe in your state

                  You may return new, unopened merchandise in original condition within 30 days of delivery. Exceptions and restrictions apply. See Amazon.com's
                  Returns Policy.

                  Need to add more items to your order? Continue shopping on the Amazon.com homepage.




https://www.amazon.com/gp/buy/spc/handlers/display.html?hasWorkingJavascript=1                                                                                                                                        1/1
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                    Defendant No.: 4

                          Store Name:
                          Ceiveilas US

                             Platform:
                              Amazon




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                AM                                               Document 10-1 Entered   onSeller
                                                                                Amazon.com  FLSD        Docket
                                                                                                  Profile: Ceiveilas12/28/2023
                                                                                                                     US        Page 17 of 360

   Ceiveilas US
   Visit the Ceiveilas US storefront

                      95% positive lifetime (59 total ratings)




   About Seller                                                                                                                                                  Have a question for Ceiveilas US?

   Ceiveilas US is committed to providing each customer with the highest standard of customer service.                                                                        Ask a question




   Feedback

                  4.8 out of 5                    Lifetime                          FILTER BY
   59 ratings
                                                                                      All stars

   5 star                                                95%                        59 total ratings, 59 with feedback Lifetime
   4 star                                                0%
                                                                                                       “ THE ITEM IS COOL, THOUGH, MORE SHOULD BE EXPLAINED ND CLEAR IN THE SELLING OF SUCH BULK ITEMS. OVERALL,
   3 star                                                2%                                              WE IRONED OUT THE GLITCHES AND I WILL ENJOY MY 360 AS MU... ”
                                                                                                       Read more
   2 star                                                2%
                                                                                                       By DeRa on November 20, 2023.
   1 star                                                2%
                                                                                                       “ I Never recived the item      ”
     Learn more about how seller feedback works on
     Amazon                                                                                            By Purple rain on November 14, 2023.

                                                                                                       Message from Amazon: The fulžllment issues associated with this order were not due to the seller
   Share your thoughts with other customers
                                                                                                       “ I just want to say that this seller is the best seller that I have dealt with on Amazon. The Customer Service is amazing and
     Leave seller feedback
                                                                                                         A1. I celebrated my 50th birthday a... ”
                                                                                                       Read more

                                                                                                       By Dru on October 30, 2023.


                                                                                                       “ I need a logo for my 360 machine ”

                                                                                                       By Shundra Gandy on October 20, 2023.


                                                                                                       “ I’m still waiting for my logo! I don’t know why it came with some one else’s logo on it. I would greatly appreciate it if you
                                                                                                         send me my logo. It has been passe... ”
                                                                                                       Read more

                                                                                                       By Amazon Customer on October 15, 2023.

                                                                                                       “ Your customized logo was printed half a month ago. I contacted you many times through amazon backend message . But
                                                                                                         no reply from you. Because I don't have your... ”
                                                                                                       Read more

                                                                                                       By Ceiveilas US on October 17, 2023.


                                                                                                                                                                Previous Next




   Return & Refund Policies
   To get information about the Return and Refund policies that may apply, please refer to Amazon’s Return and Refund policy.

   To initiate a return, visit Amazon's Online Return Center to request a return authorization from the seller.

   For any issues with your return, if the product was shipped by the seller, you can get help here.




   Amazon's A-to-z Guarantee
   The Amazon A-to-z Guarantee protects you when you purchase items sold and fulžlled by a third party seller. Our guarantee covers both the timely delivery and the condition of your items. If either are unsatisfactory, you
   can report the problem to us and our team will determine if you are eligible for a refund.

   See full details




   Detailed Seller Information
   Business Name: Lei Jialong
   Business Address:
     B1109-25, Zhongshen Garden, No. 2010 Caitian Road
     Fushan Community, Futian Street, Futian District
     Shenzhen
     Guangdong
     518000
     CN




   Shipping Policies

   Other Policies

   Help



   Products

https://www.amazon.com/sp?ie=UTF8&seller=AQQ6AQEWM1D07                                                                                                                                                                                   3/5
      Case
12/28/23, 10:561:23-cv-24366-BB
                AM       Amazon.com Document       10-1
                                    : 360 Photo Booth       Entered
                                                      Machine          on FLSD
                                                              with RGB Ring           Docket
                                                                            Light, 80cm          12/28/2023
                                                                                        31.5 in for                   Page
                                                                                                    5 People with Flight      18 :ofElectronics
                                                                                                                         Case2222     360
  Skip to main content Deliver to Felipe         All       Search Amazon
                                                                                                                                                                                                               Hello, Felipe              Returns               0
                       Miami 33156                                                                                                                                                                       EN    Account & Lists            & Orders


     All     Medical Care        Amazon Basics         Buy Again    Today's Deals   Music   Groceries     Customer Service         Prime Video    Livestreams      Coupons   Pet Supplies                                              08 : 03 : 33

                                                                                     1% Precise Min Dimming/360° RGB/CRI97+/3200K~5600K                                                       $   319 99
                                                                                                                                                                                                                                                      Sponsored

 Consider these alternative items
                            Newest 360 Photo Booth 26.8.inch PRO with APP                                      360 Photo Booth Machine for Parties Free Custom                                     360 Photo Booth with RGB Ring Light,
                            Control, RGB Ring Light, Remote Control,                                           Logo with Ring Light 3 People Stand on Remote                                       Customizable Logo, 360 Photo Booth Machine,
                            Customizable Logo, 360 Photo Booth Machine for                                     Control Automatic Slow Motion 360 Spin Photo                                        360 Slow Motion Rotating 26.8in PRO for 1-3
                            Parties for 1-3 People Stand with Flight Case                                      Camera Booth 80cm 31.5 inch with Flight Case                                        People with Flight Case
                                          33                                                                                   9                                                                                36
                            $   84900                                                                          $   72900                                                                           $   79900
  ‹ Back to results



                                                                                                                      360 Photo Booth Machine with RGB Ring
                                                                                                                      Light, 80cm 31.5 in for 5 People with Flight
                                                                                                                                                                                                                    $
                                                                                                                                                                                                                        89900
                                                                                                                                                                                                                    FREE delivery January 8 - 11.
                                                                                                                      Case2222                                                                                      Details
                                                                                                                      Brand: Ceiveilas
                                                                                                                      4.0                        5 ratings | 6 answered questions                                   Or fastest delivery January 3 -
                                                                                                                                                                                                                    5. Details
                                                                                                                      $
                                                                                                                          899   00
                                                                                                                                                                                                                         Deliver to Felipe -dMiami 33156

                                                                                                                      Or $53.07 /mo (24 mo). Select from 1 plan                                                     Only 9 left in stock - order
                                                                                                                                                                                                                    soon.
                                                                                                                      Coupon: d          d$50 coupon applied to one item per order at checkout Terms
                                                                                                                                                                                                                                 Add to Cart

                                                                                                                             Best price
                                                                                                                                                                                                                                      Buy Now

                                                                                                                      Pay $74.92/month for 12 months, interest-free upon approval for Prime                         Ships from           Ceiveilas US
  2 VIDEOS                                                                                                            Visa                                                                                          Sold by              Ceiveilas US
                                                                                                                                                                                                                    Returns              Returnable until
                                                                                                                          Unique Experience: 360 photo booth provide a unique and immersive
                                                                                                                                                                                                                                         Jan 31, 2024
                                                                                                                          experience for users. Guests can capture a full 360-degree view of                        Payment              Secure transaction
                                                                                                                          themselves or the surroundings, which is not possible with traditional photo              Customer Service Ceiveilas US
                                                                                                                                                                                                                      See more
                                                                                                                          booths.
                                                                                                                          Social Media Sharing: With the rise of social media, guests want to share                 Add a Protection Plan:
                                                                                                                          their experiences with their friends and followers. 360 photo booth                            Tech Unlimited – Protect
                                                                                                                          machines allow guests to instantly share their photos or videos on social                      Eligible Past and Future
                                                                                                                          media platforms.                                                                               Purchases with 1 Plan
                                                                                                                          Easy to Use: Most 360 photo booth machines are easy to set up and use.                         (Renews Monthly Until
                                                                                                                          Guests can simply step inside the booth, press a button, and capture their                     Cancelled) for
                                                                                                                          360-degree photo or video.                                                                     $16.99/month

                                                  Roll over image to zoom in                                              Memory Keepsake: 360-degree photos or videos can be a unique memory
                                                                                                                          keepsake for guests to take home and cherish for years to come.                               Add to List
                                                                                                                          Branding Opportunities: 360 photo booths can be customized with branding
                                                                                                                          and logos, making them a great marketing tool for businesses or events.                       Add to Baby Registry


                                                                                                                           d Report an issue with this product or seller                                                Add to Registry & Gifting




                                                          BOTE Inſatable Dock Hangout Suite,
                                                          Customizable Conžgurations…
                                                                                                                                                                                                                                          Dowshata 360
                                                           15% oŽ   Deal
                                                                                                                                                                                                                                          Photo Booth
                                                          $594 14
                                                                    $699.00


   Sponsored

                                                                                                                                                                                                                Dowshata 360 Photo Booth Machine,
                                                                                                                                                                                                                26.8" with Flight Case, 68cm 360…
  Products related to this item                                                                                                                                                                                 $   6 99 00
  Sponsored
                                                                                                                                                                                                                                                    Sponsored




              ZANOGI 360 Photo            360 Photo Booth 45.3"             Dowshata 360 Photo          MWE 360 Photo Booth            360 Photo Booth               360 Photo Booth 80cm +       HOGSIT
              Booth Machine with          Machine with Flight case          Booth Machine 26.8''        Machine for Parties with       Automatic Machine for         Extra Battery Custom         Booth M
              Battery Pack&APP for        + Extra Free Battery Ring         with Flight Case, 68cm      Extra Battery,Logo             Parties Wedding Events        Logo, App Remote             Parties f
              Parties,115cm Slow…         Light 7 Pe...                     360 Degree Automatic...     Customization,Softw...         Rental Business, 360 V...     Control, FUTOBOOZ…           APP,Wir
                          6                             136                              5                           269                            24                            11
              $1,499.00                   $1,999.00                         $699.00                     $1,099.00                      $999.00                       $899.00                      $849.0
              Save $100.00 with coupon                                                                                                 Save $50.00 with coupon




  4 stars and above
  Sponsored




https://www.amazon.com/360-Machine-People-Flight-Case2222/dp/B0CH75RLX7/ref=sr_1_3?m=AQQ6AQEWM1D07&marketplaceID=ATVPDKIKX0…                                                                                                                                        1/4
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                    Defendant No.: 5

                          Store Name:
                          TYTY USA

                             Platform:
                              Amazon




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      Case
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                AM                                                          Document 10-1 Entered  on Seller
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                                                                                                                      TYTY USA

 Skip to main content Deliver to Felipe          All       Search Amazon
                                                                                                                                                                                                               Hello, Felipe       Returns      0
                      Miami 33156                                                                                                                                                                       EN     Account & Lists     & Orders


   All     Medical Care          Amazon Basics         Buy Again     Today's Deals   Music   Groceries      Customer Service     Prime Video        Livestreams   Coupons   Pet Supplies                                         08 : 56 : 31




    About Seller                                                                                                                                                             Have a question for TYTY USA?

    TYTY USA is committed to providing each customer with the highest standard of customer service.                                                                                        Ask a question




    Feedback

                      3.9 out of 5                        Lifetime                            FILTER BY
    19 ratings
                                                                                                All stars

    5 star                                                         68%                        19 total ratings, 19 with feedback Lifetime
    4 star                                                         0%
                                                                                                                 “ great customer service ”
    3 star                                                         11%
                                                                                                                 By Vicky on December 13, 2023.
    2 star                                                         0%
                                                                                                                 “ High quality, strong inground swimming pool ladder! ”
    1 star                                                         21%
                                                                                                                 By J. Sanders on August 2, 2023.

         Learn more about how seller feedback works on
         Amazon                                                                                                  “ Perfect replacement ladder. ”

                                                                                                                 By Michelle on June 30, 2023.
    Share your thoughts with other customers

         Leave seller feedback                                                                                   “ When I ordered everything came but the printer. I contacted the seller and they sent a printer that didn't work. But they
                                                                                                                   made it right
                                                                                                                           righ
                                                                                                                             g t and sent a second prin
                                                                                                                                                   p    te... ”
                                                                                                                                                   printe
                                                                                                                                                   printe...
                                                                                                                 R d more
                                                                                                                 Read


    TYTY USA                                                                                                     By Kindle Customer on June 29, 2023.                                                        DOEL 360 Photobooth Machine A…
                                                                                                                                                                                                             USD   99900
    Visit the TYTY USA storefront                                                                                “ Hi I never got the replacement face part. I sent you guys a photo of the broken part and was advised it would be replaced
                       68% positive lifetime (19 total ratings)                                                    but have not got it ”                                                                             Add to Cart
                                                                                                                 By Amazon Customer on June 29, 2023.

                                                                                                                 Message
                                                                                                                 Mess age
                                                                                                                       g from Amazon:
                                                                                                                              Amazon: This ite
                                                                                                                                           itemm was
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                                                                                                                                                                            Previous Next




    Return & Refund Policies
    Please refer to the Amazon.com Return Policy .




    Detailed Seller Information
    Business Name: sichuantaiyitianyuekejiyouxiangongsi
    Business Address:
      ‫םڄמ‬ଳИ࠼1388՚1㎣9ࠡ993՚
      ۨୃ
      ௤‫ޏ‬Ԛ
      ٕ֚
      610000
      CN




    Shipping Policies

    Other Policies

    Help



    Products
    See all products currently oﬀered by the seller.



                                                                                                                   Leave seller feedback




      Books you may like



https://www.amazon.com/sp?ie=UTF8&seller=AUVUP0AJ1WQ5C&asin=B09R7NQ45T&ref_=dp_merchant_link&isAmazonFulfilled=1                                                                                                                                    1/3
      Case
12/28/23, 10:021:23-cv-24366-BB
                AM                    Document
                        Amazon.com : DOEL           10-1Machine
                                          360 Photobooth   Entered    onSpinner
                                                                Automatic FLSD     Docket
                                                                                Platform       12/28/2023
                                                                                         - Portable               Page
                                                                                                    Slow Motion Selfie Spin 22   of 360
                                                                                                                            Platform, with Ri…

  Skip to main content Deliver to Felipe    All       Search Amazon
                                                                                                                                                                                                    Hello, Felipe              Returns               0
                       Miami 33156                                                                                                                                                          EN      Account & Lists            & Orders


     All    Medical Care    Amazon Basics         Buy Again   Today's Deals   Music    Groceries    Customer Service    Prime Video      Livestreams      Coupons   Pet Supplies                                            08 : 57 : 02
                                                                              360 Photo Booth Free Customized Logo                                                    $719 00             Save 15% with coupon
                                                        360 Photo Booth, Software APP, Free Logo Customization, Handheld Remote Control or…

                                                                                                                                                                                                                                           Sponsored
  ‹ Back to results


                                                                                                              DOEL 360 Photobooth Machine Automatic
                                                                                                              Spinner Platform - Portable Slow Motion
                                                                                                                                                                                                         $
                                                                                                                                                                                                             99900
                                                                                                              Selže Spin Platform, with Ring Light &
                                                                                                                                                                                                         FREE delivery Thursday,
                                                                                                              Adjustable Camera Stand(39.4'' with Al Box)                                                January 4. Order within 14 hrs
                                                                                                              Brand: DOEL                                                                                44 mins
                                                                                                              1.0                      1 rating
                                                                                                                                                                                                              Deliver to Felipe -dMiami 33156

                                                                                                              $
                                                                                                                  999   00                                                                               Only 1 left in stock - order
                                                                                                                                                                                                         soon.
                                                                                                              Or $58.97 /mo (24 mo). Select from 1 plan
                                                                                                                                                                                                                      Add to Cart

                                                                                                                      Best price                                                                                           Buy Now


                                                                                                              Pay $83.25/month for 12 months, interest-free upon approval for Prime                      Ships from           Amazon
   VIDEO                                                                                                      Visa                                                                                       Sold by              TYTY USA
                                                                                                                                                                                                         Returns              Returnable until
                                                                                                              Delivery & Support                                                                                              Jan 31, 2024
                                                                                                                                                                                                         Payment              Secure transaction
                                                                                                              Select to learn more
                                                                                                                                                                                                         Support
                                                                                                                                                                                                           See more           Product support

                                                                                                                                                                                                         Add a Protection Plan:
                                                                                                                  Ships from   Returnable until   Customer                                                    Tech Unlimited – Protect
                                                                                                                   Amazon       Jan 31, 2024       Support                                                    Eligible Past and Future
                                                                                                                                                                                                              Purchases with 1 Plan
                                                                                                                                                                                                              (Renews Monthly Until
                                                                                                              Color                  39.4'' with Al Box                                                       Cancelled) for
                                                                                                              Brand                  DOEL                                                                     $16.99/month
                                                                                                              Compatible             Tablet, Cellphone, Camera                                                Add a gift receipt for easy
                                             Roll over image to zoom in
                                                                                                              Devices                                                                                         returns

                                                                                                              About this item
                                                                                                                                                                                                             Add to List
                                                                                                                  360 Photo Booth Machine for Parties - Can be used it to shoot HD slow
                                                                                                                  motion, GIF and video. These photos or videos can be saved to your device                  Add to Baby Registry
                                                                                                                  or shared instantly to your social platforms like Instagram, Facebook and
                                                                                                                  Twitter. No need to wait, just shoot and share, share your every happy                     Add to Registry & Gifting
                                                                                                                  moment with your family and friends!
                                                                                                                  360 Photo Booth is the most versatile booth available – featuring
                                                                                                                  compatibility with many diŽerent versions of photo capture technology.
                                                                                                                  Whether you are using a smartphone, iPad, GoPro or SLR camera, it will                 New & Used (2) from
                                                                                                                  bring you the amazing video eŽect.                                                     $
                                                                                                                                                                                                             99900
                                                                                                                  Include APP - We are equipped with DEOL BOOTH software that can be
                                                                                                                  adapted to Android and IOS, you can contact us to download and use free/3
                                                                                                                  months. You can also use a variety of software to add žlters and animations
                                                                                                                  to the work you shoot out. Many interesting ways to play are waiting for
                                                                                                                  your whimsical ideas to complete!
                                                                                                                  Complete accessories - The brightness of ring light adjustment ranges from
                                                                                                                  0% to 100%. Its color temperature is between 3200K and 6500K. With
                                                                                                                  adjustable color temperature, the led ring light can even out skin tones for
                                                                                                                  more glamorous photos or videos. Equipped with colorful lights, to satisfy
                                                                                                                  your various shooting needs when you have to shoot in limited conditions.          16" Disney Action Figure with Fabric
                                                                                                                  Product Features - This product has a platform diameter of 100cm/39.4              Clothing, by Super7…
                                                                                                                                                                                                                      21
                                                                                                                  inches and can accommodate 2-4 people. 360-degree rotation, split desig,
                                                                                                                  telescopic rod, 7 speeds available, adjustable angle, wireless remote control
                                                                                                                                                                                                     $   295 00
                                                                                                                  with four buttons and Bluetooth control. Professional after-sales team, 24-
                                                                                                                                                                                                                                         Sponsored
                                                                                                                  hour customer service.

                                                                                                                   d Report an issue with this product or seller




                               1% Precise Min                                     Neewer Upgraded 660
                               Dimming/360°                                       PRO II RGB LED Video…
                                                                                               60
                               RGB/CRI97+/3200
                               K~5600K
                                                                                  $   319 99

   Sponsored



  4 stars and above
  Sponsored




https://www.amazon.com/DOEL-Photobooth-Machine-Automatic-Platform/dp/B09R7NQ45T/ref=sr_1_17?m=AUVUP0AJ1WQ5C&marketplaceID=AT…                                                                                                                            1/4
      Case
12/28/23, 2:36 1:23-cv-24366-BB
               PM                                               Document 10-1 Entered on FLSD
                                                                                    Amazon.com   Docket 12/28/2023 Page 23 of 360
                                                                                               Checkout


                                                                                                      Checkout (1 item)
                  1     Shipping address                      Jhon Doe                                                                                Change
                                                              3503 DAY AVE                                                                                                       Place your order
                                                              MIAMI, FL 33133-4904
                                                                                                                                                                   By placing your order, you agree to Amazon's
                                                              Add delivery instructions                                                                                privacy notice and conditions of use.


                  2     Payment method                        Paying with Mastercard 1926                                                             Change       Order Summary
                                                              Billing address: Same as shipping address.
                                                                                                                                                                   Items:                               $999.00
                                                                 Add a gift card or promotion code or voucher                                                      Shipping & handling:                   $0.00

                                                                  Enter code                        Apply                                                          Total before tax:                    $999.00
                                                                                                                                                                   Estimated tax to be collected:        $69.93
                                                                 Apply Capital One Rewards $17.82 (17.82 points) available
                                                                                                                                                                   Order total:                     $1,068.93
                  3     Review items and shipping

                                                                                                                                                                   How are shipping costs calculated?
                                  Want to save time on your next order and go directly to this step when checking
                                                                                                                                                                   Prime shipping benefits have been applied to
                                  out?
                                                                                                                                                                   your order.
                                 Default to this delivery address and payment method.




                                                        Get a $125 Amazon Gift Card upon approval for the Amazon Business Prime American
                                                        Express Card. Terms apply.
                                                        Learn more

                           Arriving Jan. 7, 2024
                           Items shipped from Amazon.com

                                             DOEL 360 Photobooth Machine                          Choose your Prime delivery option:
                                             Automatic Spinner Platform - Portable                  Sunday, Jan. 7
                                             Slow Motion Selfie Spin Platform, with                 FREE Delivery
                                             Ring Light & Adjustable Camera
                                             Stand(39.4'' with Al Box)
                                             $
                                             $999.00
                                               Qty: 1
                                             Sold
                                             S ld b
                                                  by:
                                                   y TYTY
                                                      TYT USA
                                                  Add gift options




                              Place your order
                                                        Order total: $1,068.93
                                                        By placing your order, you agree to Amazon's privacy notice and conditions of use.




                  *Why has sales tax been applied? See tax and seller information.

                  Need help? Check our Help pages or contact us

                  For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message acknowledging receipt of your
                  order. Your contract to purchase an item will not be complete until we send you an email notifying you that the item has been shipped.

                  Important information about sales tax you may owe in your state

                  You may return new, unopened merchandise in original condition within 30 days of delivery. Exceptions and restrictions apply. See Amazon.com's
                  Returns Policy.

                  Need to add more items to your order? Continue shopping on the Amazon.com homepage.




https://www.amazon.com/gp/buy/spc/handlers/display.html?hasWorkingJavascript=1                                                                                                                                    1/1
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 24 of 360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 25 of 360




                    Defendant No.: 6

                          Store Name:
                           Dowshata

                             Platform:
                              Amazon




    23-cv-24366
      Case
12/28/23, 10:181:23-cv-24366-BB
                AM                                               Document 10-1 Entered  on Seller
                                                                                 Amazon.com FLSD     Docket
                                                                                                  Profile:      12/28/2023 Page 26 of 360
                                                                                                           Dowshata


   Dowshata
   Visit the Dowshata storefront

                      91% positive lifetime (45 total ratings)




   About Seller                                                                                                                                                  Have a question for Dowshata?

   Dowshata is committed to providing each customer with the highest standard of customer service.                                                                           Ask a question




   Feedback

                  4.7 out of 5                    Lifetime                          FILTER BY
   45 ratings
                                                                                      All stars

   5 star                                                84%                        45 total ratings, 45 with feedback Lifetime
   4 star                                                7%
                                                                                                       “ Good service needs more workers like him. ”
   3 star                                                4%
                                                                                                       By John D. on October 24, 2023.
   2 star                                                2%
                                                                                                       “ Can you please send me a photo of the proper battery for the 360? I would appreciate ”
   1 star                                                2%
                                                                                                       By joe S. on October 20, 2023.

     Learn more about how seller feedback works on
     Amazon                                                                                            “ Just purchased it and used it for a couple times. The wok shows blue purple stain/ color...is this normal? I took pictures but
                                                                                                         can't attach it from here. Is the... ”
   Share your thoughts with other customers                                                            Read more

                                                                                                       By E on November 16, 2022.
     Leave seller feedback

                                                                                                       “ The circumference of the lid is cracked and chipped. The edge of the spoon is uneven as well. Amazon can only do refund
                                                                                                         not replacement. ”
                                                                                                       By Cecilia C. on November 6, 2022.


                                                                                                       “ Great service!! Order arrived a day or two early. ”

                                                                                                       By D P. on October 24, 2022.



                                                                                                                                                               Previous Next




   Return & Refund Policies
   To get information about the Return and Refund policies that may apply, please refer to Amazon’s Return and Refund policy.

   To initiate a return, visit Amazon's Online Return Center to request a return authorization from the seller.

   For any issues with your return, if the product was shipped by the seller, you can get help here.




   Amazon's A-to-z Guarantee
   The Amazon A-to-z Guarantee protects you when you purchase items sold and fulžlled by a third party seller. Our guarantee covers both the timely delivery and the condition of your items. If either are unsatisfactory, you
   can report the problem to us and our team will determine if you are eligible for a refund.

   See full details




   Detailed Seller Information
   Business Name: ZhouHui
   Business Address:
     क़ँ੪ଳक़ٌ॑Ԛ‫ँڦ‬૨2010՚ИࢋਰⴃB‫ڇ‬1015-S045
     ࢋⴽ١
     क़ँԚ
     ‫ٺ‬Бम
     518000
     CN




   Shipping Policies

   Other Policies

   Help



   Products
   See all products currently oŽered by the seller.



                                                                                                          Leave seller feedback




https://www.amazon.com/sp?ie=UTF8&seller=A1FNHIFHJLVMQ8                                                                                                                                                                                   2/4
      Case
12/5/23,       1:23-cv-24366-BB
         4:54 PM                      Document
                      Amazon.com : Dowshata 360 Photo10-1    Entered
                                                      Booth Machine 39.4'' on
                                                                           with FLSD     Docket
                                                                                Flight Case,           12/28/2023
                                                                                             Infinity Glass             Page
                                                                                                            360 Camera Booth    27 3-5
                                                                                                                             100cm, of People
                                                                                                                                       360 S…
  Skip to main content
                             Deliver to Felipe
                                                 All   Search Amazon
                                                                                                                                            Hello, Felipe              Returns               0
                             Miami 33156                                                                                             EN     Account & Lists            & Orders


     All     Holiday Deals     Medical Care        Amazon Basics   Today's Deals   Music     Groceries      Customer Service    Buy Again     Gear up for Thursday Night Football


                                        [Upgraded] 360 Photo Booth Machine, 32" PRO for 1-4 +Flight Case, Free Custom Logo…                        $
                                                                                                                                                       949 00
                                                                                                                                                                                   Sponsored
  ‹ Back to results



                                                                                     Dowshata 360 Photo Booth
                                                                                     Machine 39.4'' with Flight
                                                                                                                                               $
                                                                                                                                                   2,39900
                                                                                                                                                             Scheduled Delivery
                                                                                     Case, Inžnity Glass 360
                                                                                                                                               FREE scheduled delivery as soon
                                                                                     Camera Booth 100cm, 3-5                                   as Sunday, December 10,
                                                                                                                                               8 AM - 8 PM
                                                                                     People Stand on Remote
                                                                                                                                                       Deliver to Felipe -dMiami 33156
                                                                                     Control 360 Degree
                                                                                                                                               Only 6 left in stock - order
                                                                                     Automatic Rotating                                        soon.
                                                                                     Visit the Dowshata Store
                                                                                     4.6                   2 ratings                                           Add to Cart

                                                                                     $
                                                                                         2,39900                                                                 Buy Now

                                                                                      Or $94.94 /mo (48 mo). Select from 1 plan                Ships from Amazon
  4 VIDEOS                                                                                      Scheduled Delivery                             Sold by         Dowshata
                                                                                                                                               Returns         Returnable until Jan 31,
                                                                                      Coupon: d    Apply $500 coupon
                                                                                                                                                               2024
                                                                                      Shop items | Terms                                       Payment         Secure transaction
                                                                                     With Amazon Business, you would have saved
                                                                                                                                                       Add a gift receipt for easy
                                                                                     $221.82 in the last year. Create a free account
                                                                                                                                                       returns
                                                                                     and save up to 5% today.
                                                                                     Delivery & Support
                                                                                                                                                   Add to List
                                                                                     Select to learn more
                                                                                                                                                   Add to Baby Registry


                                                                                      Ships from Returnable      Customer                          Add to Registry & Gifting
                                                                                       Amazon until Jan 31,       Support
                                   Roll over image to zoom in
                                                                                                   2024



                                                                                     Size: 39.4'' Glass + Flight Case
                                                                                                                                               Save up to 5% on this product
                                                                                         31.5'' Glass + Flight Case                            with business-only pricing.
                                                                                         $2,199.00
                                                                                                                                                          Create a free account

                                                                                         39.4'' Glass + Flight Case
                                                                                         $2,399.00

                                                                                                                                                                       10-15 People
                                                                                            Size: The 39.4''/100cm 360 camera booth                                    Stand Free
                                                                                          machine is suitable for 1-5 people.                                          Customized
                                                                                                                                                                       Logo
                                                                                             High-Quality: With its 360-degree
                                                                                          rotation feature, you can adjust the height
                                                                                          and angle to perfectly suit your position
                                                                                          when you're taking photos or recording             Overhead 360 Photo Booth with
                                                                                                                                             Logo, Free Customizable Logo…
                                                                                          videos, ensuring no detail is overlooked.
                                                                                                                                             $2,099 00
                                                                                             User-friendly Interface: The 360 photo
                                                                                                                                              Save $350 with coupon
                                                                                          booth is easy to use and has a user-friendly
                                                                                          interface, allowing guests to easily take                                              Sponsored
                                                                                          pictures and share them. The interface is
                                                                                          intuitive and simple so that even those who
                                                                                          are not tech-savvy can use it without any
                                                                                          problem.
                                                                                             Option to Customize Logo for Free:
                                                                                          Simply send your logo žle after making a
                                                                                          payment complete, our design team will
                                                                                          create a template for your conžrmation
                                                                                          before delivery. This allows guests to


https://www.amazon.com/Dowshata-Machine-GlovesAutomatic-Weddings-Christmas/dp/B0BBV99LJ3/ref=sr_1_1?m=A1FNHIFHJLVMQ8&marketpla…                                                                  1/7
      Case
12/7/23, 10:43 1:23-cv-24366-BB
               PM                                    Document 10-1 Entered on FLSD
                                                                         Amazon.com   Docket 12/28/2023 Page 28 of 360
                                                                                    Checkout



                                                                         Checkout (1 item)                                                  Place your order

                                                                                                                              By placing your order, you agree to Amazon's
                                                                                                                                  privacy notice and conditions of use.
     1     Shipping                     John Doe                                                                   Change
           address                      3503 DAY AVE
                                        MIAMI, FL 33133-4904                                                                  Order Summary
                                        Add delivery instructions
                                                                                                                              Subtotal (1 item):                   $1,799.00
                                                                                                                              Shipping & handling:                    $0.00
     2     Payment                      Paying with Mastercard 1953                                                Change
                                                                                                                              Total before tax:                    $1,799.00
           method                       Billing address: Same as shipping address.                                            Estimated tax to be collected:        $125.93

                                              Add a gift card or promotion code or voucher
                                                                                                                              Order total:                     $1,924.93
                                              Enter code                        Apply


                                                                                                                              How are shipping costs calculated?
     3     Review items and shipping
                                                                                                                              Prime shipping benefits have been applied to
                                                                                                                              your order.
                     Want to save time on your next order and go directly to this
                     step when checking out?
                    Default to this delivery address and payment method.



                     Signature required at time of delivery.
                Please ensure someone will be available to sign for this delivery. Learn more.




                         Delivery option updated
                    Your delivery options have changed based on your updated purchase selections.
                    Please review before placing your order.


              Arriving Dec. 13, 2023 If you order in the nextd16 minutes and 10 seconds (Details)
              Items shipped from Amazon.com

                                Dowshata 360 Photo Booth                Choose your Prime delivery option:
                                Machine 39.4'' with Flight                Wednesday, Dec. 13
                                Case, 100cm 360 Degree                    FREE Prime Delivery
                                Automatic Spin Camera
                                Video Booth, Free Custom
                                Logo, 3-5 People Stand on
                                Remote Control Rotating
                                $1,799.00
                                $1,
                                $1,799.00
                                $      00
                                  Qty: 1
                                Sold
                                S ld by:
                                  ld by DDow
                                         Dowshata
                                     Add gift options




                                           Order total: $1,924.93
                 Place your order          By placing your order, you agree to Amazon's privacy notice and conditions of
                                           use.




     *Why has sales tax been applied? See tax and seller information.
     Need help? Check our Help pages or contact us

     For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message
     acknowledging receipt of your order. Your contract to purchase an item will not be complete until we send you an
     email notifying you that the item has been shipped.

     Important information about sales tax you may owe in your state

     You may return new, unopened merchandise in original condition within 30 days of delivery. Exceptions and restrictions
     apply. See Amazon.com's Returns Policy.


https://www.amazon.com/gp/buy/spc/handlers/display.html?hasWorkingJavascript=1                                                                                                 1/2
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 29 of 360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 30 of 360




                    Defendant No.: 7

                          Store Name:
                             &YMUTPZ

                             Platform:
                              Amazon




    23-cv-24366
      Case
12/28/23, 11:321:23-cv-24366-BB
                AM                                                          Document 10-1 Entered  on FLSD
                                                                                             Amazon.com          Docket
                                                                                                        Seller Profile:       12/28/2023 Page 31 of 360
                                                                                                                        Exltsoy

 Skip to main content Deliver to Felipe          All       Search Amazon
                                                                                                                                                                                                               Hello, Felipe          Returns       0
                      Miami 33156                                                                                                                                                                       EN     Account & Lists        & Orders


   All     Medical Care          Amazon Basics         Buy Again     Today's Deals   Music   Groceries      Customer Service    Prime Video      Livestreams   Coupons      Pet Supplies                                          07 : 27 : 30


    Exltsoy                                                                                                                                                                                                  360 Photo Booth Machine for Par…
                                                                                                                                                                                                             USD   91900
    Visit the Exltsoy storefront

                       100% positive lifetime (1 total ratings)                                                                                                                                                             Add to Cart

                                                                                                                                                                                                                    Protected by A-to-z Guarantee




    About Seller                                                                                                                                                             Have a question for Exltsoy?

    Exltsoy is committed to providing each customer with the highest standard of customer service.                                                                                         Ask a question




    Feedback

                      5 out of 5                          Lifetime                            FILTER BY
    1 ratings
                                                                                                All stars

    5 star                                                      100%                          1 total ratings, 1 with feedback Lifetime
    4 star                                                      0%
                                                                                                                 “ Is beautiful, easy to set up and fill up with seeds and the cup for water is great. ”
    3 star                                                      0%
                                                                                                                 By nanny vazquez on July 24, 2023.
    2 star                                                      0%

    1 star                                                      0%


         Learn more about how seller feedback works on
         Amazon


    Share your thoughts with other customers

         Leave seller feedback




    Return & Refund Policies
    To get information about the Return and Refund policies that may apply, please refer to Amazon’s Return and Refund policy.

    To initiate a return, visit Amazon's Online Return Center to request a return authorization from the seller.

    For any issues with your return, if the product was shipped by the seller, you can get help here.




    Amazon's A-to-z Guarantee
    The Amazon A-to-z Guarantee protects you when you purchase items sold and fulfilled by a third party seller. Our guarantee covers both the timely delivery and the condition of your items. If either are unsatisfactory, you
    can report the problem to us and our team will determine if you are eligible for a refund.

    See full details




    Detailed Seller Information
    Business Name: nantongduolaidoushangmaoyouxiangongsi
    Business Address:
      峭ҽ૨䬐ࠁⴃ81㎣806‫؜‬
      ԧପ١
      ৆ࡺ‫ڐߐ܉‬ՇԚ
      㿄ਲम
      226000
      CN




    Shipping Policies

    Other Policies

    Help



    Products
    See all products currently oﬀered by the seller.



                                                                                                                   Leave seller feedback




https://www.amazon.com/sp?ie=UTF8&seller=AX8PLPOLVXITW&asin=B0CHDSXZJ6&ref_=dp_merchant_link                                                                                                                                                            1/3
      Case
12/22/23, 5:27 1:23-cv-24366-BB
               PM      Amazon.com : 360Document      10-1 forEntered
                                        Photo Booth Machine   Parties withon
                                                                          RingFLSD      Docket
                                                                               Light Stand       12/28/2023
                                                                                           on Remote                Page
                                                                                                     Control Automatic      32 of360
                                                                                                                       Slow Motion 360
                                                                                                                                     Spin P…


  Skip to main content
                           Deliver to ENCARGA
                                                      Electronics     Search Amazon
                                                                                                                                   Hello, Roberto                Returns             0
                           Doral 33166                                                                                       EN    Account & Lists               & Orders


     All   Gift Cards      Medical Care            Groceries        Buy Again   Prime Video      Customer Service        Kindle Books                             Shop Winter Sale

    Camera & Photo      Deals       Best Sellers      DSLR Cameras       Mirrorless Cameras      Lenses        Point-and-Shoots   Sports & Action Cameras             Camcorders




 Customers who viewed this item also viewed
                           Newest 360 Photo Booth                                        360 Photo Booth with                                             360 Photo Booth 360
                           26.8.inch PRO with RGB                                        RGB Ring Light,                                                  Video Booth 360
                           Ring Light, APP Control,                                      Customizable Logo, 360                                           Platform Remote Control
                           Remote Control,                                               Photo Booth Machine,                                             Automatic Slow Motion
                                             32                                                           36                                                               44
                           $   79900                                                     $   79600                                                        $   1,29900
  Electronics › Camera & Photo › Lighting & Studio › Lighting › Booms & Stands


                                                                                   360 Photo Booth
                                                                                   Machine for Parties
                                                                                                                                        $
                                                                                                                                            79900
                                                                                                                                        FREE delivery December 28 -
                                                                                   with Ring Light Stand                                January 3. Details
                                                                                   on Remote Control                                    Arrives after Christmas. Need a
                                                                                   Automatic Slow                                       gift sooner? Send an eGift Card
                                                                                                                                        from hundreds of brands
                                                                                   Motion 360 Spin                                      instantly.
                                                                                   Photo Camera Booth                                         Deliver to ENCARGA -dDoral

                                                                                   Free Custom Logo                                           33166

                                                                                   Brand: Veripart                                      In Stock
                                                                                   2.0                  6 ratings
                                                                                                                                            Qty: 1
                                                                                    | 3 answered questions


                                                                                       79900
                                                                                   $                                                                  Add to Cart


                                                                                   Or $47.17 /mo (24 mo). Select from                                     Buy Now
                                                                                   1 plan
                                                                                                                                        Ships from              Exltsoy
                                                                                                                                        Sold by                 Exltsoy
                                                                                       Get 50% oŽ, up to $15 with 625
                                                                                                                                        Returns                 Returnable until
                                                                                       point minimum spend with Chase
                                                                                                                                                                Jan 31, 2024
                                                                                       Ultimate Rewards. Activation
                                                                                                                                        Payment                 Secure transaction
                                                                                       required. Limited-time oŽer, see
                                                                                                                                        Customer Service Exltsoy
                                                                                                                                          See more
                                                                                       terms.
                                                                                                                                        Add a Protection Plan:
                                                                                                                                              2 Year Camera Accident
                                                                                   Size: 31.5 inch-80cm-128                                   Protection Plan for $59.99
                                                                                                                                              3-Year Protection for $78.99
                                Roll over image to zoom in                             31.5 inch-         39.4 inch-
                                                                                       80cm-128           100cm-25
                                                                                                                                            Add to List
                                                                                       $799.00            $899.00



                                                                                       360 Photo Booth: 360 photo booth
                                                                                       to produce motion panoramic
                                                                                       photos and videos from every
                                                                                       angle. Easy to speed +/-, rotate
                                                                                       clockwise/counterclockwise with
                                                                                       button remote controller.360 Spin
                                                                                       Camera Booth Machine help you
                                                                                       record joyful party moments,



https://www.amazon.com/Machine-Parties-Remote-Control-Automatic/dp/B0CJ2GM7W9?th=1                                                                                                       1/7
      Case
12/22/23, 5:27 1:23-cv-24366-BB
               PM                                  Document 10-1 Entered    on FLSD
                                                                 Place Your Order        Docket
                                                                                  - Amazon.com     12/28/2023 Page 33 of 360
                                                                                               Checkout



                                                                         Checkout (1 item)
     1     Shipping                     ENCARGA ROBERTO ROMERO                                                  Change
           address                      8611 NW 72ND ST                                                                                     Place your order
                                        DORAL, FL 33166-2311
                                                                                                                              By placing your order, you agree to Amazon's
                                        Add delivery instructions                                                                 privacy notice and conditions of use.


     2     Payment                      Paying with Mastercard 1953                                             Change        Order Summary
           method                       Billing address: Carlos M. Arias Jiron, 9020 N…
                                                                                                                              Subtotal (1 item):                    $799.00
                                           Add a gift card or promotion code or voucher                                       Shipping & handling:                       $0.00

                                           Enter code                          Apply                                          Total before tax:                     $799.00
                                                                                                                              Estimated tax to be collected:*        $55.93

     3     Review items and shipping                                                                                          Order total:                      $854.93

                     Want to save time on your next order and go directly to this
                                                                                                                              How are shipping costs calculated?
                     step when checking out?
                                                                                                                              Why didn't I qualify for Prime Shipping?
                    Default to this delivery address and payment method.




              Arriving Dec. 28, 2023 - Jan. 3, 2024
              Items shipped from Exltsoy

                                360 Photo Booth Machine                 Choose a delivery option:
                                for Parties with Ring Light               Thursday, Dec. 28 - Wednesday, Jan. 3
                                Stand on Remote Control                   FREE Standard Shipping
                                Automatic Slow Motion 360
                                Spin Photo Camera Booth
                                Free Custom Logo
                                $799.0
                                $79
                                $799.00
                                $   9.00
                                       0
                                  Qty: 1

                                Sold
                                S ld b
                                  ld by: E
                                         Exlts
                                         Exltsoy
                                           l
                                           lt
                                Not eligible for Amazon Prime
                                (Learn more)

                                Gift options not available




                                        Order total: $854.93
                 Place your order       By placing your order, you agree to Amazon's privacy notice and conditions of
                                        use.




     *Why has sales tax been applied? See tax and seller information.
     Need help? Check our Help pages or contact us

     For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message
     acknowledging receipt of your order. Your contract to purchase an item will not be complete until we send you an
     email notifying you that the item has been shipped.

     Important information about sales tax you may owe in your state

     You may return new, unopened merchandise in original condition within 30 days of delivery. Exceptions and restrictions
     apply. See Amazon.com's Returns Policy.

     Need to add more items to your order? Continue shopping on the Amazon.com homepage.




https://www.amazon.com/gp/buy/spc/handlers/display.html?_from=cheetah                                                                                                            1/1
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 34 of 360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 35 of 360




                    Defendant No.: 8

                          Store Name:
                          FEMOORER

                             Platform:
                              Amazon




    23-cv-24366
      Case
12/28/23, 10:231:23-cv-24366-BB
                AM                                              Document 10-1 Amazon.com
                                                                              Entered on     FLSD
                                                                                         Seller Profile:Docket 12/28/2023 Page 36 of 360
                                                                                                        FEMOORER-US


   FEMOORER-US                                                                                                                                                                                 360 Photo Booth Machine for Par…
                                                                                                                                                                                               USD   94900
   Visit the FEMOORER-US storefront

                      75% positive lifetime (8 total ratings)                                                                                                                                                 Add to Cart

                                                                                                                                                                                                      Protected by A-to-z Guarantee




   About Seller                                                                                                                                                  Have a question for FEMOORER-US?

   FEMOORER-US is committed to providing each customer with the highest standard of customer service.                                                                         Ask a question




   Feedback

                  4 out of 5                      Lifetime                          FILTER BY
   8 ratings
                                                                                      All stars

   5 star                                                75%                        8 total ratings, 7 with feedback Lifetime
   4 star                                                0%
                                                                                                       “ Great product! Seller was courteous, helpful and responsive. ”
   3 star                                                0%
                                                                                                       By Erin S. on November 29, 2023.
   2 star                                                0%
                                                                                                       “ I was told my transaction did not go through with this, we did not order two of these, I want to send one back please. ”
   1 star                                                25%
                                                                                                       By Mario F. on November 20, 2023.

     Learn more about how seller feedback works on
                                                                                                       “ Please don't worry, you placed the wrong order and the situation has been explained. I have quickly processed a return
     Amazon
                                                                                                         and refund for you, please check the refu... ”
                                                                                                       Read more
   Share your thoughts with other customers
                                                                                                       By FEMOORER-US on November 21, 2023.
     Leave seller feedback
                                                                                                       “ Slight delay but was rectify in a timely manner. ”

                                                                                                       By Gavin on November 2, 2023.


                                                                                                       “ Scratched up looks like it has been used and returned... missing pieces. ”

                                                                                                       By Jaclyn Watkins on July 5, 2023.

                                                                                                       Message from Amazon: This item was fulžlled by Amazon, and we take responsibility for this fulžllment experience.


                                                                                                       “ I'm missing the power bank that's needed to use the ring light. It's shown on page 5 in the instruction manual. ”

                                                                                                       By Daniel M. on June 28, 2023.

                                                                                                       Message from Amazon: This item was fulžlled by Amazon, and we take responsibility for this fulžllment experience.


                                                                                                                                                                Previous Next




   Return & Refund Policies
   To get information about the Return and Refund policies that may apply, please refer to Amazon’s Return and Refund policy.

   To initiate a return, visit Amazon's Online Return Center to request a return authorization from the seller.

   For any issues with your return, if the product was shipped by the seller, you can get help here.




   Amazon's A-to-z Guarantee
   The Amazon A-to-z Guarantee protects you when you purchase items sold and fulžlled by a third party seller. Our guarantee covers both the timely delivery and the condition of your items. If either are unsatisfactory, you
   can report the problem to us and our team will determine if you are eligible for a refund.

   See full details




   Detailed Seller Information
   Business Name: shenzhenshiquanjingsheyingqicaiyouxiangongsi
   Business Address:
     ࡳी૨551՚819
     ࢋⴽ١
     ‫؍ؗ‬Ԛਡֽ੪ଳЬ֠॑Ԛ
     ‫ٺ‬Бम
     518102
     CN




   Shipping Policies

   Other Policies

   Help



   Products
   See all products currently oﬀered by the seller.




https://www.amazon.com/sp?ie=UTF8&seller=A2EVUZNZ645RWL&asin=B0BWMXZS2M&ref_=dp_merchant_link                                                                                                                                         3/5
      Case
12/7/23,       1:23-cv-24366-BB
         11:06 PM      Amazon.com: 360Document     10-1for Entered
                                      Photo Booth Machine  Parties 70cmon
                                                                        360FLSD    Docket
                                                                            Photo Booth Custom12/28/2023       Page
                                                                                               Logo RGB Ring Light     37
                                                                                                                   Holder   of 360 3p…
                                                                                                                          Accessories,

  Skip to main content
                          Deliver to ENCARGA
                                                 All      Search Amazon
                                                                                                                             Hello, Roberto          Returns          1     Subtotal
                          Doral 33166                                                                                   EN   Account & Lists         & Orders             $1,394.00


    All   Holiday Deals       Medical Care      Buy Again      Prime Video      Customer Service     Coupons    Household, Health & Baby Care         Handmade



                                                                                                                                                                          Only 5 left in
 Customers who viewed this item also viewed                                                                                                                               stock - order
                                                                                                                                                                              soon.
                          360 Photo Booth 26.8inch                                   360 Photo Booth 360                                      HOGSITY 360 Photo Booth
                          PRO with APP Control,                                      Video Booth 360 Platform                                 Machine for Parties,31.5"
                          RGB Ring Light, Remote                                     Remote Control                                           for 2-4 PPL,LED Lights No
                          Control, Customizable                                      Automatic Slow Motion                                    Need
                                         36                                                          44                                                        22
                          $
                              79800                                                  $
                                                                                         1,39900                                              $
                                                                                                                                                  94900
  Home & Kitchen › Event & Party Supplies › Photobooth Props


                                                                  360 Photo Booth Machine for                                  $
                                                                                                                                   79800
                                                                  Parties 70cm 360 Photo
                                                                                                                               FREE delivery December 15 -
                                                                  Booth Custom Logo RGB Ring                                   20. Details
                                                                  Light Holder Accessories,                                    Arrives before Christmas
                                                                  3people 360 Slow Motion                                            Deliver to ENCARGA - Doral

                                                                  Photo Booth, APP and                                               33166


                                                                  Remote Control 360 Video                                     Only 7 left in stock - order
                                                                                                                               soon.
                                                                  Booth with Flight case
                                                                                                                                   Qty: 1
                                                                  Visit the FEMOORER Store
                                                                  4.5                 11 ratings
                                                                                                                                              Add to Cart

                                                                  $
                                                                      79800                                                                      Buy Now

                                                                  Or $47.11 /mo (24 mo). Select from 1 plan
                                                                                                                               Ships from FEMOORER-US
                                                                                                                               Sold by        FEMOORER-US
                                                                      Pay $798.00 $598.00 for this order. Get a $200
                                                                                                                               Returns        Non-returnable due to
                                                                      Amazon Gift Card upon approval for the
                                                                                                                                              hazmat safety reasons
                                                                      Amazon Business Prime Card. Oﬀer ends
                                                                                                                               Payment        Secure transaction
                                                                      12/12/23. Terms apply. Learn more.
                                                                                                                               Add a Protection Plan:
                                                                                                                                     Tech Unlimited – Protect
                                                                  Size: 28inch+Flight Case                                           Eligible Past and Future
                                                                                                                                     Purchases with 1 Plan
                                                                      28inch+Fligh       39.4"/100cm      45.3"/115cm                (Renews Monthly Until
                                                                      t Case             +Flight case     +Flight Case               Cancelled) for
                                                                                                                                     $16.99/month
                                                                      $798.00            $1,298.00        $1,799.00

                                                                                                                                   Add to List
                                                                      60cm|23"+Fl        80cm/31.5in      100cm|39.4"
                                                                      ight Case          ch+Flight…       Flight case

                                                                      $788.00            $948.00          $1,298.00
                                                                                                                               New (2) from
                                                                                                                               $79800 & FREE Shipping
                                                                      100cm|39.4"        115cm/45.3"
                                                                      Flight case…       +Flight Case

                                                                      $1,799.00          $1,795.00



                                                                      Why buy a 360 photo booth machine? - The 360
                                                                      photo booth rental market is expected to grow
                                                                      at a rate of 7% per year, with huge market
                                                                      potential. A 360 photo booth can be used for
                                                                      your wedding business, party business, TV
                                                                      events, DJ business concerts, short video shoots,
                                                                      or event planning business investment, etc. You
                                                                      can use it yourself or rent it to others to boost
                                                                      your income. will help your hourly rates
                                                                      skyrocket!



https://www.amazon.com/Machine-Parties-Accessories-Direction-Intelligent/dp/B0BWMXZS2M/ref=sr_1_1?m=A2EVUZNZ645RWL&marketplaceID=…                                                     1/10
      Case
12/7/23,       1:23-cv-24366-BB
         11:06 PM                                    Document 10-1 Entered on FLSD
                                                                         Amazon.com   Docket 12/28/2023 Page 38 of 360
                                                                                    Checkout



                                                                         Checkout (1 item)
     1     Shipping                     John Doe                                                                   Change
           address                      3503 DAY AVE                                                                                        Place your order
                                        MIAMI, FL 33133-4904
                                                                                                                              By placing your order, you agree to Amazon's
                                        Add delivery instructions                                                                 privacy notice and conditions of use.


     2     Payment                      Paying with Mastercard 1953                                                Change     Order Summary
           method                       Billing address: Same as shipping address.
                                                                                                                              Subtotal (1 item):                    $798.00
                                              Add a gift card or promotion code or voucher                                    Shipping & handling:                       $0.00

                                              Enter code                        Apply                                         Total before tax:                     $798.00
                                                                                                                              Estimated tax to be collected:*        $55.86

     3     Review items and shipping                                                                                          Order total:                      $853.86

                     Want to save time on your next order and go directly to this
                                                                                                                              How are shipping costs calculated?
                     step when checking out?
                                                                                                                              Why didn't I qualify for Prime Shipping?
                    Default to this delivery address and payment method.




              Arriving Dec. 15, 2023 - Dec. 20, 2023
              Items shipped from FEMOORER-US

                                360 Photo Booth Machine                 Choose a delivery option:
                                for Parties 70cm 360 Photo                Friday, Dec. 15 - Wednesday, Dec. 20
                                Booth Custom Logo RGB                     FREE Standard Shipping
                                Ring Light Holder
                                Accessories, 3people 360
                                Slow Motion Photo Booth,
                                APP and Remote Control
                                360 Video Booth with Flight
                                case
                                $ 98.00
                                  98.00
                                $798.00
                                  Qty: 1
                                Sold
                                S ld by:
                                  ld b F FEM
                                         FEMOORER-US
                                          EM
                                Not eligible for Amazon Prime
                                (Learn more)

                                Gift options not available




                                           Order total: $853.86
                 Place your order          By placing your order, you agree to Amazon's privacy notice and conditions of
                                           use.




     *Why has sales tax been applied? See tax and seller information.

     Need help? Check our Help pages or contact us
     For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message
     acknowledging receipt of your order. Your contract to purchase an item will not be complete until we send you an
     email notifying you that the item has been shipped.

     Important information about sales tax you may owe in your state

     You may return new, unopened merchandise in original condition within 30 days of delivery. Exceptions and restrictions
     apply. See Amazon.com's Returns Policy.

     Need to add more items to your order? Continue shopping on the Amazon.com homepage.




https://www.amazon.com/gp/buy/spc/handlers/display.html?hasWorkingJavascript=1                                                                                                   1/1
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 39 of 360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 40 of 360




                    Defendant No.: 9

                         Store Name:
                        Foncusun USA

                             Platform:
                              Amazon




    23-cv-24366
      Case
12/28/23, 10:291:23-cv-24366-BB
                AM                                                Document 10-1 Entered  on
                                                                                Amazon.com   FLSD
                                                                                           Seller Profile:Docket
                                                                                                           Foncusun12/28/2023
                                                                                                                   USA        Page 41 of 360

                              Foncusun USA
                              Visit the Foncusun USA storefront

                                             91% positive in the last 12 months (23 ratings)




    About Seller                                                                                                                                                  Have a question for Foncusun USA?

    Foncusun USA is committed to providing each customer with the highest standard of customer service.                                                                       Ask a question




    Feedback

                   4.6 out of 5                 12 months                            FILTER BY
    23 ratings
                                                                                       All stars

    5 star                                               87%                         23 total ratings, 23 with feedback 12 months
    4 star                                               4%
                                                                                                        “ very good ”
    3 star                                               0%
                                                                                                        By Placeholder on December 20, 2023.
    2 star                                               0%
                                                                                                        “ Hey I still have not received my product. I feel like fed ex lost my package. I been calling them for over a week now trying
    1 star                                               9%
                                                                                                          to get my package even if I had to... ”
                                                                                                        Read more
      Learn more about how seller feedback works on
      Amazon                                                                                            By Michael D. on December 11, 2023.



    Share your thoughts with other customers                                                            “ I sent message to seller that the case was damaged around one of the screws but not the machine. Item was delivered on
                                                                                                          Dec 8th ”
      Leave seller feedback
                                                                                                        By Toni j. on December 10, 2023.


                                                                                                        “ Have not received the product and very disappointed because I needed for an event. Still waiting on it. ”

                                                                                                        By Ro Angel on December 9, 2023.

                                                                                                        “ Hello, your express delivery has been successfully delivered to you, please note. Please feel free to contact us if you have
                                                                                                          any other questions. Thanks and hav... ”
                                                                                                        Read more

                                                                                                        By Foncusun USA on December 14, 2023.


                                                                                                        “ Very good ”

                                                                                                        By Natalia Saraikina on October 23, 2023.



                                                                                                                                                                 Previous Next




    Return & Refund Policies
    To get information about the Return and Refund policies that may apply, please refer to Amazon’s Return and Refund policy.

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    Amazon's A-to-z Guarantee
    The Amazon A-to-z Guarantee protects you when you purchase items sold and fulžlled by a third party seller. Our guarantee covers both the timely delivery and the condition of your items. If either are unsatisfactory, you
    can report the problem to us and our team will determine if you are eligible for a refund.

    See full details




    Detailed Seller Information
    Business Name: shenzhenshiguqiaoyikejiyouxiangongshi
    Business Address:
      ߠㇾ੪ଳ䉷‫॑ף‬Ԛ
      ‫ࢋٺ‬૨ߠㇾ࠼2՚৔ՠࠡ710
      ࢋⴽ١
      ‫ٺ‬Б
      518105
      CN




    Shipping Policies

    Other Policies

    Help



    Products
    See all products currently oﬀered by the seller.



                                                                                                           Leave seller feedback


https://www.amazon.com/sp?ie=UTF8&seller=A36A0IOF4IC7CN                                                                                                                                                                                  3/5
      Case
12/5/23,       1:23-cv-24366-BB
         5:00 PM      Amazon.com : 360 Document       10-1PROEntered
                                       Photo Booth 31.5inch            on FLSD
                                                              with RGB Ring Light, APPDocket     12/28/2023
                                                                                       Control, Remote             Page 42
                                                                                                       Control, Customizable    of 360
                                                                                                                             Logo,  360Phot…

  Skip to main content
                             Deliver to Felipe
                                                 All       Search Amazon
                                                                                                                            Hello, Felipe                Returns               1   Subtotal
                             Miami 33156                                                                             EN     Account & Lists              & Orders                  $29.99


     All     Holiday Deals     Medical Care        Amazon Basics       Today's Deals     Music   Groceries     Customer Service                  Save up to 45% oŽ gifts

                                                       HOGSITY 360 Photo Booth Wireless Light Strips
                                                       Hogsity 360 Photo Booth Machine for Parties, 27"…
                                                                                                                                                     $799 00
                                                                                                                                                                     Sponsored
  ‹ Back to results



                                                                                 360 Photo Booth
                                                                                 31.5inch PRO with
                                                                                                                                  $
                                                                                                                                      99900
                                                                                                                                  FREE delivery December 8 - 12.
                                                                                 RGB Ring Light, APP                              Details
                                                                                 Control, Remote                                  Or fastest delivery December 7
                                                                                 Control, Customizable                            - 11. Details

                                                                                 Logo, 360 Photo                                       Deliver to Felipe -dMiami 33156


                                                                                 Booth Machine for                                Only 1 left in stock - order
                                                                                                                                  soon.
                                                                                 Parties for 1-4 People
                                                                                                                                                Add to Cart
                                                                                 Stand with Flight Case
                                                                                 Visit the Foncusun Store                                           Buy Now
                                                                                 5.0                   36 ratings
                                                                                                                                  Ships from Foncusun USA
  3 VIDEOS                                                                       $
                                                                                     99900                                        Sold by       Foncusun USA
                                                                                                                                  Returns       Returnable until Jan 31,
                                                                                 Or $58.97 /mo (24 mo). Select from                             2024
                                                                                 1 plan                                           Payment       Secure transaction

                                                                                  Coupon: d    Apply $50 coupon
                                                                                  Shop items | Terms                                  Add to List

                                                                                 With Amazon Business, you would
                                                                                                                                      Add to Baby Registry
                                                                                 have saved $221.82 in the last year.
                                                                                 Create a free account and save up to
                                                                                                                                      Add to Registry & Gifting
                                                                                 1% today.
                                                                                 Or $60.01/month for 18 months on
                                                                                 your eligible Citi credit card, with
                              Roll over image to zoom in                         9.99% promo APR

                                                                                 Size: 31.5in/80cm PRO+Flight Case                Save up to 1% on this product
                                                                                                                                  with business-only pricing.
                                                                                     26.8in/68cm PRO+Flight
                                                                                     Case                                                   Create a free account
                                                                                     $798.00



                                                                                     31.5in/80cm PRO+Flight
                                                                                     Case
                                                                                     $999.00



                                                                                     31.6in/80cm PRO+Flight
                                                                                     Case
                                                                                     $1,899.00
                                                                                                                             360 Photo Booth with APP Control
                                                                                                                                                36
                                                                                     39.4in/100cm PRO+Flight                 $   796 00
                                                                                     Case
                                                                                     $1,599.99                                                                     Sponsored




                                                                                     39.5in PRO+Flight Case

                                                                                     $1,999.00



                                                                                     45.3in/115cm PRO+Flight
                                                                                     Case
                                                                                     $2,699.99




https://www.amazon.com/31-5inch-Control-Customizable-Machine-Parties/dp/B0CKN2LQWW/ref=sr_1_1?m=A36A0IOF4IC7CN&marketplaceID=AT…                                                              1/8
      Case
12/7/23, 10:57 1:23-cv-24366-BB
               PM                                    Document 10-1 Entered on FLSD
                                                                         Amazon.com   Docket 12/28/2023 Page 43 of 360
                                                                                    Checkout



                                                                         Checkout (1 item)
     1     Shipping                     John Doe                                                                   Change
           address                      3503 DAY AVE                                                                                        Place your order
                                        MIAMI, FL 33133-4904
                                                                                                                              By placing your order, you agree to Amazon's
                                        Add delivery instructions                                                                 privacy notice and conditions of use.


     2     Payment                      Paying with Mastercard 1953                                                Change     Order Summary
           method                       Billing address: Same as shipping address.
                                                                                                                              Subtotal (1 item):                   $1,599.99
                                              Add a gift card or promotion code or voucher                                    Shipping & handling:                       $0.00

                                              Enter code                        Apply                                         Total before tax:                    $1,599.99
                                                                                                                              Estimated tax to be
                                                                                                                              collected:*                           $112.00
     3     Review items and shipping
                                                                                                                              Order total:                   $1,711.99
                     Want to save time on your next order and go directly to this
                     step when checking out?                                                                                  How are shipping costs calculated?
                    Default to this delivery address and payment method.                                                      Why didn't I qualify for Prime Shipping?




              Arriving Dec. 12, 2023 - Dec. 14, 2023
              Items shipped from Foncusun USA

                                360 Photo Booth 39.4inch                Choose a delivery option:
                                PRO with APP Control, RGB                 Monday, Dec. 11 - Wednesday, Dec. 13
                                Ring Light, Remote Control,               $80.00 - Expedited Shipping
                                Customizable Logo, 360                    Tuesday, Dec. 12 - Thursday, Dec. 14
                                Photo Booth Machine for                   FREE Standard Shipping
                                Parties for 1-5 People Stand
                                with Flight Case
                                $ ,599.99
                                  ,     99
                                $1,599.99
                                  Qty: 1

                                Sold
                                S ld b
                                  ld by: F
                                         Fonc
                                         Foncusun USA
                                Not eligible for Amazon Prime
                                (Learn more)

                                Gift options not available




                                           Order total: $1,711.99
                 Place your order          By placing your order, you agree to Amazon's privacy notice and conditions of
                                           use.




     *Why has sales tax been applied? See tax and seller information.

     Need help? Check our Help pages or contact us

     For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message
     acknowledging receipt of your order. Your contract to purchase an item will not be complete until we send you an
     email notifying you that the item has been shipped.

     Important information about sales tax you may owe in your state

     You may return new, unopened merchandise in original condition within 30 days of delivery. Exceptions and restrictions
     apply. See Amazon.com's Returns Policy.

     Need to add more items to your order? Continue shopping on the Amazon.com homepage.




https://www.amazon.com/gp/buy/spc/handlers/display.html?hasWorkingJavascript=1                                                                                                   1/1
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 44 of 360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 45 of 360




                   Defendant No.: 10

                         Store Name:
                         Froectry USA

                             Platform:
                              Amazon




    23-cv-24366
      Case
12/5/23,       1:23-cv-24366-BB
         5:03 PM                                   Document 10-1 Entered
                                                                 Amazon.comon  FLSD
                                                                            Seller Profile:Docket     12/28/2023 Page 46 of 360
                                                                                            Froectry USA

                                                                                                                                                              Subtotal
                                                                                                                                                             $999.00
     Froectry USA
     Visit the Froectry USA storefront

                        100% positive lifetime (2 total ratings)

                                                                                                                                                            Only 1 left in
                                                                                                                                                            stock - order
                                                                                                                                                                soon.
     About Seller                                                                                             Have a question for Froectry USA?

     Froectry USA is committed to providing each customer with the highest standard of customer                       Ask a question
     service.




     Feedback

                    5 out of 5                      Lifetime                          FILTER BY
     2 ratings
                                                                                        All stars

     5 star                                               100%                        2 total feedbacks in Lifetime
     4 star                                               0%
                                                                                                         “ Could we extend return date. Ups is coming to
     3 star                                               0%                                               pic it up ”

     2 star                                               0%                                             By sidney h. on October 31, 2023.


     1 star                                               0%
                                                                                                         “ How do I get a logo on this item? ”

       Learn more about how seller feedback works on                                                     By Susan Cartwright on July 12, 2023.

       Amazon
                                                                                                         “ Hello I am very sincere to help you solve the
                                                                                                           problem. I understand your need for a custom
     Share your thoughts with other customers
                                                                                                           logo. Don't worry. We will customize your logo
                                                                                                           for free. You need to... ”
       Leave seller feedback
                                                                                                         Read more

                                                                                                         By Froectry USA on July 13, 2023.




     Return & Refund Policies
     To get information about the Return and Refund policies that may apply, please refer to Amazon’s Return and Refund policy.

     To initiate a return, visit Amazon's Online Return Center to request a return authorization from the seller.

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     The Amazon A-to-z Guarantee protects you when you purchase items sold and fulžlled by a third party seller. Our guarantee covers both the
     timely delivery and the condition of your items. If either are unsatisfactory, you can report the problem to us and our team will determine if you
     are eligible for a refund.

     See full details




     Detailed Seller Information
     Business Name: shenzhenshiluoyankejiyouxiangongsi
     Business Address:
       ੼Я੪ଳһЩ॑ԚһչٗЏ૨35՚207
       ࢋⴽ١
       ‫؍ؗ‬Ԛ
       ‫ٺ‬Б
       518101
       CN




     Shipping Policies
https://www.amazon.com/sp?ie=UTF8&seller=AC6GQ0C4VGDJI                                                                                                                   3/4
      Case
12/7/23, 10:04 1:23-cv-24366-BB
               PM                                    Document 10-1 Entered on FLSD
                                                                         Amazon.com   Docket 12/28/2023 Page 47 of 360
                                                                                    Checkout



                                                                         Checkout (1 item)
     1     Shipping                     John Doe                                                                   Change
           address                      3503 DAY AVE                                                                                        Place your order
                                        MIAMI, FL 33133-4904
                                                                                                                              By placing your order, you agree to Amazon's
                                        Add delivery instructions                                                                 privacy notice and conditions of use.


     2     Payment                      Paying with Mastercard 1953                                                Change     Order Summary
           method                       Billing address: Same as shipping address.
                                                                                                                              Subtotal (1 item):                    $796.00
                                              Add a gift card or promotion code or voucher                                    Shipping & handling:                       $0.00

                                              Enter code                        Apply                                         Total before tax:                     $796.00
                                                                                                                              Estimated tax to be collected:*        $55.72

     3     Review items and shipping                                                                                          Order total:                      $851.72

                     Want to save time on your next order and go directly to this
                                                                                                                              How are shipping costs calculated?
                     step when checking out?
                                                                                                                              Why didn't I qualify for Prime Shipping?
                    Default to this delivery address and payment method.




              Arriving Dec. 12, 2023 - Dec. 14, 2023
              Items shipped from Froectry USA

                                360 Photo Booth with RGB                Choose a delivery option:
                                Ring Light, Customizable                  Monday, Dec. 11 - Wednesday, Dec. 13
                                Logo, 360 Photo Booth                     $80.00 - Expedited Shipping
                                Machine, 360 Slow Motion                  Tuesday, Dec. 12 - Thursday, Dec. 14
                                Rotating 26.8in PRO for 1-3               FREE Standard Shipping
                                People with Flight Case
                                $796.0
                                $79
                                $796.00
                                $  6.000
                                  Qty: 1

                                Sold
                                S ld b
                                  ld by: F
                                         Froe
                                         Froectry USA
                                Not eligible for Amazon Prime
                                (Learn more)

                                Gift options not available




                                           Order total: $851.72
                 Place your order          By placing your order, you agree to Amazon's privacy notice and conditions of
                                           use.




     *Why has sales tax been applied? See tax and seller information.
     Need help? Check our Help pages or contact us

     For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message
     acknowledging receipt of your order. Your contract to purchase an item will not be complete until we send you an
     email notifying you that the item has been shipped.

     Important information about sales tax you may owe in your state

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     apply. See Amazon.com's Returns Policy.

     Need to add more items to your order? Continue shopping on the Amazon.com homepage.




https://www.amazon.com/gp/buy/spc/handlers/display.html?hasWorkingJavascript=1                                                                                                   1/1
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                   Defendant No.: 11

                        Store Name:
                       GO360BOOTH

                             Platform:
                              Amazon




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      Case
12/7/23,       1:23-cv-24366-BB
         9:58 PM                            Document 10-1 Amazon.com
                                                          Entered on     FLSD
                                                                     Seller Profile: Docket 12/28/2023 Page 50 of 360
                                                                                     GO360BOOTH




     GO360BOOTH
     Visit the GO360BOOTH storefront

     Just launched      No feedback yet




     About Seller                                                                                             Have a question for GO360BOOTH?

     GO360BOOTH is committed to providing each customer with the highest standard of customer                       Ask a question
     service.




     Return & Refund Policies
     To get information about the Return and Refund policies that may apply, please refer to Amazon’s Return and Refund policy.

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     For any issues with your return, if the product was shipped by the seller, you can get help here.




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     The Amazon A-to-z Guarantee protects you when you purchase items sold and fulžlled by a third party seller. Our guarantee covers both the
     timely delivery and the condition of your items. If either are unsatisfactory, you can report the problem to us and our team will determine if you
     are eligible for a refund.

     See full details




     Detailed Seller Information
     Business Name: shenzhen shi hua sheng yang ke ji you xian gong si
     Business Address:
       ࢋⴽ١Ұ‫ޢ‬ԚҸ‫ޢ‬੪ଳЈߖ॑Ԛ֚‫݌‬
       Ԙ࡞48՚1002
       ࢋⴽ١
       ‫ٺ‬Б
       518106
       CN




     Shipping Policies

     Other Policies

     Help



     Products
     See all products currently oŽered by the seller.



                                                                     Leave seller feedback




https://www.amazon.com/sp?ie=UTF8&seller=A1YRXSM21VTLDA                                                                                                   2/4
      Case
12/7/23,       1:23-cv-24366-BB
         9:59 PM                     Document
                      Amazon.com: GO360BOOTH     10-1Booth
                                             360 Photo  Entered     onParties
                                                           Machine for  FLSD     Docket
                                                                              Camera       12/28/2023
                                                                                     360 Photo                 Page
                                                                                               Booth for 1-3 People    51onof31.5"
                                                                                                                    Stand      360 Rem…

  Skip to main content
                           Deliver to ENCARGA
                                                  All      Search Amazon
                                                                                                                          Hello, Roberto           Returns               0   Subtotal
                           Doral 33166                                                                              EN    Account & Lists          & Orders                  $0.00


    All    Holiday Deals       Medical Care      Buy Again        Prime Video


                                    360 Photo Booth, 80CM + 24V Battery, by HARZHI…                                          139     $
                                                                                                                                         1,399 00
                                                                                                                                                               Sponsored

 Customers who viewed this item also viewed
                           360 Photo Booth with                                      360 Photo Booth 360                                     360 Photo Booth
                           RGB Ring Light,                                           Video Booth 360                                         26.8inch PRO with APP
                           Customizable Logo, 360                                    Platform Remote Control                                 Control, RGB Ring Light,
                           Photo Booth Machine,                                      Automatic Slow Motion                                   Remote Control,
                                          36                                                       44                                                         36
                           $
                               79600                                                 $
                                                                                         1,39900                                             $
                                                                                                                                                 79800
  Electronics › Camera & Photo › Lighting & Studio › Lighting › Booms & Stands


                                                                    GO360BOOTH 360 Photo                                         Currently unavailable.
                                                                    Booth Machine for Parties                                 We don't know when or if this
                                                                                                                               item will be back in stock.
                                                                    Camera 360 Photo Booth for                                  Deliver to ENCARGA -dDoral
                                                                                                                                33166
                                                                    1-3 People Stand on 31.5"
                                                                    Remote Control with Flight                                 Add to List

                                                                    Case Custom Logo,Flight
                                                                    Case for
                                                                    Weddings,Halloween,Christm                                                     10-15 People
                                                                                                                                                   Stand Free
                                                                    as (80cm)                                                                      Customized
                                                                    Visit the GO360BOOTH Store                                                     Logo
                                                                    5.0                4 ratings


                                                                                                                           Overhead 360 Photo Booth, Free
                                                                    Delivery & Support
                                                                                                                           Customizable Logo, Slow Motion,…
                                                                    Select to learn more                                   $1,999 00
                  Roll over image to zoom in
                                                                                                                           Save $350 with coupon

                                                                                                                                                             Sponsored
                                                                      Customer
                                                          VIDEO        Support



                                                                    Currently unavailable.
                                                                    We don't know when or if this item will be back in
                                                                    stock.

                                                                    Material      Metal
                                                                    Theme         Christmas
                                                                    Brand         GO360BOOTH
                                                                    Item Weight 90.36 Pounds
                                                                    Number of     1000
                                                                    Pieces


                                                                    About this item
                                                                       澬Social Media Buzz澭360 photo booth photos
                                                                       and videos are highly shareable and can go
                                                                       viral, increasing your online presence and
                                                                       reaching a broader audience. Guests will be
                                                                       eager to share their fun experiences, promoting
                                                                       your business or event organically.
                                                                       澬Unique Experience澭The 360 photo booth
                                                                       oŽers an immersive and interactive experience
                                                                       that goes beyond traditional photo booths.
                                                                       Guests can step inside the booth and have a full
                                                                       view of themselves from every angle.




https://www.amazon.com/GO360BOOTH-Automatic-Warehouse-Halloween-Christmas/dp/B0CB8HB6CD/ref=sr_1_1?m=A1YRXSM21VTLDA&market…                                                             1/8
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 52 of 360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 53 of 360




                   Defendant No.: 12

                     Store Name:
                  GorgeousStore shop

                             Platform:
                              Amazon




    23-cv-24366
      Case
12/8/23, 10:49 1:23-cv-24366-BB
               AM                           Document 10-1 Amazon.com
                                                            EnteredSeller
                                                                     on FLSD        Docket 12/28/2023
                                                                          Profile: GorgeousStore shop Page 54 of 360


     GorgeousStore shop
     Visit the GorgeousStore shop storefront

     Just launched      No feedback yet




     About Seller                                                                                             Have a question for GorgeousStore
                                                                                                              shop?
     GorgeousStore shop is committed to providing each customer with the highest standard of
     customer service.                                                                                              Ask a question




     Return & Refund Policies
     To get information about the Return and Refund policies that may apply, please refer to Amazon’s Return and Refund policy.

     To initiate a return, visit Amazon's Online Return Center to request a return authorization from the seller.

     For any issues with your return, if the product was shipped by the seller, you can get help here.




     Amazon's A-to-z Guarantee
     The Amazon A-to-z Guarantee protects you when you purchase items sold and fulžlled by a third party seller. Our guarantee covers both the
     timely delivery and the condition of your items. If either are unsatisfactory, you can report the problem to us and our team will determine if you
     are eligible for a refund.

     See full details




     Detailed Seller Information
     Business Name: lvliangshilishiqufeifeibaihuoshanghang
     Business Address:
       мّ֢எ706-05-526
       ‫ן‬Խ١
       ௤‫ޏ‬Ԛ
       ٌ੼म
       030000
       CN




     Shipping Policies

     Other Policies

     Help



     Products
     See all products currently oŽered by the seller.



                                                                     Leave seller feedback




https://www.amazon.com/sp?ie=UTF8&seller=A1Q0L77ET41UYZ                                                                                                   2/4
      Case
12/8/23, 10:50 1:23-cv-24366-BB
               AM      Amazon.com: 360Document     10-1withEntered
                                      Photo Booth Machine              on
                                                            Software for   FLSD
                                                                         Parties, 360 Docket
                                                                                      Slow Motion12/28/2023         Page
                                                                                                  Photo Booth for 1-7       55withofDeluxe
                                                                                                                      Persons        360 Pa…
  Skip to main content Deliver to ENCARGA      All    360
                                                                                                                   Hello, Roberto               Returns               0
                       Doral 33166                                                                            EN   Account & Lists              & Orders


    All   Holiday Deals   Medical Care       Buy Again    Prime Video      Customer Service       Coupons                               Save up to 45% oŽ gifts


                          6Pack Acrylic Sign Holders with Vertical Slanted Back, Clear Plastic…                                2,163      $   27 99
                                                                                                                                                            Sponsored

                                                                 360 Photo Booth Machine
                                                                 with Software for Parties,
                                                                                                                        $
                                                                                                                            1,99999
                                                                                                                        FREE delivery December 14 -
                                                                 360 Slow Motion Photo                                  19. Details
                                                                 Booth for 1-7 Persons with                             Arrives before Christmas
                                                                 Deluxe Package and Free                                      Deliver to ENCARGA -dDoral

                                                                 Custom Logo, Remote or                                       33166


                                                                 APP                                                    In Stock
                                                                 Control(Size:80CM/31.5” -                                  Qty: 1


                                                                 Flight Case)                                                          Add to Cart
                                                                 Brand: D&LE
                                                                                                                                          Buy Now

                                                                 $
                                                                     1,99999                                            Ships from GorgeousStore shop
                                                                                                                        Sold by        GorgeousStore shop
                                                                  Or $79.15 /mo (48 mo). Select from 1 plan             Returns        Returnable until Jan 31,
                                                                                                                                       2024
                                                                                                                        Payment        Secure transaction
                  Roll over image to zoom in                     Size: 80CM/31.5” - Flight Case
                                                                                                                            Add to List
                                                                     80CM/31.5”      50CM/19.7”
                                                                     - Flight Case   - Flight Case

                                                                     $1,999.99       $1,399.99


                                                                     50CM/19.7”      68CM/26.8”                                                 Dowshata 360
                                                                     -…              - Flight Case                                              Photo Booth

                                                                     $1,199.99       $1,799.99


                                                                     68CM/26.8”      80CM/31.5”
                                                                                                                    Dowshata 360 Photo Booth Machine,
                                                                     -…              -…                             26.8" with Flight Case, 68cm 360…

                                                                     $1,499.99       $1,699.99
                                                                                                                    $
                                                                                                                        6 99 00
                                                                                                                                                          Sponsored
                                                                     100CM/39.4      100CM/39.4
                                                                     ” - Flight…     ” -…

                                                                     $2,599.99       $2,359.99


                                                                     115CM/45.3      115CM/45.3
                                                                     ” - Flight…     ” -…

                                                                     $3,199.99       $2,999.99


                                                                     150CM/59.1      150CM/59.1
                                                                     ” - Flight…     ” -…

                                                                     $4,399.99       $3,999.99




https://www.amazon.com/Machine-Software-Parties-Persons-Package/dp/B0BZ8NFBYL/ref=sr_1_2?keywords=360&m=A1Q0L77ET41UYZ&qid=169…                                           1/8
      Case
12/8/23, 10:51 1:23-cv-24366-BB
               AM                                  Document 10-1 Entered on FLSD
                                                                       Amazon.com   Docket 12/28/2023 Page 56 of 360
                                                                                  Checkout



                                                                         Checkout (1 item)
     1     Shipping                     John Doe                                                                Change
           address                      3503 DAY AVE                                                                                   Place Your Order and Pay
                                        MIAMI, FL 33133-4904
                                        Add delivery instructions                                                             You'll be securely redirected to
                                                                                                                              MasterCard to complete this
                                                                                                                              transaction.
     2     Payment                      Paying with Mastercard 1953                                             Change
                                                                                                                              By placing your order, you agree to Amazon's
           method                       Billing address: Same as shipping address.                                                privacy notice and conditions of use.

                                           Add a gift card or promotion code or voucher
                                                                                                                              Order Summary
                                           Enter code                          Apply
                                                                                                                              Subtotal (1 item):                   $1,999.99
                                                                                                                              Shipping & handling:                       $0.00
     3     Review items and shipping
                                                                                                                              Total before tax:                    $1,999.99
                                                                                                                              Estimated tax to be
                     Want to save time on your next order and go directly to this                                             collected:*                           $140.00
                     step when checking out?
                                                                                                                              Order total:                   $2,139.99
                    Default to this delivery address and payment method.


                                                                                                                              How are shipping costs calculated?
                                                                                                                              Why didn't I qualify for Prime Shipping?
              Arriving Dec. 14, 2023 - Dec. 19, 2023
              Items shipped from GorgeousStore shop

                                360 Photo Booth Machine                 Choose a delivery option:
                                with Software for Parties,                Thursday, Dec. 14 - Tuesday, Dec. 19
                                360 Slow Motion Photo                     FREE Expedited Shipping
                                Booth for 1-7 Persons with
                                Deluxe Package and Free
                                Custom Logo, Remote or
                                APP
                                Control(Size:80CM/31.5” -
                                Flight Case)
                                $  ,999.99
                                   ,999.99
                                        9
                                $1,999.99
                                  Qty: 1
                                Sold
                                S ld b
                                  ld by: G
                                         Gorg
                                         GorgeousStore shop
                                Not eligible for Amazon Prime
                                (Learn more)

                                Gift options not available




                 Place Your Order and Pay                                       Order total: $2,139.99
                                                                                By placing your order, you agree to
              You'll be securely redirected to MasterCard to                    Amazon's privacy notice and conditions
              complete this transaction.                                        of use.




     *Why has sales tax been applied? See tax and seller information.
     Need help? Check our Help pages or contact us

     For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message
     acknowledging receipt of your order. Your contract to purchase an item will not be complete until we send you an
     email notifying you that the item has been shipped.

     Important information about sales tax you may owe in your state
     You may return new, unopened merchandise in original condition within 30 days of delivery. Exceptions and restrictions
     apply. See Amazon.com's Returns Policy.

     Need to add more items to your order? Continue shopping on the Amazon.com homepage.




https://www.amazon.com/gp/buy/spc/handlers/display.html?hasWorkingJavascript=1                                                                                                   1/1
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 57 of 360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 58 of 360




                   Defendant No.: 13

                          Store Name:
                           KMT-USA

                             Platform:
                              Amazon




    23-cv-24366
      Case
12/7/23,       1:23-cv-24366-BB
         9:45 PM                                    Document 10-1 Entered  onSeller
                                                                   Amazon.com FLSD       Docket
                                                                                    Profile:       12/28/2023 Page 59 of 360
                                                                                             KMT-USA

                                                                                                                                                            Subtotal
                                                                                                                                                           $789.00
     KMT-USA
     Visit the KMT-USA storefront

                        89% positive lifetime (9 total ratings)

                                                                                                                                                          Only 3 left in
                                                                                                                                                          stock - order
                                                                                                                                                              soon.
     About Seller                                                                                             Have a question for KMT-USA?

     KMT-USA is committed to providing each customer with the highest standard of customer                          Ask a question
     service.




     Feedback

                    4.6 out of 5                    Lifetime                          FILTER BY
     9 ratings
                                                                                        All stars

     5 star                                                89%                        9 total ratings, 9 with feedback Lifetime
     4 star                                                0%
                                                                                                         “ Nice ”
     3 star                                                0%
                                                                                                         By JeniŽ on November 21, 2023.
     2 star                                                0%
                                                                                                         “ nice product ”
     1 star                                                11%
                                                                                                         By Mei Deng on November 8, 2023.

       Learn more about how seller feedback works on
       Amazon                                                                                            “ good ”

                                                                                                         By Yaziyagexoz on November 8, 2023.
     Share your thoughts with other customers

       Leave seller feedback                                                                             “ Nice ”

                                                                                                         By Vivi on October 31, 2023.


                                                                                                         “ Item as described with fast shipping ”

                                                                                                         By YAN JW on October 20, 2023.



                                                                                                                            Previous Next




     Return & Refund Policies
     To get information about the Return and Refund policies that may apply, please refer to Amazon’s Return and Refund policy.

     To initiate a return, visit Amazon's Online Return Center to request a return authorization from the seller.

     For any issues with your return, if the product was shipped by the seller, you can get help here.




     Amazon's A-to-z Guarantee
     The Amazon A-to-z Guarantee protects you when you purchase items sold and fulžlled by a third party seller. Our guarantee covers both the
     timely delivery and the condition of your items. If either are unsatisfactory, you can report the problem to us and our team will determine if you
     are eligible for a refund.

     See full details




     Detailed Seller Information
     Business Name: Shenzhen Kemeituo Technology Co.,Ltd
     Business Address:
       ੼Я੪ଳࠂ࢛॑ԚਡֽٗЏԚ࡜੼௰ㇾ㈓ٗЏԚ
       ࢋⴽ
       ‫؍ؗ‬
       ‫ٺ‬Б
       518000

https://www.amazon.com/sp?ie=UTF8&seller=A12JZ25ZPOOCBS                                                                                                                3/4
      Case
12/7/23,       1:23-cv-24366-BB
         9:44 PM                     Document
                      Amazon.com: ABCISMO 360 Photo10-1   Entered
                                                   Booth Machine       on FLSD
                                                                 for Parties          Docket
                                                                             39.4"/100CM        12/28/2023
                                                                                         with Ring                  Page
                                                                                                   Light, Free Custom Logo, 60  of 360
                                                                                                                            1-5 People Stand…

  Skip to main content Deliver to ENCARGA            All        360+PHOTO+BOOTH
                                                                                                                                      Hello, Roberto             Returns               1     Subtotal
                       Doral 33166                                                                                            EN     Account & Lists             & Orders                   $789.00


    All    Holiday Deals       Medical Care         Buy Again       Prime Video       Customer Service


    Amazon Home        Shop by Room      Discover          Shop by Style      Home Décor      Furniture    Kitchen & Dining   Bed & Bath     Garden & Outdoor           Home Improveme
                                                                                                                                                                                           Only 3 left in
                                                                                                                                                                                           stock - order
                                           360 Photo Booth with APP Control                                                                      36        $   796 00                          soon.


                                                                                                                                                                             Sponsored

 Customers who viewed this item also viewed
                           HOGSITY 360 Photo Booth                                           360 Photo Booth 360                                       MWE 360 Photo Booth
                           Machine for Parties,31.5"                                         Video Booth 360 Platform                                  Machine for Parties with
                           for 2-4 PPL,LED Lights No                                         Remote Control                                            Extra Battery,Logo
                           Need                                                              Automatic Slow Motion                                     Customization,Software
                                           22                                                               44                                                              261
                           $   94900                                                         $   1,39900                                               $   1,09900
  Electronics › Camera & Photo › Lighting & Studio › Photo Studio › Shooting Tents


                                                                           ABCISMO 360 Photo Booth                                             Currently unavailable.
                                                                           Machine for Parties                                              We don't know when or if this
                                                                                                                                             item will be back in stock.
                                                                           39.4"/100CM with Ring Light,                                      Deliver to ENCARGA -dDoral
                                                                                                                                             33166
                                                                           Free Custom Logo, 1-5 People
                                                                           Stand on Remote Control                                          Add to List

                                                                           Automatic Slow Motion 360
                                                                           Video Camera Booth (with
                                                                           Flight Case)                                                                          HOGSITY 360
                                                                                                                                                                 Photo Booth
                                                                           Brand: ABCISMO
                                                                                                                                                                 Wireless Light
                                                                           5.0                     4 ratings
                                                                                                                                                                 Strips


                                                                           Currently unavailable.
                                                                           We don't know when or if this item will be back in          360 Photo Booth Machine, for 1-3
                                                                           stock.                                                      PPL,LED Lights, No Need…
                                                                                                                                                       22
                   Roll over image to zoom in                              Material        Metal                                       $   799 00
                                                                           Theme           Birthday
                                                                                                                                                                           Sponsored
                                                                           Brand           ABCISMO
                                                              3 VIDEOS

                                                                           About this item
                                                                             * Elevate your party to new heights with the
                                                                             ABCISMO 360 Photo Booth machine. This
                                                                             cutting-edge booth lets you record your happiest
                                                                             memories from every angle with its 360-degree
                                                                             slow motion spinning feature.With such
                                                                             captivating moments, people will be thrilled to
                                                                             share them with their friends on various social
                                                                             platforms,Whether it's a Party, Reunion,
                                                                             Birthday, Carnival, Wedding, Anniversary, or any
                                                                             kind of festival.
                                                                             *[Immersive 360 Photo Booth Experience]:
                                                                             Elevate your party experience with the ABCISMO
                                                                             360 Photo Booth Machine for Parties. With its
                                                                             built-in ring light and versatile brackets, capture
                                                                             stunning photos from any angle. Choose from 3
                                                                             vibrant lighting modes and customize the
                                                                             brightness with 10 adjustable levels for the
                                                                             perfect ambiance. The universal brackets
                                                                             eŽortlessly accommodate smartphones, iPads,
                                                                             GoPro cameras, and even DSLRs, ensuring
                                                                             compatibility with various devices.
                                                                             *[Personalize Your Experience with Custom
                                                                             Logo]: Our machines come standard with a sleek
                                                                             logo, but if you desire a unique touch, we oŽer
                                                                             free logo customization. Simply send us your

https://www.amazon.com/ABCISMO-Machine-Parties-Control-Automatic/dp/B0C582WF1Z/ref=sr_1_12_sspa?crid=2BUHAEEHZ23KU&keywords=36…                                                                         1/9
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 61 of 360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 62 of 360




                   Defendant No.: 14

                        Store Name:
                        MBOBAO-US

                             Platform:
                              Amazon




    23-cv-24366
      Case
12/7/23, 10:14 1:23-cv-24366-BB
               PM                                  Document 10-1 Entered  on
                                                                 Amazon.com   FLSD
                                                                            Seller Profile:Docket 12/28/2023 Page 63 of 360
                                                                                            MBOBAO-US

                                                                                                                                               Subtotal
                                                                                                                                             $1,399.99
     MBOBAO-US
     Visit the MBOBAO-US storefront

                       83% positive lifetime (6 total ratings)

                                                                                                                                             Only 5 left in
                                                                                                                                             stock - order
                                                                                                                                                 soon.
     About Seller                                                                               Have a question for MBOBAO-US?

     If any problems, plz contactdmbobaooƀce@gmail.com. Thanks.                                        Ask a question




     Feedback

                      4.3 out of 5                 Lifetime             FILTER BY
     6 ratings
                                                                         All stars

     5 star                                               83%           6 total ratings, 6 with feedback Lifetime
     4 star                                               0%
                                                                                           “ TE MARCA QUE LLEGA EL PAQUE UNA FECHA
     3 star                                               0%                                Y DESPUES LA MODIFICAN CADA SEMANA.
                                                                                            NO LLEGA. ”
     2 star                                               0%
                                                                                           By JONATHAN on November 22, 2023.
     1 star                                               17%
                                                                                           “ Hello, your package has arrived at your local
         Learn more about how seller feedback works on                                      service point, but you could not be contacted
         Amazon                                                                             because the virtual mobile number was not
                                                                                            valid and the delivery man... ”
                                                                                           Read more
     Share your thoughts with other customers
                                                                                           By MBOBAO-US on November 27, 2023.
         Leave seller feedback
                                                                                           “ Seller went missing before missing parts were
                                                                                             sent out to me and log was never received. ”

                                                                                           By Amanda on November 19, 2023.

                                                                                           Message from Amazon: This item was fulžlled
                                                                                           by Amazon, and we take responsibility for this
                                                                                           fulžllment experience.


                                                                                           “ Incredibly responsive & helpful customer
                                                                                            service. The 360 works well with the remote &
                                                                                            their customer service has been helping me
                                                                                            trouble shoot getting the blue... ”
                                                                                           Read more

                                                                                           By Samantha S. on November 13, 2023.


                                                                                           “ Power supply missing.clearly states you hand
                                                                                            to request it to be sent separately, and get
                                                                                            nothing but a run around about it and waste
                                                                                            your time contacting custo... ”
                                                                                           Read more

                                                                                           By Jennifer Meredith on November 9, 2023.

                                                                                           Message from Amazon: This item was fulžlled
                                                                                           by Amazon, and we take responsibility for this
                                                                                           fulžllment experience.


                                                                                           “ The customer service is stellar! This company
                                                                                             stands by their products wholeheartedly. ”
                                                                                           By Renee on November 7, 2023.



                                                                                                              Previous Next




     R           &R f       d P li i
https://www.amazon.com/sp?ie=UTF8&seller=A3EORK59J2BHD                                                                                                    3/4
      Case
12/22/23, 5:22 1:23-cv-24366-BB
               PM                     Document
                       Amazon.com: [Newest] 360 Photo10-1   Entered
                                                     Booth Machine       on Ring
                                                                   with RGB FLSD      Docket
                                                                                 Light,Free      12/28/2023
                                                                                            Custom                 Page Booth
                                                                                                   Logo, 360 Video Camera 64 ofSelfie
                                                                                                                                 360Platf…
  Skip to main content Deliver to ENCARGA            Home & Kitchen          Search Amazon
                                                                                                                                        Hello, Roberto                  Returns               1   Subtotal
                       Doral 33166                                                                                            EN     Account & Lists                    & Orders                  $729.00


    All    Gift Cards      Medical Care        Groceries            Buy Again     Prime Video       Customer Service     Kindle Books                                    Shop Winter Sale


    Amazon Home         Shop by Room     Discover       Shop by Style        Home Décor      Furniture     Kitchen & Dining   Bed & Bath          Garden & Outdoor             Home Improveme



                                           360 Photo Booth with APP Control                                                                              36       $   796 00
                                                                                                                                                                                    Sponsored

 Customers who viewed this item also viewed
                           Newest 360 Photo Booth                                           360 Photo Booth 360                                               MWE 360 Photo Booth
                           26.8.inch PRO with RGB                                           Video Booth 360 Platform                                          Machine for Parties with
                           Ring Light, APP Control,                                         Remote Control                                                    Extra Battery,Logo
                           Remote Control,                                                  Automatic Slow Motion                                             Customization,Software
                                          32                                                                44                                                                     267
                           $   79900                                                        $   1,29900                                                       $   1,09900
  Electronics › Camera & Photo › Lighting & Studio › Lighting › Booms & Stands


                                                               [Newest] 360 Photo Booth
                                                               Machine with RGB Ring Light,Free
                                                                                                                                            $
                                                                                                                                                78900
                                                                                                                                            FREE delivery December 28 -
                                                               Custom Logo, 360 Video Camera                                                January 3. Details
                                                               Booth Selže Platform for Live                                                Arrives after Christmas. Need a
                                                               Streaming Wedding Birthday                                                   gift sooner? Send an eGift Card
                                                                                                                                            from hundreds of brands
                                                               Events Exhibitions (26.8in for 1-3                                           instantly.
                                                               People+Flight Case)                                                                Deliver to ENCARGA -dDoral
                                                               Brand: MBOBAO                                                                      33166
                                                               4.7                        28 ratings
                                                                                                                                            Only 2 left in stock - order
                                                                                                                                            soon.
                                                               $
                                                                   789   00
                                                                                                                                                Qty: 1
                                                               Or $46.58 /mo (24 mo). Select from 1 plan

                                                               Save up to 3% with business pricing. Sign up for a free                                        Add to Cart
              Roll over image to zoom in                       Amazon Business account
                                                                                                                                                               Buy Now
                                                                   Thank you for being a Prime Member. Pay $789.00
                                                                   $664.00 for this order. Get a $125 Amazon Gift Card                      Ships from                 shopus-M
                                                    2 VIDEOS       upon approval for the Amazon Business Prime Card                         Sold by                    shopus-M
                                                                   with an eligible Prime membership. Terms apply.                          Returns                    Returnable until
                                                                                                                                                                       Jan 31, 2024
                                                               Delivery & Support                                                           Payment                    Secure transaction
                                                               Select to learn more                                                         Customer Service shopus-M
                                                                                                                                              See more

                                                                                                                                            Add a Protection Plan:
                                                                                                                                                  2 Year Camera Accident
                                                                   Ships from    Returnable until      Customer                                   Protection Plan for $59.99
                                                                   shopus-M       Jan 31, 2024          Support
                                                                                                                                                  3-Year Protection for $78.99


                                                                                                                                                Add to List

                                                               Size: 28" for 1-3ppl+Flight Case

                                                                   28" for 1-        31.5"for 1-          32"PRO for
                                                                   3ppl+Fligh…       4ppl +Flig…          1-4ppl…

                                                                   $789.00           $949.00              $1,049.00
                                                                                                                                                                        Professional C
                                                                                                                                                                        Stand with
                                                                                                                                                                        Boom Arm
                                                                   39.4"for 1-       40"PRO for           45.3"for 1-
                                                                   5ppl +Flig…       1-5ppl…              7ppl +Flig…                    Heavy Duty Photography Light…
                                                                                                                                                              2,121
                                                                   $1,399.00         $1,199.00            $1,789.00                      $179 99

                                                                                                                                           Save $40 with coupon

                                                                                                                                                                                  Sponsored




https://www.amazon.com/-/es/logotipo-personalizado-gratuito-cumpleaños-fotografía/dp/B0CB59WN39?th=1                                                                                                         1/9
      Case
12/22/23, 5:22 1:23-cv-24366-BB
               PM                                   Document 10-1 Entered    on FLSD
                                                                  Place Your Order        Docket
                                                                                   - Amazon.com     12/28/2023 Page 65 of 360
                                                                                                Checkout



                                                                         Checkout (1 item)
     1     Shipping                     ENCARGA ROBERTO ROMERO                                                  Change
           address                      8611 NW 72ND ST                                                                                     Place your order
                                        DORAL, FL 33166-2311
                                                                                                                              By placing your order, you agree to Amazon's
                                        Add delivery instructions                                                                 privacy notice and conditions of use.


     2     Special delivery             [Newest] 360 Photo Booth Machine with RGB Ring                          Change        Order Summary
           options                      Light,Free Custom Logo, 360 Video Camera Booth
                                        Selže Platform for Live Streaming Wedding Birthday                                    Subtotal (1 item):                    $789.00
                                        Events Exhibitions (26.8in for 1-3 People+Flight Case)                                Shipping & handling:                       $0.00

                                                                                                                              Total before tax:                     $789.00

     3     Payment                      Paying with Mastercard 1953                                             Change        Estimated tax to be collected:*        $55.23

           method                       Billing address: Carlos M. Arias Jiron, 9020 N…
                                                                                                                              Order total:                      $844.23
                                           Add a gift card or promotion code or voucher

                                           Enter code                         Apply
                                                                                                                              How are shipping costs calculated?

                                                                                                                              Why didn't I qualify for Prime Shipping?
     4     Review items and shipping

                     Want to save time on your next order and go directly to this
                     step when checking out?
                    Default to this delivery address and payment method.




              Arriving Dec. 28, 2023 - Jan. 3, 2024
              Items shipped from shopus-M
                                [Newest] 360 Photo Booth                Choose a delivery option:
                                Machine with RGB Ring                     Wednesday, Dec. 27 - Wednesday, Jan.
                                Light,Free Custom Logo,                   3
                                360 Video Camera Booth                    $115.91 - Expedited Shipping
                                Selže Platform for Live                   Thursday, Dec. 28 - Wednesday, Jan. 3
                                Streaming Wedding                         FREE Standard Shipping
                                Birthday Events Exhibitions
                                (26.8in for 1-3                     Get text updates
                                                                       You consent to receive texts from us for
                                People+Flight Case)
                                $  89.00
                                   8                                   this delivery at +17866879611. Change
                                $789.00
                                  Qty: 1

                                Sold
                                S ld b
                                  ld by: shop
                                         shopus-M
                                          h
                                Not eligible for Amazon Prime
                                (Learn more)

                                Gift options not available




                                        Order total: $844.23
                 Place your order       By placing your order, you agree to Amazon's privacy notice and conditions of
                                        use.




     *Why has sales tax been applied? See tax and seller information.
     Need help? Check our Help pages or contact us

     For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message
     acknowledging receipt of your order. Your contract to purchase an item will not be complete until we send you an
     email notifying you that the item has been shipped.

     Important information about sales tax you may owe in your state
     You may return new, unopened merchandise in original condition within 30 days of delivery. Exceptions and restrictions
     apply. See Amazon.com's Returns Policy.



https://www.amazon.com/gp/buy/spc/handlers/display.html?_from=cheetah                                                                                                            1/2
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 66 of 360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 67 of 360




                   Defendant No.: 15

                          Store Name:
                           Peepoleck

                             Platform:
                              Amazon




    23-cv-24366
      Case
12/8/23, 10:35 1:23-cv-24366-BB
               AM                           Document 10-1 Entered  onSeller
                                                           Amazon.com FLSD      Docket
                                                                            Profile:        12/28/2023 Page 68 of 360
                                                                                     Peepoleck



     Peepoleck
     Visit the Peepoleck storefront

                     94% positive lifetime (137 total ratings)




     About Seller                                                                                       Have a question for Peepoleck?

     Peepoleck is committed to providing each customer with the highest standard of customer                   Ask a question
     service.




     Feedback

                    4.7 out of 5                Lifetime                        FILTER BY
     137 ratings
                                                                                  All stars

     5 star                                             87%
                                                                                137 total ratings, 137 with feedback Lifetime
     4 star                                             7%
                                                                                                  “ Flight case is bent in numerous spots
     3 star                                             1%                                         damaged from shipping as it was thrown
                                                                                                   around By the looks of it you can see from the
     2 star                                             3%
                                                                                                   bends in the above photos. contacted... ”
     1 star                                             2%                                        Read more

                                                                                                  By Heather Jones on October 5, 2023.
       Learn more about how seller feedback works on                                              Message from Amazon: This item was fulžlled
       Amazon                                                                                     by Amazon, and we take responsibility for this
                                                                                                  fulžllment experience.
     Share your thoughts with other customers

                                                                                                  “ I had to do a exchange do to item damage
       Leave seller feedback
                                                                                                   and missing tools, so if theirs a way I can get
                                                                                                   reached by pepoleck. That would be great ”

                                                                                                  By Gaby Reyes on September 15, 2023.

                                                                                                  Message from Amazon: This item was fulžlled
                                                                                                  by Amazon, and we take responsibility for this
                                                                                                  fulžllment experience.


                                                                                                  “ The package was delayed by almost a month.
                                                                                                   When we žrst received it we were impressed
                                                                                                   with the quality but unfortunately it only
                                                                                                   worked a couple of times and t... ”
                                                                                                  Read more

                                                                                                  By Claudia Cain on June 6, 2023.

                                                                                                  Message from Amazon: This item was fulžlled
                                                                                                  by Amazon, and we take responsibility for this
                                                                                                  fulžllment experience.


                                                                                                  “ Not my expected item. ”

                                                                                                  By lucky.padilla on June 6, 2023.

                                                                                                  Message from Amazon: This item was fulžlled
                                                                                                  by Amazon, and we take responsibility for this
                                                                                                  fulžllment experience.


                                                                                                  “ excited to put to use but have to cook it on an
                                                                                                   open žre before it can be used according to
                                                                                                   the directions. ”

                                                                                                  B C    i P     ll Ol      N         b   4 2022
https://www.amazon.com/sp?ie=UTF8&seller=A134VSH8Z7YLU3                                                                                               3/4
      Case
12/8/23, 10:35 1:23-cv-24366-BB
               AM                     Document
                       Amazon.com: Peepoleck        10-1
                                             360 Photo       Entered
                                                       Booth Machine 68cmon
                                                                          withFLSD     Docket
                                                                               Flight Case,       12/28/2023
                                                                                            360 Degree             Page
                                                                                                       Rotating Camera      69
                                                                                                                       Booth,   ofCustomiz…
                                                                                                                              Logo 360
  Skip to main content Deliver to ENCARGA         All      Search Amazon
                                                                                                                                            Hello, Roberto              Returns               0
                       Doral 33166                                                                                                    EN    Account & Lists             & Orders


    All      Holiday Deals    Medical Care       Buy Again     Prime Video       Customer Service     Coupons     Household, Health & Baby Care                 Save up to 45% oŽ gifts


                                           Upgraded 360 Photo Booth with APP Control                                                  $1
                                                                                                                                       1,499
                                                                                                                                         499 00          Save $550 with coupon


                                                                                                                                                                                    Sponsored
  Electronics › Camera & Photo › Lighting & Studio › Lighting › Booms & Stands


                                                                                                Peepoleck 360 Photo
                                                                                                Booth Machine 68cm
                                                                                                                                                  $
                                                                                                                                                      88800
                                                                                                                                                  FREE Prime delivery Friday,
                                                                                                with Flight Case, 360                             December 22
                                                                                                Degree Rotating                                   Arrives before Christmas
                                                                                                Camera Booth, Logo                                     Deliver to ENCARGA -dDoral

                                                                                                Customization, 1-2                                     33166


                                                                                                People Stand on                                   Only 4 left in stock - order
                                                                                                                                                  soon.
                                                                                                Remote Control
                                                                                                                                                               Add to Cart
                                                                                                Automatic Spin for
                                                                                                Events 26.8''                                                       Buy Now

                                                                                                Visit the Peepoleck Store
                                                                                                                                                  Ships from Amazon
  3 VIDEOS                                                                                      3.8                   19 ratings
                                                                                                                                                  Sold by      Peepoleck
                                                                                                                                                  Returns      Returnable until Jan 31,
                                                                                                $
                                                                                                    888    00
                                                                                                                                                               2024
                                                                                                                                                  Payment      Secure transaction
                                                                                                Or $52.42 /mo (24 mo). Select from 1
                                                                                                plan                                              Add a Protection Plan:
                                                                                                                                                       Tech Unlimited – Protect
                                                                                                    Coupon: d     Apply $200 coupon
                                                                                                                                                       Eligible Past and Future
                                                                                                    Terms
                                                                                                                                                       Purchases with 1 Plan
                                                                                                     Pay $888.00 $688.00 for this                      (Renews Monthly Until
                                                                                                     order. Get a $200 Amazon Gift                     Cancelled) for
                                                                                                     Card upon approval for the                        $16.99/month
                                                                                                     Amazon Business Prime Card.                       Add a gift receipt for easy
                                                                                                     OŽer ends 12/12/23. Terms apply.                  returns
                                                                                                     Learn more.

                                                                                                Delivery & Support                                    Add to List
                                      Roll over image to zoom in                                Select to learn more



                                                                                                     Ships Returnabl Customer
                                                                                                     from   e until   Support                                           Dowshata 360
                                                                                                    Amazon Jan 31,                                                      Photo Booth
                                                                                                             2024




                                                                                                                                             Dowshata 360 Photo Booth Machine,
                                                                                                Size: 26.8 inch                              31.5" with Flight Case, 80cm 360…
                                                                                                                                             $899 00

                                                                                                    26.8 inch        39.4 inch                Save $100 with coupon

                                                                                                                                                                                  Sponsored
                                                                                                    $888.00          $899.00



                                                                                                     澬Professional 360 Camera Booth
                                                                                                     Machine澭Peepoleck 360 motor is
                                                                                                     made of premium steel
                                                                                                     material,which means that it is more
                                                                                                     wear-resistant than other motors. It
                                                                                                     makes the rotating pole work more
                                                                                                     stably. Then the eŽect of taking
                                                                                                     pictures or photography will be
                                                                                                     better.



https://www.amazon.com/Peepoleck-Machine-Rotating-Customization-Automatic/dp/B0BY8G2WCD/ref=sr_1_1?m=A134VSH8Z7YLU3&marketplaceI…                                                                 1/9
      Case
12/8/23, 10:36 1:23-cv-24366-BB
               AM                                    Document 10-1 Entered on FLSD
                                                                         Amazon.com   Docket 12/28/2023 Page 70 of 360
                                                                                    Checkout



                                                                         Checkout (1 item)
     1     Shipping                     John Doe                                                                   Change
           address                      3503 DAY AVE                                                                                      Place your order
                                        MIAMI, FL 33133-4904
                                                                                                                            By placing your order, you agree to Amazon's
                                        Add delivery instructions                                                               privacy notice and conditions of use.


     2     Special delivery             Peepoleck 360 Photo Booth Machine 68cm with Flight                         Change   Order Summary
           options                      Case, 360 Degree Rotating Camera Booth, Logo
                                        Customization, 1-2 People Stand on Remote Control                                   Subtotal (1 item):                   $888.00
                                        Automatic Spin for Events 26.8''                                                    Shipping & handling:                   $0.00

                                                                                                                            Total before tax:                    $888.00

     3     Payment                      Paying with Mastercard 1953                                                Change   Estimated tax to be collected:        $62.16

           method                       Billing address: Same as shipping address.
                                                                                                                            Order total:                     $950.16
                                              Add a gift card or promotion code or voucher

                                              Enter code                        Apply
                                                                                                                            How are shipping costs calculated?

                                                                                                                            Prime shipping benežts have been applied to
     4     Review items and shipping                                                                                        your order.



                     Want to save time on your next order and go directly to this
                     step when checking out?
                    Default to this delivery address and payment method.




                                                    Limited Time OŽer - Get a
                                                    $200 Amazon Gift Card upon
                                                    approval for the Amazon
                                                                                                         Learn More
                                                    Business Prime Card. OŽer ends
                                                    12/12/23.
                                                    Terms apply.


              Arriving Dec. 13, 2023 If you order in the nextd12 hours and 23 minutes (Details)
              Items shipped from Amazon.com
                                Peepoleck 360 Photo Booth               Choose your Prime delivery option:
                                Machine 68cm with Flight                  Wednesday, Dec. 13
                                Case, 360 Degree Rotating                 FREE Prime Delivery
                                Camera Booth, Logo
                                Customization, 1-2 People              Get text updates
                                                                          You consent to receive texts from us for
                                Stand on Remote Control
                                                                          this delivery at +50584635762. Change
                                Automatic Spin for Events
                                26.8''
                                $8 8.00
                                $88
                                $888.00
                                $
                                  Qty: 1
                                Sold
                                S ld b
                                  ld by:
                                      y PPeep
                                         Peepoleck
                                            p
                                     Add gift options




                                           Order total: $950.16
                 Place your order          By placing your order, you agree to Amazon's privacy notice and conditions of
                                           use.




     *Why has sales tax been applied? See tax and seller information.

     Need help? Check our Help pages or contact us
     For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message
     acknowledging receipt of your order. Your contract to purchase an item will not be complete until we send you an
     email notifying you that the item has been shipped.


https://www.amazon.com/gp/buy/spc/handlers/display.html?hasWorkingJavascript=1                                                                                             1/2
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                   Defendant No.: 16

                          Store Name:
                          RareQ Store

                             Platform:
                              Amazon




    23-cv-24366
      Case
12/7/23, 10:10 1:23-cv-24366-BB
               PM                           Document 10-1 Entered   onSeller
                                                           Amazon.com   FLSD       Docket
                                                                             Profile:         12/28/2023 Page 73 of 360
                                                                                      RareQ Store




     RareQ Store
     Visit the RareQ Store storefront

     Just launched      No feedback yet




     About Seller                                                                                             Have a question for RareQ Store?

     RareQ Store is committed to providing each customer with the highest standard of customer                      Ask a question
     service.




     Return & Refund Policies
     To get information about the Return and Refund policies that may apply, please refer to Amazon’s Return and Refund policy.

     To initiate a return, visit Amazon's Online Return Center to request a return authorization from the seller.

     For any issues with your return, if the product was shipped by the seller, you can get help here.




     Amazon's A-to-z Guarantee
     The Amazon A-to-z Guarantee protects you when you purchase items sold and fulžlled by a third party seller. Our guarantee covers both the
     timely delivery and the condition of your items. If either are unsatisfactory, you can report the problem to us and our team will determine if you
     are eligible for a refund.

     See full details




     Detailed Seller Information
     Business Name: nanningtongzhishunqichezulinyouxiangongsi
     Business Address:
       ௩ࣰ૨95՚ग़ँҒ‫࢔ێ‬4՚ूՇԄҸࠡ
       Ь‫ك‬901՚۰
       ԧ؈
       ੼Я⹄
       ‫੼ٺ‬
       530003
       CN




     Shipping Policies

     Other Policies

     Help



     Products
     See all products currently oŽered by the seller.



                                                                     Leave seller feedback




https://www.amazon.com/sp?ie=UTF8&seller=ADWZ8TQWMLTUA                                                                                                    2/4
      Case
12/7/23,       1:23-cv-24366-BB
         10:11 PM      Amazon.com: 360Document     10-1100cm
                                      Photo Booth Machine Entered     on FLSD
                                                             for Parties,360 CameraDocket
                                                                                    Spin Photo12/28/2023
                                                                                               Booth for 5 PeoplePage   74 ofControl
                                                                                                                 Stand Remote 360 Au…
  Skip to main content
                           Deliver to ENCARGA
                                                   All      Search Amazon
                                                                                                                               Hello, Roberto                 Returns                0
                           Doral 33166                                                                                    EN   Account & Lists                & Orders


    All    Holiday Deals       Medical Care       Buy Again     Prime Video

                                                         Compatible with All Size iPads
             Portable Photo Booth for 10.2in 10.9in 12.9in Ipad, Selže Photo Booth with Software, Flight Case, Ring Light, AP…
                                                                                                                                                 $
                                                                                                                                                     999 00
                                                                                                                                                                           Sponsored

 Customers who viewed this item also viewed
                           ZANOGI 360 Photo Booth                                       360 Photo Booth,360                                            OLYLO 360 Photo Booth
                           Machine with Battery                                         Photo Booth Machine                                            Machine 100cm with
                           Pack&APP for                                                 with RGB Ring Light,360                                        Software for Parties with
                           Parties,115cm Slow                                           Slow Motion                                                    Ring Light,Trolley,Free
                                            71                                                           22                                                               212
                           $
                               1,999   00                                               $
                                                                                            999   00                                                   $
                                                                                                                                                           1,599    00


  Electronics › Camera & Photo › Lighting & Studio › Photo Studio › Shooting Tents


                                                                                 360 Photo Booth
                                                                                 Machine 100cm for
                                                                                                                                    $
                                                                                                                                        1,59999
                                                                                                                                    FREE delivery December 15 -
                                                                                 Parties,360 Camera                                 20. Details
                                                                                 Spin Photo Booth for                               Arrives before Christmas
                                                                                 5 People Stand                                           Deliver to ENCARGA -dDoral

                                                                                 Remote Control                                           33166


                                                                                 Automatic Slow                                     Only 3 left in stock - order
                                                                                                                                    soon.
                                                                                 Motion/12 RGB Ring
                                                                                                                                        Qty: 1
                                                                                 Light 360 Spin
                                                                                                                                                      Add to Cart
                                                                                 Camera Video Booth
                                                                                 Brand: Generic                                                        Buy Now
   VIDEO                                                                         5.0                          2 ratings
                                                                                                                                    Ships from RareQ Store
                                                                                 $
                                                                                     1,599        99                                Sold by           RareQ Store
                                                                                                                                    Returns           Returnable until Jan 31,
                                                                                 Or $63.32 /mo (48 mo). Select from                                   2024
                                                                                 1 plan                                             Payment           Secure transaction

                                                                                     Coupon: d         Apply 7% coupon
                                                                                     Shop items | Terms                                 Add to List

                                                                                      Pay $1,599.99 $1,399.99 for this
                                                                                      order. Get a $200 Amazon Gift
                                                                                      Card upon approval for the
                                                                                      Amazon Business Prime Card.
                               Roll over image to zoom in                             OŽer ends 12/12/23. Terms                                               Compatible with
                                                                                      apply. Learn more.                                                      All Size iPads



                                                                                 Size: 100CM/39.4''
                                                                                                                                Portable Photo Booth for 10.2in
                                                                                     100CM/39.4'         68CM/26.8''            10.9in 12.9in Ipad, Selže Light…
                                                                                     '                                          $
                                                                                                                                    999 00
                                                                                     $1,599.99           $1,159.99
                                                                                                                                                                         Sponsored


                                                                                     80CM/31.5''         115CM/45.3'
                                                                                                         '

                                                                                     $1,399.99           $1,999.99


https://www.amazon.com/Machine-Parties-Camera-Control-Automatic/dp/B0CGVT1CPD/ref=sr_1_1?m=ADWZ8TQWMLTUA&marketplaceID=ATVPD…                                                            1/8
      Case
12/7/23,       1:23-cv-24366-BB
         10:11 PM                                    Document 10-1 Entered on FLSD
                                                                         Amazon.com   Docket 12/28/2023 Page 75 of 360
                                                                                    Checkout



                                                                         Checkout (1 item)
     1     Shipping                     John Doe                                                                   Change
           address                      3503 DAY AVE                                                                                        Place your order
                                        MIAMI, FL 33133-4904
                                                                                                                              By placing your order, you agree to Amazon's
                                        Add delivery instructions                                                                 privacy notice and conditions of use.


     2     Payment                      Paying with Mastercard 1953                                                Change     Order Summary
           method                       Billing address: Same as shipping address.
                                                                                                                              Subtotal (1 item):                   $1,599.99
                                              Add a gift card or promotion code or voucher                                    Shipping & handling:                       $0.00

                                              Enter code                        Apply                                         Total before tax:                    $1,599.99
                                                                                                                              Estimated tax to be
                                                                                                                              collected:*                           $112.00
     3     Review items and shipping
                                                                                                                              Order total:                   $1,711.99
                     Want to save time on your next order and go directly to this
                     step when checking out?                                                                                  How are shipping costs calculated?
                    Default to this delivery address and payment method.                                                      Why didn't I qualify for Prime Shipping?




              Arriving Dec. 15, 2023 - Dec. 20, 2023
              Items shipped from RareQ Store

                                360 Photo Booth Machine                 Choose a delivery option:
                                100cm for Parties,360                     Friday, Dec. 15 - Wednesday, Dec. 20
                                Camera Spin Photo Booth                   FREE Standard Shipping
                                for 5 People Stand Remote
                                Control Automatic Slow
                                Motion/12 RGB Ring Light
                                360 Spin Camera Video
                                Booth
                                $1,,599.99
                                $1,599.99
                                $
                                  Qty: 1

                                Sold
                                S ld b
                                  ld by: R
                                         Rare
                                         RareQ Store
                                Not eligible for Amazon Prime
                                (Learn more)

                                Gift options not available




                                           Order total: $1,711.99
                 Place your order          By placing your order, you agree to Amazon's privacy notice and conditions of
                                           use.




     *Why has sales tax been applied? See tax and seller information.
     Need help? Check our Help pages or contact us

     For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message
     acknowledging receipt of your order. Your contract to purchase an item will not be complete until we send you an
     email notifying you that the item has been shipped.

     Important information about sales tax you may owe in your state

     You may return new, unopened merchandise in original condition within 30 days of delivery. Exceptions and restrictions
     apply. See Amazon.com's Returns Policy.

     Need to add more items to your order? Continue shopping on the Amazon.com homepage.




https://www.amazon.com/gp/buy/spc/handlers/display.html?hasWorkingJavascript=1                                                                                                   1/1
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 76 of 360
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                   Defendant No.: 17

                          Store Name:
                           WiViTouch

                             Platform:
                              Amazon




    23-cv-24366
      Case
12/22/23, 5:24 1:23-cv-24366-BB
               PM                                  Document 10-1 Entered  onSeller
                                                                  Amazon.com FLSD      Docket
                                                                                   Profile:        12/28/2023 Page 78 of 360
                                                                                            WiViTouch

                                                                                                                                                            Subtotal
                                                                                                                                                           $789.00
     WiViTouch
     Visit the WiViTouch storefront

                        100% positive lifetime (1 total ratings)

                                                                                                                                                          Only 2 left in
                                                                                                                                                          stock - order
          Protected by A-to-z Guarantee The Amazon A-to-z Guarantee protects you when you purchase items sold and fulžlled by a third party seller.           soon.
     Read more




     About Seller                                                                                             Have a question for WiViTouch?

     WiViTouch is committed to providing each customer with the highest standard of customer                        Ask a question
     service.




     Feedback

                    5 out of 5                      Lifetime                          FILTER BY
     1 ratings
                                                                                        All stars

     5 star                                               100%                        1 total ratings, 1 with feedback Lifetime
     4 star                                               0%
                                                                                                         “ How do we get our decal ”
     3 star                                               0%
                                                                                                         By harvey on October 6, 2023.
     2 star                                               0%
                                                                                                         “ Hi, you can reach out to us via "Contact
     1 star                                               0%                                               Seller." You can send us your designed LOGO,
                                                                                                           or we can provide Logo styles for you to
       Learn more about how seller feedback works on                                                       choose from. ”
       Amazon                                                                                            By WiViTouch on October 7, 2023.


     Share your thoughts with other customers                                                            “ Use product and you listed new products ”

                                                                                                         By jean claude on April 21, 2023.
       Leave seller feedback
                                                                                                         Message from Amazon: This item was fulžlled
                                                                                                         by Amazon, and we take responsibility for this
                                                                                                         fulžllment experience.




     Return & Refund Policies
     To get information about the Return and Refund policies that may apply, please refer to Amazon’s Return and Refund policy.

     To initiate a return, visit Amazon's Online Return Center to request a return authorization from the seller.

     For any issues with your return, if the product was shipped by the seller, you can get help here.




     Amazon's A-to-z Guarantee
     The Amazon A-to-z Guarantee protects you when you purchase items sold and fulžlled by a third party seller. Our guarantee covers both the
     timely delivery and the condition of your items. If either are unsatisfactory, you can report the problem to us and our team will determine if you
     are eligible for a refund.

     See full details




     Detailed Seller Information
     Business Name: Shenzhen Wivitouch Technology Co., Ltd.
     Business Address:
       ‫࢖ޏ‬੪ଳⴽ২॑Ԛ䬐২૨գ‫ئ‬娑ٗЏⴃӄ⛮ѭҽٗЏⴃ
       1՚Դ۰2‫ك‬
       ࢋⴽ١
       Ұ‫ޢ‬Ԛ
       ‫ٺ‬Бम
https://www.amazon.com/sp?ie=UTF8&seller=A1IPBZJEUMHKTR                                                                                                                3/4
      Case
12/22/23, 5:25 1:23-cv-24366-BB
               PM                     Document
                       Amazon.com : WIVIKIOSK       10-1
                                              360 Photo BoothEntered    on FLSD
                                                              Machine 115cm           Docket
                                                                            for Parties,         12/28/2023
                                                                                         Free Customized          Page
                                                                                                         Logo, Remote      79People
                                                                                                                      Control, of 360
                                                                                                                                    Stand …


  Skip to main content
                              Deliver to ENCARGA
                                                         Electronics     Search Amazon
                                                                                                                                        Hello, Roberto            Returns               0
                              Doral 33166                                                                                        EN     Account & Lists           & Orders


     All      Gift Cards      Medical Care            Groceries        Buy Again   Prime Video       Customer Service         Kindle Books                         Last minute gifts

    Camera & Photo         Deals       Best Sellers      DSLR Cameras       Mirrorless Cameras       Lenses      Point-and-Shoots      Sports & Action Cameras        Camcorders


                                               360 Photo Booth with APP Control                                                                    36       $   796 00
                                                                                                                                                                              Sponsored
  Electronics › Camera & Photo › Lighting & Studio › Lighting › Booms & Stands


                                                                                      WIVIKIOSK 360 Photo                                    No featured oŽers available
                                                                                      Booth Machine 115cm                                    Learn more

                                                                                      for Parties, Free
                                                                                      Customized Logo,                                          Deliver to ENCARGA -dDoral
                                                                                                                                                33166
                                                                                      Remote Control,
                                                                                                                                                  See All Buying Options
                                                                                      People Stand on Spin
                                                                                      360 Camera Video                                        Add to List
                                                                                      Booth(45''+Flight
                                                                                      Case)
                                                                                      Visit the WIVIKIOSK Store
                                                                                      5.0                   2 ratings
                                                                                       | 33 answered questions                                                    Dowshata 360
   5 VIDEOS                                                                                                                                                       Photo Booth

                                                                                      Delivery & Support
                                                                                      Select to learn more

                                                                                                                                         360 Photo Booth Machine, 26.8"
                                                                                                                                         with Flight Case, 68cm 360 Degree…
                                                                                       Customer                                          $   6 99 00
                                                                                        Support
                                                                                                                                                                            Sponsored




                                                                                      Size: 45''+Flight Case
                                   Roll over image to zoom in
                                                                                         45''+Flight          27''+Flight
                                                                                         Case                 Case

                                                                                         1 option from        1 option from
                                                                                         $2,099.00            $1,199.00



                                                                                         31''+Flight          40''+Flight
                                                                                         Case                 Case

                                                                                         $1,199.00            $1,599.00



                                                                                         40''Glass+Fli        47'' Pro
                                                                                         ght Case             Max+Fligh…

                                                                                         1 option from        1 option from
                                                                                         $2,380.00            $2,759.00




                                                                                          EASY SETUP AND FLEXIBLE
                                                                                          OPERATION - WIVIKIOSK 360
                                                                                          photo booth machine can be set up

https://www.amazon.com/WIVIKIOSK-Machine-Parties-Extendable-Automatic/dp/B0BLVLSZM6?th=1                                                                                                    1/7
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 80 of 360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 81 of 360




                   Defendant No.: 18

                          Store Name:
                            SnowCC

                             Platform:
                              Amazon




    23-cv-24366
      Case
12/8/23,       1:23-cv-24366-BB
         11:16 AM                           Document 10-1 Entered   on Seller
                                                            Amazon.com FLSD      Docket
                                                                              Profile:      12/28/2023 Page 82 of 360
                                                                                       SnowCC




     SnowCC
     Visit the SnowCC storefront

     Just launched      No feedback yet




     About Seller                                                                                             Have a question for SnowCC?

     SnowCC is committed to providing each customer with the highest standard of customer                           Ask a question
     service.




     Return & Refund Policies
     To get information about the Return and Refund policies that may apply, please refer to Amazon’s Return and Refund policy.

     To initiate a return, visit Amazon's Online Return Center to request a return authorization from the seller.

     For any issues with your return, if the product was shipped by the seller, you can get help here.




     Amazon's A-to-z Guarantee
     The Amazon A-to-z Guarantee protects you when you purchase items sold and fulžlled by a third party seller. Our guarantee covers both the
     timely delivery and the condition of your items. If either are unsatisfactory, you can report the problem to us and our team will determine if you
     are eligible for a refund.

     See full details




     Detailed Seller Information
     Business Name: wuxueshibaixingfanzhuang
     Business Address:
       zhumuqiaocunkanjiangpaichusuopangbei
       diyijianmenmian
       huanggang
       wuxue
       hubei
       435400
       CN




     Shipping Policies

     Other Policies

     Help



     Products
     See all products currently oŽered by the seller.



                                                                     Leave seller feedback




https://www.amazon.com/sp?ie=UTF8&seller=A37O4UJ0A9V2ZA                                                                                                   2/4
      Case
12/8/23,       1:23-cv-24366-BB
         11:17 AM      Amazon.com: 360Document      10-1withEntered
                                      Photo Booth Machine    Flight Case,on  FLSD Docket
                                                                          68cm/26.8inch Automatic12/28/2023        Page
                                                                                                  360 Spin Photo Booth     83 of
                                                                                                                       2 People     360on …
                                                                                                                                to Stand


  Skip to main content
                           Deliver to ENCARGA
                                                   All      Search Amazon
                                                                                                                              Hello, Roberto            Returns               0
                           Doral 33166                                                                                   EN   Account & Lists           & Orders


    All    Holiday Deals      Medical Care        Buy Again     Prime Video      Customer Service       Coupons                                 Save up to 45% oŽ gifts


                            NIUBEE Acrylic Sign Holder, 6Pack, Vertical Slanted Back, Clear Plastic…                                  2,163       $
                                                                                                                                                      27 99
                                                                                                                                                                    Sponsored
  Electronics › Camera & Photo › Lighting & Studio › Photo Studio › Shooting Tents


                                                                     360 Photo Booth Machine
                                                                     with Flight Case,
                                                                                                                                $
                                                                                                                                    1,29999
                                                                                                                                $10.29 delivery January 2 - 24.
                                                                     68cm/26.8inch Automatic 360                                Details
                                                                     Spin Photo Booth 2 People to                               Arrives after Christmas. Need a
                                                                     Stand on Platform with Ring                                gift sooner? Send an eGift Card
                                                                                                                                from hundreds of brands
                                                                     Light Selže Holder APP                                     instantly.
                                                                     Remote Control for Parties                                      Deliver to ENCARGA -dDoral

                                                                     Wedding Live Streaming                                          33166

                                                                     Visit the BZYETLP Store                                    In Stock

                                                                                                                                               Add to Cart
                                                                     $
                                                                         1,299       99
                                                                                                                                                  Buy Now
                                                                     Or $59.53 /mo (36 mo). Select from 1 plan
                                                                                                                                Ships from SnowCC
                                                                      Coupon: d           Apply 15% coupon Shop items |         Sold by        SnowCC
                                                                      Terms                                                     Returns        Returnable until Jan 31,
                   Roll over image to zoom in
                                                                                                                                               2024
                                                                         Pay $1,299.99 $1,099.99 for this order. Get a          Payment        Secure transaction
                                                                         $200 Amazon Gift Card upon approval for the
                                                                         Amazon Business Prime Card. OŽer ends
                                                                         12/12/23. Terms apply. Learn more.                         Add to List

                                                                     Extra Savings
                                                                     Get 1 item(s) free. Enter code 4U4GLEPX at checkout.
                                                                         1 Applicable Promotion

                                                                     Material         Metal                                                             Dowshata 360
                                                                                                                                                        Photo Booth
                                                                     Occasion         Wedding
                                                                     Brand            BZYETLP
                                                                     Number of        1
                                                                     Pieces                                                    Dowshata 360 Photo Booth Machine,
                                                                     Product          26.8"L x 26.8"W                          31.5" with Flight Case, 80cm 360…
                                                                     Dimensions                                                $899 00

                                                                                                                               Save $100 with coupon

                                                                     About this item                                                                              Sponsored
                                                                          澬360 Spin Photo Booth澭Turn on the 360 photo
                                                                          booth machine, you can wirelessly control the
                                                                          speed and direction of rotation to make a 360
                                                                          degree panorama rotating video. Suitable for
                                                                          large-scale events, weddings, shows, exhibitions,
                                                                          bar and celebration, žlm, advertising, live
                                                                          broadcast želd, personal DIY videos/Vlogs,
                                                                          TikTok, Instagram & other Social Media etc.
                                                                          澬Dual APP/Remote Control澭The 360 Selže
                                                                          Platform Machine can be controlled through the
                                                                          Remote or APP (Ytok), which can achieve
                                                                          Automatic spin, Spin reverse, LED brightness
                                                                          adjustment, RGB color changeable, Rotation time
                                                                          choice and speed control.



https://www.amazon.com/Machine-26-8inch-Automatic-Platform-Streaming/dp/B0CCMCW16H/ref=sr_1_19?m=A37O4UJ0A9V2ZA&marketplaceID=A…                                                  1/6
      Case
12/8/23,       1:23-cv-24366-BB
         11:17 AM                                    Document 10-1 Entered on FLSD
                                                                         Amazon.com   Docket 12/28/2023 Page 84 of 360
                                                                                    Checkout



                                                                         Checkout (1 item)
     1     Shipping                     John Doe                                                                   Change
           address                      3503 DAY AVE                                                                                        Place your order
                                        MIAMI, FL 33133-4904
                                                                                                                              By placing your order, you agree to Amazon's
                                        Add delivery instructions                                                                 privacy notice and conditions of use.


     2     Payment                      Paying with Mastercard 1953                                                Change     Order Summary
           method                       Billing address: Same as shipping address.
                                                                                                                              Subtotal (1 item):                   $1,299.99
                                              Add a gift card or promotion code or voucher                                    Shipping & handling:                   $10.29

                                              Enter code                        Apply                                         Total before tax:                    $1,310.28
                                                                                                                              Estimated tax to be
                                                                                                                              collected:*                            $91.00
     3     Review items and shipping
                                                                                                                              Order total:                   $1,401.28
                     Want to save time on your next order and go directly to this
                     step when checking out?                                                                                  How are shipping costs calculated?
                    Default to this delivery address and payment method.                                                      Why didn't I qualify for Prime Shipping?




              Arriving Jan. 2, 2024 - Jan. 24, 2024
              Items shipped from SnowCC

                                360 Photo Booth Machine                 Choose a delivery option:
                                with Flight Case,                         Tuesday, Jan. 2 - Wednesday, Jan. 24
                                68cm/26.8inch Automatic                   $10.29 - Standard Shipping
                                360 Spin Photo Booth 2
                                People to Stand on
                                Platform with Ring Light
                                Selže Holder APP Remote
                                Control for Parties Wedding
                                Live Streaming
                                $  , 99.99
                                        9
                                $1,299.99
                                  Qty: 1
                                Sold
                                S ld b
                                  ld by: S
                                         Snow
                                         SnowCC
                                Not eligible for Amazon Prime
                                (Learn more)

                                Gift options not available




                                           Order total: $1,401.28
                 Place your order          By placing your order, you agree to Amazon's privacy notice and conditions of
                                           use.




     *Why has sales tax been applied? See tax and seller information.

     Need help? Check our Help pages or contact us
     For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message
     acknowledging receipt of your order. Your contract to purchase an item will not be complete until we send you an
     email notifying you that the item has been shipped.

     Important information about sales tax you may owe in your state
     You may return new, unopened merchandise in original condition within 30 days of delivery. Exceptions and restrictions
     apply. See Amazon.com's Returns Policy.

     Need to add more items to your order? Continue shopping on the Amazon.com homepage.




https://www.amazon.com/gp/buy/spc/handlers/display.html?hasWorkingJavascript=1                                                                                                 1/1
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 85 of 360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 86 of 360




                   Defendant No.: 19

                          Store Name:
                           UFOCASE

                             Platform:
                              Amazon




    23-cv-24366
      Case
12/8/23,       1:23-cv-24366-BB
         11:14 AM                           Document 10-1 Entered  onSeller
                                                           Amazon.com FLSD       Docket
                                                                            Profile:      12/28/2023 Page 87 of 360
                                                                                     UFOCASE



     UFOCASE
     Visit the UFOCASE storefront

                     94% positive lifetime (18 total ratings)




     About Seller                                                                                             Have a question for UFOCASE?

     UFOCASE is committed to providing each customer with the highest standard of customer                          Ask a question
     service.




     Feedback

                    4.8 out of 5                 Lifetime                             FILTER BY
     18 ratings
                                                                                        All stars

     5 star                                              89%
                                                                                      18 total ratings, 18 with feedback Lifetime
     4 star                                              6%
                                                                                                         “ Says it žt a iPhone 13 and 14, did not žt but
     3 star                                              6%                                                žt my daughters iPhone 12 ”

     2 star                                              0%                                              By Amazon Customer on November 12, 2023.

                                                                                                         Message from Amazon: This item was fulžlled
     1 star                                              0%
                                                                                                         by Amazon, and we take responsibility for this
                                                                                                         fulžllment experience.
       Learn more about how seller feedback works on
       Amazon
                                                                                                         “ Case doesn’t žt my phone ”

     Share your thoughts with other customers                                                            By Donna Franklin on March 10, 2023.

                                                                                                         Message from Amazon: This item was fulžlled
       Leave seller feedback
                                                                                                         by Amazon, and we take responsibility for this
                                                                                                         fulžllment experience.


                                                                                                         “ I am very happy with the phone case! Looks
                                                                                                           exactly like picture & no problems
                                                                                                           whatsoever! ”
                                                                                                         By Christine K on March 5, 2023.


                                                                                                         “ Excellent ”

                                                                                                         By carlos on February 24, 2023.


                                                                                                         “ Nice variety of items with quick delivery ”

                                                                                                         By A. Liegl on January 27, 2023.



                                                                                                                            Previous Next




     Return & Refund Policies
     To get information about the Return and Refund policies that may apply, please refer to Amazon’s Return and Refund policy.

     To initiate a return, visit Amazon's Online Return Center to request a return authorization from the seller.

     For any issues with your return, if the product was shipped by the seller, you can get help here.




     Amazon's A-to-z Guarantee
https://www.amazon.com/sp?ie=UTF8&seller=A2IRUTE3JXWVIQ                                                                                                    3/4
      Case
12/8/23,       1:23-cv-24366-BB
         11:15 AM                    Document
                       Amazon.com: GGMEEK 360 Photo10-1    Entered
                                                    Booth Machine      on FLSD
                                                                  for Parties,360 SlowDocket    12/28/2023
                                                                                       Motion Photo Booth, 3 PeoplePage
                                                                                                                   Stand on88 of 360
                                                                                                                            Remote Control …


  Skip to main content
                          Deliver to ENCARGA
                                                 All      Search Amazon
                                                                                                                              Hello, Roberto           Returns            0
                          Doral 33166                                                                                 EN      Account & Lists          & Orders


    All   Holiday Deals       Medical Care      Buy Again      Prime Video     Customer Service         Coupons                                 Save up to 45% oŽ gifts

                                         10-15 People Stand Free Customized Logo                                  $1
                                                                                                                   1,999
                                                                                                                     999 00                  Save $350 with coupon
                Overhead 360 Photo Booth, Free Customizable Logo, Slow Motion, Automatic Spin 360…

                                                                                                                                                                   Sponsored

 Customers who viewed this item also viewed
                          360 Photo Booth 26.8inch                                    KLNTUW 360 Photo Booth                                   360 Photo Booth 360
                          PRO with APP Control,                                       Machine for Parties,39.4"                                Video Booth 360 Platform
                          RGB Ring Light, Remote                                      for 3-5 PPL,LED Lights                                   Remote Control Automatic
                          Control, Customizable                                       Need No                                                  Slow Motion 360 Spinner
                                           36                                                           16                                                        44
                          $   798   00                                                $   1,799    00                                          $   1,399     00


  Home & Kitchen › Event & Party Supplies › Photobooth Props


                                                                  GGMEEK 360 Photo Booth
                                                                  Machine for Parties,360 Slow
                                                                                                                                $
                                                                                                                                    99900
                                                                                                                                FREE delivery December 13 -
                                                                  Motion Photo Booth, 3 People                                  18. Details
                                                                  Stand on Remote Control                                       Arrives before Christmas
                                                                  Automatic Spin 360 Video                                            Deliver to ENCARGA -dDoral

                                                                  Camera Booth Spinner 31.5''                                         33166


                                                                  80cm                                                          In Stock
                                                                  Brand: GGMEEK                                                     Qty: 1
                                                                  5.0                       4 ratings
                                                                                                                                               Add to Cart
                                                                  $
                                                                      99900
                                                                                                                                                   Buy Now
                                                                   Or $58.97 /mo (24 mo). Select from 1 plan

                                                                  Save up to 10% with business pricing. Sign up for a           Ships from UFOCASE

                                                                  free Amazon Business account                                  Sold by        UFOCASE
                                                                                                                                Returns        Returnable until Jan 31,
                                                                  Delivery & Support                                                           2024
                  Roll over image to zoom in                      Select to learn more                                          Payment        Secure transaction

                                                                                                                                Add a Protection Plan:
                                                                                                                                      Tech Unlimited – Protect
                                                                      Ships from   Returnable       Customer                          Eligible Past and Future
                                                                      UFOCASE      until Jan 31,     Support
                                                                                                                                      Purchases with 1 Plan
                                                                                       2024
                                                                                                                                      (Renews Monthly Until
                                                                                                                                      Cancelled) for
                                                                  Material         Metal                                              $16.99/month

                                                                  Color            Black
                                                                  Occasion         Christmas                                        Add to List

                                                                  Theme            People
                                                                  Brand            GGMEEK
                                                                                                                                New (2) from
                                                                  About this item                                               $
                                                                                                                                  99900 & FREE Shipping
                                                                       Our 360 photo booth for parties renders an
                                                                       unparalleled 360 video experience for you, your
                                                                       clients, and their party guests. The 360 camera
                                                                       booth comes with ring light and a rotation arm
                                                                       which can support iPad, camera and smartphone.
                                                                       You can easily record your wonderful moments in
                                                                       all directions, share them on social platforms and
                                                                       create amazing images, videos, and live
                                                                       streaming videos. The ring light requires a power
                                                                       bank (not included).

https://www.amazon.com/GGMEEK-Machine-Parties-Control-Automatic/dp/B0BL85ZPFY/ref=sr_1_1?m=A2IRUTE3JXWVIQ&marketplaceID=ATVPD…                                                 1/8
      Case
12/8/23,       1:23-cv-24366-BB
         11:16 AM                                  Document 10-1 Entered on FLSD
                                                                       Amazon.com   Docket 12/28/2023 Page 89 of 360
                                                                                  Checkout



                                                                         Checkout (1 item)
     1     Shipping                     John Doe                                                                Change
           address                      3503 DAY AVE                                                                                   Place Your Order and Pay
                                        MIAMI, FL 33133-4904
                                        Add delivery instructions                                                             You'll be securely redirected to
                                                                                                                              MasterCard to complete this
                                                                                                                              transaction.
     2     Payment                      Paying with Mastercard 1953                                             Change
                                                                                                                              By placing your order, you agree to Amazon's
           method                       Billing address: Same as shipping address.                                                privacy notice and conditions of use.

                                           Add a gift card or promotion code or voucher
                                                                                                                              Order Summary
                                           Enter code                         Apply
                                                                                                                              Subtotal (1 item):                    $999.00
                                                                                                                              Shipping & handling:                       $0.00
     3     Review items and shipping
                                                                                                                              Total before tax:                     $999.00
                                                                                                                              Estimated tax to be
                     Want to save time on your next order and go directly to this                                             collected:*                            $69.93
                     step when checking out?
                                                                                                                              Order total:                   $1,068.93
                    Default to this delivery address and payment method.


                                                                                                                              How are shipping costs calculated?
                                                                                                                              Why didn't I qualify for Prime Shipping?
              Arriving Dec. 13, 2023 - Dec. 18, 2023
              Items shipped from UFOCASE

                                GGMEEK 360 Photo Booth                  Choose a delivery option:
                                Machine for Parties,360                   Wednesday, Dec. 13 - Monday, Dec. 18
                                Slow Motion Photo Booth, 3                FREE Expedited Shipping
                                People Stand on Remote
                                Control Automatic Spin 360
                                Video Camera Booth
                                Spinner 31.5'' 80cm
                                $99
                                $999.00
                                $
                                  Qty: 1

                                Sold
                                S ld b
                                  ld by: U
                                         UFO
                                         UFOCASE
                                           FO
                                Not eligible for Amazon Prime
                                (Learn more)

                                Gift options not available




                 Place Your Order and Pay                                       Order total: $1,068.93
                                                                                By placing your order, you agree to
              You'll be securely redirected to MasterCard to                    Amazon's privacy notice and conditions
              complete this transaction.                                        of use.




     *Why has sales tax been applied? See tax and seller information.
     Need help? Check our Help pages or contact us

     For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message
     acknowledging receipt of your order. Your contract to purchase an item will not be complete until we send you an
     email notifying you that the item has been shipped.

     Important information about sales tax you may owe in your state

     You may return new, unopened merchandise in original condition within 30 days of delivery. Exceptions and restrictions
     apply. See Amazon.com's Returns Policy.

     Need to add more items to your order? Continue shopping on the Amazon.com homepage.




https://www.amazon.com/gp/buy/spc/handlers/display.html?hasWorkingJavascript=1                                                                                                   1/1
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 90 of 360
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                   Defendant No.: 20

                          Store Name:
                             weiligu

                             Platform:
                              Amazon




    23-cv-24366
      Case
12/27/23, 1:36 1:23-cv-24366-BB
               PM                                           Document 10-1 Entered on FLSD
                                                                            Amazon.com          Docket
                                                                                       Seller Profile: weiligu12/28/2023 Page 92 of 360


    weiligu                                                                                                                                                               100cm for 360 Photo Booth Mach…
                                                                                                                                                                          USD   169900
    Visit the weiligu storefront

                    100% positive in the last 12 months (25 ratings)                                                                                                                     Add to Cart




    About Seller                                                                                                                                    Have a question for weiligu?

    weiligu is committed to providing each customer with the highest standard of customer service.                                                           Ask a question




    Feedback

                   5 out of 5                 12 months                          FILTER BY
    25 ratings
                                                                                   All stars

    5 star                                             100%
                                                                                 25 total ratings, 25 with feedback 12 months
    4 star                                             0%
                                                                                                       “ The stick that holds the ring light was not sturdy enough and kept coming oŽ. We never got to enjoy
    3 star                                             0%                                                using the product and returned it more than 30 days ago and... ”
                                                                                                       Read more
    2 star                                             0%
                                                                                                       By frangie200 on November 3, 2023.
    1 star                                             0%
                                                                                                       Message from Amazon: This item was fulžlled by Amazon, and we take responsibility for this
                                                                                                       fulžllment experience.
      Learn more about how seller feedback works on
      Amazon
                                                                                                       “ I received my product but one of the wheels of the case is missing do I have to return the entire
                                                                                                         product or can I just return the case? ”
    Share your thoughts with other customers
                                                                                                       By corey kennedy on September 21, 2023.
      Leave seller feedback
                                                                                                       Message from Amazon: This item was fulžlled by Amazon, and we take responsibility for this
                                                                                                       fulžllment experience.


                                                                                                       “ Thanks ”

                                                                                                       By Franck on August 30, 2023.


                                                                                                       “ Wonderful addition to my system. ”

                                                                                                       By Warped on August 14, 2023.


                                                                                                       “ They’re pretty cool, discrete and practical. ”

                                                                                                       By leonardo on August 9, 2023.



                                                                                                                                                      Previous Next




    Return & Refund Policies
    Please refer to the Amazon.com Return Policy .




    Detailed Seller Information
    Business Name: shenzhenshiweiligukejiyouxiangongsi
    Business Address:
      ੼Я੪ଳ֡ҽ॑Ԛଗक़૨࠼
      БٌҷԴ201
      ࢋⴽ١
      ‫؍ؗ‬Ԛ
      ‫ٺ‬Бम
      518000
      CN




    Shipping Policies

    Other Policies

    Help



    Products
    See all products currently oŽered by the seller.



                                                                                               Leave seller feedback

https://www.amazon.com/sp?ie=UTF8&seller=A2ZJ94H4GDRNTE&asin=B0CBKH35CW&ref_=dp_merchant_link&isAmazonFulfilled=1                                                                                              3/4
      Case
12/7/23,       1:23-cv-24366-BB
         11:09 PM                     Document
                       Amazon.com : 100cm            10-1
                                          for 360 Photo       Entered
                                                        Booth Machine      onwith
                                                                      Parties FLSD      Docket
                                                                                  Extendable       12/28/2023
                                                                                             Ring Light                Page 93Automatic
                                                                                                        Selfie Holder Accessories, of 360Spi…
  Skip to main content
                           Deliver to ENCARGA
                                                   All      360+PHOTO+BOOTH
                                                                                                                                Hello, Roberto             Returns               0   Subtotal
                           Doral 33166                                                                                    EN    Account & Lists            & Orders                  $0.00


    All    Holiday Deals       Medical Care       Buy Again     Prime Video      Customer Service          Coupons    Household, Health & Baby Care            Handmade

   Camera & Photo      Deals      Best Sellers     DSLR Cameras        Mirrorless Cameras        Lenses     Point-and-Shoots   Sports & Action Cameras              Camcorders

                                              360 Photo Booth with Software Free Logo Custom
                                olylo 360 Photo Booth Machine, Ring Light,Trolley,Free Logo Customization…
                                                                                                                                                 $
                                                                                                                                                     1,299 00
                                                                                                                                                                        Sponsored

 Customers who viewed this item also viewed
                           MWE 360 Photo Booth                                         VEVOR Velvet Ropes and                                        Staelea Inſatable Photo
                           Machine for Parties with                                    Posts 2 Pcs, 5 ft Black                                       Booth Enclosure (Black,
                           Extra Battery,Logo                                          Velvet Rope, Stanchion                                        Two Doors, 8.2x8.2x8.2ft)
                           Customization,Software                                      Post with Ball Top, Crowd                                     Portable Inſatable LED
                                           261                                                            246                                                          48
                           $   899   00                                                $   66   83                                                   $   269   99


  Electronics › Camera & Photo › Lighting & Studio › Photo Studio › Shooting Tents


                                                               100cm for 360 Photo Booth
                                                               Machine Parties with
                                                                                                                                   $
                                                                                                                                       1,69900
                                                                                                                                   FREE Prime delivery Monday,
                                                               Extendable Ring Light Selže                                         December 18
                                                               Holder Accessories, Automatic                                       Arrives before Christmas
                                                               Spin 360 Video Camera Booth                                               Deliver to ENCARGA -dDoral

                                                               Platform Spinner, 5 People                                                33166


                                                               Stand on, 39.4” with Flight                                         Only 14 left in stock - order
                                                                                                                                   soon.
                                                               Case
                                                                                                                                       Qty: 1
                                                               Brand: Hagibis
                                                               4.2                         8 ratings
                                                                                                                                                 Add to Cart

                                                               $
                                                                   1,69900                                                                           Buy Now
   VIDEO
                                                                Or $67.24 /mo (48 mo). Select from 1 plan
                                                                                                                                   Ships from Amazon
                                                                                                                                   Sold by       weiligu
                                                                   Pay $1,699.00 $1,499.00 for this order. Get a
                                                                                                                                   Returns       Returnable until Jan 31,
                                                                   $200 Amazon Gift Card upon approval for the
                    Roll over image to zoom in                                                                                                   2024
                                                                   Amazon Business Prime Card. OŽer ends
                                                                                                                                   Payment       Secure transaction
                                                                   12/12/23. Terms apply. Learn more.
                                                                                                                                   Support
                                                                                                                                     See more Product support

                                                               Delivery & Support                                                  Add a Protection Plan:
                                                               Select to learn more                                                      2 Year Camera Accident
                                                                                                                                         Protection Plan for $119.99
                                                                                                                                         3-Year Protection for
                                                                   Ships from   Returnable           Customer                            $159.99
                                                                    Amazon      until Jan 31,         Support                            Tech Unlimited – Protect
                                                                                    2024                                                 Eligible Past and Future
                                                                                                                                         Purchases with 1 Plan
                                                                                                                                         (Renews Monthly Until
                                                                                                                                         Cancelled) for
                                                               Color: 39.4" Upgraded Version +Flight Case                                $16.99/month

                                                                                                                                         Add a gift receipt for easy
                                                                                                                                         returns



                                                                   $1,699.00    $999.00         $1,689.00                              Add to List




                                                               Brand            Hagibis
                                                               Connectivity USB
                                                               Technology
                                                               Hardware         USB
                                                               Interface
                                                               Has Self-        No
                                                               Timer

https://www.amazon.com/Machine-Extendable-Accessories-Automatic-Platform/dp/B0CBKH35CW/ref=sr_1_96?crid=2BUHAEEHZ23KU&keywords=…                                                                1/9
      Case
12/7/23,       1:23-cv-24366-BB
         11:10 PM                                    Document 10-1 Entered on FLSD
                                                                         Amazon.com   Docket 12/28/2023 Page 94 of 360
                                                                                    Checkout



                                                                         Checkout (1 item)                                                Place your order

                                                                                                                            By placing your order, you agree to Amazon's
                                                                                                                                privacy notice and conditions of use.
     1     Shipping                     John Doe                                                                   Change
           address                      3503 DAY AVE
                                        MIAMI, FL 33133-4904                                                                Order Summary
                                        Add delivery instructions
                                                                                                                            Subtotal (1 item):                   $1,699.00
                                                                                                                            Shipping & handling:                    $0.00
     2     Payment                      Paying with Mastercard 1953                                                Change
                                                                                                                            Total before tax:                    $1,699.00
           method                       Billing address: Same as shipping address.                                          Estimated tax to be collected:        $118.93

                                              Add a gift card or promotion code or voucher
                                                                                                                            Order total:                     $1,817.93
                                              Enter code                        Apply


                                                                                                                            How are shipping costs calculated?
     3     Review items and shipping
                                                                                                                            Prime shipping benežts have been applied to
                                                                                                                            your order.
                     Want to save time on your next order and go directly to this
                     step when checking out?
                    Default to this delivery address and payment method.



                     Signature required at time of delivery.
                Please ensure someone will be available to sign for this delivery. Learn more.




                                               Get a $12 bonus when you reload
                                                                                                     Get Started
                                               $100 or more to your Gift Card balance.



              Arriving Dec. 10, 2023 If you order in the nextd17 hours and 34 minutes (Details)
              Items shipped from Amazon.com
                                100cm for 360 Photo Booth               Choose your Prime delivery option:
                                Machine Parties with                      Sunday, Dec. 10
                                Extendable Ring Light                     FREE Prime Delivery
                                Selže Holder Accessories,                 Sunday, Dec. 10
                                Automatic Spin 360 Video                  FREE Amazon Day Delivery
                                Camera Booth Platform                       Fewer boxes, fewer trips.
                                Spinner, 5 People Stand on,               Change delivery day
                                39.4” with Flight Case
                                $ ,699.00
                                  ,699.00
                                       00
                                $1,699.00
                                  Qty: 1
                                Sold
                                S ld b
                                  ld by:
                                      y weil
                                         weiligu
                                           il g
                                     Add gift options




                                           Order total: $1,817.93
                 Place your order          By placing your order, you agree to Amazon's privacy notice and conditions of
                                           use.




     *Why has sales tax been applied? See tax and seller information.
     Need help? Check our Help pages or contact us

     For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message
     acknowledging receipt of your order. Your contract to purchase an item will not be complete until we send you an
     email notifying you that the item has been shipped.

     Important information about sales tax you may owe in your state



https://www.amazon.com/gp/buy/spc/handlers/display.html?hasWorkingJavascript=1                                                                                               1/2
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 95 of 360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 96 of 360




                   Defendant No.: 21

                          Store Name:
                           YCSW-US

                             Platform:
                              Amazon




    23-cv-24366
      Case
12/7/23,       1:23-cv-24366-BB
         9:47 PM                            Document 10-1 Entered   onSeller
                                                           Amazon.com  FLSD        Docket
                                                                             Profile:       12/28/2023 Page 97 of 360
                                                                                      YCSW-US




     YCSW-US
     Visit the YCSW-US storefront

     Just launched      No feedback yet




     About Seller                                                                                             Have a question for YCSW-US?

     YCSW-US is committed to providing each customer with the highest standard of customer                          Ask a question
     service.




     Return & Refund Policies
     To get information about the Return and Refund policies that may apply, please refer to Amazon’s Return and Refund policy.

     To initiate a return, visit Amazon's Online Return Center to request a return authorization from the seller.

     For any issues with your return, if the product was shipped by the seller, you can get help here.




     Amazon's A-to-z Guarantee
     The Amazon A-to-z Guarantee protects you when you purchase items sold and fulžlled by a third party seller. Our guarantee covers both the
     timely delivery and the condition of your items. If either are unsatisfactory, you can report the problem to us and our team will determine if you
     are eligible for a refund.

     See full details




     Detailed Seller Information
     Business Name: yunchengshiyanhuqusuyidianzishangwuyouxiangongsi
     Business Address:
       ठ࢖Ԛ֧ۙ૨
       ֧ۙ৕ֽ‫ش‬Ԛ2՚ࠡ1ԥҫ301‫؜‬
       ଍ֽ١
       ٌ੼म
       044000
       CN




     Shipping Policies

     Other Policies

     Help



     Products
     See all products currently oŽered by the seller.



                                                                     Leave seller feedback




https://www.amazon.com/sp?ie=UTF8&seller=A2E6RNS3L60L82                                                                                                   2/4
      Case
12/7/23,       1:23-cv-24366-BB
         9:47 PM      Amazon.com : 360 Document      10-1for Parties
                                       Photo Booth Machine   Entered Free on  FLSD
                                                                          Custom      Docket
                                                                                 Logo with        12/28/2023
                                                                                           Ring Light 5 People Stand Page   98Control
                                                                                                                     on Remote of 360 Autom…

  Skip to main content Deliver to ENCARGA         All       360+PHOTO+BOOTH
                                                                                                                                    Hello, Roberto             Returns               0   Subtotal
                       Doral 33166                                                                                          EN     Account & Lists             & Orders                  $0.00


    All    Holiday Deals       Medical Care      Buy Again     Prime Video       Customer Service

   Camera & Photo      Deals      Best Sellers    DSLR Cameras       Mirrorless Cameras        Lenses    Point-and-Shoots        Sports & Action Cameras             Camcorders


                                                 Air Cushion Heavy Duty Photography Light Stand                                                 $   189 99
                                                                                                                                                                           Sponsored

 Customers who viewed this item also viewed
                           MWE 360 Photo Booth                                         HOGSITY 360 Photo Booth                                         HOGSITY 360 Photo Booth
                           Machine for Parties with                                    Machine for Parties,39.4"                                       Machine for Parties,31.5"
                           Extra Battery,Logo                                          for 4-5 PPL,LED Lights No                                       for 2-4 PPL,LED Lights No
                           Customization,Software                                      Need                                                            Need
                                           261                                                          22                                                                22
                           $   1,09900                                                 $   1,39900                                                     $   94900
  Electronics › Camera & Photo › Lighting & Studio › Lighting › Booms & Stands


                                                                                 360 Photo Booth
                                                                                 Machine for Parties
                                                                                                                                         $
                                                                                                                                             89900
                                                                                                                                         FREE delivery December 12 -
                                                                                 Free Custom Logo with                                   14. Details
                                                                                 Ring Light 5 People                                     Arrives before Christmas
                                                                                 Stand on Remote                                               Deliver to ENCARGA -dDoral

                                                                                 Control Automatic                                             33166


                                                                                 Slow Motion 360 Spin                                    In Stock
                                                                                 Photo Camera Booth                                          Qty: 1


                                                                                 100cm 39.4 inch with                                                  Add to Cart

                                                                                 Flight Case                                                               Buy Now
                                                                                 Brand: ALIXO
                                                                                 5.0                         1 rating                    Ships from Vivas Mastac
                                                                                                                                         Sold by       Vivas Mastac
                                                                                 $
                                                                                     89900                                               Returns       Returnable until Jan 31,
                                                                                                                                                       2024
                                                                                 Or $53.07 /mo (24 mo). Select from 1
                                                                                                                                         Payment       Secure transaction
                                                                                 plan
                                                                                                                                         Add a Protection Plan:
                                                                                     Did you know? There's no annual                           2 Year Camera Accident
                                                                                     fee for Prime Visa. Get a $150                            Protection Plan for $69.99
                                                                                     Amazon Gift Card instantly upon                           3-Year Protection for $89.99
                                                                                     approval. Learn more
                                                                                                                                               Tech Unlimited – Protect
                               Roll over image to zoom in                                                                                      Eligible Past and Future
                                                                                                                                               Purchases with 1 Plan
                                                                                 Size: 39.4"(100cm)+Flight Case
                                                                                                                                               (Renews Monthly Until
                                                                                                                                               Cancelled) for
                                                                                     39.4"              31.5"
                                                                                                                                               $16.99/month
                                                                                     (100cm)+F…         (80cm)+Fli…

                                                                                     $899.00            $699.00                              Add to List



                                                                                     360 Photo Booth: 360 photo booth
                                                                                     to produce motion panoramic
                                                                                     photos and videos from every angle.
                                                                                     Easy to speed +/-, rotate
                                                                                     clockwise/counterclockwise with
                                                                                     button remote controller.360 Spin
                                                                                     Camera Booth Machine help you
                                                                                     record joyful party moments,
                                                                                     creating incredible images, videos              360 Photo Booth with APP Control
                                                                                     and live streaming videos.                                        36
                                                                                     360 Photo Booth with Ring Light:                $   796 00
                                                                                     360 photo booth comes with three
                                                                                     ring lighting modes (warm, cold, and                                                Sponsored

                                                                                     natural), each lighting mode has 10

https://www.amazon.com/Machine-Parties-Custom-Control-Automatic/dp/B0CF1ZRRVZ/ref=sr_1_16?crid=2BUHAEEHZ23KU&keywords=360%2BP…                                                                      1/7
      Case
12/7/23,        1:23-cv-24366-BB
         9 :49 PM                                    Document 10-1 Entered on FLSD
                                                                         Amazon.com    Docket 12/28/2023 Page 99 of 360
                                                                                    Checkout



                                                                         Checkout (1 item)
     1     Shipping                     John Doe                                                                   Change
           address                      3503 DAY AVE                                                                                        Place your order
                                        MIAMI, FL 33133-4904
                                                                                                                              By placing your order, you agree to Amazon's
                                        Add delivery instructions                                                                 privacy notice and conditions of use.


     2     Payment                      Paying with Mastercard 1953                                                Change     Order Summary
           method                       Billing address: Same as shipping address.
                                                                                                                              Subtotal (1 item):                    $899.00
                                              Add a gift card or promotion code or voucher                                    Shipping & handling:                       $0.00

                                              Enter code                        Apply                                         Total before tax:                     $899.00
                                                                                                                              Estimated tax to be collected:*        $62.93

     3     Review items and shipping                                                                                          Order total:                      $961.93

                     Want to save time on your next order and go directly to this
                                                                                                                              How are shipping costs calculated?
                     step when checking out?
                                                                                                                              Why didn't I qualify for Prime Shipping?
                    Default to this delivery address and payment method.




              Arriving Dec. 12, 2023 - Dec. 14, 2023
              Items shipped from Vivas Mastac

                                360 Photo Booth Machine                 Choose a delivery option:
                                for Parties Free Custom                   Tuesday, Dec. 12 - Thursday, Dec. 14
                                Logo with Ring Light 5                    FREE Standard Shipping
                                People Stand on Remote
                                Control Automatic Slow
                                Motion 360 Spin Photo
                                Camera Booth 100cm 39.4
                                inch with Flight Case
                                $899.00
                                $
                                  Qty: 1

                                Sold
                                S ld b
                                  ld by: Vi
                                         Viva
                                         Vivas Mastac
                                Not eligible for Amazon Prime
                                (Learn more)

                                Gift options not available




                                           Order total: $961.93
                 Place your order          By placing your order, you agree to Amazon's privacy notice and conditions of
                                           use.




     *Why has sales tax been applied? See tax and seller information.
     Need help? Check our Help pages or contact us

     For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message
     acknowledging receipt of your order. Your contract to purchase an item will not be complete until we send you an
     email notifying you that the item has been shipped.

     Important information about sales tax you may owe in your state

     You may return new, unopened merchandise in original condition within 30 days of delivery. Exceptions and restrictions
     apply. See Amazon.com's Returns Policy.

     Need to add more items to your order? Continue shopping on the Amazon.com homepage.




https://www.amazon.com/gp/buy/spc/handlers/display.html?hasWorkingJavascript=1                                                                                                   1/1
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 100 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 101 of
                                     360




                 Defendant No.: 22

                Store Name:
            Hongxin swift ⬷搓彭㌟


                            Platform:
                             Amazon




  23-cv-24366
12/8/23, Case
         11:07 AM1:23-cv-24366-BB              Document 10-1 Entered  on
                                                             Amazon.com   FLSD
                                                                        Seller Profile:Docket
                                                                                        ؐ操ଊ݈ 12/28/2023 Page 102 of
                                                              360

     ؐ操ଊ݈
     Visit the ؐ操ଊ݈ storefront

     Just launched      No feedback yet




     About Seller                                                                                             Have a question for ؏操૙‫?ܩ‬

     ؐ操ଊ݈ is committed to providing each customer with the highest standard of customer                             Ask a question
     service.




     Return & Refund Policies
     To get information about the Return and Refund policies that may apply, please refer to Amazon’s Return and Refund policy.

     To initiate a return, visit Amazon's Online Return Center to request a return authorization from the seller.

     For any issues with your return, if the product was shipped by the seller, you can get help here.




     Amazon's A-to-z Guarantee
     The Amazon A-to-z Guarantee protects you when you purchase items sold and fulžlled by a third party seller. Our guarantee covers both the
     timely delivery and the condition of your items. If either are unsatisfactory, you can report the problem to us and our team will determine if you
     are eligible for a refund.

     See full details




     Detailed Seller Information
     Business Name: Beijing Xinlong Dingsheng Technology Co., LTD
     Business Address:
       Ԙч١‫ټڍ‬Ԛघࡡ੪
       3՚ஓ߆ԇԄҸࠡB1296՚
       Ԙч١
       Ԙч
       102108
       CN




     Shipping Policies

     Other Policies

     Help



     Products
     See all products currently oŽered by the seller.



                                                                     Leave seller feedback




https://www.amazon.com/sp?ie=UTF8&seller=A32FDC2VN4TG7F                                                                                                   2/4
12/8/23, Case
         11:08 AM1:23-cv-24366-BB       Document
                       Amazon.com : Second              10-1
                                           Generation Light      Entered
                                                            Box 360         onforFLSD
                                                                    Photo Booth          Docket
                                                                                  The Party,        12/28/2023
                                                                                             Free Custom Logo, SoftwarePage   103 Control,
                                                                                                                        APP Remote of      …
                                                                              360
  Skip to main content
                           Deliver to ENCARGA
                                                 All    Search Amazon
                                                                                                                         Hello, Roberto             Returns               0
                           Doral 33166                                                                           EN      Account & Lists            & Orders


     All   Holiday Deals     Medical Care       Buy Again   Prime Video   Customer Service      Coupons                                      Save up to 45% oŽ gifts

                                                       Schumacher DSR Pro…
                                                                                           $229.99                    Shop now
                                                                 133

                                                                                                                                                                Sponsored
  Electronics › Camera & Photo › Video


                                                                          Second Generation
                                                                          Light Box 360 Photo
                                                                                                                              $
                                                                                                                                  1,85000
                                                                                                                              FREE delivery December 18 -
                                                                          Booth for The Party,                                19. Details
                                                                          Free Custom Logo,                                   Arrives before Christmas
                                                                          Software APP Remote                                       Deliver to ENCARGA -dDoral

                                                                          Control, Automatic                                        33166


                                                                          Video Shooting                                      Only 20 left in stock - order
                                                                                                                              soon.
                                                                          (115CM (45.3"))
                                                                                                                                  Qty: 1
                                                                          Brand: Generic

                                                                                                                                            Add to Cart

                                                                          $
                                                                              1,85000                                                           Buy Now

                                                                          Or $73.21 /mo (48 mo). Select from
                                                                                                                              Ships from ؐ操ଊ݈
                                                                          1 plan
                                                                                                                              Sold by       ؐ操ଊ݈
                                                                                                                              Returns       Returnable until Jan 31,
                                                                              Pay $1,850.00 $1,650.00 for this
                                                                                                                                            2024
                                                                              order. Get a $200 Amazon Gift
                                                                                                                              Payment       Secure transaction
                                                                              Card upon approval for the
                                                                              Amazon Business Prime Card.
                                                                              OŽer ends 12/12/23. Terms                           Add to List
                                                                              apply. Learn more.

                                                                          Delivery & Support
                                                                          Select to learn more

                        Click image to open expanded view                                                                                           Dowshata 360
                                                                                                                                                    Photo Booth
                                                                           Ships Returnabl Customer
                                                                           from   e until   Support
                                                                          ؐ操ଊ݈ Jan 31,
                                                                                   2024
                                                                                                                          36" 360 Photo Booth Machine, 26.8"
                                                                                                                          with Flight Case, by Dowshata…
                                                                                                                          $
                                                                                                                              6 99 00
                                                                          Size: 115CM (45.3")
                                                                                                                                                              Sponsored

                                                                              115CM           80CM (31.5")
                                                                              (45.3")

                                                                              $1,850.00       $1,550.00


                                                                              100CM
                                                                              (39.4")

                                                                              $1,750.00



                                                                          Brand           Generic




https://www.amazon.com/Generation-Software-Control-Automatic-Shooting/dp/B0CFY26H9J/ref=sr_1_2?m=A32FDC2VN4TG7F&marketplaceID=AT…                                             1/7
12/8/23, Case
         11:09 AM1:23-cv-24366-BB                     Document 10-1 Entered on FLSD
                                                                         Amazon.com     Docket 12/28/2023 Page 104 of
                                                                                    Checkout
                                                                     360
                                                                         Checkout (1 item)
     1     Shipping                     John Doe                                                                Change
           address                      3503 DAY AVE                                                                                   Place Your Order and Pay
                                        MIAMI, FL 33133-4904
                                        Add delivery instructions                                                             You'll be securely redirected to
                                                                                                                              MasterCard to complete this
                                                                                                                              transaction.
     2     Payment                      Paying with Mastercard 1953                                             Change
                                                                                                                              By placing your order, you agree to Amazon's
           method                       Billing address: Same as shipping address.                                                privacy notice and conditions of use.

                                           Add a gift card or promotion code or voucher
                                                                                                                              Order Summary
                                           Enter code                          Apply
                                                                                                                              Subtotal (1 item):                   $1,850.00
                                                                                                                              Shipping & handling:                       $0.00
     3     Review items and shipping
                                                                                                                              Total before tax:                    $1,850.00
                                                                                                                              Estimated tax to be
                     Want to save time on your next order and go directly to this                                             collected:*                           $129.50
                     step when checking out?
                                                                                                                              Order total:                   $1,979.50
                    Default to this delivery address and payment method.


                                                                                                                              How are shipping costs calculated?
                                                                                                                              Why didn't I qualify for Prime Shipping?
              Arriving Dec. 18, 2023 - Dec. 19, 2023
              Items shipped from ؐ操ଊ݈

                                Second Generation Light                 Choose a delivery option:
                                Box 360 Photo Booth for                   Thursday, Dec. 14 - Tuesday, Dec. 19
                                The Party, Free Custom                    $100.00 - Expedited Shipping
                                Logo, Software APP Remote                 Monday, Dec. 18 - Tuesday, Dec. 19
                                Control, Automatic Video                  FREE Standard Shipping
                                Shooting (115CM (45.3"))
                                $1,850
                                $1,
                                $1,850.00
                                $ ,850.00
                                       .0
                                  Qty: 1

                                Sold
                                S    by: ؐ操ଊ݈
                                  ld b
                                  ld     ؐ操
                                Not eligible for Amazon Prime
                                (Learn more)

                                Gift options not available




                 Place Your Order and Pay                                       Order total: $1,979.50
                                                                                By placing your order, you agree to
              You'll be securely redirected to MasterCard to                    Amazon's privacy notice and conditions
              complete this transaction.                                        of use.




     *Why has sales tax been applied? See tax and seller information.
     Need help? Check our Help pages or contact us

     For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message
     acknowledging receipt of your order. Your contract to purchase an item will not be complete until we send you an
     email notifying you that the item has been shipped.

     Important information about sales tax you may owe in your state

     You may return new, unopened merchandise in original condition within 30 days of delivery. Exceptions and restrictions
     apply. See Amazon.com's Returns Policy.

     Need to add more items to your order? Continue shopping on the Amazon.com homepage.




https://www.amazon.com/gp/buy/spc/handlers/display.html?hasWorkingJavascript=1                                                                                                   1/1
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 105 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 106 of
                                     360




                 Defendant No.: 23

                        Store Name:
                          Albegla

                            Platform:
                            Wallmart




  23-cv-24366
12/8/23, 12:02 PM                                                                              Seller Albegla
               Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 107 of
                                                    360
                                                   Seller reviews
        Albegla
                                                   This seller doesn't have any reviews yet.
        ±±±±±
        No reviews yet
                                                   About Seller
        Shop all seller items
                                                         This seller may also engage in manufacturing, importing or reselling consumer products.^

        ´     Business Name:                       Albegla is an international brand owner specializing in the development, manufacture, sales and service of 360
              shenzhenshileibaokejiyouxiangongsi
                                                   photo booth machine. With 3 years of experience, We have 30 ODM / OEM solutions engineers.With over
              Contact seller                       50,000 customers worldwide choosing our products, our services cover more than 100 countries all over the
        F
                                                   world.
             (+86) 13714505673

        s A2-105, Building 415, Huafa North
             Road, Huaqiang North Street, Futian
             District, Shenzhen
             shenzhen, GD 518110, CN



         About Seller




https://www.walmart.com/seller/101221982                                                                                                                            1/1
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 108 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 109 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 110 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 111 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 112 of
                                     360




                 Defendant No.: 24

                      Store Name:
                     Number 8 Store

                            Platform:
                            Wallmart




  23-cv-24366
12/22/23, 5:28 PM                                                                                                                      Seller Number 8 Store
               Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 113 of
                                       More items from this seller
                                                                   360

                                   Number 8 Store                  Pro Seller



                                   ³³³³²                    See all 47 reviews
                                   4.1 stars out of 5



                                      79%           Overall Positive Rating




                                   Shop all seller items
                                                                                  Add                                                   Add                                                  Add
                                   What makes a Pro seller
                                                                                 $179.99 $199.99                                       $10.99                                                $20.79
                                   Pro Sellers are top-performers with a         Memzuoix 27inch 165Hz Curved Gaming                   mayceyee 3 Pack Smart Light Bulbs, Candle             memzuoix Disco Ball Lights for Lighting Whole
                                   proven track record of creating great         Monitor, 1440p 144Hz Gaming Monitor, QHD              Shape Smart LED Lights Blubs Wi-Fi Lights,            Room - 16 Color Disco Ball Party Lights Sound
                                   shopping experiences for customers.           2K(2560x1440) PC Monitor, LCD Computer…               Dimmabl Via App/Voice Control, Google…                Activated Light with Remote Control DJ…
                                                                                 ³³³³´ 356                                             ³³³³´ 17                                              ³³³³³ 21

                                   µ Business Name: Shenzhenshi
                                        Haolixinwenhua Kejiyouxiangongsi
                                                                                 Seller reviews
                                   G Contact seller

                                    (++86) 15816891581                                                                                                           5 stars                                                                   34




                                                                                 4.1                        5
                                                                                                                                                                  4 stars                                                                       3
                                   t 302 Room, B Unit, 26th Building,
                                       ManCheng Garden, Jingfen Road No.
                                                                                                                                                                  3 stars                                                                       1
                                       5,                                                      out of
                                       Dongfangbandao Community, Buji                                                                                             2 stars                                                                       1
                                       Street, Longgang District,
                                       Shenzhen, GD 518000, CN                   ³³³³² (47 reviews)                                                               1 star                                                                        8




                                    About Seller                                 47 reviews         Sort by | Most Relevant%


                                    Tax policy

                                                                                   ³²²²²                                                        09/06/2023            ³²²²²                                                       10/24/2023


                                                                                   ****** BEWARE CONDUCTING BUSINESS WITH NUMBER 8                                    Never returned my emails about a defective product. Wal-Mart
                                                                                   STORE ****** I did not conducting business with a 3rd party vendor                 made it right, though.
                                                                                   and not Wal-Mart directly. I had to return the item unopened due
                                                                                   to its overly large size. Vendor stated I would have to pay for                    Len
                                                                                   shipping AND they do not provide shipping labels. I contacted Fed-
                                                                                   EX and they stated that it would cost me like $600 bucks to return
                                                                                   it. Twice the value of the product. Unacceptable. Disputed with my
                                                                                                                                                                      ³³²²²                                                       01/21/2023
                                                                                   financial institution and getting my money back. ****** BEWARE
                                                                                   CONDUCTING BUSINESS WITH NUMBER 8 STORE ******                                     The seller did not describe the product in enough details

                                                                                   Rozay                                                                              Crystal




                                                                                   ³²²²²                                                        05/10/2023            ³³³³³                                                       12/20/2023

                                                                                   The ONLY thing I dislike, was opening the box, and finding nothing                 John
                                                                                   inside.. So help me God... I frequently order from Walmart.com,
                                                                                   nothing like this has ever happened before, and I realize - mistakes
                                                                                   happen.. Please refund the mouse.. I had to go purchase one locally
                                                                                   today.. Most people prefer a wireless mouse, I inevitably lose the                 ³³³³²                                                       12/13/2023
                                                                                   mouse, I need the cord. I purchased a mouse with a cord at
                                                                                                                                                                      thomas
                                                                                   Walmart, an when I got it home, it did not work... I have the receipt
                                                                                   and will return the one I purchased in store. I am disabled, getting
                                                                                   in an out of any store is difficult.. I realize mistakes happen, but I
                                                                                   need a mouse, and will have to go out tomorrow and spend more
                                                                                                                                                                      ³³³³³                                                       12/13/2023
                                                                                   elsewhere. Please refund, or make some kind of credit, I needed
                                                                                   the mouse.....                                                                     cristhian

                                                                                    See more
                                                                                   Julia
                                                                                                                                                                      ³³³³³                                                        12/11/2023


                                                                                                                                                                      Robin
                                                                                   ³³³³³                                                         12/01/2023

                                                                                   I got exactly what I ordered and shipped in a timely manner.
                                                                                                                                                                      ³³³³³                                                        12/11/2023
                                                                                   user
                                                                                                                                                                      lenita




                                                                                                                                        1          2          3             4        5
                                                                                                                                                                                              0

                                                                                 About Seller

                                                                                       This seller may also engage in manufacturing, importing or reselling consumer products.


                                                                                 Number 8 Store is professional in furniture and electronics products, we offer high-quality products with right pricing, we also
                                                                                 provide the best after-service for each customer...



                                                                                 Tax policy

                                                                                 2040005




https://www.walmart.com/seller/101113083                                                                                                                                                                                                            1/1
12/22/23, 5:29 PM              40" 360 Photo Booth Machine for Parties/Weddings/Live Streaming, 360 Camera Spin Photo Booth Stand Remote Control Automatic Slow Motion with APP/12inch RGB Ring Light/Money Gun/Red Carpet - Walmart.com
                Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 114 of
                                                     360
          Electronics / Cameras & Camcorders / Camera Accessories / Lighting and Studio / Studio Lighting




               mayceyee

               40" 360 Photo Booth Machine for Parties/Weddings/Live Streaming, 360 Camera Spin Photo Booth Stand Remote Control Automatic Slow Motion with APP/12inch RGB Ring
               Light/Money Gun/Red Carpet

            $1,599.00
               $83/mo with          Learn how
               Price when purchased online j

                                                                       Add to cart



            How do you want your item?



                                                     Shipping                                                                       Pickup                                                                            Delivery
                                                 Arrives Jan 4                                                                    Not available                                                                      Not available
                                                     Free


            Delivery to Miami, 33197



                  Sold and shipped by                   |    Pro Seller j

                  ³³³³² 47 seller reviews
                  View seller information

                  Extended holiday returns Details



                                                                       c    Add to list                                                                                                    Z    Add to registry




                                                 Sponsored

                                                 $1,289.00
                                                 MWE 32" 360 Photo Booth Automatic for Parties,Photobooth 360, Flight Case

                                                 ³³³³³ 7

                                                 3+ day shipping




                                                                            Add


                                                                                                                                                                                                                                                              c
                                                                                                                                                                                                                                                              Ò
                                                                                                                                                                                                                                                              




                                                                                                                                                                                                       0




                    .




                                    c                                                                                                 c                                                                                                       c




           Add                                                                                                Add                                                                                                 Options



          Now $1,598.00 $2,659.00                                                                             $1,499.00                                                                                           Now $999.00 $1,399.00
                                                                                                                                                                                                                  Options from $999.00 – $1,899.00
          40" 360 Photo Booth Machine for Parties,MWE Software APP Suitable Christmas Instant photo           360 Photo Booth Machine with Software for Parties with Ring Light,Logo Customization,4-5 People
          booth                                                                                               Stand on Remote Control Automatic 360 Spin Camera Booth (39.4")                                     26.8inch 360 Photo Booth Machine for 1-2 People Part
                                                                                                                                                                                                                  Light/Money Gun/Mask, 68cm Selfie 360 Photo Booth
           3+ day shipping                                                                                     3+ day shipping
                                                                                                                                                                                                                  Spin Camera Video Booth


https://www.walmart.com/ip/40-360-Photo-Booth-Machine-Parties-Weddings-Live-Streaming-Camera-Spin-Stand-Remote-Control-Automatic-Slow-Motion-APP-12inch-RGB-Ring-Light-Money-Gun/1116944704                                                                              1/3
12/22/23, 5:30 PM                                                                                                                       walmart.com/cart
               Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 115 of
                                                    360
                               Cart (1 item)

                                   Pickup and delivery options .

                                                                                                                                                                                   Continue to checkout
                                            Free shippingarrives Thu, Jan 4
                                            33197                                                                                                                          For the best shopping experience, sign in


                                                                                                                                                                   Subtotal (1 item)                             $1,599.00
                                Sold and shipped by Number 8 Store |    Pro Seller j                                                                               Shipping                                            Free
                                                    40" 360 Photo Booth Machine for Parties/Weddings/Live Streaming,                                   $1,599.00
                                                    360 Camera Spin Photo Booth Stand Remote Control Automatic Slo…                                                Taxes                             Calculated at checkout



                                                                                                                                                                   Estimated total                               $1,599.00
                                                                                                          Remove          Save for later       |           1   
                                                                                                                                                                                                    pay $83/mo with
                                                                                                                                                                                                                Learn how


                                Shop last minute gifts
                                                                                                                                                                              Become a member to get free same-day
                                                                             Best seller                                                                                      delivery, gas discounts & more!

                                                                                                                                                                       New members get a free 30-day trial




                                                                                                                                                                                 Earn 5% cash back on Walmart.com
                                                                                                                                                                                                                       5
                                           Add                                       Add                                      Add                                             See if you’re pre-approved with no
                                                                                                                                                                                 credit risk. Learn how

                                 $16.88                                     $39.97                                     $14.97
                                 Kid Connection RV Camper with 11.5"        Easy-Bake Ultimate Oven Creative           Kid Connection Build Your Own
                                 Doll Play Set, 31 Pieces                   Baking Toy                                 Garden Playset - 169-Piece Creative

                                 ³³³³´ 245                                  ³³³³² 513
                                                                                                                       Floral Toy Set with Convenient…

                                                                                                                       ³³³³³ 43
                                  3+ day shipping                            3+ day shipping
                                                                                                                       Pickup   Delivery 3+ day shipping




https://www.walmart.com/cart                                                                                                                                                                                                  1/1
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 116 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 117 of
                                     360




                 Defendant No.: 25

                        Store Name:
                          Henpone

                            Platform:
                            Wallmart




  23-cv-24366
12/8/23, 12:06 PM                                                                                                                         Seller Henpone
               Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 118 of
                                       More items from this seller
                                                                   360

                                   Henpone

                                   ²²²²²                      See all 17 reviews
                                   5 stars out of 5



                                     100%             Overall Positive Rating




                                   Shop all seller items
                                                                                      Add                                              Add                                         Add
                                   ´ Business Name:
                                        shenzhenshifuyihengchuangkejiyouxiangongsi   $699.00 $999.00                                  $699.00 $899.00                               $699.00 $1,099.00
                                   F Contact seller                                  360 Photo Booth Machine for Parties, Easter,     360 Photo Booth Machine for Easter, Remote    360 Photo Booth Machine for Parties, Easter,
                                                                                     Wedding, Remote Control 27 inch Spin Video       Control 27"(68cm) Spin Video Selfies Booth    Wedding, 26.8 inch Spin Video Selfies Booth
                                    (+86) 13530559003                               Selfies Booth                                    Honeycomb Box

                                   s longgangqubantianjiedaoguojizhongxinC1dong408hao
                                                                                  ²²²²² 1
                                       shenzhen, GD 518000, CN


                                                                                     Seller reviews
                                    About Seller
                                                                                                                                                              5 stars                                                            17
                                    Tax policy


                                                                                     5                 5
                                                                                                                                                              4 stars                                                             0

                                                                                                                                                              3 stars                                                             0
                                                                                           out of
                                                                                                                                                              2 stars                                                             0
                                                                                     ²²²²² (17 reviews)                                                       1 star                                                              0



                                                                                     17 reviews        Sort by | Most Relevant$




                                                                                       ²²²²²                                                  09/14/2022          ²²²²²                                             04/21/2022


                                                                                       Kristen                                                                    Chris




                                                                                       ²²²²²                                                   05/11/2022         ²²²²²                                             04/21/2022




                                                                                       ²²²²²                                                   05/11/2022         ²²²²²                                             04/21/2022




                                                                                       ²²²²²                                                   05/11/2022         ²²²²²                                             04/21/2022




                                                                                       ²²²²²                                                   05/11/2022         ²²²²²                                             04/21/2022

                                                                                                                                                                  Abraham




                                                                                                                                                       1         2
                                                                                                                                                                          /

                                                                                     About Seller

                                                                                          This seller may also engage in manufacturing, importing or reselling consumer products.


                                                                                     We have our own R&D technical force, as well as strong funds. We always strictly control the quality of products, and we are
                                                                                     following up in the pursuit of product innovation. Our business scope is constantly expanding and facing The customer base is
                                                                                     getting wider and wider. We strive for our brand to be well-known all over the world, and our team is constantly working towards the
                                                                                     goal of making the brand global.



                                                                                     Tax policy

                                                                                     Unless otherwise specified and the platform collects tax on its behalf, our products will include product tax, and any purchase of our
                                                                                     products will enjoy the service of exemption from additional tax collection.




https://www.walmart.com/seller/101114406                                                                                                                                                                                              1/1
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 119 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 120 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 121 of
                                     360




                 Defendant No.: 26

            Store Name:
     Jomitop Technology Co., Ltd.

                            Platform:
                            Wallmart




  23-cv-24366
12/8/23, 12:13 PM                                                                                                        Seller Jomitop Technology Co., Ltd.
               Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 122 of
                                       More items from this seller
                                                                   360

                                Jomitop Technology Co.,
                                Ltd.

                                ²²²²²                      See all 1 review
                                5 stars out of 5




                                  100%             Overall Positive Rating




                                Shop all seller items
                                                                               Add                                                Add                                         Add

                                                                              $39.99                                             $75.99                                        $869.99
                                ´ Business Name: Shenzhen Jomitop
                                     Technology Co., Ltd.                     LED UFO High Bay Light 100W, Replace 400           R17d 8ft Led Light Tube Ho 2Pin 6000k 65W     360 Photo Booth Machine Spinner Camera
                                                                              Watt Shop and Warehouse Area Lighting 1            T8 V Shape Dual-End Power 4Pack               26.8" Flight Case For Party Wedding
                                F    Contact seller                           Pack

                                 (+86) 15815597709

                                s No. 5 Guanle Road, Luhu Community,          Seller reviews
                                    Guanhu Street, Longhua District
                                    809, Building 2, Colorful Science and
                                    Technology City                                                                                                      5 stars                                                        1




                                                                              5                 5
                                    Shenzhen, GD 518110, CN
                                                                                                                                                         4 stars                                                        0

                                                                                                                                                         3 stars                                                        0
                                 About Seller
                                                                                     out of
                                                                                                                                                         2 stars                                                        0
                                                                              ²²²²² (1 review)                                                           1 star                                                         0



                                                                              1 review        Sort by | Most Relevant$




                                                                                ²²²²²                                                     05/18/2023


                                                                                Richard




                                                                              About Seller

                                                                                     This seller may also engage in manufacturing, importing or reselling consumer products.


                                                                              JOMITOP ® is a high-tech enterprise which is specialized in development,production and marketing of indoor and outdoor LED
                                                                              lighting products. Our main products include Led tube light, led high bay Light,led parking lot light, led wall pack light,led flood
                                                                              light,led landscape lights etc. Our products have been highly approved by customers from Europe, North America, and Australia for
                                                                              its excellent quality.




https://www.walmart.com/seller/101221089                                                                                                                                                                                    1/1
12/8/23, 12:14 PM                                                                                      360 Photo Booth Machine 39.4" Spinner Camera Flight Case For Party Wedding - Walmart.com
                Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 123 of
                                                     360

              Jomitop

              360 Photo Booth Machine 39.4" Spinner Camera Flight Case For Party Wedding

            $1,299.99
              $68/mo with             Learn how
              Price when purchased online i

                                                                          Buy now

                                                                         Add to cart



                                                                                                                                                                                                                           Explore deals

            Size: 39.4"

                                                        26.8"                                                                              31.5"                                                          39.4"
                                                       $869.99                                                                           $1,159.99                                                      $1,299.99


            How do you want your item?



                                                       Shipping                                                                          Pickup                                                         Delivery
                                                     Arrives Dec 21                                                                    Not available                                                   Not available
                                                          Free


            Delivery to 3501 Day Ave



                 Sold and shipped by

                 ²²²²² 1 seller review
                 View seller information

                 Extended holiday returns Details
                 Free Holiday returns until Jan 31



                                                                        b    Add to list                                                                                         Y   Add to registry




                                                     Sponsored

                                                     $1,399.00
                                                     MWE 31.5"360 Photo Booth Machine Platform for Parties Automatic Spinner, App/Remote Control with Selfie Lighting

                                                      3+ day shipping




                                                                                             Add



                                                                                                                                                                                                                                           b
                                                                                                                                                                                                                                           Ñ




                                                                                                                                                                                           /




                    -




                                      b                                                                                                     b                                                                          b




           Add                                                                                                       Options                                                                          Options



https://www.walmart.com/ip/360-Photo-Booth-Machine-39-4-Spinner-Camera-Flight-Case-For-Party-Wedding/2725373573?from=/search                                                                                                                   1/3
12/8/23, 12:14 PM                                                                                                                           walmart.com/cart
               Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 124 of
                                                    360
                               Cart (1 item)

                                    Pickup and delivery options -

                                                                                                                                                                                       Continue to checkout
                                             Free shippingarrives Thu, Dec 21
                                             3501 Day Ave                                                                                                                          360 Photo Booth Machine 39.... is selling
                                                                                                                                                                                   fast! Check out soon before it's sold     4
                                                                                                                                                                                   out.

                                 Sold and shipped by Jomitop Technology Co., Ltd.
                                                    360 Photo Booth Machine 39.4" Spinner Camera Flight Case For Party                                      $1,299.99   Subtotal (1 item)                             $1,299.99
                                                    Wedding
                                                                                                                                                                        Shipping                                            Free
                                                    Size: 39.4in
                                                        Free Holiday returns until Jan 31
                                                                                                                                                                        Taxes                             Calculated at checkout
                                                    Only 5 left
                                                                                                                  Remove      Save for later      {         1    

                                                                                                                                                                        Estimated total                               $1,299.99

                                                                                                                                                                                                        pay $68/mo with
                                 Shop More Deals                                                                                                                                                                    Learn how

                                    Deal                                              Deal                                  Deal

                                                                                                                                                                                   Become a member to get free next-day
                                                                                                                                                                                   shipping, gas discounts & more!
                                                                                                                                                                                                                                 4

                                                                                                                                                                            Try Walmart+ free for 30 days!


                                            Add                                              Add                                  Add

                                  Now $18.99 $49.99                                 Now $399.99 $599.99                    Now $30.98 $62.00 $23.83/fl oz
                                                                                                                                                                                     Earn 5% cash back on Walmart.com
                                                                                                                                                                                     See if you’re pre-approved with no
                                                                                                                                                                                                                            4
                                  Ifanze Hair Dryer Brush, Hot Air                  Gyroor C1 PRO 450W Electric            Coach New York Eau De Toilette                            credit risk. Learn how

                                  Brush Hair Dryer Volumizer 4 in 1                 Scooter with Dual Shock Absorbers      Spray, Cologne for Men, 1.3 oz
                                  Brush Blow Dryer Styler for Rotatin…              for Adult,Up to 25 Miles 18.6MPH,12…   ²²²²² 74
                                  ²²²²² 281                                         ²²²²² 221
                                                                                                                           2-day shipping
                                   2-day shipping                                    3+ day shipping




                               Saved for later


                                 1 item                                                                                                                          0




                                  $23.36
                                  Dgankt Christmas Decorations Indoor Led Christmas Lights, Christmas Decorative Ladder Lights with Santa Claus
                                  Actual Color : A
                                  Out of stock

                                  Qty 1
                                  Remove




https://www.walmart.com/cart                                                                                                                                                                                                         1/1
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 125 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 126 of
                                     360




                 Defendant No.: 27

                        Store Name:
                          izumuzi

                            Platform:
                            Wallmart




  23-cv-24366
12/8/23, 11:26 AM                                                                                                                        Seller mlkhfap
               Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 127 of
                                       More items from this seller
                                                                   360
                                mlkhfap

                                ±       ±     ±   ±   ±
                                No reviews yet

                                Shop all seller items



                                ´ Business Name:
                                            ChengDuMingDuoLiangKeJiYouXianGongSi

                                F           Contact seller

                                           (+86) 18074871417
                                                                                     Add                                              Add                                         Add
                                    s ChengHuaQuMinXingBeiYiLu12HaoFu4Hao2Ceng20Hao
                                                                              20Hao
                                      ChengDuShi, SC 610056, CN

                                                                                   $1,999.00                                         $2,499.00                                     $1,499.00
                                                                                   46" 360 Photo Booth Machine for 5-7 People        45.3inch 360 Photo Booth Machine for 5-7      39.4" 360 Photo Booth Machine for 3-5
                                     About Seller
                                                                                   Parties/Weddings/Live Streaming, 360              People Parties Weddings w/Tempered Glass      People Parties with 12" RGB Ring Light/Money
                                                                                   Camera Spin Photo Booth Stand Remote…             Platform/12" Ring Light/Flight Case/Money…    Gun/Glove, 100cm Selfie Photo Booth…
                                                                                   ²²²²±      3                                                                                    ²²²²² 3




                                                                                   Seller reviews

                                                                                   This seller doesn't have any reviews yet.



                                                                                   About Seller

                                                                                         This seller may also engage in manufacturing, importing or reselling consumer products.


                                                                                   mlkhfap is professional in furniture and electronics products, we offer high-quality products with right pricing, we also provide the
                                                                                   best after-service for each customer...




https://www.walmart.com/seller/101254003                                                                                                                                                                                          1/1
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 128 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 129 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 130 of
                                     360




                 Defendant No.: 28

                        Store Name:
                          AchhaGo

                            Platform:
                            Wallmart




  23-cv-24366
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 131 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 132 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 133 of
                                     360




                 Defendant No.: 29

                        Store Name:
                        Louis Garden

                            Platform:
                            Wallmart




  23-cv-24366
12/28/23, 3:03 PM                                                                                                               Seller Louis Garden
               Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 134 of
                                       More items from this seller
                                                                   360

                                Louis Garden

                                                      See all 1 review
                                5 stars out of 5




                                  100%             Overall Positive Rating




                                Shop all seller items
                                                                               Add                                              Add                                         Add
                                 Business Name: shen zhen shi lu yi hua
                                     yuan shang mao you xian gong si
                                                                              $43.99                                           $32.99                                        $89.99
                                    Contact seller                           Personalized 3D Crystal Photo, Romantic Gift     Customization Crystal Photo, Customizable     Wedding Decorations For Reception, 1.7 M
                                                                              for Men and Women, Customized Engraved           Pictures & Text, Personalized Gifts For       Huge Artificial Silk Flower Decoration, Spring
                                    (+86) 13570886386                        Crystal Picture Frames, Gifts for Any…           Birthday Wedding Mother's Day Graduation…     Wedding Arrangements, Party Banquet…

                                 long hua qu min zhi jie dao min zhi she      2
                                    qu mei hua shan zhuang yun mei yuan
                                    16 dong 201
                                    shen zhen shi, GD 518000, CN
                                                                              Seller reviews


                                  About Seller                                                                                                         5 stars                                                            1




                                                                              5                5
                                                                                                                                                       4 stars                                                           0
                                  Tax policy
                                                                                                                                                       3 stars                                                           0
                                                                                    out of
                                                                                                                                                       2 stars                                                           0
                                                                               (1 review)                                                         1 star                                                            0



                                                                              1 review      Sort by | Most Relevant




                                                                                                                                   06/29/2023


                                                                                Tanya




                                                                              About Seller

                                                                                   This seller may also engage in manufacturing, importing or reselling consumer products.


                                                                              Shen zhen shi lu yi hua yuan shang mao you xian gong si Ltd. is a professional manufacturer of all types of artificial flowers,
                                                                              integrating development and production together. Our main products include artificial flowers and related products. Our company
                                                                              regards “reasonable prices, efficient production time and good after-sales service” as our tenet. We hope to cooperate with more
                                                                              customers for mutual development and benefits.


                                                                              Tax policy

                                                                              Walmart Marketplace is required to collect and remit sales tax on behalf of all Marketplace sellers in 47 states under enacted state
                                                                              laws.




https://www.walmart.com/seller/101186918                                                                                                                                                                                      1/1
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 135 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 136 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 137 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 138 of
                                     360




                 Defendant No.: 30

                        Store Name:
                          Rez LLC

                            Platform:
                            Wallmart




  23-cv-24366
12/22/23, 5:32 PM                                                                                                                       Seller Rez LLC
               Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 139 of
                                       More items from this seller
                                                                   360

                                 Rez LLC

                                 ³³³³²                      See all 4 reviews
                                 4 stars out of 5




                                     75%            Overall Positive Rating




                                 Shop all seller items
                                                                                   Add                                               Add                                         Add
                                 µ Business Name:
                                      chengduruizhichuangxiangkejiyouxiangongsi   $99.99 $129.99                                    $11.00                                        $545.00
                                 G    Contact seller                              WISVANAI 16.5inch 3D Hologram Fan                 Weciygg Waterproof Adult Hand Cast Covers     DOEL 12000 BTU, 60Hz Mini Swimming Pool
                                                                                  Projector, WiFi Control Holographic               for Shower & Bath (Grey)                      Heat Pump for Above-Ground Pools
                                  (+86) 17628281886                              Advertising Display Fan with 384 LED Beads                                                      ³³³³² 4

                                 t qingyangquxianandajie2hao1dong5lou518hao
                                     Chengdu, SC 610015, CN
                                                                                  Seller reviews

                                  About Seller
                                                                                                                                                            5 stars                                                         3




                                                                                  4                  5
                                  Tax policy                                                                                                                4 stars                                                         0

                                                                                                                                                            3 stars                                                         0
                                                                                           out of
                                                                                                                                                            2 stars                                                         0
                                                                                  ³³³³² (4 reviews)                                                         1 star                                                          1



                                                                                  4 reviews        Sort by | Most Relevant%




                                                                                    ³³³³³                                                    07/31/2022         ³³³³³                                          07/22/2022


                                                                                    When i sign up for the warranty they reached out to me the same             Charyle
                                                                                    day and let me know if there is any problem with the unit don't
                                                                                    hesitate to call them up.

                                                                                    Paul                                                                        ³³³³³                                          04/23/2022


                                                                                                                                                                REBECCA


                                                                                    ³²²²²                                                    04/06/2023


                                                                                    Ebony




                                                                                  About Seller

                                                                                        This seller may also engage in manufacturing, importing or reselling consumer products.


                                                                                  Your active lifestyle deserves the best. Rez LLC has been committed to providing you with an outstanding products and customer
                                                                                  experience.


                                                                                  Tax policy

                                                                                  Sales Tax will be collected per state regulations as required.




https://www.walmart.com/seller/101113937                                                                                                                                                                                        1/1
12/28/23, 2:53 PM                                                                          WISVANAI 360 Photo Booth, 360 Degree Automatic Spinner Video Booth with Camera Stands(31.5'') - Walmart.com
                Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 140 of
                          Ship free, no order min*   360                                                                                                                                                                                  Sponsored




              WISVANAI

              WISVANAI 360 Photo Booth, 360 Degree Automatic Spinner Video Booth with Camera Stands(31.5'')

            $1,759.00
              $92/mo with             Learn how
              Price when purchased online 

                                                                           Buy now

                                                                         Add to cart


            Size: 31.5"

                                                        31.5"                                                                              39.4"                                                                              45.2"
                                                     $1,759.00                                                                           $1,959.00                                                                          $2,259.00


            How do you want your item?



                                                      Shipping                                                                            Pickup                                                                            Delivery
                                                     Arrives Jan 8                                                                      Not available                                                                      Not available
                                                         Free


            Delivery to 3501 Day Ave



                 Sold and shipped by Rez LLC

                  4 seller reviews
                 View seller information

                 Extended holiday returns Details
                 Free Holiday returns until Jan 31



                                                                            Add to list                                                                                                             Add to registry




                                                     Sponsored

                                                     Now $859.00 $999.00
                                                     360 Photo Booth, 360 Photo Booth Machine 80cm/31.5'' for Parties, Free Custom Logo, Flight Case, 1-3 People Stand on, Remote Control Automatic Slow Motion 360 Spin Booth

                                                     3+ day shipping




                                                                                                                   Add



                                                                                                                                                                                                                                                  
                                                                                                                                                                                                                                                  




                                                                                                                                                                                                           




                    




https://www.walmart.com/ip/WISVANAI-360-Photo-Booth-360-Degree-Automatic-Spinner-Video-Booth-with-Camera-Stands-31-5/235935723?selectedSellerId=101113937                                                                                              1/3
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 141 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 142 of
                                     360




                 Defendant No.: 31

                        Store Name:
                          Ocyclone

                            Platform:
                            Wallmart




  23-cv-24366
12/8/23, 11:53 AM                                                                                                                             Seller Ocyclone
               Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 143 of
                                       More items from this seller
                                                                   360

                                   Ocyclone

                                   ²²²²²                   See all 37 reviews
                                   4.8 stars out of 5



                                      95%          Overall Positive Rating




                                   Shop all seller items
                                                                                     Add                                                Add                                            Add
                                   ´ Business Name:
                                        shenzhenshiouxuanfengkejiyouxiangongsi      $93.00                                              $17.89                                          $15.89
                                   F Contact seller                                 Twin XL Bed Frame with Headboard Heavy              OCYCLONE Cell Phone Stand, Height               OCYCLONE Cell Phone Stand, Angle Height
                                                                                    Duty Metal Platform Bed Frame with Modern           Adjustable Phone Stand, Foldable Phone          Adjustable Phone Stand, Foldable Cell Phone
                                    (+86) 13570855573                              Design, Sturdy & Easy Assembly, with Steel…         Holder iPad Tablet Stand Compatible with…       Holder iPad Tablet Stand Compatible with…

                                   s longhuaxinquminzhijiedaominfengluhenglingsiqulongrundasha11lou2haofang
                                       Shenzhen, GD 518000, CN


                                                                                   Seller reviews
                                    About Seller
                                                                                                                                                                  5 stars                                                            35
                                    Tax policy


                                                                                   4.8                           5
                                                                                                                                                                  4 stars                                                            0

                                                                                                                                                                  3 stars                                                            0
                                                                                                     out of
                                                                                                                                                                  2 stars                                                            0
                                                                                   ²²²²² (37 reviews)                                                             1 star                                                             2



                                                                                   37 reviews         Sort by | Most Relevant$




                                                                                      ²²²²²                                                         04/20/2022        ²²²²²                                             04/21/2022


                                                                                      Great Great Great, look forward to doing business again!


                                                                                                                                                                      ²²²²²                                             04/21/2022


                                                                                      ²²²²²                                                         03/28/2022        Jide

                                                                                      Great seller and quick response after saleͫfive star.

                                                                                      Debbie                                                                          ²²²²²                                             04/21/2022


                                                                                                                                                                      Divine

                                                                                      ²²²²²                                                          05/11/2022


                                                                                                                                                                      ²²²²²                                             04/21/2022

                                                                                                                                                                      Raul
                                                                                      ²²²²²                                                          05/11/2022


                                                                                      Mayann

                                                                                                                                                                      ²²²²²                                             04/21/2022


                                                                                                                                                                      Mario
                                                                                      ²±±±±                                                         05/03/2022


                                                                                      TIMANDRA




                                                                                                                                                1           2        3         4    /

                                                                                   About Seller

                                                                                          This seller may also engage in manufacturing, importing or reselling consumer products.


                                                                                   Ocyclone is an international brand owner specializing in the development, manufacture, sales and service of mobile phone
                                                                                   accessories. With 10 years of experience, we strive to break through the boundaries of design and technology.We have 30 ODM /
                                                                                   OEM solutions engineers.With over 100,000 customers worldwide choosing our products, our services cover more than 100
                                                                                   countries. Ocyclone make a miracle, only offer you a chance to the new world that you never see!


                                                                                   Tax policy

                                                                                   Unless otherwise specified and the platform collects tax on its behalf, our products will include product tax, and any purchase of our
                                                                                   products will enjoy the service of exemption from additional tax collection.




https://www.walmart.com/seller/101090676                                                                                                                                                                                                  1/1
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 144 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 145 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 146 of
                                     360
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                                     360




                 Defendant No.: 32

                        Store Name:
                         OLEEVEE

                            Platform:
                            Wallmart




  23-cv-24366
12/8/23, 12:00 PM                                                                                 Seller OLEEVEE
               Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 148 of
                                                    360
                                                      Seller reviews
        OLEEVEE
                                                      This seller doesn't have any reviews yet.
        ±±±±±
        No reviews yet
                                                      About Seller
        Shop all seller items
                                                            This seller may also engage in manufacturing, importing or reselling consumer products.

        ´     Business Name:                           A team with the same dream and passion founded OLEEVEE. We love to create. We always believe that only
              shenzhenshibohengwenhuachuanmeiyouxiangongsi
                                                      continuous breakthroughs and innovations can not only give our customers better products, but meet different
              Contact seller                          needs of customers. In product design, we will pay attention to every detail, besides, we always put the interests
        F
                                                      of customers first.That's what we love and that's what we're doing.
             (+86) 13145960217

        s 302, Building B, No.2, Canpu Road,
             Nanlian Community, Longgang Street,
             Longgang District, Shenzhen
             shenzhen, GD 518116, CN



         About Seller




https://www.walmart.com/seller/101218908                                                                                                                                   1/1
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 149 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 150 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 151 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 152 of
                                     360




                 Defendant No.: 33

                        Store Name:
                        safeluck2022

                            Platform:
                              Ebay




  23-cv-24366
12/26/23,Case    1:23-cv-24366-BB
          10:47 PM                             Document 10-1 Entered   on FLSD
                                                                 safeluck2022 | eBay Docket
                                                                                     Stores 12/28/2023 Page 153 of
                                                              360                                                      11
 Hi Roberto!            Daily Deals      Brand Outlet     Gift Cards    Help & Sell
                                                                               ContactWatchlist     My eBay



                           Categories                 Search for anyth        All Categories                  Search




                             safeluck2022
                             97.2% positive feedback           976 items sold      50 followers
                                 Share             Contact         Save Seller


                  Categories                   Shop      About         Feedback                Search all 95 items



      About us

      Location:]China
      Member since:]Jan 14, 2022
      Seller:]safeluck2022




                                Do you like our store experience?




https://www.ebay.com/str/safeluck2022?_tab=1                                                                            1/2
12/26/23,Case    1:23-cv-24366-BB
          10:48 PM                                Document
                                                     68 cm 360 Photo10-1    Entered
                                                                      Booth Slow        on FLSD
                                                                                 Motion Video PlatformDocket   12/28/2023
                                                                                                      360 Automatic Rotating Selfie |Page
                                                                                                                                      eBay 154 of
   Hi Roberto!     Daily Deals   Brand Outlet   Gift Cards  Help & Contact     360                            Sell  Watchlist     My eBay
                                                                                                                                                                 11




                      Categories            Search for anything                                                All Categories                    Search


       Back to home page    Electronics    Cameras & Photo    Camera, Drone & Photo Ac…   Other Camera & Photo Accs                     Share    Add to Watchlist


                                                                                                   68 cm 360 Photo Booth Slow
                                                                                                   Motion Video Platform 360
                                                                                                   Automatic Rotating Selfie
                                                                                                     Last item available


                                                                                                               safeluck2022 (168)
                                                                                                               97.2% positive Seller's other items
                                                                                                               Contact seller



                                                                                                   US $949.00
                                                                                                   or Best Offer

                                                                                                   No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                   Credit*



                                                                                                   Condition: Used
                                                                                                   “With flight case!!!”


                                                                                                   Quantity:       1     Last One / 1 sold



                                                                                                                                Buy It Now


                                                                                                                             Add to cart


  Have one to sell? Sell now                                                                                                    Make offer


                                                                                                                           Add to watchlist



                                                                                                               Breathe easy. Returns accepted.


                                                                                                               People are checking this out. 9 have added
                                                                                                               this to their watchlist.


                                                                                                   Shipping:           Free Standard Shipping. See details
                                                                                                                       Located in: Los Angeles, California,
                                                                                                                       United States

                                                                                                   Delivery:           Estimated between Sat, Dec 30 and Fri,
                                                                                                                       Jan 5 to 33166

                                                                                                   Returns:            14 days returns. Buyer pays for return
                                                                                                                       shipping. See details

                                                                                                   Payments:




                                                                                                                       *No Interest if paid in full in 6 months on
                                                                                                                       $99+. See terms and apply now

                                                                                                                                 Earn up to 5x points when you
                                                                                                                                 use your eBay Mastercard®.
                                                                                                                                 Learn more




https://www.ebay.com/itm/354647009088?hash=item52929be740:g:pcoAAOSwTEpj6u8v&amdata=enc%3AAQAIAAAA4FscTlY8x8SH5HNA1M9Tfl6e…                                           1/5
12/26/23,Case    1:23-cv-24366-BB
          10:48 PM                         Document 10-1 EnteredCheckout
                                                                 on FLSD      Docket 12/28/2023 Page 155 of
                                                                         | eBay
                                                          360
                                                                    How do you like our checkout?]Give us feedback
                          Checkout


             New! You can split payment for this purchase across two cards.




      Pay with           Split payment between two cards                 Subtotal (1 item)                     $949.00
                                                                         Shipping                                  Free
           You can split your payment for this order. Add Card           Tax*                                   $66.43



                       x-6789 Expired                                    Order total                        $1,015.43

                                                                           By placing your order, you agree to eBay's
                                                                           User Agreement and Privacy Notice.]
              Add new card
                                                                           *We're required by law to collect sales tax
                                                                           and applicable fees for certain tax
                                                                           authorities. Learn more]


                       PayPal
                                                                                       Pay with PayPal


                       No Interest if paid in full in 6 months.                 You'll finish checkout on PayPal
                       Apply now. See terms



                       Google Pay                                                         See details




      Ship to

      ENCARGA ROBERTO ROMERO
      8611 NW 72nd St
      Doral, FL 33166-2311
      United States
      (786) 687-9611
      Change




      Review item and shipping

      Seller: ]safeluck2022 | Message to seller

                           68 cm 360 Photo Booth Slow Motion
                           Video Platform 360 Automatic Rotating
                           Selfie

                           $949.00

https://pay.ebay.com/rxo?action=view&sessionid=2118164784011                                                              1/2
12/26/23,Case    1:23-cv-24366-BB
          10:48 PM                         Document 10-1 EnteredCheckout
                                                                 on FLSD      Docket 12/28/2023 Page 156 of
                                                                         | eBay
                           Quantity 1                     360


                           Delivery
                           Est. delivery: Dec 30 – Jan 5
                           UPS Ground
                           Free




      Gift cards, coupons, eBay Bucks



         Enter code:                                     Apply




      Donate to charity (optional)

      The Skatepark Project
      Join The Skatepark Project in helping underserved
      communities create safe and inclusive public skateparks
      for youth. PayPal Giving Fund (PPGF) receives your
      donation and grants 100% to a charity no later than 30
      days after the end of the month in which the donation is
      made. Donations are non-refundable and typically tax
      deductible. PPGF may be unable to grant funds to a
      charity if the charity has lost tax exempt status, has
      closed, or no longer accepts funds from PPGF.


      Select amount           None




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   CA Privacy Notice, Your Privacy Choices     and AdChoice




https://pay.ebay.com/rxo?action=view&sessionid=2118164784011                                                                      2/2
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 157 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 158 of
                                     360




                 Defendant No.: 34

                        Store Name:
                        shleidedesi_0

                            Platform:
                              Ebay




  23-cv-24366
12/26/23,Case    1:23-cv-24366-BB
          11:34 AM                         Document 10-1 Entered  on FLSD
                                                              shleidedesi_0     Docket 12/28/2023 Page 159 of
                                                                            on eBay
                                                          360                                                                                  11
 Hi Roberto!            Daily Deals     Brand Outlet       Gift Cards        Help & Sell
                                                                                    ContactWatchlist          My eBay



                           Categories                Search for anyth              All Categories                           Search




                            shleidedesi_0
                            100% positive feedback (11)                                                           Contact            Save




                 Categories                 Shop          About          Feedback                       Search 1 item



      About

      Location:]United States
      Member since:]Sep 07, 2015




                               Do you like our profile experience?




  About eBay      Announcements        Community       Security Center       Seller Center   Policies    Affiliates   Help & Contact

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  , Your Privacy Choices   and AdChoice




https://www.ebay.com/usr/shleidedesi_0?_trksid=p4429486.m3561.l2559&_tab=1                                                                         1/1
12/26/23,Case    1:23-cv-24366-BB
          11:36 AM                     Document    10-1
                                        80cm 360 Photo BoothEntered
                                                            Video Boothon   FLSD
                                                                        Selfie        Docket
                                                                               Platform Automatic12/28/2023          Page 160 of
                                                                                                  Motorized Party | eBay
                                                              360                                                                11
    Hi Roberto!        Daily Deals     Brand Outlet     Gift Cards     Help
                                                                        Sell& Contact
                                                                               Watchlist          My eBay



                          Categories               Search for an        All Categories                         Search


        Back to home page
   Electronics     Cameras & Photo          Camera, Drone & Photo Ac…               Other Camera & Photo Accs
                                                                                               Share Add to Watchlist


                                                                                      80cm 360 Photo
                                                                                      Booth Video Booth
                                                                                      Selfie Platform
                                                                                      Automatic Motorized
                                                                                      Party

                                                                                                  shleidedesi_0 (11)
                                                                                                  100% positive Seller's
                                                                                                  other items Contact
                                                                                                  seller



                                                                                      US $1,600.00
                                                                                      or Best Offer

   Have one to sell? Sell now                                                         No Interest if paid in full in 6 mo on
                                                                                      $99+ with PayPal Credit*



                                                                                      Condition: New


                                                                                                     Buy It Now


                                                                                                     Add to cart


                                                                                                     Make offer


                                                                                                  Add to watchlist


                                                                                      Pickup:             Free local pickup
                                                                                                          from Wyandanch,
                                                                                                          New York, United
                                                                                                          States. See details

https://www.ebay.com/itm/354527996711?hash=item528b83eb27:g:zx4AAOSw0AZjyGxe&amdata=enc%3AAQAIAAAA4DHHPC7O2BeylSzd3rJyhW…             1/4
12/26/23,Case    1:23-cv-24366-BB
          11:36 AM                   Document    10-1
                                      80cm 360 Photo BoothEntered
                                                          Video Boothon   FLSD
                                                                      Selfie        Docket
                                                                             Platform Automatic12/28/2023          Page 161 of
                                                                                                Motorized Party | eBay
                                                            360                       Shipping:            US $5.70]Standard
                                                                                                       Shipping. See
                                                                                                       details
                                                                                                       Located in:
                                                                                                       Wyandanch, New
                                                                                                       York, United
                                                                                                       States

                                                                                   Delivery:           Estimated
                                                                                                       between Sat, Dec
                                                                                                       30 and Fri, Jan 5 to
                                                                                                       33166
                                                                                   Returns:            Seller does not
                                                                                                       accept returns.
                                                                                                       See details

                                                                                   Payments:                    ]         ]

                                                                                                                ]         ]

                                                                                                                ]



                                                                                                       *No Interest if paid
                                                                                                       in full in 6 months
                                                                                                       on $99+. See
                                                                                                       terms and apply
                                                                                                       now

                                                                                                                    Earn up to
                                                                                                                    5x points
                                                                                                                    when you
                                                                                                                    use your
                                                                                                                    eBay
                                                                                                                    Mastercar
                                                                                                                    d®.]Learn
                                                                                                                    more



                                                                                   Shop with confidence

                                                                                          eBay Money Back Guarantee
                                                                                          Get the item you ordered or
                                                                                          your money back.]Learn more




      About this item         Shipping, returns, and payments                                            Report this item

https://www.ebay.com/itm/354527996711?hash=item528b83eb27:g:zx4AAOSw0AZjyGxe&amdata=enc%3AAQAIAAAA4DHHPC7O2BeylSzd3rJyhW…        2/4
12/26/23,Case    1:23-cv-24366-BB
          11:36 AM                         Document 10-1 EnteredCheckout
                                                                 on FLSD | eBayDocket 12/28/2023 Page 162 of
                                                          360
                                                                    How do you like our checkout?]Give us feedback
                          Checkout


             New! You can split payment for this purchase across two cards.




      Pay with           Split payment between two cards                 Subtotal (1 item)                   $1,600.00
                                                                         Shipping                                 $5.70
           You can split your payment for this order. Add Card           Tax*                                   $112.40



                       x-6789 Expired                                    Order total                         $1,718.10

                                                                           By placing your order, you agree to eBay's
                                                                           User Agreement and Privacy Notice.]
              Add new card
                                                                           *We're required by law to collect sales tax
                                                                           and applicable fees for certain tax
                                                                           authorities. Learn more]


                       PayPal
                                                                                       Pay with PayPal


                       No Interest if paid in full in 6 months.                 You'll finish checkout on PayPal
                       Apply now. See terms



                       Google Pay                                                         See details




      Ship to

      ENCARGA ROBERTO ROMERO
      8611 NW 72nd St
      Doral, FL 33166-2311
      United States
      (786) 687-9611
      Change




      Review item and shipping

      Seller: ]shleidedesi_0 | Message to seller

                            80cm 360 Photo Booth Video Booth
                            Selfie Platform Automatic Motorized
                            Party

                            $1,600.00

https://pay.ebay.com/rxo?action=view&sessionid=2117874618011                                                              1/2
12/26/23,Case    1:23-cv-24366-BB
          11:36 AM                     Document 10-1 EnteredCheckout
                                                             on FLSD | eBayDocket 12/28/2023 Page 163 of
                            Quantity 1                360


                                   Delivery
                                   Est. delivery: Dec 30 – Jan 5
                                   USPS First Class
                                   $5.70

                                   Pickup




      Gift cards, coupons, eBay Bucks



         Enter code:                                     Apply




      Donate to charity (optional)

      The Skatepark Project
      Join The Skatepark Project in helping underserved
      communities create safe and inclusive public skateparks
      for youth. PayPal Giving Fund (PPGF) receives your
      donation and grants 100% to a charity no later than 30
      days after the end of the month in which the donation is
      made. Donations are non-refundable and typically tax
      deductible. PPGF may be unable to grant funds to a
      charity if the charity has lost tax exempt status, has
      closed, or no longer accepts funds from PPGF.


      Select amount           None




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https://pay.ebay.com/rxo?action=view&sessionid=2117874618011                                                                      2/2
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 164 of
                                     360
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                                     360




                 Defendant No.: 35

                        Store Name:
                       solarstore2008

                            Platform:
                              Ebay




  23-cv-24366
12/26/23,Case    1:23-cv-24366-BB
          11:38 AM                          Document 10-1 Entered    on FLSD
                                                           Jolson Outdoor          Docket
                                                                          Store | eBay Stores 12/28/2023 Page 166 of
                                                            360
 Hi Roberto!             Daily Deals     Brand Outlet   Gift Cards    Help & Sell
                                                                             ContactWatchlist     My eBay



                            Categories              Search for anyth        All Categories                  Search




                             Jolson Outdoor Store
                             100% positive feedback         257 items sold       10 followers
                                  Share          Contact         Save Seller


                  Categories                 Shop       About        Feedback                Search all 70 items



      About us

      Location:]China
      Member since:]Jul 14, 2022
      Seller:]solarstore2008




https://www.ebay.com/str/solarstore2008?_tab=1                                                                         1/2
12/26/23,Case    1:23-cv-24366-BB
          11:39 AM                                     Document
                                                        360 Video Selfie10-1    Entered
                                                                         Photo Booth        onSlow
                                                                                     Automatic  FLSD
                                                                                                   MotionDocket    12/28/2023
                                                                                                         Rotating Platform 80cm/31.5inPage
                                                                                                                                       | eBay 167 of
  Hi Roberto!         Daily Deals    Brand Outlet    Gift Cards Help & Contact     360                            Sell  Watchlist   My eBay
                                                                                                                                                                      11




                          Categories             Search for anything                                               All Categories                    Search


                                Electronics     Cameras & Photo    Other Cameras & Photo
      Back to home page                                                                                                                    Share    Add to Watchlist
                                Electronics     Cameras & Photo    Camera, Drone & Photo Ac…   Other Camera & Photo Accs

       This item is out of stock.


                                                                                                       360 Video Selfie Photo Booth
                                                                                                       Automatic Slow Motion Rotating
                                                                                                       Platform 80cm/31.5in

                                                                                                                   Jolson Outdoor Store (44)
                                                                                                                   100% positive Seller's other items
                                                                                                                   Contact seller



                                                                                                       US $1,000.00
                                                                                                       or Best Offer

                                                                                                       No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                       Credit*



                                                                                                       Condition: Open box
                                                                                                       “Open box,never use”


                                                                                                                               Add to watchlist


                                                                                                       Shipping:          Free Standard Shipping. See details
                                                                                                                          Located in: Los Angeles, California,
                                                                                                                          United States

                                                                                                       Delivery:          Estimated between Sat, Dec 30 and Fri,
                                                                                                                          Jan 5 to 33166

                                                                                                       Returns:           30 days returns. Buyer pays for return
  Have one to sell? Sell now
                                                                                                                          shipping. See details

                                                                                                       Payments:




                                                                                                                          *No Interest if paid in full in 6 months on
                                                                                                                          $99+. See terms and apply now

                                                                                                                                    Earn up to 5x points when you
                                                                                                                                    use your eBay Mastercard®.
                                                                                                                                    Learn more



                                                                                                       Shop with confidence

                                                                                                            eBay Money Back Guarantee
                                                                                                            Get the item you ordered or your money
                                                                                                            back. Learn more



    About this item         Shipping, returns, and payments                                                                                        Report this item




    Seller assumes all responsibility for this listing.                                                                      eBay item number: 195323266875



    Last updated on Dec 04, 2023 18:57:03 PST View all revisions


https://www.ebay.com/itm/195323266875?hash=item2d7a2c873b:g:gAQAAOSwysRjEWJx&amdata=enc%3AAQAIAAAAwN2Qs5b1a%2FBtNMIq4H…                                                 1/12
12/26/23,Case    1:23-cv-24366-BB
          11:39 AM                                             Document
                                                               360 Video Selfie10-1    Entered
                                                                                Photo Booth        onSlow
                                                                                            Automatic  FLSD
                                                                                                          MotionDocket    12/28/2023
                                                                                                                Rotating Platform 80cm/31.5inPage
                                                                                                                                             | eBay 168 of
                                                                                          360




    Business seller information
    Value Added Tax Number: DE 349321735 GB 381776461



    Return policy
       After receiving the item, contact seller within                 Refund will be given as                                 Return shipping


       30 days                                                         Money Back, Replacement                                 Buyer pays for return shipping

    Refer to eBay Return policy for more details. You are covered by the eBay Money Back Guarantee if you receive an item that is not as described in the
    listing.




                                                                                                                                                            Visit store
                                          Jolson Outdoor Store
                                                                                                                                                             Contact
                                          100% Positive Feedback

                                          257 items sold
                                                                                                                                                             Save seller



           Joined Jul 2022




       Detailed seller ratings                                                       Seller feedback (48)
       Average for the last 12 months
                                                                                            4***n (24)    Past month

       Accurate
                                                         4.9                         The product came on time and looks great!
       description
       Reasonable                                                                    Kids Boy Avengers Iron Spiderman Superhero Cosplay Costume Fancy Dress Jumpsuit…
                                                         5.0
       shipping cost
       Shipping speed                                    5.0
                                                                                            o***d (371)   Past month

       Communication                                     5.0
                                                                                     Super pleased with this item. Great value.

                                                                                     Kids Boy Avengers Iron Spiderman Superhero Cosplay Costume Fancy Dress Jumpsuit…
       Popular categories from this store                               See all

                                                                                            k***e (255)    Past month
          Health & Beauty                 Business & Industrial
                                                                                     gut verpackt
          Home & Garden                   Toys & Hobbies                             MCDODO LED 90 Grad Typ-C iphone Ladekabel Winkel USB-C Kabel Fast charging Nylon…


          Musical Instruments & Gear                       Cameras & Photo
                                                                                         See all feedback
          Sporting Goods




  This is a private listing and your identity will not be disclosed to anyone except the seller.

  Back to home page                                                                                                                                                        Return to top


https://www.ebay.com/itm/195323266875?hash=item2d7a2c873b:g:gAQAAOSwysRjEWJx&amdata=enc%3AAQAIAAAAwN2Qs5b1a%2FBtNMIq4…                                                               11/12
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                 Defendant No.: 36

                        Store Name:
                          t0pbiuty

                            Platform:
                              Ebay




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          11:40 AM                           Document 10-1 Entered  on |FLSD
                                                                t0pbiuty        Docket 12/28/2023 Page 171 of
                                                                         eBay Stores
                                                            360                                                        11
 Hi Roberto!             Daily Deals       Brand Outlet   Gift Cards    Help & Sell
                                                                               ContactWatchlist     My eBay



                            Categories               Search for anyth         All Categories                  Search




                             t0pbiuty
                             98.1% positive feedback          1.6K items sold      105 followers
                                  Share           Contact          Save Seller


                  Categories                  Shop        About        Feedback                Search all 737 items



       About us

       Location:]China
       Member since:]Jul 27, 2022
       Seller:]t0pbiuty




                                 Do you like our store experience?




https://www.ebay.com/str/t0pbiuty?_tab=1                                                                                1/2
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                 Defendant No.: 37

                        Store Name:
                         yixin_802

                            Platform:
                              Ebay




  23-cv-24366
12/26/23,Case    1:23-cv-24366-BB
          11:43 AM                         Document 10-1 Entered   onshop
                                                            360 photo FLSD| eBayDocket
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                                                          360
 Hi Roberto!            Daily Deals     Brand Outlet     Gift Cards    Help & Sell
                                                                              ContactWatchlist      My eBay



                           Categories                 Search for anyth       All Categories                   Search




                            360 photo shop
                            50% positive feedback           86 items sold       12 followers
                                 Share            Contact         Save Seller


                 Categories                    Shop     About         Feedback                 Search all 3 items




      About us
      Welcome to our store
      We specialize in rotating the stage, with a
      strong team and a complete after-sales
      service, allowing you to have a rich shopping
      experience,




      Location:]China
      Member since:]Aug 02, 2022
      Seller:]yixin_802



https://www.ebay.com/str/360photoshop?_tab=1                                                                           1/2
12/26/23,Case    1:23-cv-24366-BB
          11:44 AM                                        Document
                                                          360 Photo Booth10-1    Entered
                                                                         Video Rotating       on FLSD
                                                                                        Spin Platform      Docket
                                                                                                      Automatic Spinner12/28/2023
                                                                                                                        Motorized WeddingPage
                                                                                                                                          | eBay 174 of
   Hi Roberto!         Daily Deals   Brand Outlet    Gift Cards   Help & Contact    360                               Sell         Watchlist        My eBay



                          Categories             Search for anything                                                  All Categories                            Search


       Back to home page        Electronics     Cameras & Photo       Camera, Drone & Photo Ac…   Other Camera & Photo Accs                           Share    Add to Watchlist

       This item is out of stock.


                                                                                                          360 Photo Booth Video Rotating
                                                                                                          Spin Platform Automatic Spinner
                                                                                                          Motorized Wedding

                                                                                                                      360 photo shop (2)
                                                                                                                      50% positive Seller's other items
                                                                                                                      Contact seller



                                                                                                          US $958.00
                                                                                                          No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                          Credit*



                                                                                                          Condition: New


                                                                                                          Size:                  - Select -



                                                                                                          Quantity:          1       Out of Stock / 9 sold



                                                                                                                                       Add to watchlist


                                                                                                          Shipping:                Free Economy Shipping. See details
                                                                                                                                   Located in: Ontario, California, United
                                                                                                                                   States
  Have one to sell? Sell now
                                                                                                          Delivery:                Estimated between Tue, Jan 2 and Sat,
                                                                                                                                   Jan 6 to 33166

                                                                                                          Returns:                 30 days returns. Buyer pays for return
                                                                                                                                   shipping. See details

                                                                                                          Payments:




                                                                                                                                   *No Interest if paid in full in 6 months on
                                                                                                                                   $99+. See terms and apply now

                                                                                                                                               Earn up to 5x points when you
                                                                                                                                               use your eBay Mastercard®.
                                                                                                                                               Learn more



                                                                                                          Shop with confidence

                                                                                                                  eBay Money Back Guarantee
                                                                                                                  Get the item you ordered or your money
                                                                                                                  back. Learn more



     About this item         Shipping, returns, and payments                                                                                                  Report this item




    Seller assumes all responsibility for this listing.                                                                               eBay item number: 175593833327


https://www.ebay.com/itm/175593833327?hash=item28e235436f:g:P04AAOSwvFpjExye&amdata=enc%3AAQAIAAAA4OvHU8A2pwnLG2gG47fi%2F…                                                        1/3
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                 Defendant No.: 38

                        Store Name:
                           yul018

                            Platform:
                              Ebay




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          11:47 AM                         Document 10-1 Entered  on |FLSD
                                                               yul018         Docket 12/28/2023 Page 177 of
                                                                      eBay Stores
                                                          360                                                        11
 Hi Roberto!            Daily Deals     Brand Outlet    Gift Cards    Help & Sell
                                                                             ContactWatchlist     My eBay



                           Categories                Search for anyth       All Categories                  Search




                            yul018
                            98.7% positive feedback          8.5K items sold      186 followers
                                 Share             Contact       Save Seller


                 Categories                 Shop       About         Feedback                Search all 24 items



      About us

      Location:]China
      Member since:]Jul 06, 2018
      Seller:]yul018




      Top Rated Seller

      yul018 is one of eBay's most reputable sellers. Consistently delivers outstanding
      customer service Learn more




                                Do you like our store experience?




https://www.ebay.com/str/aromatherapyshop?_tab=1                                                                      1/2
12/26/23,Case    1:23-cv-24366-BB LED
          11:48 AM                 Document      10-1
                                      Glass 360 Photo BoothEntered
                                                            Spin Video on FLSD
                                                                       Machine RGB Docket
                                                                                   Light Slow 12/28/2023        Page
                                                                                              Motion W/Flight Case | eBay178 of
   Hi Roberto!        Daily Deals    Brand Outlet     Gift Cards    Help & Contact          360                                   Sell         Watchlist        My eBay
                                                                                                                                                                                           11




                          Categories              Search for anything                                                             All Categories                          Search


       Back to home page        Electronics      Cameras & Photo         Camera, Drone & Photo Ac…            Other Camera & Photo Accs                                               Share


    This listing was ended by the seller on Sun, Nov 12 at 7:45 PM because the item is no longer available.



                                                                                                                      LED Glass 360 Photo Booth Spin
                                                                                                                      Video Machine RGB Light Slow
                                                                                                                      Motion W/Flight Case

                                                                                                                                  yul018 (1519)
                                                                                                                                  98.7% positive Seller's other items
                                                                                                                                  Contact seller



                                                                                                                      US $1,889.00
                                                                                                                      No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                                      Credit*



                                                                                                                      Condition: New


                                                                                                                      Size:
                                                                                                   ED                                        - Select -
                                                                                                 D
                                                                                              EN



                                                                                                                      Quantity:          1       2 available


                                                                                                                      Shipping:                Free Expedited Shipping from Greater
                                                                                                                                               China to worldwide. See details
                                                                                                                                               International shipment of items may be
                                                                                                                                               subject to customs processing and
                                                                                                                                               additional charges.
                                                                                                                                               Located in: SHENZHEN, China

  Have one to sell? Sell now                                                                                          Delivery:                     Estimated between Fri, Jan 5 and
                                                                                                                                               Fri, Jan 12 to 33166
                                                                                                                                               Includes 5 business days handling time
                                                                                                                                               after receipt of cleared payment.
                                                                                                                                               Please allow additional time if
                                                                                                                                               international delivery is subject to
                                                                                                                                               customs processing.

                                                                                                                      Returns:                 Seller does not accept returns. See
                                                                                                                                               details

                                                                                                                      Payments:




                                                                                                                                               *No Interest if paid in full in 6 months on
                                                                                                                                               $99+. See terms and apply now

                                                                                                                                                           Earn up to 5x points when you
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                                                                                                                              back. Learn more




https://www.ebay.com/itm/235093951594?hash=item36bcb1046a:g:Y44AAOSwqGxjSLLP&amdata=enc%3AAQAIAAAA4JwQ%2FR7G7C8jf9TQNryc…                                                                       1/5
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                 Defendant No.: 39

                        Store Name:
                         zenic-tech

                            Platform:
                              Ebay




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          11:49 AM                            Document 10-1 Entered  on FLSD
                                                                Zenic-Tech         Docket 12/28/2023 Page 181 of
                                                                           | eBay Stores
                                                             360                                                                               11
 Hi Roberto!             Daily Deals        Brand Outlet   Gift Cards      Help & Sell
                                                                                  ContactWatchlist            My eBay



                            Categories                Search for anyth            All Categories                            Search




          The seller is away until Thu, Jan 18, 2024. Expect a delay in delivery until they return.




                             Zenic-Tech
                             98.7% positive feedback              676K items sold          5.9K followers
                                  Share            Contact            Save Seller


       Shop         Sale        About           Feedback                    Search all items



       Sale items




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https://www.ebay.com/str/zenictech?_tab=1                                                                                                          1/1
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          11:50 AM                                   Document
                                                      360 Photo Booth10-1     Entered
                                                                       Automatic          onSelfie
                                                                                 Slow Motion FLSD  VideoDocket    12/28/2023
                                                                                                        Rotating Platform for WeddingPage
                                                                                                                                     | eBay 182 of
  Hi Roberto!        Daily Deals   Brand Outlet    Gift Cards Help & Contact     360                             Sell  Watchlist   My eBay
                                                                                                                                                                            11




                         Categories            Search for anything                                                      All Categories                     Search


      Back to home page       Electronics     Cameras & Photo         Camera, Drone & Photo Ac…     Other Camera & Photo Accs                      Share   Add to Watchlist

      The seller is away until Jan 18, 2024. Add this item to your watchlist to keep track of it.


                                                                                                            360 Photo Booth Automatic Slow
                                                                                                            Motion Selfie Video Rotating
                                                                                                            Platform for Wedding

                                                                                                                        Zenic-Tech (120115)
                                                                                                                        98.7% positive Seller's other items
                                                                                                                        Contact seller



                                                                                                            US $1,404.99
                                                                                                            No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                            Credit*



                                                                                                            Condition: New


                                                                                                            Size:              - Select -



                                                                                                            Quantity:      1       10 available



                                                                                                                                       Add to cart


                                                                                                                                     Add to watchlist



  Have one to sell? Sell now
                                                                                                                        Breathe easy. Free shipping and returns.



                                                                                                            Shipping:            Free Standard Shipping. See details
                                                                                                                                 Located in: Philadelphia, Pennsylvania,
                                                                                                                                 United States

                                                                                                            Delivery:              Estimated between Sat, Jan 20 and
                                                                                                                                 Wed, Jan 24 to 33166
                                                                                                                                 Please note the delivery estimate is
                                                                                                                                 greater than 19 business days.

                                                                                                            Returns:             30 days returns. Seller pays for return
                                                                                                                                 shipping. See details

                                                                                                            Payments:




                                                                                                                                 *No Interest if paid in full in 6 months on
                                                                                                                                 $99+. See terms and apply now

                                                                                                                                            Earn up to 5x points when you
                                                                                                                                            use your eBay Mastercard®.
                                                                                                                                            Learn more



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                                                                                                                    Top Rated Plus



https://www.ebay.com/itm/304892482105?hash=item46fd021239:g:OocAAOSwS3pkOQKf&amdata=enc%3AAQAIAAAA4Dn9N0mDLFh3Njd9lR3Twy…                                                        1/5
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                 Defendant No.: 40

                      Store Name:
                     zhlangxun18516

                            Platform:
                              Ebay




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                                                           zhlangxun18516 | eBayDocket
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 Hi Roberto!            Daily Deals     Brand Outlet   Gift Cards    Help & Sell
                                                                            ContactWatchlist     My eBay



                           Categories              Search for anyth        All Categories                  Search




                            zhlangxun18516
                            97.3% positive feedback         13K items sold      499 followers
                                 Share           Contact        Save Seller


                 Categories                 Shop       About        Feedback                Search all 584 items



      About us
      We are an emerging young brand of auto parts, we also sell home and garden products, and other
      products we need in our life. We have excellent operation team, purchasing and customer service
      team. We are committed to providing our customers with quality and inexpensive products and
      services to make their lives better.

      Location:]China
      Member since:]May 18, 2018
      Seller:]zhlangxun18516




      Top Rated Seller

      zhlangxun18516 is one of eBay's most reputable sellers. Consistently delivers
      outstanding customer service Learn more




https://www.ebay.com/str/zhlangxun18516?_tab=1                                                                       1/2
12/26/23,Case    1:23-cv-24366-BB
          11:59 AM                                Document
                                                     360 Photo Booth10-1    Entered
                                                                      Video Motion       onPlatform
                                                                                   Rotating  FLSDAutomatic
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                                                                                                           Motorized Selfie Party |Page
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   Hi Roberto!     Daily Deals   Brand Outlet   Gift Cards  Help & Contact     360                          Sell  Watchlist     My eBay



                      Categories            Search for anything                                              All Categories                     Search


       Back to home page    Electronics    Cameras & Photo   Camera, Drone & Photo Ac…   Other Camera & Photo Accs                      Share   Add to Watchlist


                                                                                                 360 Photo Booth Video Motion
                                                                                                 Rotating Platform Automatic
                                                                                                 Motorized Selfie Party

                                                                                                             zhlangxun18516 (2170)
                                                                                                             97.3% positive Seller's other items
                                                                                                             Contact seller



                                                                                                 US $1,599.00
                                                                                                 No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                 Credit*



                                                                                                 Condition: New


                                                                                                 Size:              - Select -



                                                                                                 Quantity:      1       Last One / 1 sold



                                                                                                                              Buy It Now


                                                                                                                            Add to cart


                                                                                                                          Add to watchlist
  Have one to sell? Sell now



                                                                                                             Breathe easy. Returns accepted.



                                                                                                 Shipping:            Free Standard Shipping. See details
                                                                                                                      Located in: El Monte, California, United
                                                                                                                      States

                                                                                                 Delivery:            Estimated between Tue, Jan 2 and Sat,
                                                                                                                      Jan 6 to 33166

                                                                                                 Returns:             30 days returns. Buyer pays for return
                                                                                                                      shipping. See details

                                                                                                 Payments:




                                                                                                                      *No Interest if paid in full in 6 months on
                                                                                                                      $99+. See terms and apply now

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                                                                                                                                 use your eBay Mastercard®.
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                                                                                                         eBay Money Back Guarantee
                                                                                                         Get the item you ordered or your money
                                                                                                         back. Learn more


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          12:00 PM                         Document 10-1 EnteredCheckout
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                                                                    How do you like our checkout?]Give us feedback
                          Checkout


             New! You can split payment for this purchase across two cards.




      Pay with           Split payment between two cards                 Subtotal (1 item)                    $1,699.00
                                                                         Shipping                                  Free
           You can split your payment for this order. Add Card           Tax*                                   $118.93



                       x-6789 Expired                                    Order total                         $1,817.93

                                                                           By placing your order, you agree to eBay's
                                                                           User Agreement and Privacy Notice.]
              Add new card
                                                                           *We're required by law to collect sales tax
                                                                           and applicable fees for certain tax
                                                                           authorities. Learn more]


                       PayPal
                                                                                       Pay with PayPal


                       No Interest if paid in full in 6 months.                 You'll finish checkout on PayPal
                       Apply now. See terms



                                                                                          See details
      Ship to

      ENCARGA ROBERTO ROMERO
      8611 NW 72nd St
      Doral, FL 33166-2311
      United States
      (786) 687-9611
      Change




      Review item and shipping

      Seller: ]zhlangxun18516 | Message to seller

                            360 Photo Booth Video Motion
                            Rotating Platform Automatic Motorized
                            Selfie Party
                            Size: 100cm/39.37in
                            $1,699.00
                            Quantity 1



https://pay.ebay.com/rxo?action=view&sessionid=2117886006011                                                              1/2
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                                                                         | eBay
                            Delivery                      360
                            Est. delivery: Jan 2 – Jan 6
                            Standard Shipping
                            Free



      Gift cards, coupons, eBay Bucks



         Enter code:                                     Apply




      Donate to charity (optional)

      The Skatepark Project
      Join The Skatepark Project in helping underserved
      communities create safe and inclusive public skateparks
      for youth. PayPal Giving Fund (PPGF) receives your
      donation and grants 100% to a charity no later than 30
      days after the end of the month in which the donation is
      made. Donations are non-refundable and typically tax
      deductible. PPGF may be unable to grant funds to a
      charity if the charity has lost tax exempt status, has
      closed, or no longer accepts funds from PPGF.


      Select amount           None




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https://pay.ebay.com/rxo?action=view&sessionid=2117886006011                                                                      2/2
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                 Defendant No.: 41

                        Store Name:
                         zl2021luck

                            Platform:
                              Ebay




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                                                            360                                                                            2
Hi (Sign in)      Daily Deals     Brand Outlet    Help & Contact                     Sell    Watchlist         My eBay


                            Shop by
                            category                 Search for anythin            All Categories                           Search




                             zl2021luck
                             97.9% positi…          3.8K it…       135 f…              Share             Contact             Save Seller




                  Categories                 Shop         About          Feedback                       Search all 57 items



       About us

       Location:]China
       Member since:]Jan 23, 2021
       Seller:]zl2021luck




                                 Do you like our store experience?




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https://www.ebay.com/str/zl2021luck?_tab=1                                                                                                 1/1
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                                                          42.3in 360 Photo  Booth Entered    on FLSD
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                                                                                                                                                                       11




                          Categories             Search for anything                                               All Categories                     Search


      Back to home page         Electronics     Cameras & Photo    Camera, Drone & Photo Ac…   Other Camera & Photo Accs                    Share    Add to Watchlist

       This item is out of stock.


                                                                                                       42.3in 360 Photo Booth Machine
                                                                                                       Automatic Video Seflie Platform
                                                                                                       w/CASE USED

                                                                                                                   zl-8868luck (148)
                                                                                                                   98.4% positive Seller's other items
                                                                                                                   Contact seller



                                                                                                       US $1,150.00
                                                                                                       or Best Offer

                                                                                                       No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                       Credit*



                                                                                                       Condition: Used
                                                                                                       “This product is used, but is still in good condition and
                                                                                                       can be used normally.”


                                                                                                       Quantity:       1     Out of Stock / 3 sold



                                                                                                                               Add to watchlist


                                                                                                       Shipping:           Free Standard Shipping. See details
                                                                                                                           Located in: Chino, California, United
                                                                                                                           States
  Have one to sell? Sell now
                                                                                                       Delivery:           Estimated between Sat, Dec 30 and Fri,
                                                                                                                           Jan 5 to 33166

                                                                                                       Returns:            30 days returns. Buyer pays for return
                                                                                                                           shipping. See details

                                                                                                       Payments:




                                                                                                                           *No Interest if paid in full in 6 months on
                                                                                                                           $99+. See terms and apply now

                                                                                                                                    Earn up to 5x points when you
                                                                                                                                    use your eBay Mastercard®.
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                                                                                                            Get the item you ordered or your money
                                                                                                            back. Learn more



    About this item         Shipping, returns, and payments                                                                                         Report this item




    Seller assumes all responsibility for this listing.                                                                       eBay item number: 175743632963


https://www.ebay.com/itm/175743632963?hash=item28eb230643:g:ugEAAOSwmP1kXEap&amdata=enc%3AAQAIAAAAwGoOPoRQG9A7GyuR5ZU…                                                      1/6
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                 Defendant No.: 42

                        Store Name:
                         zl-8868luck

                            Platform:
                              Ebay




  23-cv-24366
12/5/23, Case
         4:40 PM 1:23-cv-24366-BB            Document 10-1 Entered   on FLSD
                                                               zl-8868luck          Docket 12/28/2023 Page 195 of
                                                                           | eBay Stores
                                                            360                                                                            2
Hi (Sign in)      Daily Deals     Brand Outlet    Help & Contact                     Sell    Watchlist         My eBay


                            Shop by
                            category                 Search for anythin            All Categories                           Search




                             zl-8868luck
                             98.3% positi…          894 ite…       51 fol…             Share             Contact             Save Seller




                  Categories                 Shop         About          Feedback                       Search all 67 items



       About us

       Location:]China
       Member since:]Jan 23, 2021
       Seller:]zl-8868luck




                                 Do you like our store experience?




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https://www.ebay.com/str/zl8868luck?_tab=1                                                                                                 1/1
12/5/23, Case
         4:47 PM 1:23-cv-24366-BB 360
                                   Document       10-1Booth
                                      Photo Booth Video Entered      on FLSD
                                                            Platform Automatic     Docket
                                                                               Spinner        12/28/2023
                                                                                       Motorized Wedding 26.8IN Page
                                                                                                                | eBay 196 of
  Hi (Sign in)   Daily Deals   Brand Outlet   Help & Contact                       360                       Sell    Watchlist      My eBay
                                                                                                                                                               2



                           Shop by
                           category               Search for anything                                       All Categories                    Search


       Back to previous page        Electronics     Cameras & Photo     Other Cameras & Photo                                         Share   Add to Watchlist


                                                                                                360 Photo Booth Video Booth
                                                                                                Platform Automatic Spinner
                                                                                                Motorized Wedding 26.8IN

                                                                                                            zl-8868luck (139)
                                                                                                            98.3% positive Seller's other items
                                                                                                            Contact seller



                                                                                                US $850.00
                                                                                                or Best Offer

                                                                                                No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                Credit*



                                                                                                Condition: New


                                                                                                Quantity:       1     3 available



                                                                                                                             Buy It Now


                                                                                                                             Add to cart


                                                                                                                             Make offer


  Have one to sell? Sell now                                                                                            Add to watchlist



                                                                                                            Breathe easy. Returns accepted.



                                                                                                Shipping:           Free Standard Shipping. See details
                                                                                                                    Located in: Los Angeles, California,
                                                                                                                    United States

                                                                                                Delivery:           Estimated between Sat, Dec 9 and Thu,
                                                                                                                    Dec 14 to 33142

                                                                                                Returns:            14 days returns. Buyer pays for return
                                                                                                                    shipping. See details

                                                                                                Payments:




                                                                                                                    *No Interest if paid in full in 6 months on
                                                                                                                    $99+. See terms and apply now

                                                                                                                               Earn up to 5x points when you
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https://www.ebay.com/itm/175950947920?hash=item28f77e6650:g:pNIAAOSwWcFkpiJy                                                                                       1/5
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                                     360




                 Defendant No.: 43

                      Store Name:
                     sunshine1001ye

                            Platform:
                              Ebay




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          12:07 PM                            Document 10-1 Entered  on FLSD
                                                               sunshine1001 | eBay Docket
                                                                                   Stores 12/28/2023 Page 198 of
                                                             360                                                        11
 Hi Roberto!             Daily Deals        Brand Outlet   Gift Cards    Help & Sell
                                                                                ContactWatchlist     My eBay



                            Categories                Search for anyth         All Categories                  Search




                             sunshine1001
                             98.5% positive feedback            2.3K items sold      100 followers
                                  Share            Contact          Save Seller


                  Categories                   Shop        About        Feedback                Search all 126 items



       About us

       Location:]China
       Member since:]Sep 29, 2019
       Seller:]sunshine1001ye




       Top Rated Seller

       sunshine1001 is one of eBay's most reputable sellers. Consistently delivers outstanding
       customer service Learn more




                                 Do you like our store experience?




https://www.ebay.com/str/radioship?_tab=1                                                                                1/2
12/26/23,Case   1:23-cv-24366-BB 360
          1:00 PM                 Document
                                     Photo Booth 10-1     Entered
                                                 Platform Video Cameraon FLSD
                                                                       Booth       Docket
                                                                             Motorized      12/28/2023
                                                                                       Automatic Platform SpinnerPage
                                                                                                                  | eBay 199 of
   Hi Roberto!      Daily Deals   Brand Outlet   Gift Cards   Help & Contact    360                               Sell   Watchlist        My eBay



                       Categories            Search for anything                                                  All Categories                      Search


       Back to home page     Electronics    Cameras & Photo       Camera, Drone & Photo Ac…   Other Camera & Photo Accs                     Share    Add to Watchlist


                                                                                                      360 Photo Booth Platform Video
                                                                                                      Camera Booth Motorized
                                                                                                      Automatic Platform Spinner

                                                                                                                  sunshine1001 (400)
                                                                                                                  98.5% positive Seller's other items
                                                                                                                  Contact seller



                                                                                                      US $809.09
                                                                                                      or Best Offer

                                                                                                      No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                      Credit*



                                                                                                      Condition: New


                                                                                                                                   Buy It Now


                                                                                                                               Add to cart


                                                                                                                                   Make offer


                                                                                                                              Add to watchlist


   Have one to sell? Sell now
                                                                                                                  Breathe easy. Returns accepted.



                                                                                                      Shipping:          Free Standard Shipping. See details
                                                                                                                         Located in: New Jersey Los Angeles
                                                                                                                         Atlanta, United States

                                                                                                      Delivery:          Estimated between Sat, Dec 30 and Fri,
                                                                                                                         Jan 5 to 33166

                                                                                                      Returns:           30 days returns. Buyer pays for return
                                                                                                                         shipping. See details

                                                                                                      Payments:




                                                                                                                         *No Interest if paid in full in 6 months on
                                                                                                                         $99+. See terms and apply now

                                                                                                                                     Earn up to 5x points when you
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                                                                                                           eBay Money Back Guarantee
                                                                                                           Get the item you ordered or your money
                                                                                                           back. Learn more




                                                                                                                                                    Report this item
https://www.ebay.com/itm/354555235255                                                                                                                                   1/3
12/26/23,Case   1:23-cv-24366-BB
          1:01 PM                          Document 10-1 EnteredCheckout
                                                                 on FLSD | eBayDocket 12/28/2023 Page 200 of
                                                          360
                                                                    How do you like our checkout?]Give us feedback
                          Checkout


             New! You can split payment for this purchase across two cards.




      Pay with           Split payment between two cards                 Subtotal (1 item)                     $809.09
                                                                         Shipping                                  Free
           You can split your payment for this order. Add Card           Tax*                                   $56.64



                       x-6789 Expired                                    Order total                         $865.73

                                                                           By placing your order, you agree to eBay's
                                                                           User Agreement and Privacy Notice.]
              Add new card
                                                                           *We're required by law to collect sales tax
                                                                           and applicable fees for certain tax
                                                                           authorities. Learn more]


                       PayPal
                                                                                       Pay with PayPal


                       No Interest if paid in full in 6 months.                 You'll finish checkout on PayPal
                       Apply now. See terms



                       Google Pay                                                         See details




      Ship to

      ENCARGA ROBERTO ROMERO
      8611 NW 72nd St
      Doral, FL 33166-2311
      United States
      (786) 687-9611
      Change




      Review item and shipping

      Seller: ]sunshine1001ye | Message to seller

                            360 Photo Booth Platform Video
                            Camera Booth Motorized Automatic
                            Platform Spinner

                            $809.09

https://pay.ebay.com/rxo?action=view&sessionid=2117916415011                                                              1/2
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          1:01 PM                      Document 10-1 EnteredCheckout
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                            Quantity 1                360


                            Delivery
                            Est. delivery: Dec 30 – Jan 5
                            FedEx Ground or FedEx Home
                            Delivery
                            Free




      Gift cards, coupons, eBay Bucks



         Enter code:                                     Apply




      Donate to charity (optional)

      The Skatepark Project
      Join The Skatepark Project in helping underserved
      communities create safe and inclusive public skateparks
      for youth. PayPal Giving Fund (PPGF) receives your
      donation and grants 100% to a charity no later than 30
      days after the end of the month in which the donation is
      made. Donations are non-refundable and typically tax
      deductible. PPGF may be unable to grant funds to a
      charity if the charity has lost tax exempt status, has
      closed, or no longer accepts funds from PPGF.


      Select amount           None




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                 Defendant No.: 44

                        Store Name:
                         venoromall

                            Platform:
                              Ebay




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          1:02 PM                                               Document 10-1 Entered Venoroon
                                                                                             MallFLSD     Docket 12/28/2023 Page 204 of
                                                                                                  | eBay Stores
 Hi Roberto!           Daily Deals     Brand Outlet       Gift Cards Help & Contact 360                          Sell Watchlist My eBay



                           Categories                 Search for anything                                                                                  All Categories                  Search




                           Venoro Mall
                           98% positive feedback              149K items sold           2.2K followers                                                          Share         Contact      Save Seller




                Categories                 Shop          Sale        About          Feedback                                Search all 688 items



     Sale items




          Buy 2, get 1 at
          25% off with
          code…
          Expires March 01, 2024.
          Max discount $100.…
          Terms & Conditions



               Shop All



                                              360° Aluminum Motorcycle                 For iPhone 12 Pro/12 Pro                  10W Qi Wireless Charger                For iPhone 12/12 Pro/11 Pro   W
                                              Bike Bicycle GPS Cell                    Max Hybrid Defender Case                  Fast Charging Pad Mat For              Max Case Shockproof           C
                                              Phone Holder Handlebar…                  Shockproof Cover + Belt…                  iPhone 14/13/12 Pro…                   Hybrid Silicone Armor Har…    G

                                              $9.95                                    $16.99                                    $15.99                                 $9.99                         $




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https://www.ebay.com/str/venoromall?_tab=1                                                                                                                                                                1/2
12/26/23,Case   1:23-cv-24366-BB
          1:03 PM                                 Document         10-1
                                                     360 Photo Booth         Entered
                                                                      Rotating          onSelfie
                                                                               Video Booth  FLSD       Docket
                                                                                                 Platform        12/28/2023
                                                                                                          Automatic                  Page 205 of
                                                                                                                    Spin Motorized | eBay
  Hi Roberto!      Daily Deals   Brand Outlet   Gift Cards Help & Contact      360                             Sell  Watchlist    My eBay
                                                                                                                                                                   11




                      Categories            Search for anything                                               All Categories                       Search


      Back to home page     Electronics    Cameras & Photo    Camera, Drone & Photo Ac…   Other Camera & Photo Accs                       Share   Add to Watchlist


                                                                                                  360 Photo Booth Rotating Video
                                                                                                  Booth Selfie Platform Automatic
                                                                                                  Spin Motorized

                                                                                                              Venoro Mall (27918)
                                                                                                              98% positive Seller's other items
                                                                                                              Contact seller



                                                                                                  US $1,399.88
                                                                                                  No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                  Credit*



                                                                                                  Condition: New


                                                                                                  Size:               - Select -



                                                                                                  Quantity:       1       More than 10 available



                                                                                                                               Buy It Now


                                                                                                                              Add to cart


                                                                                                                            Add to watchlist
  Have one to sell? Sell now



                                                                                                              Breathe easy. Free shipping and returns.



                                                                                                  Shipping:             Free Standard Shipping. See details
                                                                                                                        Located in: Philadelphia, Pennsylvania,
                                                                                                                        United States

                                                                                                  Delivery:             Estimated between Fri, Dec 29 and Tue,
                                                                                                                        Jan 2 to 33166

                                                                                                  Returns:              30 days returns. Seller pays for return
                                                                                                                        shipping. See details

                                                                                                  Payments:




                                                                                                                        *No Interest if paid in full in 6 months on
                                                                                                                        $99+. See terms and apply now

                                                                                                                                   Earn up to 5x points when you
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                                                                                                          returns. Learn more


https://www.ebay.com/itm/175722662449?hash=item28e9e30a31:g:LukAAOSwBatkI5uE&amdata=enc%3AAQAIAAAA4OQeI586UWlYDN7LSVhAoV…                                               1/5
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          1:03 PM                          Document 10-1 EnteredCheckout
                                                                 on FLSD | eBayDocket 12/28/2023 Page 206 of
                                                          360
                                                                    How do you like our checkout?]Give us feedback
                          Checkout


             New! You can split payment for this purchase across two cards.




      Pay with           Split payment between two cards                 Subtotal (1 item)                   $2,099.88
                                                                         Shipping                                  Free
           You can split your payment for this order. Add Card           Tax*                                  $146.99



                       x-6789 Expired                                    Order total                       $2,246.87

                                                                           By placing your order, you agree to eBay's
                                                                           User Agreement and Privacy Notice.]
              Add new card
                                                                           *We're required by law to collect sales tax
                                                                           and applicable fees for certain tax
                                                                           authorities. Learn more]


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                                                                                       Pay with PayPal


                       No Interest if paid in full in 6 months.                 You'll finish checkout on PayPal
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                       Google Pay                                                         See details




      Ship to

      ENCARGA ROBERTO ROMERO
      8611 NW 72nd St
      Doral, FL 33166-2311
      United States
      (786) 687-9611
      Change




      Review item and shipping

      Seller: ]venoromall | Message to seller

                            360 Photo Booth Rotating Video Booth
                            Selfie Platform Automatic Spin
                            Motorized
                            Size: 45.28"/115cm


https://pay.ebay.com/rxo?action=view&sessionid=2117917519011                                                              1/2
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                            $2,099.88                360

                               Quantity
                               1



                            Delivery

                                   Est. delivery: Dec 29 – Jan 2
                                   Standard Shipping
                                   Free

                                   Est. delivery: Dec 28 – Dec 30
                                   Expedited Shipping
                                   $19.99




      Gift cards, coupons, eBay Bucks



         Enter code:                                     Apply




      Donate to charity (optional)

      The Skatepark Project
      Join The Skatepark Project in helping underserved
      communities create safe and inclusive public skateparks
      for youth. PayPal Giving Fund (PPGF) receives your
      donation and grants 100% to a charity no later than 30
      days after the end of the month in which the donation is
      made. Donations are non-refundable and typically tax
      deductible. PPGF may be unable to grant funds to a
      charity if the charity has lost tax exempt status, has
      closed, or no longer accepts funds from PPGF.


      Select amount           None




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                                     360




                 Defendant No.: 45

                        Store Name:
                         wainyjf97

                            Platform:
                              Ebay




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          1:07 PM                                 Document         10-1
                                                     360 Photo Booth         Entered
                                                                      Rotating          onSelfie
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                                                                                                 Platform        12/28/2023
                                                                                                          Automatic                  Page 210 of
                                                                                                                    Spin Motorized | eBay
   Hi Roberto!     Daily Deals   Brand Outlet   Gift Cards Help & Contact      360                             Sell  Watchlist    My eBay
                                                                                                                                                                  11




                      Categories            Search for anything                                               All Categories                     Search


       Back to home page    Electronics    Cameras & Photo    Camera, Drone & Photo Ac…   Other Camera & Photo Accs                      Share   Add to Watchlist


                                                                                                  360 Photo Booth Rotating Video
                                                                                                  Booth Selfie Platform Automatic
                                                                                                  Spin Motorized

                                                                                                              wainyjf97 (193)
                                                                                                              98.5% positive Seller's other items
                                                                                                              Contact seller



                                                                                                  US $1,299.00
                                                                                                  No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                  Credit*



                                                                                                  Condition: New


                                                                                                  Size:              - Select -


                                                                                                  Box:               - Select -



                                                                                                  Quantity:      1       Last One



                                                                                                                               Buy It Now


                                                                                                                             Add to cart
  Have one to sell? Sell now


                                                                                                                           Add to watchlist



                                                                                                              Breathe easy. Free shipping and returns.



                                                                                                  Shipping:            Free Standard Shipping. See details
                                                                                                                       Located in: El Monte, California, United
                                                                                                                       States

                                                                                                  Delivery:            Estimated between Sat, Dec 30 and Fri,
                                                                                                                       Jan 5 to 33166

                                                                                                  Returns:             30 days returns. Seller pays for return
                                                                                                                       shipping. See details

                                                                                                  Payments:




                                                                                                                       *No Interest if paid in full in 6 months on
                                                                                                                       $99+. See terms and apply now

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          1:07 PM                          Document 10-1 EnteredCheckout
                                                                 on FLSD | eBayDocket 12/28/2023 Page 211 of
                                                          360
                                                                    How do you like our checkout?]Give us feedback
                          Checkout


             New! You can split payment for this purchase across two cards.




      Pay with           Split payment between two cards                 Subtotal (1 item)                   $1,599.00
                                                                         Shipping                                  Free
           You can split your payment for this order. Add Card           Tax*                                    $111.93



                       x-6789 Expired                                    Order total                        $1,710.93

                                                                           By placing your order, you agree to eBay's
                                                                           User Agreement and Privacy Notice.]
              Add new card
                                                                           *We're required by law to collect sales tax
                                                                           and applicable fees for certain tax
                                                                           authorities. Learn more]


                       PayPal
                                                                                       Pay with PayPal


                       No Interest if paid in full in 6 months.                 You'll finish checkout on PayPal
                       Apply now. See terms



                       Google Pay                                                         See details




      Ship to

      ENCARGA ROBERTO ROMERO
      8611 NW 72nd St
      Doral, FL 33166-2311
      United States
      (786) 687-9611
      Change




      Review item and shipping

      Seller: ]wainyjf97 | Message to seller

                            360 Photo Booth Rotating Video Booth
                            Selfie Platform Automatic Spin
                            Motorized
                            Size: 100cm/39.37in, Box: Flight


https://pay.ebay.com/rxo?action=view&sessionid=2117919393011                                                               1/2
12/26/23,Case   1:23-cv-24366-BB
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                            $1,599.00                360
                            Quantity 1


                            Delivery

                                   Est. delivery: Dec 30 – Jan 5
                                   Standard Shipping
                                   Free

                                   Est. delivery: Jan 3 – Jan 8
                                   UPS Surepost
                                   Free




      Gift cards, coupons, eBay Bucks



         Enter code:                                     Apply




      Donate to charity (optional)

      The Skatepark Project
      Join The Skatepark Project in helping underserved
      communities create safe and inclusive public skateparks
      for youth. PayPal Giving Fund (PPGF) receives your
      donation and grants 100% to a charity no later than 30
      days after the end of the month in which the donation is
      made. Donations are non-refundable and typically tax
      deductible. PPGF may be unable to grant funds to a
      charity if the charity has lost tax exempt status, has
      closed, or no longer accepts funds from PPGF.


      Select amount           None




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                 Defendant No.: 46

                        Store Name:
                        wuhan202088

                            Platform:
                              Ebay




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                                                            wuhan202088        Docket 12/28/2023 Page 215 of
                                                                        | eBay Stores
                                                          360                                                                                  11
 Hi Roberto!            Daily Deals     Brand Outlet       Gift Cards      Help & Sell
                                                                                  ContactWatchlist            My eBay



                           Categories                Search for anyth             All Categories                            Search




                            wuhan202088
                            100% positive feedback               239 items sold         13 followers
                                 Share            Contact             Save Seller


                 Categories                   Shop        About          Feedback                       Search all 32 items



      About us

      Location:]China
      Member since:]Jul 14, 2022
      Seller:]wuhan202088




                                Do you like our store experience?




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https://www.ebay.com/str/wuhan202088?_tab=1                                                                                                        1/1
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          1:09 PM                                      Document         10-1
                                                           80cm 360 Photo   BoothEntered
                                                                                 Video Boothon   FLSD
                                                                                             Platform      Docket
                                                                                                      Selfie Automatic12/28/2023         Page 216 of
                                                                                                                       Spinner, Brand | eBay
  Hi Roberto!         Daily Deals    Brand Outlet    Gift Cards Help & Contact     360                             Sell   Watchlist     My eBay
                                                                                                                                                                                 11




                          Categories             Search for anything                                                           All Categories                   Search


      Back to home page         Electronics     Cameras & Photo         Other Cameras & Photo                                                                               Share


   This listing was ended by the seller on Tue, Oct 17 at 5:12 AM because the item is no longer available.



                                                                                                                   80cm 360 Photo Booth Video
                                                                                                                   Booth Platform Selfie Automatic
                                                                                                                   Spinner, Brand

                                                                                                                               wuhan202088 (45)
                                                                                                                               100% positive Seller's other items
                                                                                                                               Contact seller



                                                                                                                   US $1,258.00
                                                                                                                   or Best Offer

                                                                                                                   No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                                   Credit*



                                                                                                                   Condition: Open box
                                                                                                   ED
                                                                                                                   Shipping:          Free Standard Shipping. See details
                                                                                                 D
                                                                                             EN


                                                                                                                                      Located in: Los Angeles, California,
                                                                                                                                      United States

                                                                                                                   Delivery:          Estimated between Tue, Jan 2 and Sat,
                                                                                                                                      Jan 6 to 33166

                                                                                                                   Returns:           30 days returns. Buyer pays for return
                                                                                                                                      shipping. See details

                                                                                                                  Payments:

  Have one to sell? Sell now



                                                                                                                                      *No Interest if paid in full in 6 months on
                                                                                                                                      $99+. See terms and apply now

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                                                                                                                                                use your eBay Mastercard®.
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                                                                                                                        Get the item you ordered or your money
                                                                                                                        back. Learn more



    About this item         Shipping, returns, and payments                                                                                                   Report this item




    Seller assumes all responsibility for this listing.                                                                                 eBay item number: 404458341314



    Item specifics
    Condition                                                                    Open box: An item in excellent, new condition with no wear. The item may be missing
                                                                                 the original ... Read more
    Brand                                                                        Unbranded


https://www.ebay.com/itm/404458341314?hash=item5e2b9883c2:g:hp0AAOSwTzlkNEWo&amdata=enc%3AAQAIAAAAwEQjN3bwU%2F68B%2BlJ1…                                                              1/6
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                 Defendant No.: 47

                        Store Name:
                           ibayab

                            Platform:
                              Ebay




  23-cv-24366
12/26/23,Case
          1:11 PM1:23-cv-24366-BB          Document 10-1 Enteredibayab
                                                                  on FLSD
                                                                       on eBayDocket 12/28/2023 Page 219 of
                                                          360                                                                                  11
 Hi Roberto!            Daily Deals     Brand Outlet       Gift Cards      Help & Sell
                                                                                  ContactWatchlist            My eBay



                           Categories                Search for anyth             All Categories                            Search




                            ibayab
                            100% positive feedback (1)              9 items sold        1 follower                Contact            Save




                 Categories                 Shop          About          Feedback                       Search all 12 items



      About

      Location:]China
      Member since:]May 10, 2023




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https://www.ebay.com/usr/ibayab?_trksid=p4429486.m3561.l2559&_tab=1                                                                                1/1
12/26/23,Case
          1:11 PM1:23-cv-24366-BB                       Document         10-1
                                                           360 Photo Booth       Entered
                                                                           Video Rotating      on
                                                                                          Selfie 40"FLSD     Docket
                                                                                                     ĭ Light Platform   12/28/2023
                                                                                                                      Automatic             Page 220 of
                                                                                                                                Motorized | eBay
   Hi Roberto!         Daily Deals   Brand Outlet     Gift Cards Help & Contact     360                                Sell Watchlist    My eBay
                                                                                                                                                                        11




                          Categories                Search for anything                                              All Categories                    Search


       Back to home page        Electronics     Cameras & Photo     Camera, Drone & Photo Ac…   Other Camera & Photo Accs                                          Share


    This listing ended on Thu, Dec 21 at 3:35 AM.



                                                                                                         360 Photo Booth Video Rotating
                                                                                                         Selfie 40" ĭ Light Platform
                                                                                                         Automatic Motorized

                                                                                                                     ibayab (1)
                                                                                                                     100% positive Seller's other items
                                                                                                                     Contact seller



                                                                                                         US $1,799.00
                                                                                                         or Best Offer

                                                                                                         No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                         Credit*



                                                                                                         Condition: New
                                                                                        ED
                                                                                                         Quantity:       1     5 available
                                                                                      D
                                                                                    EN



                                                                                                         Shipping:           Free Standard Shipping. See details
                                                                                                                             Located in: Los Angeles, United States

                                                                                                         Delivery:           Estimated between Sat, Dec 30 and Fri,
                                                                                                                             Jan 5 to 33166

                                                                                                         Returns:            30 days returns. Buyer pays for return
                                                                                                                             shipping. See details


  Have one to sell? Sell now                                                                             Payments:




                                                                                                                             *No Interest if paid in full in 6 months on
                                                                                                                             $99+. See terms and apply now

                                                                                                                                      Earn up to 5x points when you
                                                                                                                                      use your eBay Mastercard®.
                                                                                                                                      Learn more



                                                                                                         Shop with confidence

                                                                                                              eBay Money Back Guarantee
                                                                                                              Get the item you ordered or your money
                                                                                                              back. Learn more



     About this item         Shipping, returns, and payments                                                                                         Report this item




    Seller assumes all responsibility for this listing.                                                                        eBay item number: 195835100608



    Last updated on Aug 02, 2023 08:06:25 PDT View all revisions




https://www.ebay.com/itm/195835100608?hash=item2d98ae7dc0:g:2pEAAOSwru9kktJl&amdata=enc%3AAQAIAAAA4HQwcIxZDvz%2Fc8AHng7ww…                                                   1/4
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                                     360
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                                     360




                 Defendant No.: 48

                       Store Name:
                       womeyouer77

                            Platform:
                              Ebay




  23-cv-24366
12/26/23,Case   1:23-cv-24366-BB
          1:12 PM                          Document 10-1 Entered  on Store
                                                          womeyouer77 FLSD     Docket
                                                                           | eBay Stores 12/28/2023 Page 223 of
                                                          360                                                                                  11
 Hi Roberto!            Daily Deals     Brand Outlet       Gift Cards      Help & Sell
                                                                                  ContactWatchlist            My eBay



                           Categories                Search for anyth             All Categories                            Search




                            womeyouer77 Store
                            100% positive feedback               172 items sold         8 followers
                                 Share             Contact            Save Seller


                 Categories                 Shop          About          Feedback                       Search all 154 items



      About us

      Location:]China
      Member since:]Apr 12, 2023
      Seller:]womeyouer77




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https://www.ebay.com/str/womeyouer77store?_tab=1                                                                                                   1/1
12/26/23,Case   1:23-cv-24366-BB 360
          1:13 PM                Document
                                     Photo Booth 10-1
                                                 for Video Entered   onAutomatic
                                                           Wedding Party FLSD Photobooth
                                                                                 Docket Machine
                                                                                         12/28/2023
                                                                                                w/ RemotePage
                                                                                                         | eBay 224 of
   Hi Roberto!         Daily Deals   Brand Outlet    Gift Cards    Help & Contact         360                                 Sell       Watchlist        My eBay



                          Categories             Search for anything                                                          All Categories                          Search


       Back to home page        Electronics     Cameras & Photo         Camera, Drone & Photo Ac…         Other Camera & Photo Accs                                             Share


    This listing was ended by the seller on Mon, Oct 16 at 8:02 PM because the item was lost or broken.



                                                                                                                  360 Photo Booth for Video
                                                                                                                  Wedding Party Automatic
                                                                                                                  Photobooth Machine w/ Remote

                                                                                                                              womeyouer77 (41)
                                                                                                                              100% positive Seller's other items
                                                                                                                              Contact seller



                                                                                                                  US $998.00
                                                                                                                  or Best Offer

                                                                                                                  No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                                  Credit*



                                                                                                                  Condition: New
                                                                                                  ED
                                                                                                                  Quantity:          1     10 available
                                                                                                D
                                                                                            EN



                                                                                                                  Shipping:              Free Standard Shipping. See details
                                                                                                                                         Located in: Los Angeles, New Jersey,
                                                                                                                                         Atlanta, United States

                                                                                                                  Delivery:              Estimated between Sat, Dec 30 and Fri,
                                                                                                                                         Jan 5 to 33166

                                                                                                                  Returns:               30 days returns. Buyer pays for return
                                                                                                                                         shipping. See details
  Have one to sell? Sell now
                                                                                                                  Payments:




                                                                                                                                         *No Interest if paid in full in 6 months on
                                                                                                                                         $99+. See terms and apply now

                                                                                                                                                     Earn up to 5x points when you
                                                                                                                                                     use your eBay Mastercard®.
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                                                                                                                  Shop with confidence

                                                                                                                       eBay Money Back Guarantee
                                                                                                                       Get the item you ordered or your money
                                                                                                                       back. Learn more



     About this item         Shipping, returns, and payments                                                                                                        Report this item




    Seller assumes all responsibility for this listing.                                                                                    eBay item number: 354980343571



    Last updated on Oct 11, 2023 02:04:08 PDT View all revisions




https://www.ebay.com/itm/354980343571?hash=item52a67a2f13:g:rZcAAOSwNFxkkBY~&amdata=enc%3AAQAIAAAA4NcJJLXeyrkckRHjXqZWwZi…                                                              1/3
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                                     360




                 Defendant No.: 49

                        Store Name:
                          360SPB

                            Platform:
                              Ebay




  23-cv-24366
12/8/23, Case
         10:42 AM1:23-cv-24366-BB              Document 10-1 Amazon.com
                                                              EnteredSeller
                                                                        on FLSD       Docket
                                                                            Profile: 360SPB     12/28/2023 Page 227 of
                                                                                            Direct
                                                                360

     360SPB Direct
     Visit the 360SPB Direct storefront

     Just launched      No feedback yet




     About Seller                                                                                             Have a question for 360SPB Direct?

     360SPB Direct is committed to providing each customer with the highest standard of customer                    Ask a question
     service.




     Return & Refund Policies
     To get information about the Return and Refund policies that may apply, please refer to Amazon’s Return and Refund policy.

     To initiate a return, visit Amazon's Online Return Center to request a return authorization from the seller.

     For any issues with your return, if the product was shipped by the seller, you can get help here.




     Amazon's A-to-z Guarantee
     The Amazon A-to-z Guarantee protects you when you purchase items sold and fulžlled by a third party seller. Our guarantee covers both the
     timely delivery and the condition of your items. If either are unsatisfactory, you can report the problem to us and our team will determine if you
     are eligible for a refund.

     See full details




     Detailed Seller Information
     Business Name: Shenzhen Ying Zhi Xing Ke Ji You Xian Gong Si
     Business Address:
       ௛ँ੪ଳՠࡊՍ॑Ԛআ֚ٗЏԚ
       A3՚17㯈609
       ࢋⴽ١
       Ұ‫ޢ‬Ԛ
       ‫ٺ‬Б
       518106
       CN




     Shipping Policies

     Other Policies

     Help



     Products
     See all products currently oŽered by the seller.



                                                                     Leave seller feedback




https://www.amazon.com/sp?ie=UTF8&seller=A3LB888UF9DQ7R                                                                                                   2/4
12/8/23, Case
         10:42 AM1:23-cv-24366-BB      Document
                       Amazon.com: 360SPB             10-1
                                          360 Photo Booth     Entered
                                                          Machine           on People
                                                                  31.5" for 1-3 FLSD    Docket
                                                                                      CM3 Automatic12/28/2023       Page
                                                                                                    Manual Spin 360 Video   228
                                                                                                                          Booth   of for P…
                                                                                                                                80cm
                                                                                     360
  Skip to main content
                           Deliver to ENCARGA
                                                  All      Search Amazon
                                                                                                                          Hello, Roberto            Returns        0
                           Doral 33166                                                                               EN   Account & Lists           & Orders


    All    Holiday Deals       Medical Care      Buy Again     Prime Video       Customer Service          Coupons                          Save up to 45% oŽ gifts




 Customers who viewed this item also viewed
                           HOGSITY 360 Photo Booth                                     GSKAIWEN 180 LED Light                                 360 Photo Booth
                           Machine for Parties,31.5"                                   Photography Studio LED                                 26.8inch PRO with APP
                           for 2-4 PPL,LED Lights No                                   Lighting Kit Adjustable                                Control, RGB Ring Light,
                           Need                                                        Light with Light Stand                                 Remote Control,
                                          22                                                             1,913                                                36
                           $   94900                                                   $   8990                                               $   79800
  Electronics › Camera & Photo › Lighting & Studio › Lighting › Booms & Stands


                                                                       360SPB 360 Photo Booth
                                                                       Machine 31.5" for 1-3
                                                                                                                            $
                                                                                                                                99900
                                                                                                                            FREE delivery December 21 -
                                                                       People CM3 Automatic                                 28. Details
                                                                       Manual Spin 360 Video                                May arrive after Christmas.
                                                                       Booth 80cm for Parties                               Need a gift sooner? Send an
                                                                                                                            eGift Card from hundreds of
                                                                       Weddings, Events with                                brands instantly.
                                                                       Flight Case | Find us on GG,                              Deliver to ENCARGA -dDoral

                                                                       Ytube, Trustpilot, FB, INS                                33166

                                                                       Visit the 360SPB Store                               In stock
                                                                       5.0                   8 ratings                      Usually ships within 4 to 5 days.


                                                                       -25% $99900                                                         Add to Cart

                                                                       List Price: $1,329.00
                                                                                                                                              Buy Now
                                                                       Or $58.97 /mo (24 mo). Select from 1 plan
                                                                                                                            Ships from 360SPB Direct
                                                                         Did you know? There's no annual fee for            Sold by        360SPB Direct
                                                                         Prime Visa. Get a $150 Amazon Gift Card            Returns        Non-returnable due to
                    Roll over image to zoom in                           instantly upon approval. Learn more                               hazmat safety reasons
                                                                                                                            Payment        Secure transaction
                                                                       Delivery & Support
                                                                       Select to learn more                                     Add to List
                                                            4 VIDEOS




                                                                       Ships from Eligible for      Customer
                                                                        360SPB    Refund or          Support
                                                                         Direct   Replaceme
                                                                                       nt




                                                                       Size: 31.5"/80cm Flight Case

                                                                         31.5"/80cm            26.8"/68cm
                                                                         Flight Case           Flight Case

                                                                         $999.00               $899.00


                                                                         35.4"/90cm            39.4"/100cm
                                                                         Flight Case           Flight Case

                                                                         $1,049.00             $1,299.00


https://www.amazon.com/360SPB-Automatic-Parties-Business-Accessories/dp/B0C4Y5DP5K/ref=sr_1_1?m=A3LB888UF9DQ7R&marketplaceID=A…                                        1/11
12/8/23, Case
         10:42 AM1:23-cv-24366-BB      Document
                       Amazon.com: 360SPB             10-1
                                          360 Photo Booth     Entered
                                                          Machine           on People
                                                                  31.5" for 1-3 FLSD    Docket
                                                                                      CM3 Automatic12/28/2023       Page
                                                                                                    Manual Spin 360 Video   229
                                                                                                                          Booth   of for P…
                                                                                                                                80cm
                                                                   360

       360 Photo Booth and elevate your events to new heights. Capture breathtaking moments, create
        engaging experiences, and leave your guests in awe. With its adjustable automatic and manual
             features, this photo booth is perfect for weddings, parties, and all types of events.




                                360 Photo Booth Machine for Parties




                   Multi Accessories
                   Please check all accessories
                   after receiving the package, if
                   there is any damage or
                   omission, please contact
                   360SPB,360SPB will give you
                   a best sevice.

                   Note: Power bank not
                   includ(Ring Light need)


                                Learn More




                    Q
                    A       Does the 360SPB Photo Booth come with software?



                    Q
                    A       Does the 360 photo booth machine need power supply?

https://www.amazon.com/360SPB-Automatic-Parties-Business-Accessories/dp/B0C4Y5DP5K/ref=sr_1_1?m=A3LB888UF9DQ7R&marketplaceID=A…         5/11
12/8/23, Case
         10:43 AM1:23-cv-24366-BB                       Document 10-1 Entered on FLSD
                                                                           Amazon.com     Docket 12/28/2023 Page 230 of
                                                                                      Checkout
                                                                       360
                                                                         Checkout (1 item)
     1     Shipping                     John Doe                                                                   Change
           address                      3503 DAY AVE                                                                                        Place your order
                                        MIAMI, FL 33133-4904
                                                                                                                              By placing your order, you agree to Amazon's
                                        Add delivery instructions                                                                 privacy notice and conditions of use.


     2     Payment                      Paying with Mastercard 1953                                                Change     Order Summary
           method                       Billing address: Same as shipping address.
                                                                                                                              Subtotal (1 item):                    $999.00
                                              Add a gift card or promotion code or voucher                                    Shipping & handling:                       $0.00

                                              Enter code                        Apply                                         Total before tax:                     $999.00
                                                                                                                              Estimated tax to be
                                                                                                                              collected:*                            $69.93
     3     Review items and shipping
                                                                                                                              Order total:                   $1,068.93
                     Want to save time on your next order and go directly to this
                     step when checking out?                                                                                  How are shipping costs calculated?
                    Default to this delivery address and payment method.                                                      Why didn't I qualify for Prime Shipping?




              Arriving Dec. 21, 2023 - Dec. 28, 2023
              Items shipped from 360SPB Direct

                                360SPB 360 Photo Booth                  Choose a delivery option:
                                Machine 31.5" for 1-3                     Thursday, Dec. 21 - Thursday, Dec. 28
                                People CM3 Automatic                      FREE Standard Shipping
                                Manual Spin 360 Video
                                Booth 80cm for Parties
                                Weddings, Events with
                                Flight Case | Find us on GG,
                                Ytube, Trustpilot, FB, INS
                                $999.00
                                $
                                  Qty: 1

                                Sold
                                S ld b
                                  ld by: 36
                                         360S
                                         360
                                         360SPB Direct
                                Not eligible for Amazon Prime
                                (Learn more)

                                Gift options not available




                                           Order total: $1,068.93
                 Place your order          By placing your order, you agree to Amazon's privacy notice and conditions of
                                           use.




     *Why has sales tax been applied? See tax and seller information.
     Need help? Check our Help pages or contact us

     For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message
     acknowledging receipt of your order. Your contract to purchase an item will not be complete until we send you an
     email notifying you that the item has been shipped.

     Important information about sales tax you may owe in your state

     You may return new, unopened merchandise in original condition within 30 days of delivery. Exceptions and restrictions
     apply. See Amazon.com's Returns Policy.

     Need to add more items to your order? Continue shopping on the Amazon.com homepage.




https://www.amazon.com/gp/buy/spc/handlers/display.html?hasWorkingJavascript=1                                                                                                   1/1
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                 Defendant No.: 50

                        Store Name:
                          3kincare

                            Platform:
                              Ebay




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                                                              3kincare         Docket 12/28/2023 Page 233 of
                                                                       eBay Stores
                                                          360                                                             11
 Hi Roberto!            Daily Deals     Brand Outlet      Gift Cards       Help & Sell
                                                                                  ContactWatchlist     My eBay



                           Categories               Search for anyth             All Categories                  Search




                            3kincare
                            96.7% positive feedback              1.8K items sold       124 followers
                                 Share           Contact             Save Seller


                 Categories                 Shop         About            Feedback                Search all 568 items



      About us

      Location:]China
      Member since:]Jul 27, 2022
      Seller:]3kincare




                                Do you like our store experience?




https://www.ebay.com/str/3kincare?_trksid=p4429486.m3561.l161211&_tab=1                                                    1/2
12/26/23,Case   1:23-cv-24366-BB
          2:43 PM                                 Document
                                                    39.4" 360 Photo10-1      Entered
                                                                     booth Video         on FLSD
                                                                                 Motion Rotating Selfie Docket     12/28/2023
                                                                                                        Platform Automatic Motorized | Page
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  Hi Roberto!      Daily Deals   Brand Outlet   Gift Cards  Help & Contact     360                                Sell Watchlist    My eBay
                                                                                                                                                                  11




                      Categories            Search for anything                                                 All Categories                    Search


      Back to home page     Electronics    Cameras & Photo    Camera, Drone & Photo Ac…    Other Camera & Photo Accs                     Share    Add to Watchlist


                                                                                                    39.4" 360 Photo booth Video
                                                                                                    Motion Rotating Selfie Platform
                                                                                                    Automatic Motorized
                                                                                                      Last item available


                                                                                                                3kincare (323)
                                                                                                                96.7% positive Seller's other items
                                                                                                                Contact seller



                                                                                                    US $1,299.99
                                                                                                    or Best Offer

                                                                                                    No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                    Credit*



                                                                                                    Condition: New


                                                                                                    Quantity:       1     Last One / 2 sold



                                                                                                                                 Buy It Now


                                                                                                                              Add to cart


                                                                                                                                 Make offer
  Have one to sell? Sell now
                                                                                                                            Add to watchlist



                                                                                                                Breathe easy. Returns accepted.


                                                                                                                People are checking this out. 6 have added
                                                                                                                this to their watchlist.


                                                                                                    Shipping:           Free Standard Shipping. See details
                                                                                                                        Located in: Chino, California, United
                                                                                                                        States

                                                                                                    Delivery:           Estimated between Sat, Dec 30 and Fri,
                                                                                                                        Jan 5 to 33166

                                                                                                    Returns:            30 days returns. Buyer pays for return
                                                                                                                        shipping. See details

                                                                                                    Payments:




                                                                                                                        *No Interest if paid in full in 6 months on
                                                                                                                        $99+. See terms and apply now

                                                                                                                                  Earn up to 5x points when you
                                                                                                                                  use your eBay Mastercard®.
                                                                                                                                  Learn more



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12/26/23,Case   1:23-cv-24366-BB
          2:43 PM                          Document 10-1 EnteredCheckout
                                                                 on FLSD | eBayDocket 12/28/2023 Page 235 of
                                                          360
                                                                    How do you like our checkout?]Give us feedback
                          Checkout


             New! You can split payment for this purchase across two cards.




      Pay with           Split payment between two cards                 Subtotal (1 item)                    $1,299.99
                                                                         Shipping                                  Free
           You can split your payment for this order. Add Card           Tax*                                    $91.00



                       x-6789 Expired                                    Order total                       $1,390.99

                                                                           By placing your order, you agree to eBay's
                                                                           User Agreement and Privacy Notice.]
              Add new card
                                                                           *We're required by law to collect sales tax
                                                                           and applicable fees for certain tax
                                                                           authorities. Learn more]


                       PayPal
                                                                                       Pay with PayPal


                       No Interest if paid in full in 6 months.                 You'll finish checkout on PayPal
                       Apply now. See terms



                                                                                          See details
      Ship to

      ENCARGA ROBERTO ROMERO
      8611 NW 72nd St
      Doral, FL 33166-2311
      United States
      (786) 687-9611
      Change




      Review item and shipping

      Seller: ]3kincare | Message to seller

                            39.4" 360 Photo booth Video Motion
                            Rotating Selfie Platform Automatic
                            Motorized

                            $1,299.99
                            Quantity 1


                            Delivery

https://pay.ebay.com/rxo?action=view&sessionid=2117968451011                                                              1/2
12/26/23,Case   1:23-cv-24366-BB
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                                                              on FLSD | eBayDocket 12/28/2023 Page 236 of
                            Est. delivery: Dec 30 – Jan 5 360
                            FedEx Ground or FedEx Home
                            Delivery
                            Free



      Gift cards, coupons, eBay Bucks



         Enter code:                                     Apply




      Donate to charity (optional)

      The Skatepark Project
      Join The Skatepark Project in helping underserved
      communities create safe and inclusive public skateparks
      for youth. PayPal Giving Fund (PPGF) receives your
      donation and grants 100% to a charity no later than 30
      days after the end of the month in which the donation is
      made. Donations are non-refundable and typically tax
      deductible. PPGF may be unable to grant funds to a
      charity if the charity has lost tax exempt status, has
      closed, or no longer accepts funds from PPGF.


      Select amount           None




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https://pay.ebay.com/rxo?action=view&sessionid=2117968451011                                                                      2/2
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                 Defendant No.: 51

                      Store Name:
                     Accushshopping

                            Platform:
                              Ebay




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                                                          Accushshopping | eBayDocket
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                                                         360
 Hi Roberto!           Daily Deals     Brand Outlet      Gift Cards      Help & Sell
                                                                                ContactWatchlist      My eBay



                          Categories                Search for anyth            All Categories                  Search




                           Accushshopping
                           99% positive feedback              1.3K items sold       73 followers
                                Share            Contact            Save Seller


                 Categories                Shop         About         Feedback                   Search all 151 items



      About us
      We are passionate about making your life beautiful and making sure every order is the best it can
      be. We have warehouses in US, UK, Australia and Germany to make sure fast delivery. Please join us,
      save this store and visit often. lol

      Location:]China
      Member since:]Sep 29, 2019
      Seller:]accushshopping




      Top Rated Seller

      Accushshopping is one of eBay's most reputable sellers. Consistently delivers
      outstanding customer service Learn more




                               Do you like our store experience?

https://www.ebay.com/str/accushshopping?_trksid=p4429486.m3561.l161211&_tab=1                                            1/2
12/26/23,Case   1:23-cv-24366-BB
          2:44 PM                                      Document         10-1
                                                         360° Photo booth      Entered
                                                                          Automatic         on FLSD
                                                                                    Video Motion          Docket
                                                                                                 Rotating Selfie       12/28/2023
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   Hi Roberto!         Daily Deals   Brand Outlet    Gift Cards Help & Contact     360                               Sell  Watchlist   My eBay
                                                                                                                                                                                  11




                          Categories             Search for anything                                                           All Categories                    Search


       Back to home page        Electronics     Cameras & Photo         Camera, Drone & Photo Ac…          Other Camera & Photo Accs                                         Share


    This listing was ended by the seller on Wed, Nov 15 at 11:04 PM because the item was lost or broken.



                                                                                                                   360° Photo booth Automatic Video
                                                                                                                   Motion Rotating Selfie Platform
                                                                                                                   Wedding Party

                                                                                                                               accushshopping (225)
                                                                                                                               99% positive Seller's other items
                                                                                                                               Contact seller



                                                                                                                   US $900.01
                                                                                                                   or Best Offer

                                                                                                                   No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                                   Credit*



                                                                                                                   Condition: New
                                                                                                  ED
                                                                                                                   Quantity:       1     2 available
                                                                                                D
                                                                                             EN



                                                                                                                   Shipping:           Free Standard Shipping. See details
                                                                                                                                       Located in: Los Angeles, California,
                                                                                                                                       United States

                                                                                                                   Delivery:           Estimated between Sat, Dec 30 and Fri,
                                                                                                                                       Jan 5 to 33166

                                                                                                                   Returns:            30 days returns. Buyer pays for return
                                                                                                                                       shipping. See details
  Have one to sell? Sell now
                                                                                                                   Payments:




                                                                                                                                       *No Interest if paid in full in 6 months on
                                                                                                                                       $99+. See terms and apply now

                                                                                                                                                Earn up to 5x points when you
                                                                                                                                                use your eBay Mastercard®.
                                                                                                                                                Learn more



                                                                                                                   Shop with confidence

                                                                                                                        eBay Money Back Guarantee
                                                                                                                        Get the item you ordered or your money
                                                                                                                        back. Learn more



     About this item         Shipping, returns, and payments                                                                                                   Report this item




    Seller assumes all responsibility for this listing.                                                                                 eBay item number: 386068922603



    Last updated on Oct 22, 2023 20:46:13 PDT View all revisions




https://www.ebay.com/itm/386068922603?hash=item59e38040eb:g:7KgAAOSwflxk7trr&amdata=enc%3AAQAIAAAAwHiSlbVEd9tvfPKcfNwaVaFO48l…                                                         1/5
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 241 of
                                     360
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                                     360




                 Defendant No.: 52

            Store Name:
     Achha 360 Photo Booth Store

                            Platform:
                              Ebay




  23-cv-24366
12/26/23,Case   1:23-cv-24366-BB
          2:47 PM                          Document 10-1 Achha
                                                           Entered    onBooth
                                                               360 Photo FLSD StoreDocket    12/28/2023 Page 243 of
                                                                                   | eBay Stores
                                                             360                                                         11
 Hi Roberto!            Daily Deals     Brand Outlet      Gift Cards     Help & Sell
                                                                                ContactWatchlist      My eBay



                           Categories                Search for anyth           All Categories                  Search




                            Achha 360 Photo Booth Store
                            0% positive feedback            4.7K items sold        85 followers
                                  Share          Contact            Save Seller


                 Categories                 Shop         About         Feedback                  Search all 6 items




      About us
      Achha Technology IncͫWe are located at
      Andover MA. USA .
      We offers our customers quality products
      and premium service:
      ---USA StockͫFast Shipping.
      ---Professional technical support of local
      engineers in the United States. You can Call,
      Text, WhatsApp or Email us to communicate
      the problems.
      ---Any 360 photo booth goes through a
      strict testing and include a 12 month
            t t     t         t           d     tf
      Location:]China
      Member since:]Mar 23, 2020
      Seller:]achha-360-photo-booth-store



https://www.ebay.com/str/topsphotobooth?_trksid=p4429486.m3561.l161211&_tab=1                                             1/2
12/26/23,Case   1:23-cv-24366-BB Large
          2:48 PM                 Document
                                       360 Photo 10-1     Entered
                                                 Booth Video          on FLSD
                                                             Booth Platform        Docket
                                                                            Automatic         12/28/2023
                                                                                      Spinner Motorized party USAPage
                                                                                                                 | eBay 244 of
   Hi Roberto!     Daily Deals   Brand Outlet   Gift Cards   Help & Contact    360                               Sell         Watchlist        My eBay



                      Categories            Search for anything                                                  All Categories                          Search


       Back to home page    Electronics    Cameras & Photo       Camera, Drone & Photo Ac…   Other Camera & Photo Accs                           Share   Add to Watchlist


                                                                                                     Large 360 Photo Booth Video
                                                                                                     Booth Platform Automatic Spinner
                                                                                                     Motorized party USA
                                                                                                       Last item available


                                                                                                                 Achha 360 Photo Booth Store (992)
                                                                                                                 Seller's other items Contact seller



                                                                                                     US $599.00
                                                                                                     No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                     Credit*



                                                                                                     Condition: Used


                                                                                                     Size:                  39.4 inch



                                                                                                     Quantity:          1       Last One / 4 sold



                                                                                                                                    Buy It Now


                                                                                                                                    Add to cart


  Have one to sell? Sell now                                                                                                      Add to watchlist



                                                                                                                 Breathe easy. Returns accepted.


                                                                                                                 People want this. 12 people are watching this.



                                                                                                     Pickup:                  Free local pickup from Rancho
                                                                                                                              Cucamonga, California, United States.
                                                                                                                              See details

                                                                                                     Shipping:                US $100.00 Standard Shipping. See
                                                                                                                              details
                                                                                                                              Located in: Rancho Cucamonga,
                                                                                                                              California, United States

                                                                                                     Delivery:                Estimated between Tue, Jan 2 and Sat,
                                                                                                                              Jan 6 to 33166

                                                                                                     Returns:                 30 days returns. Seller pays for return
                                                                                                                              shipping. See details

                                                                                                     Payments:




                                                                                                                              *No Interest if paid in full in 6 months on
                                                                                                                              $99+. See terms and apply now

                                                                                                                                          Earn up to 5x points when you
                                                                                                                                          use your eBay Mastercard®.
                                                                                                                                          Learn more

https://www.ebay.com/itm/155431184469?hash=item24306ba855:g:zC0AAOSw1aVk3dwg&amdata=enc%3AAQAIAAAA4EJTajKW8lAWasNz2Nj0%2…                                                   1/4
12/26/23,Case   1:23-cv-24366-BB
          2:48 PM                          Document 10-1 EnteredCheckout
                                                                 on FLSD | eBayDocket 12/28/2023 Page 245 of
                                                          360
                                                                    How do you like our checkout?]Give us feedback
                          Checkout


             New! You can split payment for this purchase across two cards.




      Pay with           Split payment between two cards                 Subtotal (1 item)                     $599.00
                                                                         Shipping                              $100.00
           You can split your payment for this order. Add Card           Tax*                                   $48.93



                       x-6789 Expired                                    Order total                          $747.93

                                                                           By placing your order, you agree to eBay's
                                                                           User Agreement and Privacy Notice.]
              Add new card
                                                                           *We're required by law to collect sales tax
                                                                           and applicable fees for certain tax
                                                                           authorities. Learn more]


                       PayPal
                                                                                       Pay with PayPal


                       No Interest if paid in full in 6 months.                 You'll finish checkout on PayPal
                       Apply now. See terms



                                                                                          See details
      Ship to

      ENCARGA ROBERTO ROMERO
      8611 NW 72nd St
      Doral, FL 33166-2311
      United States
      (786) 687-9611
      Change




      Review item and shipping

      Seller: ]achha-360-p... | Message to seller

                            Large 360 Photo Booth Video Booth
                            Platform Automatic Spinner Motorized
                            party USA
                            Size: 39.4 inch
                            $599.00
                            Quantity 1



https://pay.ebay.com/rxo?action=view&sessionid=2117970847011                                                             1/2
12/26/23,Case   1:23-cv-24366-BB
          2:48 PM                          Document 10-1 EnteredCheckout
                                                                 on FLSD | eBayDocket 12/28/2023 Page 246 of
                                                          360
                                   Delivery
                                   Est. delivery: Jan 2 – Jan 6
                                   FedEx Ground or FedEx Home
                                   Delivery
                                   $100.00

                                   Pickup




      Gift cards, coupons, eBay Bucks



         Enter code:                                     Apply




      Donate to charity (optional)

      The Skatepark Project
      Join The Skatepark Project in helping underserved
      communities create safe and inclusive public skateparks
      for youth. PayPal Giving Fund (PPGF) receives your
      donation and grants 100% to a charity no later than 30
      days after the end of the month in which the donation is
      made. Donations are non-refundable and typically tax
      deductible. PPGF may be unable to grant funds to a
      charity if the charity has lost tax exempt status, has
      closed, or no longer accepts funds from PPGF.


      Select amount           None




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https://pay.ebay.com/rxo?action=view&sessionid=2117970847011                                                                      2/2
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                                     360
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                                     360




                 Defendant No.: 53

                        Store Name:
                         Airbrushdy

                            Platform:
                              Ebay




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12/26/23,Case   1:23-cv-24366-BB
          2:49 PM                              Document 10-1 Entered   on FLSD
                                                                 Airbrushdy         Docket 12/28/2023 Page 249 of
                                                                            | eBay Stores
                                                              360                                                        11
 Hi Roberto!             Daily Deals         Brand Outlet   Gift Cards    Help & Sell
                                                                                 ContactWatchlist     My eBay



                            Categories                 Search for anyth         All Categories                  Search




                             Airbrushdy
                             98.6% positive feedback             3.1K items sold      97 followers
                                  Share             Contact          Save Seller


                  Categories                    Shop        About        Feedback                Search all 143 items



       About us
       Thank you very much for visiting my shop. ^_^


       My philosophy is customer first, so that every customer who trades in our store can feel the perfect
       shopping experience. And I guarantee that I will reply to your email within 12 hours. My products are
       free shipping,and I will send it out whthin one day after receive your order.


       My shop is mainly engaged in auto parts, industrial, household and other products, including
       hydraulic valves, water heaters, outboard engines, 3D wallpaper, fuel tanks,engines, seats, belt
       machines, high-pressure car wash pipes, water pumps, shoe repair machines etc.


       And my after-sales service is also excellent. If you have any questions after receiving the product,
       you can contact me at any time. I will also reply you within 12 hours and give you a perfect solution.


       Best wishes,looking forward to your new order.

       Location:]China
       Member since:]May 25, 2019
       Seller:]airbrushdy


https://www.ebay.com/str/airbrushdy?_tab=1                                                                                1/2
12/26/23,Case   1:23-cv-24366-BB
          2:49 PM                                         Document
                                                          360 Photo Booth10-1    Entered
                                                                         Video Rotating       on39"FLSD
                                                                                        Platform          Docket
                                                                                                    Automatic Spinner 12/28/2023
                                                                                                                      Motorized Wedding Page
                                                                                                                                        | eBay 250 of
   Hi Roberto!         Daily Deals   Brand Outlet    Gift Cards     Help & Contact          360                                  Sell       Watchlist        My eBay



                          Categories              Search for anything                                                            All Categories                          Search


       Back to home page        Electronics      Cameras & Photo         Camera, Drone & Photo Ac…           Other Camera & Photo Accs                                             Share


    This listing was ended by the seller on Wed, Nov 1 at 2:12 AM because the item is no longer available.



                                                                                                                     360 Photo Booth Video Rotating
                                                                                                                     Platform 39" Automatic Spinner
                                                                                                                     Motorized Wedding

                                                                                                                                 airbrushdy (623)
                                                                                                                                 98.6% positive Seller's other items
                                                                                                                                 Contact seller



                                                                                                                     US $999.00
                                                                                                                     or Best Offer

                                                                                                                     No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                                     Credit*



                                                                                                                     Condition: New
                                                                                                   ED
                                                                                                                     Quantity:          1     10 available
                                                                                                 D
                                                                                              EN



                                                                                                                     Shipping:              Free Standard Shipping. See details
                                                                                                                                            Located in: Los Angeles, New Jersey,
                                                                                                                                            Atlanta, United States

                                                                                                                     Delivery:              Estimated between Tue, Jan 2 and Sat,
                                                                                                                                            Jan 6 to 33166

                                                                                                                     Returns:               30 days returns. Buyer pays for return
                                                                                                                                            shipping. See details
  Have one to sell? Sell now
                                                                                                                     Payments:




                                                                                                                                            *No Interest if paid in full in 6 months on
                                                                                                                                            $99+. See terms and apply now

                                                                                                                                                        Earn up to 5x points when you
                                                                                                                                                        use your eBay Mastercard®.
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                                                                                                                          Get the item you ordered or your money
                                                                                                                          back. Learn more



     About this item         Shipping, returns, and payments                                                                                                           Report this item




    Seller assumes all responsibility for this listing.                                                                                      eBay item number: 204448567087



    Last updated on Oct 22, 2023 20:58:15 PDT View all revisions




https://www.ebay.com/itm/204448567087?hash=item2f9a158f2f:g:yCsAAOSwtNBjBZ~d&amdata=enc%3AAQAIAAAA4G0zb50AKvvf3gimluaHMk8S…                                                                1/3
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                                     360
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                                     360




                 Defendant No.: 54

                        Store Name:
                         AleksyArt

                            Platform:
                              Ebay




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12/26/23,Case   1:23-cv-24366-BB
          2:50 PM                              Document 10-1 Entered   on FLSD
                                                                  AleksyArt          Docket 12/28/2023 Page 253 of
                                                                            | eBay Stores
                                                              360
 Hi Roberto!             Daily Deals        Brand Outlet   Gift Cards    Help & Sell
                                                                                ContactWatchlist     My eBay



                            Categories                Search for anyth         All Categories                  Search




                             AleksyArt
                             100% positive feedback              64 items sold     27 followers
                                  Share            Contact          Save Seller


                  Categories                   Shop        About        Feedback                Search all 29 items




       About us
       Hi, I'm Aleksy. I am engaged in the
       production of metal wall art and love what I
       do. Each product is unique and individually
       approached. This is my work and my
       passion.I love my job. I approach each
       product individually and make it a true piece
       of art, which will decorate the interior for a
       long time. I adore the unique forms and
       unusual ideas, so that the uniqueness of
       every object is not just in the design but also
       in its materials. I have worked on many
       i t    ti      j t              d thi          i      h
       Location:]Belarus
       Member since:]Nov 09, 2016
       Seller:]alex.vinser_360_pro_photo_booth



https://www.ebay.com/str/aleksyart?_tab=1                                                                               1/2
12/26/23,Case   1:23-cv-24366-BB
          2:51 PM                                 Document          10-1
                                                       360 Photo Booth   TableEntered     on
                                                                               Machine 3 in    FLSD
                                                                                            1 Video    Docket
                                                                                                    Booth         12/28/2023
                                                                                                          360 Motorized               Page 254 of
                                                                                                                        Automatic | eBay
  Hi Roberto!      Daily Deals   Brand Outlet   Gift Cards  Help & Contact      360                             Sell   Watchlist    My eBay
                                                                                                                                                                 11




                      Categories            Search for anything                                                All Categories                   Search


      Back to home page     Electronics    Cameras & Photo    Camera, Drone & Photo Ac…   Other Camera & Photo Accs                     Share   Add to Watchlist


                                                                                                   360 Photo Booth Table Machine 3 in
                                                                                                   1 Video Booth 360 Motorized
                                                                                                   Automatic
                                                                                                     Last item available


                                                                                                               AleksyArt (20)
                                                                                                               100% positive Seller's other items
                                                                                                               Contact seller



                                                                                                   US $390.00
                                                                                                   No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                   Credit*



                                                                                                   Condition: New


                                                                                                   Quantity:      1     Last One / 1 sold



                                                                                                                                Buy It Now


                                                                                                                            Add to cart


                                                                                                                           Add to watchlist


  Have one to sell? Sell now
                                                                                                               People want this. 29 people are watching
                                                                                                               this.


                                                                                                   Shipping:          US $95.00 Expedited Shipping. See
                                                                                                                      details
                                                                                                                      International shipment of items may be
                                                                                                                      subject to customs processing and
                                                                                                                      additional charges.
                                                                                                                      Located in: Warszawa, MAZOWIECKIE,
                                                                                                                      Poland

                                                                                                   Delivery:             Estimated between Tue, Jan 2 and
                                                                                                                      Sat, Jan 13 to 33166
                                                                                                                      Please note the delivery estimate is
                                                                                                                      greater than 4 business days.
                                                                                                                      Please allow additional time if
                                                                                                                      international delivery is subject to
                                                                                                                      customs processing.

                                                                                                   Returns:           Seller does not accept returns. See
                                                                                                                      details

                                                                                                   Payments:




                                                                                                                      *No Interest if paid in full in 6 months on
                                                                                                                      $99+. See terms and apply now

                                                                                                                                 Earn up to 5x points when you
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https://www.ebay.com/itm/185959848362?hash=item2b4c1219aa:g:EQMAAOSw4S5kmcCe&amdata=enc%3AAQAIAAAAwPV%2BV9PHRqe7BgRD…                                                 1/5
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                                     360
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                                     360




                 Defendant No.: 55

                        Store Name:
                        wholesalezm

                            Platform:
                              Ebay




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          2:53 PM                             Document 10-1 Entered  on FLSD
                                                               wholesalezm        Docket 12/28/2023 Page 257 of
                                                                           | eBay Stores
                                                             360
 Hi Roberto!            Daily Deals     Brand Outlet       Gift Cards      Help & Sell
                                                                                  ContactWatchlist            My eBay



                           Categories                Search for anyth             All Categories                            Search




                            wholesalezm
                            96.5% positive feedback               10K items sold           204 followers
                                 Share            Contact             Save Seller


                 Categories                   Shop        About          Feedback                       Search all 74 items



      About us

      Location:]China
      Member since:]Oct 09, 2018
      Seller:]wholesalezm




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https://www.ebay.com/str/wholesalezm?_tab=1                                                                                                        1/1
12/26/23,Case   1:23-cv-24366-BB
          2:55 PM                                      Document          10-1
                                                           360 Photo Booth        Entered
                                                                            Platform Automaticon
                                                                                              SlowFLSD    Docket
                                                                                                   Motion Video Booth12/28/2023          Page 258 of
                                                                                                                     with Flight Case | eBay
  Hi Roberto!         Daily Deals    Brand Outlet    Gift Cards  Help & Contact      360                           Sell  Watchlist     My eBay
                                                                                                                                                                                      11




                          Categories             Search for anything                                                             All Categories                      Search


      Back to home page         Electronics     Cameras & Photo         Camera, Drone & Photo Ac…            Other Camera & Photo Accs                                          Share


   This listing was ended by the seller on Tue, Oct 17 at 7:10 PM because the item is no longer available.



                                                                                                                     360 Photo Booth Platform
                                                                                                                     Automatic Slow Motion Video
                                                                                                                     Booth with Flight Case

                                                                                                                                 wholesalezm (2044)
                                                                                                                                 96.5% positive Seller's other items
                                                                                                                                 Contact seller



                                                                                                                     US $699.00
                                                                                                                     No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                                     Credit*



                                                                                                                     Condition: New


                                                                                                                     Package:
                                                                                                   ED                                   - Select -
                                                                                                 D
                                                                                              EN



                                                                                                                     Platform:          - Select -



                                                                                                                     Quantity:      1       3 available / 2 sold


                                                                                                                     Shipping:            Free Standard Shipping. See details
                                                                                                                                          Located in: Chino, California, United
                                                                                                                                          States

  Have one to sell? Sell now                                                                                         Delivery:            Estimated between Sat, Dec 30 and Fri,
                                                                                                                                          Jan 5 to 33166

                                                                                                                     Returns:             30 days returns. Buyer pays for return
                                                                                                                                          shipping. See details

                                                                                                                     Payments:




                                                                                                                                          *No Interest if paid in full in 6 months on
                                                                                                                                          $99+. See terms and apply now

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                                                                                                                          eBay Money Back Guarantee
                                                                                                                          Get the item you ordered or your money
                                                                                                                          back. Learn more



    About this item         Shipping, returns, and payments                                                                                                        Report this item




    Seller assumes all responsibility for this listing.                                                                                     eBay item number: 364273305193


https://www.ebay.com/itm/364273305193?hash=item54d0618669:g:ISwAAOSwE9BiAdzY&amdata=enc%3AAQAIAAAA4DScSab%2FUCpB3Fv01hS…                                                                   1/5
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                                     360
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                                     360




                 Defendant No.: 56

                     Store Name:
                    Autopartszone11

                            Platform:
                              Ebay




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          4:02 PM                           Document 10-1 Entered   on FLSD
                                                            Autopartszone11 | eBayDocket
                                                                                   Stores 12/28/2023 Page 261 of
                                                           360
 Hi Roberto!            Daily Deals      Brand Outlet   Gift Cards    Help & Sell
                                                                             ContactWatchlist     My eBay



                           Categories               Search for anyth        All Categories                  Search




                             Autopartszone11
                             97.4% positive feedback         5.9K items sold      366 followers
                                 Share            Contact        Save Seller


                 Categories                  Shop       About        Feedback                Search all 697 items



      About us

      Location:]China
      Member since:]Jul 27, 2022
      Seller:]aut0car




      Top Rated Seller

      Autopartszone11 is one of eBay's most reputable sellers. Consistently delivers
      outstanding customer service Learn more




https://www.ebay.com/str/autopartszone11?_tab=1                                                                      1/2
12/26/23,Case   1:23-cv-24366-BB
          4:03 PM                                      Document
                                                        360 Photo booth10-1     Entered
                                                                         100cm Video        on FLSD
                                                                                     Motion Rotating SelfieDocket    12/28/2023
                                                                                                           Platform Automatic Motorized |Page
                                                                                                                                         eBay 262 of
   Hi Roberto!         Daily Deals   Brand Outlet    Gift Cards Help & Contact     360                              Sell Watchlist    My eBay
                                                                                                                                                                                       11




                          Categories              Search for anything                                                              All Categories                     Search


       Back to home page        Electronics      Cameras & Photo         Camera, Drone & Photo Ac…             Other Camera & Photo Accs                                          Share


    This listing was ended by the seller on Wed, Oct 18 at 11:40 PM because the item is no longer available.



                                                                                                                       360 Photo booth 100cm Video
                                                                                                                       Motion Rotating Selfie Platform
                                                                                                                       Automatic Motorized

                                                                                                                                   aut0car (1111)
                                                                                                                                   97.4% positive Seller's other items
                                                                                                                                   Contact seller



                                                                                                                       US $939.99
                                                                                                                       Was US $999.99
                                                                                                                       Save US $60.00 (6% off)

                                                                                                                       No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                                       Credit*



                                                                                                   ED                  Condition: New
                                                                                                 D

                                                                                                                       Ended: Oct 18, 2023 23:40:08 PDT
                                                                                              EN




                                                                                                                       Size:              - Select -



                                                                                                                       Quantity:      1       2 available


                                                                                                                       Shipping:            Free Standard Shipping. See details
                                                                                                                                            Located in: Chino, California, United
                                                                                                                                            States
  Have one to sell? Sell now
                                                                                                                       Delivery:            Estimated between Sat, Dec 30 and Fri,
                                                                                                                                            Jan 5 to 33166

                                                                                                                       Returns:             30 days returns. Seller pays for return
                                                                                                                                            shipping. See details

                                                                                                                       Payments:




                                                                                                                                            *No Interest if paid in full in 6 months on
                                                                                                                                            $99+. See terms and apply now

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                                                                                                                               Get the item you ordered or your money
                                                                                                                               back. Learn more



     About this item         Shipping, returns, and payments                                                                                                        Report this item




https://www.ebay.com/itm/364419422153?hash=item54d91717c9:g:2ZgAAOSwS8dkrOrk&amdata=enc%3AAQAIAAAA4I%2FBZNC3i0vfG%2F8oqdp…                                                                  1/6
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                                     360
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                                     360




                 Defendant No.: 57

                        Store Name:
                        Auto*Home

                            Platform:
                              Ebay




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          4:04 PM                            Document 10-1 Entered  on FLSD
                                                               Auto*Home         Docket 12/28/2023 Page 265 of
                                                                         | eBay Stores
                                                            360
 Hi Roberto!             Daily Deals       Brand Outlet   Gift Cards    Help & Sell
                                                                               ContactWatchlist     My eBay



                            Categories               Search for anyth         All Categories                  Search




                             Auto*Home
                             97% positive feedback           132K items sold      2.9K followers
                                  Share           Contact          Save Seller


                  Categories                  Shop        About        Feedback                Search all 1,231 items



       About us

       Location:]China
       Member since:]Aug 12, 2018
       Seller:]auto*home




       Top Rated Seller

       Auto*Home is one of eBay's most reputable sellers. Consistently delivers outstanding
       customer service Learn more




https://www.ebay.com/str/ndglobal?_tab=1                                                                                1/2
12/26/23,Case   1:23-cv-24366-BB
          4:05 PM                                         Document
                                                          360 Photo Booth10-1
                                                                          Rotating Entered
                                                                                   Video Booth on   FLSD
                                                                                               Selfie PlatformDocket
                                                                                                               Automatic12/28/2023
                                                                                                                        Spin Motorized US Page
                                                                                                                                          | eBay 266 of
  Hi Roberto!         Daily Deals    Brand Outlet     Gift Cards    Help & Contact           360                                  Sell         Watchlist        My eBay
                                                                                                                                                                                             11




                          Categories              Search for anything                                                             All Categories                            Search


      Back to home page         Electronics      Cameras & Photo         Camera, Drone & Photo Ac…            Other Camera & Photo Accs                                               Share


   This listing was ended by the seller on Fri, Oct 6 at 7:55 PM because there was an error in the listing.



                                                                                                                      360 Photo Booth Rotating Video
                                                                                                                      Booth Selfie Platform Automatic
                                                                                                                      Spin Motorized US

                                                                                                                                  auto*home (17850)
                                                                                                                                  97% positive Seller's other items
                                                                                                                                  Contact seller



                                                                                                                      US $999.99
                                                                                                                      No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                                      Credit*



                                                                                                                      Condition: New


                                                                                                                      Size:
                                                                                                    ED                                       - Select -
                                                                                                  D
                                                                                               EN



                                                                                                                      Quantity:          1       10 available


                                                                                                                      Shipping:                Free Standard Shipping. See details
                                                                                                                                               Located in: Chino, California, United
                                                                                                                                               States

                                                                                                                      Delivery:                Estimated between Tue, Jan 2 and Sat,
                                                                                                                                               Jan 6 to 33166

  Have one to sell? Sell now                                                                                          Returns:                 30 days returns. Seller pays for return
                                                                                                                                               shipping. See details

                                                                                                                      Payments:




                                                                                                                                               *No Interest if paid in full in 6 months on
                                                                                                                                               $99+. See terms and apply now

                                                                                                                                                           Earn up to 5x points when you
                                                                                                                                                           use your eBay Mastercard®.
                                                                                                                                                           Learn more



                                                                                                                      Shop with confidence

                                                                                                                              eBay Money Back Guarantee
                                                                                                                              Get the item you ordered or your money
                                                                                                                              back. Learn more



    About this item         Shipping, returns, and payments                                                                                                               Report this item




    Seller assumes all responsibility for this listing.                                                                                         eBay item number: 295909034670



    Last updated on Sep 12, 2023 00:06:23 PDT View all revisions


https://www.ebay.com/itm/295909034670?hash=item44e58d8aae:g:OzAAAOSwfBNkrNFt&amdata=enc%3AAQAIAAAA4LOX76d6GZ09sTkAYMbyh1…                                                                         1/5
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 267 of
                                     360




                 Defendant No.: 58

                    Store Name:
                automobile-parts_16

                            Platform:
                              Ebay




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                                     360




                 Defendant No.: 59

                        Store Name:
                          bayboys2

                            Platform:
                              Ebay




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12/26/23,Case   1:23-cv-24366-BB
          4:07 PM                          Document 10-1 Entered    on FLSD Docket 12/28/2023 Page 269 of
                                                         ebay.com/str/360photobooths?_tab=1
                                                           360                                                                                 11
 Hi Roberto!            Daily Deals     Brand Outlet       Gift Cards      Help & Sell
                                                                                  ContactWatchlist            My eBay



                           Categories                Search for anyth             All Categories                            Search




          Sorry, this store was not found.




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https://www.ebay.com/str/360photobooths?_tab=1                                                                                                     1/1
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          4:07 PM                                 Document
                                                  360 Photo Booth10-1       Entered
                                                                    | LED Glass         onRotating
                                                                                | Automatic FLSDVideo
                                                                                                   Docket
                                                                                                      Booth w12/28/2023
                                                                                                                Flight Case & Acc Page
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  Hi Roberto!      Daily Deals   Brand Outlet   Gift Cards Help & Contact      360                         Sell     Watchlist   My eBay
                                                                                                                                                                  11




                      Categories            Search for anything                                               All Categories                     Search


      Back to home page     Electronics    Cameras & Photo    Other Cameras & Photo                                                      Share   Add to Watchlist


                                                                                                  360 Photo Booth | LED Glass |
                                                                                                  Automatic Rotating Video Booth w
                                                                                                  Flight Case & Acc

                                                                                                              bayboys2 (74)
                                                                                                              100% positive Seller's other items
                                                                                                              Contact seller



                                                                                                  US $1,590.00
                                                                                                  No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                  Credit*



                                                                                                  Condition: New


                                                                                                  Size:              - Select -



                                                                                                  Quantity:      1       Last One / 1 sold



                                                                                                                               Buy It Now


                                                                                                                             Add to cart


                                                                                                                           Add to watchlist
  Have one to sell? Sell now


                                                                                                  Shipping:            Free Expedited Shipping from Greater
                                                                                                                       China to worldwide. See details
                                                                                                                       International shipment of items may be
                                                                                                                       subject to customs processing and
                                                                                                                       additional charges.
                                                                                                                       Located in: Shenzhen, China

                                                                                                  Delivery:                 Estimated between Fri, Jan 5 and
                                                                                                                       Fri, Jan 12 to 33166
                                                                                                                       Includes 5 business days handling time
                                                                                                                       after receipt of cleared payment.
                                                                                                                       Please allow additional time if
                                                                                                                       international delivery is subject to
                                                                                                                       customs processing.

                                                                                                  Returns:             Seller does not accept returns. See
                                                                                                                       details

                                                                                                  Payments:




                                                                                                                       *No Interest if paid in full in 6 months on
                                                                                                                       $99+. See terms and apply now

                                                                                                                                  Earn up to 5x points when you
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          4:08 PM                          Document 10-1 EnteredCheckout
                                                                 on FLSD | eBayDocket 12/28/2023 Page 271 of
                                                          360
                                                                    How do you like our checkout?]Give us feedback
                          Checkout


             New! You can split payment for this purchase across two cards.




      Pay with           Split payment between two cards                 Subtotal (1 item)                  $2,390.00
                                                                         Shipping                                  Free
           You can split your payment for this order. Add Card           Tax*                                   $167.30



                       x-6789 Expired                                    Order total                       $2,557.30

                                                                           By placing your order, you agree to eBay's
                                                                           User Agreement and Privacy Notice.]
              Add new card
                                                                           *We're required by law to collect sales tax
                                                                           and applicable fees for certain tax
                                                                           authorities. Learn more]


                       PayPal
                                                                                       Pay with PayPal


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                       Apply now. See terms



                       Google Pay                                                         See details




      Ship to

      ENCARGA ROBERTO ROMERO
      8611 NW 72nd St
      Doral, FL 33166-2311
      United States
      (786) 687-9611
      Change




      Review item and shipping

      Seller: ]bayboys2 | Message to seller

                            360 Photo Booth | LED Glass |
                            Automatic Rotating Video Booth w
                            Flight Case & Acc
                            Size: 45.3inch


https://pay.ebay.com/rxo?action=view&sessionid=2118010470011                                                              1/2
12/26/23,Case   1:23-cv-24366-BB
          4:08 PM                    Document 10-1 EnteredCheckout
                                                           on FLSD | eBayDocket 12/28/2023 Page 272 of

                            $2,390.00               360
                            Quantity 1


                            Delivery
                            Est. delivery: Jan 5 – Jan 12
                            Expedited Shipping from Greater
                            China to worldwide
                            Free




      Gift cards, coupons, eBay Bucks



         Enter code:                                     Apply




      Donate to charity (optional)

      The Skatepark Project
      Join The Skatepark Project in helping underserved
      communities create safe and inclusive public skateparks
      for youth. PayPal Giving Fund (PPGF) receives your
      donation and grants 100% to a charity no later than 30
      days after the end of the month in which the donation is
      made. Donations are non-refundable and typically tax
      deductible. PPGF may be unable to grant funds to a
      charity if the charity has lost tax exempt status, has
      closed, or no longer accepts funds from PPGF.


      Select amount           None




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                 Defendant No.: 60

                        Store Name:
                         videstar88

                            Platform:
                              Ebay




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                                                                 videstar88          Docket 12/28/2023 Page 275 of
                                                                            | eBay Stores
                                                              360                                                        11
 Hi Roberto!             Daily Deals         Brand Outlet   Gift Cards    Help & Sell
                                                                                 ContactWatchlist     My eBay



                            Categories                 Search for anyth         All Categories                  Search




                             videstar88
                             98.8% positive feedback             2.3K items sold      122 followers
                                  Share             Contact          Save Seller


                  Categories                    Shop        About        Feedback                Search all 128 items



       About us

       Location:]China
       Member since:]Oct 28, 2020
       Seller:]videstar88




       Top Rated Seller

       videstar88 is one of eBay's most reputable sellers. Consistently delivers outstanding
       customer service Learn more




                                 Do you like our store experience?




https://www.ebay.com/str/videstar88?_tab=1                                                                                1/2
12/26/23,Case
          4:11 PM1:23-cv-24366-BB                       Document
                                                         360 Photo Booth10-1     Entered
                                                                          Video Rotating Boothon  FLSD
                                                                                              Selfie        Docket
                                                                                                     Platform Automatic12/28/2023
                                                                                                                        Spin Motorized us |Page
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   Hi Roberto!         Daily Deals    Brand Outlet    Gift Cards Help & Contact     360                              Sell  Watchlist    My eBay
                                                                                                                                                                             11




                           Categories             Search for anything                                                      All Categories                   Search


       Back to home page         Electronics     Cameras & Photo          Other Cameras & Photo                                                                         Share


    This listing was ended by the seller on Tue, Oct 17 at 11:31 PM because the item is no longer available.



                                                                                                               360 Photo Booth Video Rotating
                                                                                                               Booth Selfie Platform Automatic
                                                                                                               Spin Motorized us

                                                                                                                           videstar88 (442)
                                                                                                                           98.8% positive Seller's other items
                                                                                                                           Contact seller



                                                                                                               US $949.00
                                                                                                               or Best Offer

                                                                                                               No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                               Credit*



                                                                                                               Condition: New
                                                                                                     ED
                                                                                                               Shipping:          Free Standard Shipping. See details
                                                                                                   D
                                                                                               EN


                                                                                                                                  Located in: Los Angeles,Atlanta,New
                                                                                                                                  Jersey, United States

                                                                                                               Delivery:          Estimated between Tue, Jan 2 and Sat,
                                                                                                                                  Jan 6 to 33166

                                                                                                               Returns:           30 days returns. Buyer pays for return
                                                                                                                                  shipping. See details

                                                                                                               Payments:

  Have one to sell? Sell now



                                                                                                                                  *No Interest if paid in full in 6 months on
                                                                                                                                  $99+. See terms and apply now

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                                                                                                                                            use your eBay Mastercard®.
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                                                                                                                    Get the item you ordered or your money
                                                                                                                    back. Learn more



     About this item         Shipping, returns, and payments                                                                                              Report this item




    Seller assumes all responsibility for this listing.                                                                            eBay item number: 404448105006



    Last updated on Oct 07, 2023 01:27:13 PDT View all revisions




    Item specifics


https://www.ebay.com/itm/404448105006?hash=item5e2afc522e:g:smIAAOSwHltjBc~B&amdata=enc%3AAQAIAAAA4F3aHl3k%2BHBBTKPoR8%2…                                                         1/5
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                 Defendant No.: 61

                        Store Name:
                        Bidcharming

                            Platform:
                              Ebay




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                                                                              Bidcharming         Docket 12/28/2023 Page 279 of
                                                                                          | eBay Stores
 Hi Roberto!         Daily Deals   Brand Outlet   Gift Cards Help & Contact 360                          Sell Watchlist My eBay
                                                                                                                                                                          11




                          Categories          Search for anything                                                           All Categories                 Search




                          Bidcharming
                          95.2% positive feedback        101K items sold    1.2K followers                                      Share        Contact       Save Seller




                Categories             Shop       Sale      About     Feedback                         Search all 3,453 items



     Sale items




         Buy 3, get 1 at
         20% off with
         code…
         Expires December 30,
         2023. Max discount…
         Terms & Conditions



               Shop All



                                        Dentist Dental LED Curing          Dentist Dental LED Curing     Dental Wireless Cordless       Dental Cordless LED           N
                                        Light Lamp Wireless                Light Lamp Wireless           LED Cure Curing Light          Curing Light 1 Second         C
                                        Cordless Resin Cure 10W…           Cordless Resin Cure 5W…       Lamp 2000mw 5W Tool…           Resin Cure Lamp…              L

                                        $18.50                             $22.49                        $14.99                         $37.99                        $
                                        $23.50]21% off




         Buy 1, get 1 at 10%
         off with code
         HEALTHCARE-…
         Expires December 31,
         2023. Max discount…
         Terms & Conditions



               Shop All



                                        8‘’ 6parameter ICU CCU             Medical ICU Vital Signs       8" Medical Portable Patient    Portable 10"Medical Patient   P
                                        Vital Sign Patient Monitor         Patient Monitor 6Parameter    Monitor ICU Vital Signs        Monitor Vital Signs ICU       P
                                        ECG NIBP RESP TEMP SP…             ECG/NIBP/SPO2/TEMP/RES        ECG NIBP RESP TEMP SP…         ECG NIBP RESP TEMP SP…        E

                                        $329.00                            $419.00                       $419.00                        $459.00                       $




https://www.ebay.com/str/bidcharming?_tab=1                                                                                                                               1/2
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                                                                                  Bidcharming         Docket 12/28/2023 Page 280 of
                                                                                              | eBay Stores
                                                                               360
          Buy 3, get 1 at
          20% off with
          code…
          Expires January 01,
          2024. Max discount…
          Terms & Conditions



              Shop All



                                              Denshine 4 hole LED High                 Dental electric Micromotor                Fiber Optic Dental E-                  Dental Push High Speed       U
                                              Speed dental Handpiece                   Motor Polishing Handpiece                 generator LED 3 Way High               LED Handpiece E-             H
                                              Standard head Push butto…                35K RPM fit Marathon FD…                  Speed handpiece 4-Hole…                generator 4/2 Hole+ Extra…   C

                                              $18.79                                   $32.99                                    $19.99                                 $12.49                       $
                                                                                                                                                                        $17.49 29% off




          Save $10 for
          every $200 with
          code…
          Expires January 01,
          2024. Max discount…
          Terms & Conditions



              Shop All



                                              Dental Chair Teeth                       Dental Mobile Tooth Teeth                 Mobile Dental Teeth                    Electric Tooth Polisher      U
                                              Whitening Machine Lamp                   Whitening Machine LED                     Whitening Machine 10 LED               Teeth Whitening Stain        W
                                              Bleaching 6 LED Cold Lig…                Light Lamp Bleaching…                     Lamp Bleaching Blue Red…               Plaque Eraser Tartar…        L

                                              $42.99                                   $75.99                                    $85.99                                 $16.99                       $
                                              $52.99 19% off




                                                                   Do you like our store experience?




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                                                      360 Photo Booth        Entered
                                                                       Platform         on Parties
                                                                                for Weddings FLSDSlow
                                                                                                   Docket     12/28/2023
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                                                                                                                 People 880lb | eBay
  Hi Roberto!      Daily Deals   Brand Outlet   Gift Cards Help & Contact       360                         Sell  Watchlist    My eBay



                      Categories            Search for anything                                              All Categories                     Search


      Back to home page     Electronics    Cameras & Photo   Camera, Drone & Photo Ac…   Other Camera & Photo Accs                    Share    Add to Watchlist


                                                                                                 360 Photo Booth Platform for
                                                                                                 Weddings Parties Slow Motion 3-5
                                                                                                 People 880lb

                                                                                                             Bidcharming (13407)
                                                                                                             95.2% positive Seller's other items
                                                                                                             Contact seller



                                                                                                 US $1,299.00
                                                                                                 or Best Offer

                                                                                                 No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                 Credit*



                                                                                                 Condition: New


                                                                                                                              Buy It Now


                                                                                                                          Add to cart


                                                                                                                              Make offer


                                                                                                                         Add to watchlist


  Have one to sell? Sell now
                                                                                                             Breathe easy. Returns accepted.



                                                                                                 Shipping:          Free Standard Shipping. See details
                                                                                                                    Located in: Cranbury, New Jersey,
                                                                                                                    United States

                                                                                                 Delivery:          Estimated between Sat, Dec 30 and Fri,
                                                                                                                    Jan 5 to 33166

                                                                                                 Returns:           30 days returns. Buyer pays for return
                                                                                                                    shipping. See details

                                                                                                 Payments:




                                                                                                                    *No Interest if paid in full in 6 months on
                                                                                                                    $99+. See terms and apply now

                                                                                                                               Earn up to 5x points when you
                                                                                                                               use your eBay Mastercard®.
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                                                                                                      Get the item you ordered or your money
                                                                                                      back. Learn more




                                                                                                                                              Report this item
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                                                                360 Photo Booth       Entered
                                                                                Platform         on Parties
                                                                                         for Weddings FLSDSlow
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                                                                                                                          People 880lb | eBay
                                                                                         360



                                                                                                                                                                                Visit store
                                        Bidcharming
                                                                                                                                                                                  Contact
                                        95.2% Positive Feedback

                                        101K items sold
                                                                                                                                                                                  Save seller


            Joined Jun 2010




       Detailed seller ratings                                                           Seller feedback (15,565)
       Average for the last 12 months
                                                                                                c***a (189)       Past month

       Accurate
                                                    4.9                                  Fast shipping
       description
       Reasonable                                                                         2xDental root canal inlay Temporary Light Cure Filling material Composite Resin (#334073771157)
                                                    4.9
       shipping cost
       Shipping speed                               4.9
                                                                                                n***n (181)      Past month

       Communication                                4.9
                                                                                         Item works. Not in use yet.

                                                                                          Dental Portable Suction Unit Medical Vacuum Pump 370W Machine USA Easy Use (#335150765664)
       Popular categories from this store                                   See all

                                                                                                r***n (85)      Past month
          Patient Monitor              Ultrasound Scanner
                                                                                         Great E-Bayer. Products as described and arrived on time.
          EKG/EKG Machine                  dental equipment                               New 6 sizes Cuffs for Blood pressure & with FDA&CE (#330941444626)


          Dental Equipment                dental tools
                                                                                             See all feedback
          Ultrasonic Scaler              Medical instruments


          Veterinary Medical Machine




  Back to home page                                                                                                                                                                             Return to top

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          5:37 PM                          Document 10-1 EnteredCheckout
                                                                 on FLSD | eBayDocket 12/28/2023 Page 283 of
                                                          360
                                                                    How do you like our checkout?]Give us feedback
                          Checkout


             New! You can split payment for this purchase across two cards.




      Pay with           Split payment between two cards                 Subtotal (1 item)                   $1,299.00
                                                                         Shipping                                  Free
           You can split your payment for this order. Add Card           Tax*                                   $90.93



                       x-6789 Expired                                    Order total                        $1,389.93

                                                                           By placing your order, you agree to eBay's
                                                                           User Agreement and Privacy Notice.]
              Add new card
                                                                           *We're required by law to collect sales tax
                                                                           and applicable fees for certain tax
                                                                           authorities. Learn more]


                       PayPal
                                                                                       Pay with PayPal


                       No Interest if paid in full in 6 months.                 You'll finish checkout on PayPal
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      Ship to

      ENCARGA ROBERTO ROMERO
      8611 NW 72nd St
      Doral, FL 33166-2311
      United States
      (786) 687-9611
      Change




      Review item and shipping

      Seller: ]bidcharming | Message to seller

                            360 Photo Booth Platform for
                            Weddings Parties Slow Motion 3-5
                            People 880lb

                            $1,299.00

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                            Quantity 1                360


                            Delivery
                            Est. delivery: Dec 30 – Jan 5
                            Standard Shipping
                            Free




      Gift cards, coupons, eBay Bucks



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      Donate to charity (optional)

      The Skatepark Project
      Join The Skatepark Project in helping underserved
      communities create safe and inclusive public skateparks
      for youth. PayPal Giving Fund (PPGF) receives your
      donation and grants 100% to a charity no later than 30
      days after the end of the month in which the donation is
      made. Donations are non-refundable and typically tax
      deductible. PPGF may be unable to grant funds to a
      charity if the charity has lost tax exempt status, has
      closed, or no longer accepts funds from PPGF.


      Select amount           None




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                 Defendant No.: 62

                      Store Name:
                    bikeshopservices

                            Platform:
                              Ebay




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                                                            bikeshopservices | eBayDocket
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                                                           360                                                       11
 Hi Roberto!            Daily Deals      Brand Outlet   Gift Cards    Help & Sell
                                                                             ContactWatchlist     My eBay



                            Categories               Search for anyth       All Categories                  Search




                             bikeshopservices
                             97.8% positive feedback         2.2K items sold      151 followers
                                  Share            Contact       Save Seller


                  Categories                 Shop       About        Feedback                Search all 615 items



      About us

      Location:]China
      Member since:]Sep 29, 2022
      Seller:]bikeshopservices




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                                                    360 Photo booth10-1   Entered
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                                                                                                      Platform  Motorized Party | Page
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   Hi Roberto!     Daily Deals   Brand Outlet   Gift Cards Help & Contact     360                          Sell  Watchlist     My eBay
                                                                                                                                                                 11




                      Categories            Search for anything                                              All Categories                     Search


       Back to home page    Electronics    Cameras & Photo   Camera, Drone & Photo Ac…   Other Camera & Photo Accs                      Share   Add to Watchlist


                                                                                                 360 Photo booth Automatic Video
                                                                                                 Motion Rotating Selfie Platform
                                                                                                 Motorized Party

                                                                                                             bikeshopservices (305)
                                                                                                             97.8% positive Seller's other items
                                                                                                             Contact seller



                                                                                                 US $599.00
                                                                                                 No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                 Credit*



                                                                                                 Condition: New


                                                                                                 Size:              - Select -



                                                                                                 Quantity:      1       Last One / 4 sold



                                                                                                                              Buy It Now


                                                                                                                            Add to cart


                                                                                                                          Add to watchlist
  Have one to sell? Sell now


                                                                                                             People want this. 38 people are watching
                                                                                                             this.


                                                                                                 Shipping:            Free Standard Shipping. See details
                                                                                                                      Located in: Ontario, California, United
                                                                                                                      States

                                                                                                 Delivery:            Estimated between Tue, Jan 2 and Sat,
                                                                                                                      Jan 6 to 33166

                                                                                                 Returns:             Seller does not accept returns. See
                                                                                                                      details

                                                                                                 Payments:




                                                                                                                      *No Interest if paid in full in 6 months on
                                                                                                                      $99+. See terms and apply now

                                                                                                                                 Earn up to 5x points when you
                                                                                                                                 use your eBay Mastercard®.
                                                                                                                                 Learn more



                                                                                                 Shop with confidence

                                                                                                         eBay Money Back Guarantee
                                                                                                         Get the item you ordered or your money
                                                                                                         back. Learn more


https://www.ebay.com/itm/195518736645?hash=item2d85d32905:g:CPUAAOSw3TFjmutI&amdata=enc%3AAQAIAAAAwD77jnH%2BH2nToJutlaXPiz…                                           1/5
12/26/23,Case    1:23-cv-24366-BB
          5 :40 PM                          Document 10-1 EnteredCheckout
                                                                  on FLSD | eBayDocket 12/28/2023 Page 289 of
                                                           360
                                                                     How do you like our checkout?]Give us feedback
                          Checkout


              New! You can split payment for this purchase across two cards.




      Pay with           Split payment between two cards                  Subtotal (1 item)                   $1,499.00
                                                                          Shipping                                  Free
           You can split your payment for this order. Add Card            Tax*                                  $104.93



                        x-6789 Expired                                    Order total                       $1,603.93

                                                                            By placing your order, you agree to eBay's
                                                                            User Agreement and Privacy Notice.]
              Add new card
                                                                            *We're required by law to collect sales tax
                                                                            and applicable fees for certain tax
                                                                            authorities. Learn more]


                        PayPal
                                                                                        Pay with PayPal


                        No Interest if paid in full in 6 months.                 You'll finish checkout on PayPal
                        Apply now. See terms



                        Google Pay                                                         See details




      Ship to

      ENCARGA ROBERTO ROMERO
      8611 NW 72nd St
      Doral, FL 33166-2311
      United States
      (786) 687-9611
      Change




      Review item and shipping

      Seller: ]bikeshopser... | Message to seller

                             360 Photo booth Automatic Video
                             Motion Rotating Selfie Platform
                             Motorized Party
                             Size: 80cm/31.50in+Flight case


https://pay.ebay.com/rxo?action=view&sessionid=211805 2217011                                                              1/2
12/26/23,Case    1:23-cv-24366-BB
          5 :40 PM                     Document 10-1 EnteredCheckout
                                                             on FLSD | eBayDocket 12/28/2023 Page 290 of

                             $1,499.00                360
                             Quantity 1


                             Delivery
                             Est. delivery: Jan 2 – Jan 6
                             Standard Shipping
                             Free




      Gift cards, coupons, eBay Bucks



         Enter code:                                      Apply




      Donate to charity (optional)

      The Skatepark Project
      Join The Skatepark Project in helping underserved
      communities create safe and inclusive public skateparks
      for youth. PayPal Giving Fund (PPGF) receives your
      donation and grants 100% to a charity no later than 30
      days after the end of the month in which the donation is
      made. Donations are non-refundable and typically tax
      deductible. PPGF may be unable to grant funds to a
      charity if the charity has lost tax exempt status, has
      closed, or no longer accepts funds from PPGF.


      Select amount            None




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https://pay.ebay.com/rxo?action=view&sessionid=211805 2217011                                                                     2/2
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                                     360
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                                     360




                 Defendant No.: 63

                        Store Name:
                          bingobuy

                            Platform:
                              Ebay




  23-cv-24366
12/26/23,Case   1:23-cv-24366-BB
          5:42 PM                             Document 10-1 Entered   on FLSD
                                                                 bingobuy          Docket 12/28/2023 Page 293 of
                                                                          | eBay Stores
                                                             360                                                         11
 Hi Roberto!             Daily Deals        Brand Outlet   Gift Cards    Help & Sell
                                                                                ContactWatchlist     My eBay



                            Categories                Search for anyth         All Categories                  Search




                             bingobuy
                             97.7% positive feedback            49K items sold      1.1K followers
                                  Share            Contact          Save Seller


                  Categories                   Shop        About        Feedback                Search all 1,447 items



       About us
       Welcome to visit our store.

       Location:]China
       Member since:]Aug 14, 2018
       Seller:]bingobuy




                                 Do you like our store experience?




https://www.ebay.com/str/hlustools?_tab=1                                                                                 1/2
12/26/23,Case   1:23-cv-24366-BB
          5:42 PM                                 Document
                                                   100cm 360 Photo 10-1    Entered
                                                                     Booth Slow        on FLSD
                                                                                Motion Video PlatformDocket    12/28/2023
                                                                                                     Automatic Rotating Selfie iiC3 |Page
                                                                                                                                     eBay 294 of
   Hi Roberto!     Daily Deals   Brand Outlet   Gift Cards Help & Contact     360                            Sell  Watchlist      My eBay
                                                                                                                                                                11




                      Categories            Search for anything                                               All Categories                      Search


       Back to home page    Electronics    Cameras & Photo    Camera, Drone & Photo Ac…   Other Camera & Photo Accs                     Share     Add to Watchlist


     SAVE UP TO 7% WHEN YOU BUY MORE

                                                                                                  100cm 360 Photo Booth Slow
                                                                                                  Motion Video Platform Automatic
                                                                                                  Rotating Selfie iiC3

                                                                                                              bingobuy (9334)
                                                                                                              97.7% positive Seller's other items
                                                                                                              Contact seller



                                                                                                  US $949.99/ea
                                                                                                  Was US $999.99
                                                                                                  Save US $50.00 (5% off)

                                                                                                  No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                  Credit*



                                                                                                  Condition: New

                                                                                                  Sale ends in: 5h 25m


                                                                                                  Size:              - Select -



                                                                                                  Quantity:      1       5 available / 5 sold


                                                                                                  Bulk savings:


                                                                                                                                                                     4o
                                                                                                        Buy 1                Buy 2                Buy 3
  Have one to sell? Sell now
                                                                                                     $949.99/ea            $921.49/ea           $902.49/ea
                                                                                                                                                                $88




                                                                                                                               Buy It Now


                                                                                                                             Add to cart


                                                                                                                           Add to watchlist



                                                                                                              Breathe easy. Returns accepted.



                                                                                                  Shipping:            Free Standard Shipping. See details
                                                                                                                       Located in: Chino, California, United
                                                                                                                       States

                                                                                                  Delivery:            Estimated between Tue, Jan 2 and Sat,
                                                                                                                       Jan 6 to 33166

                                                                                                  Returns:             30 days returns. Buyer pays for return
                                                                                                                       shipping. See details

                                                                                                  Payments:




https://www.ebay.com/itm/364261851414?hash=item54cfb2c116:g:Mi8AAOSwf2NkZLAW&amdata=enc%3AAQAIAAAA4F%2BVud2fLOtEsJPAnAv31…                                           1/6
12/26/23,Case   1:23-cv-24366-BB
          5:43 PM                          Document 10-1 EnteredCheckout
                                                                 on FLSD | eBayDocket 12/28/2023 Page 295 of
                                                          360
                                                                    How do you like our checkout?]Give us feedback
                          Checkout


             New! You can split payment for this purchase across two cards.




      Pay with           Split payment between two cards                 Subtotal (1 item)                     $949.99
                                                                         Shipping                                  Free
           You can split your payment for this order. Add Card           Tax*                                   $66.50



                       x-6789 Expired                                    Order total                        $1,016.49

                                                                           By placing your order, you agree to eBay's
                                                                           User Agreement and Privacy Notice.]
              Add new card
                                                                           *We're required by law to collect sales tax
                                                                           and applicable fees for certain tax
                                                                           authorities. Learn more]


                       PayPal
                                                                                       Pay with PayPal


                       No Interest if paid in full in 6 months.                 You'll finish checkout on PayPal
                       Apply now. See terms



                       Google Pay                                                         See details




      Ship to

      ENCARGA ROBERTO ROMERO
      8611 NW 72nd St
      Doral, FL 33166-2311
      United States
      (786) 687-9611
      Change




      Review item and shipping

      Seller: ]bingobuy | Message to seller

                            100cm 360 Photo Booth Slow Motion
                            Video Platform Automatic Rotating
                            Selfie iiC3
                            Size: A 68CM


https://pay.ebay.com/rxo?action=view&sessionid=2118053438011                                                              1/2
12/26/23,Case   1:23-cv-24366-BB
          5:43 PM                   Document 10-1 EnteredCheckout
                                                          on FLSD | eBayDocket 12/28/2023 Page 296 of

                            $949.99                360
                            $999.99


                               Quantity
                               1



                            Delivery
                            Est. delivery: Jan 2 – Jan 6
                            FedEx Ground or FedEx Home
                            Delivery
                            Free



                            Save up to 5%



      Gift cards, coupons, eBay Bucks



         Enter code:                                     Apply




      Donate to charity (optional)

      The Skatepark Project
      Join The Skatepark Project in helping underserved
      communities create safe and inclusive public skateparks
      for youth. PayPal Giving Fund (PPGF) receives your
      donation and grants 100% to a charity no later than 30
      days after the end of the month in which the donation is
      made. Donations are non-refundable and typically tax
      deductible. PPGF may be unable to grant funds to a
      charity if the charity has lost tax exempt status, has
      closed, or no longer accepts funds from PPGF.


      Select amount           None




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https://pay.ebay.com/rxo?action=view&sessionid=2118053438011                                                                      2/2
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                                     360
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                                     360




                 Defendant No.: 64

                        Store Name:
                        Blacktechlife

                            Platform:
                              Ebay




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12/26/23,Case   1:23-cv-24366-BB
          6:04 PM                            Document 10-1 Entered   on FLSD
                                                               Blacktechlife         Docket 12/28/2023 Page 299 of
                                                                             | eBay Stores
                                                            360                                                         11
 Hi Roberto!            Daily Deals        Brand Outlet   Gift Cards    Help & Sell
                                                                               ContactWatchlist     My eBay



                           Categories                Search for anyth         All Categories                  Search




                             Blacktechlife
                             98.5% positive feedback           36K items sold       976 followers
                                 Share            Contact          Save Seller


                  Categories                  Shop        About        Feedback                Search all 2,477 items



      About us

      Location:]China
      Member since:]Aug 11, 2018
      Seller:]blacktech*life




                                 Do you like our store experience?




https://www.ebay.com/str/sgusmall?_tab=1                                                                                 1/2
12/26/23,Case   1:23-cv-24366-BB
          6:05 PM                                         Document
                                                          360 Photo Booth10-1    Entered
                                                                          Slow Motion         on FLSD
                                                                                      Video Platform       Docket
                                                                                                     360 Automatic    12/28/2023
                                                                                                                   Rotating Selfies 100cm Page
                                                                                                                                          | eBay 300 of
  Hi Roberto!         Daily Deals    Brand Outlet    Gift Cards    Help & Contact          360                                    Sell       Watchlist        My eBay
                                                                                                                                                                                           11




                          Categories             Search for anything                                                              All Categories                          Search


      Back to home page         Electronics     Cameras & Photo         Camera, Drone & Photo Ac…             Other Camera & Photo Accs                                             Share


   This listing was ended by the seller on Mon, Nov 6 at 2:03 AM because there was an error in the listing.



                                                                                                                      360 Photo Booth Slow Motion
                                                                                                                      Video Platform 360 Automatic
                                                                                                                      Rotating Selfies 100cm

                                                                                                                                  blacktech*life (6665)
                                                                                                                                  98.5% positive Seller's other items
                                                                                                                                  Contact seller



                                                                                                                      US $1,399.99
                                                                                                                      or Best Offer

                                                                                                                      No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                                      Credit*



                                                                                                                      Condition: New
                                                                                                  ED
                                                                                                                      Quantity:          1     More than 10 available
                                                                                                D
                                                                                             EN



                                                                                                                      Shipping:              Free Standard Shipping. See details
                                                                                                                                             Located in: Cranbury, United States

                                                                                                                      Delivery:              Estimated between Sat, Dec 30 and Fri,
                                                                                                                                             Jan 5 to 33166

                                                                                                                      Returns:               30 days returns. Seller pays for return
                                                                                                                                             shipping. See details


  Have one to sell? Sell now                                                                                          Payments:




                                                                                                                                             *No Interest if paid in full in 6 months on
                                                                                                                                             $99+. See terms and apply now

                                                                                                                                                         Earn up to 5x points when you
                                                                                                                                                         use your eBay Mastercard®.
                                                                                                                                                         Learn more



                                                                                                                      Shop with confidence

                                                                                                                           eBay Money Back Guarantee
                                                                                                                           Get the item you ordered or your money
                                                                                                                           back. Learn more



    About this item         Shipping, returns, and payments                                                                                                             Report this item




    Seller assumes all responsibility for this listing.                                                                                         eBay item number: 385916342881



    Last updated on Sep 10, 2023 22:34:53 PDT View all revisions




https://www.ebay.com/itm/385916342881?hash=item59da681261:g:KIcAAOSwRJhkUhjL&amdata=enc%3AAQAIAAAAwMLkvq%2FG7DBNPrqoCB2r…                                                                       1/5
12/26/23,Case   1:23-cv-24366-BB
          5:45 PM                            Document 10-1 Entered   on FLSD
                                                               Blacktechlife         Docket 12/28/2023 Page 301 of
                                                                             | eBay Stores
                                                            360                                                         11
 Hi Roberto!            Daily Deals        Brand Outlet   Gift Cards    Help & Sell
                                                                               ContactWatchlist     My eBay



                           Categories                Search for anyth         All Categories                  Search




                             Blacktechlife
                             98.5% positive feedback           36K items sold       976 followers
                                 Share            Contact          Save Seller


                  Categories                  Shop        About        Feedback                Search all 2,477 items



      About us

      Location:]China
      Member since:]Aug 11, 2018
      Seller:]blacktech*life




                                 Do you like our store experience?




https://www.ebay.com/str/sgusmall?_tab=1                                                                                 1/2
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 302 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 303 of
                                     360




                 Defendant No.: 65

                        Store Name:
                           tp*666

                            Platform:
                              Ebay




  23-cv-24366
12/26/23,Case   1:23-cv-24366-BB
          6:25 PM                         Document 10-1 Entered on| FLSD
                                                             us*hgs         Docket 12/28/2023 Page 304 of
                                                                    eBay Stores
                                                         360                                                         11
 Hi Roberto!            Daily Deals     Brand Outlet   Gift Cards    Help & Sell
                                                                            ContactWatchlist     My eBay



                           Categories             Search for anyth         All Categories                  Search




                            us*hgs
                            98% positive feedback         14K items sold       387 followers
                                 Share         Contact          Save Seller


                 Categories                Shop        About        Feedback                Search all 1,979 items



      About us
      Welcome to us*hgs Store. Pay attention to us͠ Every day We will give you Suprise!

      Location:]China
      Member since:]Jan 04, 2019
      Seller:]tp*666




                                Do you like our store experience?




https://www.ebay.com/str/ushgs?_tab=1                                                                                 1/2
12/26/23,Case   1:23-cv-24366-BB
          6:24 PM                                      Document
                                                        100cm 360 Photo 10-1    Entered
                                                                          Booth Slow        on FLSD
                                                                                     Motion Video PlatformDocket    12/28/2023
                                                                                                          Automatic Rotating Selfie iiu3 |Page
                                                                                                                                          eBay 305 of
  Hi Roberto!         Daily Deals    Brand Outlet    Gift Cards Help & Contact     360                            Sell  Watchlist      My eBay
                                                                                                                                                                                       11




                          Categories             Search for anything                                                               All Categories                     Search


      Back to home page         Electronics     Cameras & Photo          Camera, Drone & Photo Ac…             Other Camera & Photo Accs                                          Share


   This listing was ended by the seller on Tue, Oct 17 at 1:59 AM because there was an error in the listing.



                                                                                                                       100cm 360 Photo Booth Slow
                                                                                                                       Motion Video Platform Automatic
                                                                                                                       Rotating Selfie iiu3

                                                                                                                                   tp*666 (2468)
                                                                                                                                   98% positive Seller's other items
                                                                                                                                   Contact seller



                                                                                                                       US $999.99
                                                                                                                       No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                                       Credit*



                                                                                                                       Condition: New


                                                                                                                       Size:
                                                                                                    ED                                    - Select -
                                                                                                  D
                                                                                              EN



                                                                                                                       Quantity:      1       5 available


                                                                                                                       Shipping:            Free Standard Shipping. See details
                                                                                                                                            Located in: Chino, California, United
                                                                                                                                            States

                                                                                                                       Delivery:            Estimated between Sat, Dec 30 and Fri,
                                                                                                                                            Jan 5 to 33166

  Have one to sell? Sell now                                                                                           Returns:             30 days returns. Seller pays for return
                                                                                                                                            shipping. See details

                                                                                                                       Payments:




                                                                                                                                            *No Interest if paid in full in 6 months on
                                                                                                                                            $99+. See terms and apply now

                                                                                                                                                       Earn up to 5x points when you
                                                                                                                                                       use your eBay Mastercard®.
                                                                                                                                                       Learn more



                                                                                                                       Shop with confidence

                                                                                                                               eBay Money Back Guarantee
                                                                                                                               Get the item you ordered or your money
                                                                                                                               back. Learn more



    About this item         Shipping, returns, and payments                                                                                                         Report this item




    Seller assumes all responsibility for this listing.                                                                                        eBay item number: 354855294611



    Last updated on Aug 25, 2023 00:26:58 PDT View all revisions


https://www.ebay.com/itm/354855294611?hash=item529f061693:g:XQMAAOSw-~NkZYop&amdata=enc%3AAQAIAAAA4Nnu4%2B1WSfyCJcFLuM…                                                                     1/5
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 306 of
                                     360
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                                     360




                 Defendant No.: 66

                        Store Name:
                       bright-yourlife

                            Platform:
                              Ebay




  23-cv-24366
12/26/23,Case   1:23-cv-24366-BB
          6:27 PM                                Document 10-1 Entered    on FLSD
                                                                  bright-yourlife        Docket 12/28/2023 Page 308 of
                                                                                  | eBay Stores
                                                                360                                                          11
 Hi Roberto!              Daily Deals      Brand Outlet     Gift Cards   Help & Sell
                                                                                ContactWatchlist      My eBay



                             Categories                 Search for anyth       All Categories                   Search




                              bright-yourlife
                              100% positive feedback              12K items sold    140 followers
                                   Share             Contact         Save Seller


                  Categories                     Shop      Sale      About         Feedback              Search all 215 it



       Sale items




            Extra $30 off
            each item
            with code
            Expires
            Decembe…
            Terms &
            Conditions


                 Shop
                  All



                                   39.4 inch 360             45.3 inch 360          360 Photo Booth     360 Photo booth
                                   Photo Booth               Photo Booth 360        31.5" Video         Video Motion
                                   Video Booth…              Video Booth…           Booth Platform…     Automatic…

                                   $1,134.00                 $1,792.80              $894.00             $1,018.80
                                   $1,890.00]40%             $2,988.00]40%          $1,490.00]40%       $1,698.00]40%
                                   off                       off                    off                 off


https://www.ebay.com/str/brightyourlife?_tab=1                                                                                1/2
12/26/23,Case   1:23-cv-24366-BB
          6:28 PM                                 Document
                                                    360 Photo booth10-1    Entered
                                                                    Video Motion      onRotating
                                                                                 Automatic FLSDSelfie
                                                                                                 Docket      12/28/2023
                                                                                                      Platform  Remote Control | Page
                                                                                                                                 eBay 309 of
  Hi Roberto!      Daily Deals   Brand Outlet   Gift Cards Help & Contact     360                          Sell  Watchlist   My eBay



                      Categories            Search for anything                                              All Categories                     Search


      Back to home page     Electronics    Cameras & Photo   Camera, Drone & Photo Ac…   Other Camera & Photo Accs                      Share   Add to Watchlist


    SAVE UP TO 40% See all eligible items and terms

                                                                                                 360 Photo booth Video Motion
                                                                                                 Automatic Rotating Selfie Platform
                                                                                                 Remote Control

                                                                                                             bright-yourlife (2214)
                                                                                                             100% positive Seller's other items
                                                                                                             Contact seller



                                                                                                 US $750.00
                                                                                                 Was US $1,250.00
                                                                                                 Save US $500.00 (40% off)

                                                                                                 No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                 Credit*



                                                                                                 Condition: New

                                                                                                 Sale ends in: 7h 31m


                                                                                                 Size:              - Select -



                                                                                                 Quantity:      1       3 available



                                                                                                                              Buy It Now

  Have one to sell? Sell now
                                                                                                                            Add to cart


                                                                                                                          Add to watchlist



                                                                                                             People are checking this out. 5 have added
                                                                                                             this to their watchlist.


                                                                                                 Shipping:            Free Standard Shipping. See details
                                                                                                                      Located in: Secaucus, New Jersey,
                                                                                                                      United States

                                                                                                 Delivery:            Estimated between Fri, Dec 29 and Tue,
                                                                                                                      Jan 2 to 33166

                                                                                                 Returns:             Seller does not accept returns. See
                                                                                                                      details

                                                                                                 Payments:




                                                                                                                      *No Interest if paid in full in 6 months on
                                                                                                                      $99+. See terms and apply now

                                                                                                                                 Earn up to 5x points when you
                                                                                                                                 use your eBay Mastercard®.
                                                                                                                                 Learn more



https://www.ebay.com/itm/234431327487?hash=item3695322cff:g:9LoAAOSw9DFkxM4q&amdata=enc%3AAQAIAAAA4HXhPGNXew%2Fwbttm3H3…                                            1/4
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                                     360




                 Defendant No.: 67

                     Store Name:
                    LED Light Store

                            Platform:
                              Ebay




  23-cv-24366
12/26/23,Case   1:23-cv-24366-BB
          6:30 PM                            Document 10-1 Entered  onStore
                                                             LED Light  FLSD| eBayDocket
                                                                                  Stores 12/28/2023 Page 311 of
                                                            360                                                       11
 Hi Roberto!             Daily Deals      Brand Outlet   Gift Cards    Help & Sell
                                                                              ContactWatchlist     My eBay



                            Categories               Search for anyth        All Categories                  Search




                             LED Light Store
                             98% positive feedback          14K items sold       190 followers
                                  Share           Contact         Save Seller


                  Categories                  Shop       About        Feedback                Search all 506 items



       About us
       Welcome to my shop If you like my store, please add me to your favorite͠
       We are a company specializing in the production of lighting products. All of our products comply
       with international quality standards and are greatly appreciated in a variety of different markets
       throughout the world. Our LED products can easily lower your home energy costs, which will allow
       significant savings in your electricity bill, as well as reduce CO2 emissions helping to achieve a
       sustainable development for the environme.

       Location:]China
       Member since:]Jul 17, 2017
       Seller:]bright-your-world




       Top Rated Seller

https://www.ebay.com/str/brightyourworld?_tab=1                                                                        1/2
12/26/23,Case   1:23-cv-24366-BB
          6:31 PM                                     Document
                                                        45.3'' 360 Photo10-1     Entered
                                                                          Booth Machine Selfieon  FLSD
                                                                                               Automatic   Docket
                                                                                                         Spin Platform 12/28/2023
                                                                                                                       DJ Party Wedding | Page
                                                                                                                                          eBay 312 of
  Hi Roberto!        Daily Deals    Brand Outlet    Gift Cards   Help & Contact    360                               Sell  Watchlist   My eBay



                         Categories             Search for anything                                                           All Categories                   Search


      Back to home page        Electronics     Cameras & Photo         Camera, Drone & Photo Ac…          Other Camera & Photo Accs                                         Share


   This listing was ended by the seller on Thu, Oct 26 at 12:08 AM because the item was lost or broken.



                                                                                                                  45.3'' 360 Photo Booth Machine
                                                                                                                  Selfie Automatic Spin Platform DJ
                                                                                                                  Party Wedding

                                                                                                                              ledlight1 (3234)
                                                                                                                              99.5% positive Seller's other items
                                                                                                                              Contact seller



                                                                                                                  US $2,093.00
                                                                                                                  or Best Offer
                                                                                                                  Was US $2,990.00
                                                                                                                  Save US $897.00 (30% off)

                                                                                                                  No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                                  Credit*


                                                                                                 ED
                                                                                                                  Condition: New
                                                                                               D
                                                                                            EN



                                                                                                                  Ended: Oct 26, 2023 00:08:51 PDT


                                                                                                                  Quantity:      1     4 available


                                                                                                                  Shipping:          Free Standard Shipping from Greater
                                                                                                                                     China to worldwide. See details
                                                                                                                                     International shipment of items may be
                                                                                                                                     subject to customs processing and
                                                                                                                                     additional charges.
  Have one to sell? Sell now                                                                                                         Located in: SZ, China

                                                                                                                  Delivery:             Estimated between Mon, Jan 22
                                                                                                                                     and Wed, Feb 7 to 33166
                                                                                                                                     This item has an extended handling
                                                                                                                                     time and a delivery estimate greater
                                                                                                                                     than 20 business days.
                                                                                                                                     Please allow additional time if
                                                                                                                                     international delivery is subject to
                                                                                                                                     customs processing.

                                                                                                                  Returns:           Seller does not accept returns. See
                                                                                                                                     details

                                                                                                                  Payments:




                                                                                                                                     *No Interest if paid in full in 6 months on
                                                                                                                                     $99+. See terms and apply now

                                                                                                                                               Earn up to 5x points when you
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https://www.ebay.com/itm/285438830406?hash=item42757ae746:g:GYkAAOSwD1RkVMsU&amdata=enc%3AAQAIAAAA4JvwmrW8uleZ1YfZr%2F…                                                            1/11
12/26/23,Case   1:23-cv-24366-BB
          6:31 PM                                 Document
                                                  45.3'' 360 Photo10-1    Entered
                                                                   Booth Machine Selfieon  FLSD
                                                                                        Automatic   Docket
                                                                                                  Spin Platform 12/28/2023
                                                                                                                DJ Party Wedding | Page
                                                                                                                                   eBay 313 of
     Support Smartphone, iPad, GoPro, DSLR camera                           360
     360 Photo Booth is the most versatile booth available – featuring compatibility with many different versions of photo capture technology. Whether you are using
    a smartphone, iPad, GoPro or DSLR camera, it will bring you the amazing video effect.



    Money Maker

    The average rental for the 360 photo booths is around $500 per hour.

    One 4 hour rental = $500 x 4 hours = $2000

    Make your money back in just 2 to 3 events!




https://www.ebay.com/itm/285438830406?hash=item42757ae746:g:GYkAAOSwD1RkVMsU&amdata=enc%3AAQAIAAAA4JvwmrW8uleZ1YfZr%2F…                                                4/11
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                                     360




                 Defendant No.: 68

                        Store Name:
                         buli_2505

                            Platform:
                              Ebay




  23-cv-24366
12/26/23,Case   1:23-cv-24366-BB
          6:34 PM                            Document 10-1 Entered   on FLSD
                                                              Industrial-life        Docket 12/28/2023 Page 315 of
                                                                              | eBay Stores
                                                            360                                                        11
 Hi Roberto!             Daily Deals       Brand Outlet   Gift Cards    Help & Sell
                                                                               ContactWatchlist     My eBay



                            Categories               Search for anyth         All Categories                  Search




                             Industrial-life
                             96.3% positive feedback           690 items sold       35 followers
                                  Share           Contact          Save Seller


                  Categories                  Shop        About        Feedback                Search all 844 items



       About us
       Welcome to Industrial-life.We provide industrial, electronic, auto parts, beauty, home and other
       products to meet all your needs. As a reliable seller, we always strive for excellence, innovation, and
       high-quality products. Welcome to choose the perfect product that suits your personality. Just
       shop with confidence now!

       Location:]China
       Member since:]Mar 20, 2023
       Seller:]buli_2505




       Top Rated Seller

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       customer service Learn more




https://www.ebay.com/str/buli2505?_tab=1                                                                                1/2
12/26/23,Case   1:23-cv-24366-BB
          6:33 PM                                 Document
                                                  100cm 360 Photo10-1    Entered
                                                                  Booth Slow         on FLSD
                                                                             Motion Video          DocketRotating
                                                                                          Platform Automatic 12/28/2023
                                                                                                                  Selfie iixmq Page
                                                                                                                               | eBay 316 of
  Hi Roberto!      Daily Deals   Brand Outlet   Gift Cards   Help & Contact    360                               Sell         Watchlist        My eBay
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                      Categories            Search for anything                                                  All Categories                          Search


      Back to home page     Electronics    Cameras & Photo       Camera, Drone & Photo Ac…   Other Camera & Photo Accs                           Share   Add to Watchlist


    SAVE UP TO 7% WHEN YOU BUY MORE

                                                                                                     100cm 360 Photo Booth Slow
                                                                                                     Motion Video Platform Automatic
                                                                                                     Rotating Selfie iixmq

                                                                                                                 Industrial-life (150)
                                                                                                                 96.3% positive Seller's other items
                                                                                                                 Contact seller



                                                                                                     US $949.99
                                                                                                     Was US $999.99
                                                                                                     Save US $50.00 (5% off)

                                                                                                     No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                     Credit*



                                                                                                     Condition: New

                                                                                                     Sale ends in: 25m 6s


                                                                                                     Size:                  - Select -



                                                                                                     Quantity:          1       Last One



                                                                                                                                     Buy It Now

  Have one to sell? Sell now
                                                                                                                                    Add to cart


                                                                                                                                  Add to watchlist



                                                                                                                 Breathe easy. Returns accepted.



                                                                                                     Shipping:                Free Standard Shipping. See details
                                                                                                                              Located in: Chino, California, United
                                                                                                                              States

                                                                                                     Delivery:                Estimated between Sat, Dec 30 and Fri,
                                                                                                                              Jan 5 to 33166

                                                                                                     Returns:                 30 days returns. Buyer pays for return
                                                                                                                              shipping. See details

                                                                                                     Payments:




                                                                                                                              *No Interest if paid in full in 6 months on
                                                                                                                              $99+. See terms and apply now

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          6:34 PM                          Document 10-1 EnteredCheckout
                                                                 on FLSD | eBayDocket 12/28/2023 Page 317 of
                                                          360
                                                                    How do you like our checkout?]Give us feedback
                          Checkout


             New! You can split payment for this purchase across two cards.




      Pay with           Split payment between two cards                 Subtotal (1 item)                     $949.99
                                                                         Shipping                                  Free
           You can split your payment for this order. Add Card           Tax*                                   $66.50



                       x-6789 Expired                                    Order total                        $1,016.49

                                                                           By placing your order, you agree to eBay's
                                                                           User Agreement and Privacy Notice.]
              Add new card
                                                                           *We're required by law to collect sales tax
                                                                           and applicable fees for certain tax
                                                                           authorities. Learn more]


                       PayPal
                                                                                       Pay with PayPal


                       No Interest if paid in full in 6 months.                 You'll finish checkout on PayPal
                       Apply now. See terms



                       Google Pay                                                         See details




      Ship to

      ENCARGA ROBERTO ROMERO
      8611 NW 72nd St
      Doral, FL 33166-2311
      United States
      (786) 687-9611
      Change




      Review item and shipping

      Seller: ]buli_2505 | Message to seller

                            100cm 360 Photo Booth Slow Motion
                            Video Platform Automatic Rotating
                            Selfie iixmq
                            Size: A 68CM


https://pay.ebay.com/rxo?action=view&sessionid=2118073481011                                                              1/2
12/26/23,Case   1:23-cv-24366-BB
          6:34 PM                   Document 10-1 EnteredCheckout
                                                          on FLSD | eBayDocket 12/28/2023 Page 318 of

                            $949.99                360
                            $999.99
                            Quantity 1


                            Delivery
                            Est. delivery: Dec 30 – Jan 5
                            FedEx Ground or FedEx Home
                            Delivery
                            Free



                            Save up to 5%



      Gift cards, coupons, eBay Bucks



         Enter code:                                     Apply




      Donate to charity (optional)

      The Skatepark Project
      Join The Skatepark Project in helping underserved
      communities create safe and inclusive public skateparks
      for youth. PayPal Giving Fund (PPGF) receives your
      donation and grants 100% to a charity no later than 30
      days after the end of the month in which the donation is
      made. Donations are non-refundable and typically tax
      deductible. PPGF may be unable to grant funds to a
      charity if the charity has lost tax exempt status, has
      closed, or no longer accepts funds from PPGF.


      Select amount           None




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                                     360




                 Defendant No.: 69

                        Store Name:
                          cdsundly

                            Platform:
                              Ebay




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          6:36 PM                             Document 10-1 Entered  on |FLSD
                                                                 cdsundly        Docket 12/28/2023 Page 320 of
                                                                          eBay Stores
                                                             360                                                                               11
 Hi Roberto!            Daily Deals         Brand Outlet   Gift Cards      Help & Sell
                                                                                  ContactWatchlist            My eBay



                           Categories                  Search for anyth           All Categories                            Search




                             cdsundly
                             98.7% positive feedback              2.7K items sold          85 followers
                                 Share             Contact            Save Seller


      Shop          About          Feedback                     Search all items



      About us
      Hello there! Welcome to cdsundly.!!
      Our shop sells machinery, household, daily necessities, pet supplies, kitchen supplies and more.
      Including outboard machines, wallpaper, racks, car wash tubes, door opening equipment, etc.
          If you have any questions, please feel free to contact us, we will reply you within 12 hours.


      Our pre-sales and after-sales services are very positive and fast, and we look forward to a pleasant
      transaction with you.

      Location:]China
      Member since:]Jun 12, 2019
      Seller:]cdsundly




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12/26/23,Case   1:23-cv-24366-BB
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                                                                                              31.5"       Docket
                                                                                                    Automatic         12/28/2023
                                                                                                              Spinner Motorized Wedding Page
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  Hi Roberto!          Daily Deals   Brand Outlet     Gift Cards Help & Contact     360                             Sell  Watchlist   My eBay



                           Categories             Search for anything                                                             All Categories                    Search


      Back to home page         Electronics      Cameras & Photo         Camera, Drone & Photo Ac…            Other Camera & Photo Accs                                         Share


    This listing was ended by the seller on Fri, Oct 13 at 4:02 AM because the item is no longer available.



                                                                                                                      360 Photo Booth Video Booth
                                                                                                                      Platform 31.5" Automatic Spinner
                                                                                                                      Motorized Wedding

                                                                                                                                  cdsundly (516)
                                                                                                                                  98.7% positive Seller's other items
                                                                                                                                  Contact seller



                                                                                                                      US $949.00
                                                                                                                      or Best Offer

                                                                                                                      No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                                      Credit*



                                                                                                                      Condition: New
                                                                                                    ED
                                                                                                                      Quantity:       1     2 available
                                                                                                  D
                                                                                               EN



                                                                                                                      Shipping:           Free Standard Shipping. See details
                                                                                                                                          Located in: Los Angeles, New Jersey,
                                                                                                                                          Atlanta, United States

                                                                                                                      Delivery:           Estimated between Sat, Dec 30 and Fri,
                                                                                                                                          Jan 5 to 33166

                                                                                                                      Returns:            30 days returns. Buyer pays for return
                                                                                                                                          shipping. See details
  Have one to sell? Sell now
                                                                                                                      Payments:




                                                                                                                                          *No Interest if paid in full in 6 months on
                                                                                                                                          $99+. See terms and apply now

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     About this item         Shipping, returns, and payments                                                                                                      Report this item




    Seller assumes all responsibility for this listing.                                                                                     eBay item number: 134587159543



    Last updated on Oct 06, 2023 22:37:06 PDT View all revisions




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                 Defendant No.: 70

                        Store Name:
                         chetgaya40

                            Platform:
                              Ebay




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                                                 ebay.com/usr/chetgaya40?_trksid=p4429486.m3561.l2559&_tab=1
                                                                 360                                                                           11
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                                                                                  ContactWatchlist            My eBay



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12/26/23,Case   1:23-cv-24366-BB New
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                                     100cm 360 Photo BoothEntered
                                                           Video Slowon FLSD
                                                                     Motion       Docket
                                                                            Auto Rotating 36012/28/2023       Page
                                                                                              Photobooth Machine | eBay325 of
   Hi Roberto!         Daily Deals   Brand Outlet    Gift Cards    Help & Contact          360                                    Sell         Watchlist        My eBay
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                          Categories             Search for anything                                                              All Categories                            Search


       Back to home page        Electronics     Cameras & Photo         Camera, Drone & Photo Ac…             Other Camera & Photo Accs                                               Share


    This listing was ended by the seller on Mon, Dec 11 at 8:55 AM because the item is no longer available.



                                                                                                                      New 100cm 360 Photo Booth Video
                                                                                                                      Slow Motion Auto Rotating 360
                                                                                                                      Photobooth Machine

                                                                                                                                  cheap_tees (41)
                                                                                                                                  100% positive Seller's other items
                                                                                                                                  Contact seller



                                                                                                                      US $1,450.00
                                                                                                                      No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                                      Credit*



                                                                                                                      Condition: New


                                                                                                                      Types:
                                                                                                   ED                                        - Select -
                                                                                                 D
                                                                                             EN



                                                                                                                      Quantity:          1       2 available


                                                                                                                      Shipping:                Free Economy Shipping. See details
                                                                                                                                               Located in: Marlton, New Jersey, United
                                                                                                                                               States

                                                                                                                      Delivery:                     Estimated between Fri, Jan 5 and
                                                                                                                                               Fri, Jan 12 to 33166
                                                                                                                                               Includes 5 business days handling time
  Have one to sell? Sell now
                                                                                                                                               after receipt of cleared payment.

                                                                                                                      Returns:                 30 days returns. Buyer pays for return
                                                                                                                                               shipping. See details

                                                                                                                      Payments:




                                                                                                                                               *No Interest if paid in full in 6 months on
                                                                                                                                               $99+. See terms and apply now

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    Seller assumes all responsibility for this listing.                                                                                          eBay item number: 204381929222


https://www.ebay.com/itm/204381929222?hash=item2f961cbf06:g:pdIAAOSwO3tknlan&amdata=enc%3AAQAIAAAA4E4rFBFf9uCK%2BeLZEFghJO…                                                                       1/3
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                 Defendant No.: 71

                       Store Name:
                       chinatopeshop

                            Platform:
                              Ebay




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                                                                                                                                                                                                          11




                           Categories                 Search for anything                                                                                  All Categories                  Search




                           chinatopeshop
                           97.2% positive feedback              51K items sold          427 followers                                                           Share         Contact       Save Seller




                Categories                 Shop          Sale        About          Feedback                                Search all 1,441 items



     Sale items




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          2023. Max discount…
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                                              Denshine Fiber Optic LED                 Sale 5MM Needle Holder V                  Dentist Air Turbine Dental             Fiber Optic LED Dental fast   S
                                              Dental high Speed                        Type 5X330mm                              Cartridge Rator Large                  high Speed Handpiece          S
                                              Handpiece Push Big…                      Laparoscopy Laparoscopi…                  Torque Wrench 180-245Kpa               Push Big ceramic Turbine …    V

                                              $18.99                                   $96.09                                    $4.99                                  $10.49                        $




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                                                          360 Degree Wedding   Entered
                                                                                   Booth w/on  FLSD
                                                                                            Slow Motion -Docket     12/28/2023
                                                                                                         Fits 3-5 people                Page 329 of
                                                                                                                         up to 880lbs | eBay
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                          Categories             Search for anything                                                             All Categories                   Search


      Back to home page         Electronics     Cameras & Photo          Camera, Drone & Photo Ac…           Other Camera & Photo Accs                                        Share


   This listing was ended by the seller on Fri, Dec 15 at 4:12 AM because the item is no longer available.



                                                                                                                     360 Degree Wedding Photo Booth
                                                                                                                     w/ Slow Motion - Fits 3-5 people up
                                                                                                                     to 880lbs

                                                                                                                                 chinatopeshop (10667)
                                                                                                                                 97.2% positive Seller's other items
                                                                                                                                 Contact seller



                                                                                                                     US $1,689.00
                                                                                                                     or Best Offer

                                                                                                                     No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                                     Credit*



                                                                                                                     Condition: New
                                                                                                    ED
                                                                                                                     Shipping:          Free Standard Shipping. See details
                                                                                                  D
                                                                                              EN


                                                                                                                                        Located in: Cranbury, New Jersey,
                                                                                                                                        United States

                                                                                                                     Delivery:          Estimated between Sat, Dec 30 and Fri,
                                                                                                                                        Jan 5 to 33166

                                                                                                                     Returns:           30 days returns. Buyer pays for return
                                                                                                                                        shipping. See details

                                                                                                                     Payments:

  Have one to sell? Sell now



                                                                                                                                        *No Interest if paid in full in 6 months on
                                                                                                                                        $99+. See terms and apply now

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    Seller assumes all responsibility for this listing.                                                                                   eBay item number: 404257870017



    Last updated on Aug 18, 2023 20:06:30 PDT View all revisions




    Item specifics


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                 Defendant No.: 72

                        Store Name:
                          chongya

                            Platform:
                              Ebay




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                                                               chongya         Docket 12/28/2023 Page 332 of
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                                                                              ContactWatchlist      My eBay



                           Categories               Search for anyth         All Categories                   Search




                            chongya
                            98.4% positive feedback           5.4K items sold       325 followers
                                 Share           Contact          Save Seller


                 Categories                  Shop        About        Feedback                Search all 639 items



      About us

      Location:]China
      Member since:]Sep 16, 2021
      Seller:]chongya




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12/26/23,Case   1:23-cv-24366-BB
          7:14 PM                                      Document
                                                        100cm 360 Photo 10-1     Entered
                                                                          Booth Slow        on FLSD
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  Hi Roberto!         Daily Deals    Brand Outlet    Gift Cards Help & Contact     360                              Sell Watchlist     My eBay
                                                                                                                                                                                       11




                          Categories             Search for anything                                                               All Categories                     Search


      Back to home page         Electronics     Cameras & Photo         Camera, Drone & Photo Ac…              Other Camera & Photo Accs                                          Share


   This listing was ended by the seller on Thu, Oct 5 at 10:58 PM because there was an error in the listing.



                                                                                                                       100cm 360 Photo Booth Slow
                                                                                                                       Motion Video Platform Automatic
                                                                                                                       Rotating Selfie new

                                                                                                                                   chongya (827)
                                                                                                                                   98.4% positive Seller's other items
                                                                                                                                   Contact seller



                                                                                                                       US $999.99
                                                                                                                       No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                                       Credit*



                                                                                                                       Condition: New


                                                                                                                       Size:
                                                                                                   ED                                     - Select -
                                                                                                 D
                                                                                              EN



                                                                                                                       Quantity:      1       2 available


                                                                                                                       Shipping:            Free Standard Shipping. See details
                                                                                                                                            Located in: Chino, California, United
                                                                                                                                            States

                                                                                                                       Delivery:            Estimated between Sat, Dec 30 and Fri,
                                                                                                                                            Jan 5 to 33166

  Have one to sell? Sell now                                                                                           Returns:             30 days returns. Buyer pays for return
                                                                                                                                            shipping. See details

                                                                                                                       Payments:




                                                                                                                                            *No Interest if paid in full in 6 months on
                                                                                                                                            $99+. See terms and apply now

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                                     360




                 Defendant No.: 73

                        Store Name:
                          cnc_tool

                            Platform:
                              Ebay




  23-cv-24366
12/26/23,Case   1:23-cv-24366-BB
          7:16 PM                            Document 10-1 Entered         on FLSD
                                                                      szcnc_tool         Docket 12/28/2023 Page 336 of
                                                                                 | eBay Stores

 Hi Roberto!          Daily Deals     Brand Outlet Gift Cards
                                                                   360
                                                              Help & Contact            Sell                                  11
                                                                                             Watchlist   My eBay



                         Categories             Search for anything                   All Categories                Search




                         szcnc_tool
                         98.4% positive feedback         9.7K items sold    310 followers
                              Share           Contact      Save Seller


                Categories              Shop      Sale     About      Feedback               Search all 583 items



      Sale items




          Extra $10 off
          each item with
          code
          Expires
          December 29,…
          Terms &
          Conditions


               Shop
                All



                                    Automatic Cake         4-18inch Automatic      4-12inch Automatic    Electric Automatic
                                    Spreading Machine      Cake Cream              Cake Spreading        Cake Cream
                                    Cake Cream…            Coating Spreader…       Machine Cake…         Coating Spatula…

                                    $473.10                $854.05                 $659.30               $464.55
                                    $498.00]5% off         $899.00]5% off          $694.00]5% off        $489.00]5% off




          Save $6 for
          every $300
          with code
https://www.ebay.com/str/luckcnctool?_tab=1                                                                                    1/3
12/26/23,Case   1:23-cv-24366-BB
          7:17 PM                                 Document
                                                   360 Photo Booth10-1    Entered
                                                                    Automatic           on FLSD
                                                                              Rotating Video           Docket
                                                                                             Selfie Platform     12/28/2023
                                                                                                             Motorized + Flight Case |Page
                                                                                                                                      eBay 337 of
   Hi Roberto!     Daily Deals   Brand Outlet   Gift Cards Help & Contact     360                               Sell  Watchlist    My eBay



                      Categories            Search for anything                                                All Categories                     Search


       Back to home page    Electronics    Cameras & Photo    Camera, Drone & Photo Ac…   Other Camera & Photo Accs                     Share    Add to Watchlist


     SAVE UP TO 5% See all eligible items and terms

                                                                                                   360 Photo Booth Automatic
                                                                                                   Rotating Video Selfie Platform
                                                                                                   Motorized + Flight Case

                                                                                                               szcnc_tool (1708)
                                                                                                               98.4% positive Seller's other items
                                                                                                               Contact seller



                                                                                                   US $1,044.05
                                                                                                   Was US $1,099.00
                                                                                                   Save US $54.95 (5% off)

                                                                                                   No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                   Credit*



                                                                                                   Condition: New


                                                                                                   Size:              - Select -



                                                                                                   Quantity:      1       2 available



                                                                                                                                Buy It Now


                                                                                                                              Add to cart
  Have one to sell? Sell now

                                                                                                                            Add to watchlist



                                                                                                               Breathe easy. Returns accepted.



                                                                                                   Shipping:            US $500.00 SpeedPAK Standard. See
                                                                                                                        details
                                                                                                                        International shipment of items may be
                                                                                                                        subject to customs processing and
                                                                                                                        additional charges.
                                                                                                                        Located in: Shenzhen, China

                                                                                                   Delivery:                 Estimated between Tue, Jan 9 and
                                                                                                                        Fri, Jan 19 to 33166
                                                                                                                        This item has an extended handling
                                                                                                                        time and a delivery estimate greater
                                                                                                                        than 10 business days.
                                                                                                                        Please allow additional time if
                                                                                                                        international delivery is subject to
                                                                                                                        customs processing.

                                                                                                   Returns:             30 days returns. Buyer pays for return
                                                                                                                        shipping. See details

                                                                                                   Payments:




https://www.ebay.com/itm/314275483735?hash=item492c475057:g:RqYAAOSwaDRj-Fmq&amdata=enc%3AAQAIAAAA4BwlXq7Dr0zsFyruxbw5Dg6…                                          1/5
12/26/23,Case   1:23-cv-24366-BB
          7:17 PM                          Document 10-1 EnteredCheckout
                                                                 on FLSD | eBayDocket 12/28/2023 Page 338 of
                                                          360
                                                                    How do you like our checkout?]Give us feedback
                          Checkout


             New! You can split payment for this purchase across two cards.




      Pay with           Split payment between two cards                 Subtotal (1 item)                   $1,044.05
                                                                         Shipping                             $500.00
           You can split your payment for this order. Add Card           Tax*                                  $108.08



                       x-6789 Expired                                    Order total                        $1,652.13

                                                                           By placing your order, you agree to eBay's
                                                                           User Agreement and Privacy Notice.]
              Add new card
                                                                           *We're required by law to collect sales tax
                                                                           and applicable fees for certain tax
                                                                           authorities. Learn more]


                       PayPal
                                                                                       Pay with PayPal


                       No Interest if paid in full in 6 months.                 You'll finish checkout on PayPal
                       Apply now. See terms



                       Google Pay                                                         See details




      Ship to

      ENCARGA ROBERTO ROMERO
      8611 NW 72nd St
      Doral, FL 33166-2311
      United States
      (786) 687-9611
      Change




      Review item and shipping

      Seller: ]cnc_tool | Message to seller

                            360 Photo Booth Automatic Rotating
                            Video Selfie Platform Motorized +
                            Flight Case
                            Size: 68CM / 26.8''


https://pay.ebay.com/rxo?action=view&sessionid=2118090246011                                                             1/2
12/26/23,Case   1:23-cv-24366-BB
          7:17 PM                     Document 10-1 EnteredCheckout
                                                            on FLSD | eBayDocket 12/28/2023 Page 339 of

                            $1,044.05                360
                            $1,099.00


                               Quantity
                               1



                            Delivery
                            Est. delivery: Jan 9 – Jan 19
                            SpeedPAK Standard
                            $500.00



                            Save up to 5%



      Gift cards, coupons, eBay Bucks



         Enter code:                                     Apply




      Donate to charity (optional)

      The Skatepark Project
      Join The Skatepark Project in helping underserved
      communities create safe and inclusive public skateparks
      for youth. PayPal Giving Fund (PPGF) receives your
      donation and grants 100% to a charity no later than 30
      days after the end of the month in which the donation is
      made. Donations are non-refundable and typically tax
      deductible. PPGF may be unable to grant funds to a
      charity if the charity has lost tax exempt status, has
      closed, or no longer accepts funds from PPGF.


      Select amount           None




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   CA Privacy Notice, Your Privacy Choices     and AdChoice




https://pay.ebay.com/rxo?action=view&sessionid=2118090246011                                                                      2/2
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                                     360
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                                     360




                 Defendant No.: 74

                        Store Name:
                           col1ect

                            Platform:
                              Ebay




  23-cv-24366
12/26/23,Case   1:23-cv-24366-BB
          7:19 PM                           Document 10-1 Entered  on| FLSD
                                                               col1ect         Docket 12/28/2023 Page 342 of
                                                                       eBay Stores
                                                           360                                                        11
 Hi Roberto!             Daily Deals      Brand Outlet   Gift Cards    Help & Sell
                                                                              ContactWatchlist     My eBay



                            Categories              Search for anyth         All Categories                  Search




                             col1ect
                             98% positive feedback          2.7K items sold      150 followers
                                  Share          Contact          Save Seller


                  Categories                 Shop        About        Feedback                Search all 790 items



       About us

       Location:]China
       Member since:]Jul 27, 2022
       Seller:]col1ect




       Top Rated Seller

       col1ect is one of eBay's most reputable sellers. Consistently delivers outstanding
       customer service Learn more




https://www.ebay.com/str/col1ect?_tab=1                                                                                1/2
12/26/23,Case   1:23-cv-24366-BB 1PC
          7:19 PM                 Document
                                     115cm Photo10-1    Entered
                                                 Booth Slow         on FLSD
                                                            Motion Video          Docket
                                                                         Platform 360°      12/28/2023
                                                                                       Automatic Rotating SelfiesPage
                                                                                                                 | eBay 343 of
   Hi Roberto!     Daily Deals   Brand Outlet   Gift Cards   Help & Contact    360                               Sell         Watchlist      My eBay
                                                                                                                                                                        11




                      Categories            Search for anything                                                  All Categories                          Search


       Back to home page    Electronics    Cameras & Photo       Camera, Drone & Photo Ac…   Other Camera & Photo Accs                         Share    Add to Watchlist


     SAVE UP TO 7% WHEN YOU BUY MORE

                                                                                                     1PC 115cm Photo Booth Slow
                                                                                                     Motion Video Platform 360°
                                                                                                     Automatic Rotating Selfies

                                                                                                                 col1ect (537)
                                                                                                                 98% positive Seller's other items
                                                                                                                 Contact seller



                                                                                                     US $949.98/ea
                                                                                                     No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                     Credit*



                                                                                                     Condition: New


                                                                                                     Size:                  - Select -



                                                                                                     Quantity:          1       More than 10 available


                                                                                                     Bulk savings:


                                                                                                                                                                             4o
                                                                                                          Buy 1                     Buy 2                Buy 3
                                                                                                       $949.98/ea                 $902.48/ea           $892.98/ea
                                                                                                                                                                            $88



  Have one to sell? Sell now
                                                                                                                                     Buy It Now


                                                                                                                                    Add to cart


                                                                                                                                  Add to watchlist



                                                                                                                 Breathe easy. Returns accepted.



                                                                                                     Shipping:                US $200.00 Standard Shipping. See
                                                                                                                              details
                                                                                                                              Located in: Cranbury, United States

                                                                                                     Delivery:                Estimated between Wed, Jan 3 and
                                                                                                                              Mon, Jan 8 to 33166

                                                                                                     Returns:                 30 days returns. Seller pays for return
                                                                                                                              shipping. See details

                                                                                                     Payments:




                                                                                                                              *No Interest if paid in full in 6 months on
                                                                                                                              $99+. See terms and apply now




https://www.ebay.com/itm/394623993383?hash=item5be16c4627:g:b6MAAOSwWWxkNWBR&amdata=enc%3AAQAIAAAAwFbI6wA%2BPgjUFIv2D…                                                       1/5
12/26/23,Case   1:23-cv-24366-BB
          7:20 PM                          Document 10-1 EnteredCheckout
                                                                 on FLSD | eBayDocket 12/28/2023 Page 344 of
                                                          360
                                                                    How do you like our checkout?]Give us feedback
                          Checkout


             New! You can split payment for this purchase across two cards.




      Pay with           Split payment between two cards                 Subtotal (1 item)                     $949.98
                                                                         Shipping                             $200.00
           You can split your payment for this order. Add Card           Tax*                                   $80.50



                       x-6789 Expired                                    Order total                       $1,230.48

                                                                           By placing your order, you agree to eBay's
                                                                           User Agreement and Privacy Notice.]
              Add new card
                                                                           *We're required by law to collect sales tax
                                                                           and applicable fees for certain tax
                                                                           authorities. Learn more]


                       PayPal
                                                                                       Pay with PayPal


                       No Interest if paid in full in 6 months.                 You'll finish checkout on PayPal
                       Apply now. See terms



                       Google Pay                                                         See details




      Ship to

      ENCARGA ROBERTO ROMERO
      8611 NW 72nd St
      Doral, FL 33166-2311
      United States
      (786) 687-9611
      Change




      Review item and shipping

      Seller: ]col1ect | Message to seller

                            1PC 115cm Photo Booth Slow Motion
                            Video Platform 360° Automatic
                            Rotating Selfies
                            Size: 80cm


https://pay.ebay.com/rxo?action=view&sessionid=2118091210011                                                             1/2
12/26/23,Case   1:23-cv-24366-BB
          7:20 PM                          Document 10-1 EnteredCheckout
                                                                 on FLSD | eBayDocket 12/28/2023 Page 345 of

                            $949.98                       360

                               Quantity
                               1



                            Delivery
                            Est. delivery: Jan 3 – Jan 8
                            FedEx Ground or FedEx Home
                            Delivery
                            $200.00




      Gift cards, coupons, eBay Bucks



         Enter code:                                     Apply




      Donate to charity (optional)

      The Skatepark Project
      Join The Skatepark Project in helping underserved
      communities create safe and inclusive public skateparks
      for youth. PayPal Giving Fund (PPGF) receives your
      donation and grants 100% to a charity no later than 30
      days after the end of the month in which the donation is
      made. Donations are non-refundable and typically tax
      deductible. PPGF may be unable to grant funds to a
      charity if the charity has lost tax exempt status, has
      closed, or no longer accepts funds from PPGF.


      Select amount           None




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https://pay.ebay.com/rxo?action=view&sessionid=2118091210011                                                                      2/2
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                                     360
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                                     360




                 Defendant No.: 75

                        Store Name:
                          coll-4690

                            Platform:
                              Ebay




  23-cv-24366
12/26/23,Case   1:23-cv-24366-BB
          7:22 PM                            Document 10-1 Entered    on FLSD
                                                                coll-4690          Docket 12/28/2023 Page 348 of
                                                                          | eBay Stores
                                                            360                                                         11
 Hi Roberto!             Daily Deals       Brand Outlet   Gift Cards    Help & Sell
                                                                               ContactWatchlist     My eBay



                            Categories               Search for anyth         All Categories                  Search




                             coll-4690
                             97.6% positive feedback           4.4K items sold      198 followers
                                  Share           Contact          Save Seller


                  Categories                  Shop        About        Feedback                Search all 1,394 items



       About us

       Location:]China
       Member since:]Nov 30, 2021
       Seller:]coll-4690




                                 Do you like our store experience?




https://www.ebay.com/str/coll4690?_tab=1                                                                                 1/2
12/26/23,Case   1:23-cv-24366-BB
          7:22 PM                                       Document         10-1
                                                            100cm 360 Photo   BoothEntered
                                                                                    Slow Motionon  FLSD
                                                                                                Video        Docket
                                                                                                      Platform         12/28/2023
                                                                                                               Automatic                     Page 349 of
                                                                                                                          Rotating Selfie | eBay
   Hi Roberto!         Daily Deals   Brand Outlet     Gift Cards Help & Contact      360                             Sell   Watchlist      My eBay
                                                                                                                                                                                        11




                           Categories             Search for anything                                                                All Categories                    Search


       Back to home page        Electronics      Cameras & Photo         Camera, Drone & Photo Ac…               Other Camera & Photo Accs                                         Share


    This listing was ended by the seller on Thu, Dec 21 at 12:24 AM because there was an error in the listing.



                                                                                                                         100cm 360 Photo Booth Slow
                                                                                                                         Motion Video Platform Automatic
                                                                                                                         Rotating Selfie

                                                                                                                                     coll-4690 (736)
                                                                                                                                     97.6% positive Seller's other items
                                                                                                                                     Contact seller



                                                                                                                         US $1,234.99
                                                                                                                         Was US $1,299.99
                                                                                                                         Save US $65.00 (5% off)

                                                                                                                         No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                                         Credit*



                                                                                                    ED                   Condition: New
                                                                                                  D

                                                                                                                         Ended: Dec 21, 2023 00:24:23 PST
                                                                                               EN




                                                                                                                         Size:              C 100CM



                                                                                                                         Quantity:      1      5 available


                                                                                                                         Shipping:           Free Standard Shipping. See details
                                                                                                                                             Located in: Chino, California, United
                                                                                                                                             States
  Have one to sell? Sell now
                                                                                                                         Delivery:           Estimated between Tue, Jan 2 and Sat,
                                                                                                                                             Jan 6 to 33166

                                                                                                                         Returns:            30 days returns. Seller pays for return
                                                                                                                                             shipping. See details

                                                                                                                         Payments:




                                                                                                                                             *No Interest if paid in full in 6 months on
                                                                                                                                             $99+. See terms and apply now

                                                                                                                                                      Earn up to 5x points when you
                                                                                                                                                      use your eBay Mastercard®.
                                                                                                                                                      Learn more



                                                                                                                         Shop with confidence

                                                                                                                                 eBay Money Back Guarantee
                                                                                                                                 Get the item you ordered or your money
                                                                                                                                 back. Learn more



     About this item         Shipping, returns, and payments                                                                                                         Report this item




https://www.ebay.com/itm/364318328727?hash=item54d3108797:g:kUcAAOSwZQtkZEj5&amdata=enc%3AAQAIAAAA4Cg2DFOpjNupI4utPYKBFkw…                                                                   1/5
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                                     360
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                                     360




                 Defendant No.: 76

                        Store Name:
                         comettgood

                            Platform:
                              Ebay




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12/26/23,Case   1:23-cv-24366-BB
          7:23 PM                                       Document 10-1 Entered      on FLSD
                                                                              comettgood         Docket 12/28/2023 Page 352 of
                                                                                         | eBay Stores
 Hi Roberto!         Daily Deals   Brand Outlet   Gift Cards Help & Contact 360                         Sell Watchlist My eBay
                                                                                                                                                                          11




                          Categories          Search for anything                                                            All Categories                Search




                          comettgood
                          97.2% positive feedback        3.0K items sold    116 followers                                        Share        Contact       Save Seller




                Categories             Shop       Sale      About     Feedback                         Search all 94 items



     Sale items




         Extra $5 off with
         code
         COMETTGOOD02
         Expires December 30,
         2023. Max discount $…
         Terms & Conditions



               Shop All



                                        Universal Tractor Seat For         11/15/18KW Electric           4U Server/Computer              5mm Manual Metal             U
                                        Dumper Forklift Mower              Swimming Pool Water           Chassis Rackmount Case          Stamping Marking Machine     S
                                        Digger w/Armrest+Slide…            Heater Thermostat Hot Tu…     w/Fan 7X3.5" HDD Bays…          Dog Tag Embosser Plate…      M

                                        $96.00                             $159.00                       $102.00                         $121.08                      $




         Extra 5% off with
         code
         COMETTGOOD01
         Expires December 30,
         2023. Max discount…
         Terms & Conditions



               Shop All



                                        King Size Mattress Bag             1500W Mini Electric Hot       60A PWM Solar Charge            Central Air Conditioner      C
                                        Cover Waterproof f/Moving          Water Heater Tank System      Controller PV Regulator 12V     Cover Outdoor Square AC      C
                                        Storage Zipper Tarp…               Under Sink Instant Home…      24V 36V 48V Auto…               Unit Protector Heavy Duty…   F

                                        $31.08                             $75.06                        $49.05                          $17.08                       $




                                                           Do you like our store experience?



https://www.ebay.com/str/comettgood?_tab=1                                                                                                                                1/2
12/26/23,Case   1:23-cv-24366-BB
          7:24 PM                                 Document          10-1
                                                       360 Photo Booth       Entered
                                                                         Video           on FLSD
                                                                               Motion Rotating          Docket
                                                                                               Selfie Platform     12/28/2023
                                                                                                               Automatic               Page 353 of
                                                                                                                         Motorized | eBay
  Hi Roberto!      Daily Deals   Brand Outlet   Gift Cards  Help & Contact      360                               Sell  Watchlist    My eBay
                                                                                                                                                                    11




                      Categories            Search for anything                                                 All Categories                     Search


      Back to home page     Electronics    Cameras & Photo    Other Cameras & Photo                                                        Share   Add to Watchlist


    EXTRA $5 OFF WITH CODE COMETTGOOD02 See all eligible items and terms

                                                                                                    360 Photo Booth Video Motion
                                                                                                    Rotating Selfie Platform Automatic
                                                                                                    Motorized

                                                                                                                comettgood (579)
                                                                                                                97.2% positive Seller's other items
                                                                                                                Contact seller



                                                                                                    US $809.00
                                                                                                    No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                    Credit*



                                                                                                    Condition: New


                                                                                                    Option:            - Select -



                                                                                                    Quantity:      1       Last One



                                                                                                                                 Buy It Now


                                                                                                                               Add to cart


                                                                                                                             Add to watchlist
  Have one to sell? Sell now



                                                                                                                Breathe easy. Returns accepted.



                                                                                                    Shipping:            Free Standard Shipping. See details
                                                                                                                         Located in: Los Angeles, California,
                                                                                                                         United States

                                                                                                    Delivery:            Estimated between Sat, Dec 30 and Fri,
                                                                                                                         Jan 5 to 33166

                                                                                                    Returns:             30 days returns. Buyer pays for return
                                                                                                                         shipping. See details

                                                                                                    Payments:




                                                                                                                         *No Interest if paid in full in 6 months on
                                                                                                                         $99+. See terms and apply now

                                                                                                                                    Earn up to 5x points when you
                                                                                                                                    use your eBay Mastercard®.
                                                                                                                                    Learn more



                                                                                                    Shop with confidence

                                                                                                         eBay Money Back Guarantee


https://www.ebay.com/itm/166293091893?hash=item26b7d73635:g:AT4AAOSwqsRjEznE&amdata=enc%3AAQAIAAAA4D82fB%2Bgb2ymGZdFvVxx…                                                1/6
12/26/23,Case   1:23-cv-24366-BB
          7:24 PM                          Document 10-1 EnteredCheckout
                                                                 on FLSD | eBayDocket 12/28/2023 Page 354 of
                                                          360
                                                                    How do you like our checkout?]Give us feedback
                          Checkout


             New! You can split payment for this purchase across two cards.




      Pay with           Split payment between two cards                 Subtotal (1 item)                     $809.00
                                                                         Shipping                                  Free
           You can split your payment for this order. Add Card           Discount                                -$5.00
                                                                         Tax*                                   $56.28

                       x-6789 Expired
                                                                         Order total                         $860.28

              Add new card                                                 By placing your order, you agree to eBay's
                                                                           User Agreement and Privacy Notice.]

                                                                           *We're required by law to collect sales tax
                                                                           and applicable fees for certain tax
                                                                           authorities. Learn more]
                       PayPal

                                                                                       Pay with PayPal
                       No Interest if paid in full in 6 months.
                       Apply now. See terms                                     You'll finish checkout on PayPal



                       Google Pay
                                                                                          See details


      Ship to

      ENCARGA ROBERTO ROMERO
      8611 NW 72nd St
      Doral, FL 33166-2311
      United States
      (786) 687-9611
      Change




      Review item and shipping

      Seller: ]comettgood | Message to seller

                            360 Photo Booth Video Motion
                            Rotating Selfie Platform Automatic
                            Motorized
                            Option: 80 cm/31.5 inch


https://pay.ebay.com/rxo?action=view&sessionid=2118092991011                                                              1/2
12/26/23,Case   1:23-cv-24366-BB
          7:24 PM                   Document 10-1 EnteredCheckout
                                                          on FLSD | eBayDocket 12/28/2023 Page 355 of

                            $809.00                360
                            Quantity 1


                            Delivery
                            Est. delivery: Dec 30 – Jan 5
                            FedEx Ground or FedEx Home
                            Delivery
                            Free




      Gift cards, coupons, eBay Bucks

            Discount COMETTGOOD02
            Applied: $5.00



         Enter code:                                     Apply




           To apply a donation, you can't be using gift cards,
           coupons, eBay Bucks, or reward points.




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   CA Privacy Notice, Your Privacy Choices     and AdChoice




https://pay.ebay.com/rxo?action=view&sessionid=2118092991011                                                                      2/2
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 356 of
                                     360
Case 1:23-cv-24366-BB Document 10-1 Entered on FLSD Docket 12/28/2023 Page 357 of
                                     360




                 Defendant No.: 77

                        Store Name:
                          comsl-18

                            Platform:
                              Ebay




  23-cv-24366
12/26/23,Case   1:23-cv-24366-BB
          7:25 PM                           Document 10-1 Entered  on FLSD
                                                               comsl-18          Docket 12/28/2023 Page 358 of
                                                                        | eBay Stores
                                                           360                                                         11
 Hi Roberto!            Daily Deals       Brand Outlet   Gift Cards    Help & Sell
                                                                              ContactWatchlist     My eBay



                           Categories               Search for anyth         All Categories                  Search




                            comsl-18
                            98.8% positive feedback           3.1K items sold      136 followers
                                 Share           Contact          Save Seller


                 Categories                  Shop        About        Feedback                Search all 1,214 items



      About us

      Location:]China
      Member since:]Nov 30, 2021
      Seller:]comsl-18




                                Do you like our store experience?




https://www.ebay.com/str/comsl18?_tab=1                                                                                 1/2
12/26/23,Case   1:23-cv-24366-BB
          7:27 PM                                         Document
                                                          80-100cm Photo 10-1    Entered
                                                                         Booth Slow          on Platform
                                                                                    Motion Video FLSD360°Docket  12/28/2023
                                                                                                           Automatic Rotating Selfie7r Page
                                                                                                                                       | eBay 359 of
  Hi Roberto!         Daily Deals    Brand Outlet    Gift Cards    Help & Contact           360                                    Sell         Watchlist        My eBay
                                                                                                                                                                                              11




                          Categories             Search for anything                                                               All Categories                            Search


      Back to home page         Electronics     Cameras & Photo          Camera, Drone & Photo Ac…             Other Camera & Photo Accs                                               Share


   This listing was ended by the seller on Sat, Oct 28 at 1:42 AM because there was an error in the listing.



                                                                                                                       80-100cm Photo Booth Slow
                                                                                                                       Motion Video Platform 360°
                                                                                                                       Automatic Rotating Selfie7r

                                                                                                                                   comsl-18 (565)
                                                                                                                                   98.8% positive Seller's other items
                                                                                                                                   Contact seller



                                                                                                                       US $1,199.99
                                                                                                                       No Interest if paid in full in 6 mo on $99+ with PayPal
                                                                                                                       Credit*



                                                                                                                       Condition: New


                                                                                                                       Size:
                                                                                                   ED                                         - Select -
                                                                                                 D
                                                                                              EN



                                                                                                                       Quantity:          1       5 available


                                                                                                                       Shipping:                Free Standard Shipping. See details
                                                                                                                                                Located in: Cranbury, United States

                                                                                                                       Delivery:                Estimated between Sat, Dec 30 and Fri,
                                                                                                                                                Jan 5 to 33166

                                                                                                                       Returns:                 30 days returns. Buyer pays for return
  Have one to sell? Sell now                                                                                                                    shipping. See details

                                                                                                                       Payments:




                                                                                                                                                *No Interest if paid in full in 6 months on
                                                                                                                                                $99+. See terms and apply now

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                                                                                                                                                            use your eBay Mastercard®.
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                                                                                                                               Get the item you ordered or your money
                                                                                                                               back. Learn more



    About this item         Shipping, returns, and payments                                                                                                                Report this item




    Seller assumes all responsibility for this listing.                                                                                           eBay item number: 126068530882



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